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MD 295 Locations

Seq# | Location Alternative 1 Alternative 2 Alternative 3 Alternative 4

GPL HOV/ETL Total GPL HOV/ETL Total GPL HOV/ETL Total GPL HOV/ETL Total
1 MD295-.10 MI S OF BALTIMORE CO/L N/A N/A N/A 0% N/A 0% 0% N/A 0% 0% N/A 0%
2 MD295-.20 MIS OF IS695 N/A N/A N/A 0% N/A 0% 0% N/A 0% -16% N/A 26%
3 MD295-.60 MI N OF IS195. N/A N/A N/A -1% N/A -1% 0% N/A 0% | -16% N/A 26%
4 MD295-.30 MI N OF MD100 N/A N/A N/A 1% N/A 1% 1% N/A 1% -9% N/A 36%
5 MD295-.60 MIS OF MD100 N/A N/A N/A 0% N/A 0% 0% N/A 0% -71% N/A 35%
6 MD295-.25 MIS OF MD175 N/A N/A N/A 0% N/A 0% 0% N/A 0% -4% N/A 39%
7 MD295-.50 MIS OF MD32 N/A N/A N/A 0% N/A 0% 0% N/A 0% -4% N/A 40%
8 MD295-.30 MI N OF MD197 N/A N/A N/A 0% N/A 0% 0% N/A 0% -2% N/A 46%
9 MD295-.60 MI S OF MD197 N/A N/A N/A 0% N/A 0% 0% N/A 0% -4% N/A 42%
10 MD295-.40 MI N OF MD193 N/A N/A N/A 1% N/A 1% 0% N/A 0% 1% N/A 44%
11 MD295-.30 MIN OF IS95 N/A N/A N/A 4% N/A 4% 3% N/A 3% 0% N/A 39%
12 MD295-.30 MI S OF IS95 N/A N/A N/A -4% N/A -4% -2% N/A -2% -7% N/A 26%
13 MD295-.20 MI N OF MD450 N/A N/A N/A -3% N/A -3% -1% N/A -1% -1% N/A 23%
14 MD295-.20 MI N OF MD202 N/A N/A N/A -4% N/A -4% -2% N/A -2% -4% N/A 17%
15 MD295-.50 MI N OF US50 N/A N/A N/A -4% N/A -4% -2% N/A -2% -9% N/A 11%

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( ») National Capital Region
\ Transportation Planning Board

MEMORANDUM

TO: Kari Snyder, MDOT Staff

FROM: Dusan Vuksan, Feng Xie, TPB Staff

SUBJECT: 2045 Sensitivity Analysis of TRP-Related Projects in Visualize 2045
DATE: January 11, 2019

cc: Kanti Srikanth, Tim Canan, Mark Moran, Jinchul Park, TPB Staff
INTRODUCTION

The Maryland Department of Transportation (MDOT) has requested Transportation Planning Board
(TPB) staff’s assistance in an analysis to better understand the impact of Maryland’s Traffic Relief
Plan (TRP) projects (as specified in the Visualize 2045 Plan) on regional travel demand, performance
and emissions. As specified in the Scope of Work for the project, the analysis assesses how the TRP-
related projects included in the Visualize 2045 Plan will affect the performance of the Washington,
D.C. region’s transportation system, such as vehicle-hours-of-delay (VHD), vehicle-miles-traveled
(VMT), and mobile source emissions. A preliminary memorandum documenting the 2030 analysis
was provided to MDOT on December 21, 2018. This preliminary technical memorandum documents
the impacts of TRP-related projects on overall system performance in 2045.

ALTERNATIVES

MDOT is interested in examining the changes in the region’s transportation system performance that
can reasonably be attributed to the TRP-related projects in Visualize 2045. This would require a
“before/after” or “Build/No Build” analysis of the TRP-related projects. Typically, regional, sub-
regional and scenario planning studies use the Metropolitan Planning Organization’s (MPO) long-
range plan forecasts as a “baseline” or “no build” option. However, in this case, the TPB’s long-range
plan (Visualize 2045) already includes the TRP and as such will serve as an “After” or “Build”
alternative. Staff's technical analysis has developed a “Before” or “No Build” alternative by removing
only the TRP-related projects from the existing network inputs 1 to the travel demand model. Other
future year Visualize 2045 constrained element projects are included in both “No Build” and “Build”
scenarios (i.e., US 301 expansion is included in “No Build” and “Build” in this context).

MDOT has also requested that the impacts of the TRP-related projects be examined in years 2030
and 2045. The complete list of alternatives that are being examined as part of this “study” are

1 As part of Visualize 2045, the Virginia Department of Transportation (VDOT) modified the extension of the
Virginia Beltway HOT Lanes to coordinate with the Maryland TRP project. In Visualize 2045, VDOT assumed two
HOT lanes in each direction from George Washington Parkway to the American Legion Bridge to match the
proposed managed lane configuration in Maryland. The prior 2016 Constrained Long Range Plan assumed one
lane per direction in this section. In addition to removing the TRP project in Maryland, “No Build” scenario
reverts to one managed lane in each direction for this segment of Beltway in Virginia.

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777 NORTH CAPITOL STREET NE, SUITE 300, WASHINGTON, DC 20002 MWCOG.ORG/TPB (202) 962-3200

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shown in Table 1. This memorandum summarizes the system performance for TRP No Build and TRP
Build scenarios for the analysis year 2045 (shown in red in Table 1).

Table 1. Alternatives for Analysis

| TRP"No Build" | TRP "Build" |
2030 Completed | Completed for Visualize 2045
2045 Completed | Completed for Visualize 2045

It is important to note that this effort is not part of the ongoing MDOT I-495 and I-270 Managed
Lanes project development studies. These sensitivity tests are being done to quantify the estimates
of potential system performance improvements of the TRP-related projects. Such information will
help MDOT with the project’s stakeholders’ outreach. Additionally, this analysis does not attempt to
analyze or recommend specific TRP alternatives.

The TRP-related projects in Visualize 2045, assumed in TRP Build scenario, are as follows:
¢ Two additional managed lanes in each direction on Capital Beltway/I-495 in Maryland
¢ Two additional managed lanes in each direction on |-270 (including the Spurs) from the
Beltway to I-70; the existing 270 HOV lanes are not removed nor converted to other types
of managed lanes
¢« Direct-access points are constructed at key locations

Project descriptions for |-495 and |-270 Managed Lanes are included in Appendix A of this
memorandum.

ANALYSIS METHODOLOGY

The 2045 TRP No Build alternative was modeled using the TPB’s typical modeling process, which
was also applied to the 2045 TRP Build alternative as a part of the Visualize 2045 analysis. The
methodology includes:

¢ Toll development process 2
e« Final travel demand model run with newly developed tolls
« MOVES mobile emissions runs

As this study or “test” has been designed to assess the TRP impacts regionally, and not at the link
level, detailed base-year model validation was not conducted. The transportation performance and
greenhouse gas impacts are assessed for the TPB Planning Area, while the nitrogen oxide (NOx) and
volatile organic compounds (VOCs) are analyzed for the 8-Hour Ozone Nonattainment Area (as
depicted on Map 1).

2 Although TRP’s tolled facilities were removed from the analysis in TRP No Build alternative, the toll
development process was performed for the Virginia facilities as their toll rates could be impacted when the
TRP-related managed lane facilities in Maryland are removed from the transportation networks.

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Map 1. TPB Planning Area

Hartford

Baltimore

(a TPE Model Area

Co TPB Planning Area
“eee =8-Hour Ozone Nonattainment Area

MODEL INPUTS AND VERSION

The analysis model is the current model of record, which is the TPB Version 2.3.75 travel demand
model! with the Round 9.1 Cooperative Forecasts of land activity, the transportation inputs for the
constrained element of the Visualize 2045 Long Range Plan and the alternative-specific inputs

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discussed in the “Alternatives” section of this memorandum (where applicable). Consistent with the
Visualize 2045 analysis, mobile emissions analysis was conducted using the EPA’s MOVES2014a
model.

2045 ANALYSIS YEAR SUMMARY FINDINGS

In general, the TRP projects appear to help improve mobility, accessibility, reliability, and reduce
congestion. Specifically, of all the performance measures that were evaluated, the analysis shows
that congestion reduction and reliability will experience the greatest gains resulting from the
implementation of system of managed lanes. On the other hand, TRP projects are forecast to have
less of an impact on emissions, with two of the three pollutants analyzed in this technical report
forecast to increase slightly. These findings are all in line with the 2030 analysis that was provided to
MDOT in December 2018.

Specifically, the number and share of HOV trips will increase, while SOV and transit will decrease for
both work and all daily trips. VMT will increase while vehicle hours of delay (VHD) will decrease.
Similarly, the number of lane miles that are congested will decrease, as will the proportion of
congested lane miles. Person miles traveled (PMT) will increase, while PMT on reliable modes of
travel will increase. Average number of jobs accessible within 45 minutes of travel by auto and
transit will increase. The magnitude of change across the various performance measures varies and
will need to be assessed relative to the base value of the specific performance measure.

TRANSPORTATION SYSTEM PERFORMANCE

The regional-level transportation system performance findings of the 2045 TRP sensitivity test are
summarized below for the TPB Planning Area. The summaries highlight impacts of the TRP-related
projects on the transportation system in 2045 (as “2045 TRP Build minus 2045 TRP No Build”
comparisons).

It is important to note that the summaries presented in this memorandum are based on a regional
travel demand model that was not specifically validated against observed data for the TRP study
area. For example, link-level simulated volumes on |-270 were not compared against observed
counts. This was determined acceptable for this study since the results are being examined at the
regional level, and the model has previously been calibrated and validated at the regional and
screen-line levels. As such, the findings of this analysis would not be applicable to individual
roadways and smaller area geographies without a reevaluation of the model validation.

Also, as the changes in estimates of various performance measures are examined, it should be
noted that those performance measures that are designed to respond to changes in land use do not
change, since the land use assumptions in this analysis for Build and No Build scenarios were not
changed.

MODE CHOICE

Tables 2a and 2b display mode shifts resulting from the implementation of TRP in 2045. They show

that the TRP facilities mainly impact the commute trips, which largely occur in peak periods. For both
the commute and all trip purposes, HOV/Carpoo! mode benefits the most from the system of

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managed lanes, while transit and SOV person trips decline in TRP Build scenario. All users have to
pay to access managed lanes, but commuting carpools have a large value of time, which explains
the shift from other modes to carpooling in TRP Build (i.e., tolls are not as significant when three-
person work carpool participants share the costs associated with tolls). However, it is important to be
cognizant of the scale of magnitude of change. In many instances, the percent difference between
Build and No Build is close to zero, especially for all trip purposes shown in Table 2b, even when the

absolute change in measurable.

Table 2a. Mode Choice for Commute Trips in 2045

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TRP No Build TRP Build | Difference % Diff.
Commute Trips 4,143,400 | 4,142,600 -800 0%
SOV 2,333,100 | 2,324,000 -9,100 0%
HOV/Carpool 421,600 444,600 23,000 5%
Transit 1,121,100 | 1,106,300 -14,800 -1%
Non-Motorized 267,700 267,600 -100 0%
Table 2b. Mode Choice for All Trip Purposes in 2045

TRP No Build TRP Build | Difference % Diff.
All Trips 20,823,200 | 20,819,600 -3,600 0%
SOV 7,929,400 | 7,917,500 -11,900 0%
HOV/Carpool 8,199,600 | 8,224,000 24,400 0%
Transit 1,565,800 | 1,550,300 -15,500 -1%
Non-Motorized 3,128,400 | 3,127,900 -500 0%

VMT AND CONGESTION

Table 3 displays the effects of the TRP-related projects on vehicular travel and congestion on the
region’s roadway system. As can be seen, the implementation of the TRP managed lane system
results in a 1% increase in daily vehicle miles traveled (VMT). In addition, two important congestion
indicators, daily vehicle hours of delay (VHD) and AM peak lane miles of congestion, decrease by

11% and 7%, respectively, relative to TRP No Build.

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Table 3. Vehicle Miles Traveled and Congestion in 2045

TRP No Build TRP Build Difference % Diff.
Average Weekday Measures
VMT 144,171,000 | 145,597,000 1,426,000 1%
VHD 1,940,000 1,729,000 -211,000 -11%
AM Peak Measures
Lane Miles of Congestion 2,900 2,700 -200 -7%
Peak Hour % Congested Lane Miles 16.1% 14.4% -1.7% N/A

TRANSPORTATION SYSTEM RELIABILITY

Table 4 below examines the transportation system reliability in TRP No Build and TRP Build
scenarios. Consistent with the Visualize 2045 performance analysis, system reliability is defined as
percentage of person miles traveled (PMT) on reliable travel modes 3, Since the TRP managed lanes
facilities are categorized as a “reliable mode,” construction and implementation of the TRP-related
projects were expected to improve the system reliability. Consequently, PMT on reliable modes in
TRP Build increases by 20% relative to TRP No Build, and percentage of PMT on reliable modes
increases from 12.9% to 15.3%.

Table 4. Transportation System Reliability in 2045

| TRP No Build TRP Build Difference % Diff.
System Person Miles Traveled (PMT) 213,862,000 | 216,471,000 2,609,000 1%
PMT on Reliable Modes 27,671,000 33,148,000 5,477,000 20%
Percentage of PMT on Reliable Modes 12.9% 15.3% 2.4%

ACCESSIBILITY

Table 5 examines the change in average system accessibility that can be attributed to the TRP
projects. In this analysis, accessibility is measured as average number of jobs that can be accessed
in AM Peak within 45 minutes by auto or transit. As shown in Table 5, the average auto accessibility
increases by 5% and the average transit accessibility increases by 1% in TRP Build scenario.

3 Reliable modes refer to express toll lanes with dynamic toll rates (HOT/ETL), HOV lanes, ICC, Dulles Airport
Access Road, Fixed Guide-way Transit (Metrorail, Commuter Rail, Light Rail, Streetcar), Bus Rapid Transit, long-
haul express buses, and non-motorized travel (bike/pedestrian).

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Table 5. Average Number of Jobs Accessible in AM Peak Period within 45 minutes in 2045

| __TRPNo Build | TRP Build |

Difference | % Diff. |

866,000

Average Auto Accessibility
514,000

Average Transit Accessibility

MOBILE EMISSIONS

909,000
518,000

43,000 5%
3,000 1%

Emissions estimates for the two 2045 scenarios are summarized in Table 6 for the ozone season
pollutants and greenhouse gases. While VOC emissions are estimated to decrease (slightly), NOx and

CO2 (GHG) emissions are estimated to increase slightly.

Table 6. Emissions Estimates in 2030

Pollutant TRP No Build
Ozone Season VOC (tons/day) 18.396
NOx (tons/day) 19.395
GHG (metric tons of
Greenhouse Gases CO2 Equivalent/year) 17,404,249

TRP Build Difference % Diff.
18.393 -0.003 0.0%
19.527 0.132 0.7%

17,482,572 78,323 0.5%

NEXT STEPS

Staff have completed the 2045 analysis and documented the draft findings in this memorandum.
Final technical memorandum for the study will be completed at the end of January. The major tasks
related to this study, shared in the Scope of Work, are specified below.

e December 14, 2019: 2030 Evaluation / Preliminary Memorandum; COMPLETE
e January 18, 2019: 2045 Evaluation / Preliminary Memorandum; COMPLETE

e January 31, 2019: Final Memorandum

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APPENDIX A

VISUALIZE 2045
PROJECT DESCRIPTIONS
FOR I-270 AND I-495

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Basic Project Information

Project Length... sccsisiceasssiesesseessivedseisen saves 34 Miles
Anticipated Completion ais 2020-2025*
Estimated Cost of Construction. $4 billion
Submitting Agency...... .....---.---:s+s+--eeseeseeee Maryland DOT
Anticipated Funding Sources.

O Federal 0D Local & Private 0 Bonds O Other

© HIGHWAY © LANES! @ BICYCLE OR PEDES

Goal 1: Provide a Range of

Project Description Transportation Options

The 1-270 component of MDOT's “Traffic Relief Plan” project
will add two new managed lanes in each direction alang 1-270
between the Capital Beltway (|-495) and I-70/US 40.

Goal 2: Pramote Dynamic Activity Centers
*Actual completion year will depend on awarded contract.
For air quality conformity modeling purposes, the completion
date is presumed to be 2025.

_ . . Goal 2: Ensure System Maintenance,
Existing Support for this Project Preservation, and Safety
This project has undergone rewiew at the local, state, and/or sub-
regional levels and is included in the following approved plans:

, : Goal 4: Maximize Operational
& Mont c 2017 T rtation Pri Lette

ontgomery County ransportation Priority r Efectivenwes and Safty

& MDOT/SHA Traffic Relief Plan

Goal 5: Protect and Enhance the
Natural Environment

Goal 6: Support Interregional and
International Travel and Commerce

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How this project supports or advances goals in the _ Addressing Federal

Regional Transportation Priorities Plan Planning Factors
The Priorities Plan called upon the region to use tolling and pricing mechanisms to This project addresses the following
manage road congestion and raise revenue. This project adds a key corridor to the federal planning factors designed to guide
region's express lane network and will expand transportation choices (Goal 1) by adding development of Visualize 2045:
lanes that will be dynamically managed to ensure free-flowing travel for drivers and [2 Support Economic Vitality
express bus services. The 34-mile project connects numerous Activity Centers, which are \ Safet Us
the region's primary engines for economic growth and opportunity (Goal 2) a eae
wee 7 2 ” Support Homeland and Personal Security
“| Goal 1: Provide a Range of Transportation Options ~ Freight any a Rice at Ee
Provides, enhances, supports, or promotes the fosawing travel mode options: Bl Protect and Ent the Envi t
See ee Sane lotr Enhance integration and Connectivity
‘8 Express/Commuter Bus a Matrobus & Local Bus
53 Promote Efficient System Management and
Bicycling CO Walkit Operati
{2 Improves accessibility for historically transportation-disadvantaged individuals C] Emphasize
(i.e., persons with disabilities, low incomes, and/or limited English proficiency)
Goal 2: Promote Dynamic Activity Centers
@& Begins or ends in an Activity Center

© Connects two or more Activity Centers Consideration of
: travel within ene t Alternatives to Adding
SOV Capacity

Goal 3: Ensure System Maintenance, Preservation, and Safety

@ Contributes to enhanced system maintenance, preservation, or safety The agency or agencies submitting this
project considered the following
Goal 4: Maximize Operational Effectiveness and Safety congestion-mitigation measures before

“J ‘ a ak iain oh vith a a} proposing to significantly increase capacity
Ms Bie eden, ak for single-occupant vehicles (SOVs):

& Enhances safety for motorists, transit users, pedestrians, and/or bicyclists BaTransportation demand management
a measures (including growth management and
bd Goal 5: Protect and Enhance the Natural Environment eaauer
: Expected to contribute to reductions in emissions of: BS Traffic operational improvements
Goal 6: Support Interregional and International Travel & Commerce = \ = rae ’ (mrs)
I f
1 Enhances, supports, or promotes the foll wing freight carrier modes: B Other ie t stratecios

© Long-haul Truck [3 Local Delivery
Enheniose, SPECS: reece He Toned Daneener Onoee eNnNeN:
senger fe!) Bl Intercity Bus

See the Congestion Management

Documentation form for more information.
ciarpimmayaiaate leet: rails normed ares hE) information about how projects advance regional goats and
address federal planning requirements is self-reported by the
anencies submitting projects for inclusion in Visualize 2045.

The information on this form was tast updated on
December 14, 2017.

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Basic Project Information

Project Een git. ss cniceeccopcemminesivensenncesmecipsens 22 Miles
Anticipated Completion...........::cccesssseseseee 2020-2025*
Estimated Cost of Construction...............606 $4.2 billion
Submitting Agency........0.c.sscscceereneeees Maryland DOT

Anticipated Funding Sources
cal & Private C1 Bonds 0 Other
atedseneasarsst 182, 3981

. - oe Goal 1: Provide a Range of
Project Description Transportation Gotens

The +495 component of MDOT's "Traffic Relief Plan” project
will add two new managed lanes in each direction along the
Capital Beltway between the Virginia end of the Amencan Legion

Bridge to the Maryland end of the Woodrow Wilson Bridge. Goal 2: Promote Dynamic Activity Centers

* Actual completion year will depend on awarded contract. For
ait quality conformity modeling purposes, the completion date
is presumed to be 2025. Goal 3: Ensure System Maintenance,

Preservation, and Safety

Existing Support for this Project

This project has been reviewed at the local, state, and/or sub-
regional levels and is included in the following approved plans:

Goal 4: Maximize Operationa!
Effectiveness and Safety

© Montgomery County 2017 Transportation Priority Letter

Goal 5: Protect and Enhance the

& 2009 Prince George’s County Master Plan of
Natural Environment

Transportation (MPO

& 1990 Heights Sector Plan
Goal 6: Support Interregional and
International Travel and Commerce

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Pm el me] Pale)"
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How this project supports or advances goals in the
Regional Transportation Priorities Plan

New managed lanes on the entire 42-mile length of Maryland's Capital Beltway will
dramatically expand transportation choices (Goal 1) in the region by adding dynamically
managed lanes to ensure free-flowing travel for divers and for express bus services.
Along with the |-270 Managed Lanes, this project significantly expands the region's
network of recent and forthcoming priced-lane projects. The project will connect
numerous Activity Centers (Goal 2), the region's focal points for economic growth.

Goal 1: Provide a Range of Transportation Options
eo Provides, enhances, supports, or promias the following travel mode options:
& oe Driver (sow) & Carpool/HOV
Exprese/Commuter Bue a Metrobus Local Bus

El Improves accessibility for historically trensportation-dieadvantaged individuals
{..e., persons with disabilities, low incomes, and/or limited English proficiency)
if; j al Goal 2: Promote Dynamic Activity Centers
B® Begins or ends in an Activity Center
& Connects two or more Activity Centers

fo wll Goal 3: Ensure System Maintenance, Preservation, and Safety
pis @& Contributes to enhanced system maintenance, preservation, or safety

Goal 4: Maximize Operational Effectiveness and Safety

& Enhances safety for motorists, transit users, pedestrians, and/or bicyclists

Re Goal 5: Protect and Enhance the Natural Environment
Expected to contribute to reductions in emissions of:

© Criteria Pollutants (NOx, VOCs, PM2.5) G2 Greenhouse Gases

me Goal 6: Support Interregional and International Travel and Commerce
iJ Enhances, supports, or promotes the flowin freight carrier modes:

© Long-haul Truck [J Local Delivery
Enhances, aupports, On pronncee tha toleving pameenger cartier mintoe:
B Intercity Bus

Perot ae Oe cE Hod i Be aod ae

See pers a ee ra :

Addressing Federal
Planning Factors

This project addresses the following
federal planning factors designed to quide
development of Visualize 2045-

& Support Economic Vitality

B Increase Safety for All Users

2 Support Homeland and Personal Security

62 Increase Accessibility and Mobility of People
and/or Freight

& Protect and Enhance the Environment

& Enhance Integration and Connectivity

& Promote Efficient System Management and
Operation

Consideration of
Alternatives to Adding
SOV Capacity

The agency or agencies submitting this
project considered the following
congestion-mitigation measures before
Proposing to significantly increase capacity
for single-occupant vehicles (SOVs):

El Transportation demand management
measures (including growth management and
congestion pricing)

improvements
Biintolligent Transportation Systems (ITS)
technologies
E! Other congestion management strategies

See the Congestion Manegement
Documentstion form for more information.

Information about how projacts advance rayional goals and
address federal planning requirements is self-reported by the
agencies submitting projects for inclusion in Visualize 2045.
The information on this form was last updated on
December 14, 2017.

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70 at Montrose Rood

70 West Spur at West Lake Terrace
Sat [-270 West Sour

1-475 at 1-270 East Sour

1-475 at 1-5

- A a5 ot M295
- [i 1-45 at US 50
- Ie at

- MO 295 ot MD 3?

- M0 295 at MO 100

WO 295 at 1-895

nd General Purpose | anes
1-270 between MO 109 8 MD 121

1-270 between Middlebrook Road and WD 124
(-270 peor Gude Ovive Overpass

1-270 Mest Spur south of Democracy Boulevard)

I-#75 between ON Parkway & VA 193
(“495 between 1-270 West Sour § MD 187
I-475 betesen MD 185 4 WD 97

I-#75 betecen US 7 6 MD 201

1-475 south of US 50

~ 1-495 between Ritchie Marlboro Rd £ MD 4

495 betecen MD 414 4 ED 210

I-
~ MO 295 between MD 450 6 WD 410

295 south of MD 197
MO 25 between MD 197 6 MD 178

15 — MD 295 south of 1-695

[+ Abemathve Amumptions
2 Al aharnatives atsume the comtruction of all approved CLAP projects (except those
ecpected to wate 6770}, the Watking Mil interchange, aned the 1220 1
imprewamancs, with ALDNEA coding atthe proposed ramp manert along e270.
Follllane ance. peiras and chp ramp will remain the tase for all toll lame alter ativen.
 Volilanes in Mary a ol aves on Winpria at thee l
Bridge
© American Legion Bridge will be widened to accommeniate the tol Lanes; howevet,
Woodrow Witton Sige wil not be widened 10 accommncate toll lavas
= Gearal Purpose lanes will earmain ac thay are today, while tha HOV lanes on |-270 will

Be converted sa ETLA

e Wis F he Courrty Ey one kane: th de
= Gpprational Anuimgrines

HMO in the denign analyrat yea.

e all three facilities, 5

Mo new transit lines will be created 23 part of this project.

> A are actumad) vi yo MO 295),
= Tolling Poiicy Assumptions

© Tolls press Toll Lanes (ETLt}, where everyone payt

© Tolltocations wil be placad i overfeead gantries cay, no tolls of: ramp
& Dynneic tell policy will be utiined for meaning renenuie and malctaiting ¢atimal
Operating ipeedt curing peak penods.

1-495 /1-270/ MD 295
Traffic Relief Plan

Alternative 4: Two Toll Lanes in Each Direction
on I-270 to MD 85, MD 295 to I-695, and

1-495 from the American Legion Bridge to MD 414

Direct Access Ramos totter Tol Lanes
Weave-Access between Tot Lanes & General
Parent Lanes (Appromimate Locator]

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Existing VA Express Lanes 1 Or TeNee canton
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Appendix D:
VISSIM Calibration Memo

May 2020

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1) Background and Purpose

The purpose of this document is to provide calibration and validation results for the existing VISSIM model that was used as
a basis for the I-495 and I-270 Managed Lane Study traffic modeling. Efforts included building and calibrating a VISSIM model
of I-495 and |-270 that will be used for NEPA Managed Lane Study. Developing models to accurately depict existing conditions
is critical to effectively evaluate future traffic operations along both corridors. Detailed assumptions and methodologies for
existing model calibration and validation are outlined below.

2) Data Collection
The study area of this project includes |-270 from MD 85 to |-495 and I-495 from VA 193 to the Woodrow Wilson Bridge. The
I-270 Spur between |-270 and I-495 is also included. All interchanges also include their ramp junctions, and adjacent signals

are included at specific locations.

a) Peak Period Traffic Volumes

Peak period traffic volumes were developed for the study area. The AM and PM peak periods were determined to be
6:00 AM to 10:00 AM and 3:00 PM to 7:00 PM, respectively. The traffic demand was balanced throughout the network
for both periods.

b) Signal Timings

Signal timing data was provided for signalized intersections within the study area to ensure that the VISSIM madels
included accurate existing signal timings.

c) Travel Times and Speeds

Regional Integrated Information System (RITIS) data was provided for segments along both I-495 and |-270 for the month
of May 2017.

3) VISSIM Model Development

MDOT SHA Travel Forecasting and Analysis Division (TFAD) provided a previously-calibrated VISSIM model for the study area.
Lane geometry was confirmed based on aerial photography. Model calibration required specific updates, which included
traffic volume inputs and routing decisions, traffic signal timings, turning speed reduction zones, driver and link behavior
types, and lane change distances. These updates enabled the VISSIM model to simulate the typical weekday AM and PM
peak periods under existing conditions. Discussed below is a summary of the VISSIM basic inputs, calibration requirements
established for this study, and the model results and outputs.

a) Vehicle Inputs and Routing Decisions

The AM and PM models both include a seeding time of 3,600 seconds (1 hour) with four 3,600 second simulation periods
for a total 14,400 seconds (4 hours) of actual simulation time, during which data was collected by the VISSIM model. The
simulation time is equivalent to the aforementioned peak periods. The initialization time was necessary to populate the
network and produce the appropriate congestion on the network prior to data recording.

The entry volume input data was coded for both the seeding period and each of the simulation hours in the peak period.

The arrival distribution input data was set to “Exact Volume” rather than the default of “Stochastic Volume” to prevent
significant volume variation at the turning movement level. Heavy vehicle and HOV percentages were established within

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the individual vehicle compositions as a component of the entry volume input data. Vehicle composition included 85%
SOV, 12% HOV, and 3% truck volumes for all vehicle inputs.

The static routing decisions were coded in VISSIM such that the beginning of each route is as far upstream of the first
decision point as possible; this method allows vehicles to make a routing decision as soon as possible, preventing
unnecessary friction and congestion. In instances where routing decisions were close together, route combinations were
applied to ensure realistic lane changing behavior.

b) Speeds

Posted speed limits were used as the desired speeds with +/- 5 mph linear distribution due to the severe congestion
experienced along the corridor. This was the case for most locations within the study area. However, at select locations,
the desired speeds were modified further for calibration purposes.

Turning movement speeds along the arterials were coded as:

i) Reduced Speed Right Turns: 8 MPH to 12 MPH
ii) Reduced Speed Left Turns: 11 MPH to 14 MPH
iii) Accelerated AM Right Turns: 7.5 MPH to 15.5 MPH
iv) Accelerated AM Left Turns: 12.4 MPH to 18.6 MPH
v) Accelerated PM Right Turns: 12 MPH to 15.5 MPH
vi) Accelerated PM Left Turns: 15 MPH to 20 MPH

4) VISSIM Calibration and Validation

Model calibration and validation refers to the process that confirms the model provides a reasonable approximation of
existing field conditions and incorporates model refinements to bring it within an accepted range of validation targets. For
this study, the model was run five times per peak period.

During the VISSIM model calibration; attention was given to the following parameters:

i) Modified lane changing distances to ensure smooth yet realistic traffic flow in both peak and off-peak directions.

ii) Modified driver behavior parameters and link behavior types; driver and link behavior types from the provided
files were maintained, where possible.

The existing travel time data along both highways showed high-variability between travel times in both the AM and PM peak
hours. Travelers experienced a significant drop in speed during the peak periods. The speed data from RITIS is shown in Figure
1 for |-495 and Figure 2 for I-270. This high variability can be seen in the differences between the average speeds and the 5"
and 95" percentile speeds.

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Speed for |-495
Averaged per hour for May 02, 2017 through May 31, 2017 (Every Tuesday, Wednesday, and Thursday)
Clockwise

' 1 1 q q
3AM 44M 5AM GAM 7AM 8AM GAM 104M 114M 12PM 1PM 2PM 3PM 4PM 5PM 6PM 7PM

‘Counterclockwise

q ' q !
8PM 9PM 10PM 11PM

T T T v T T q
3AM 4AM 54M GAM 7AM SAM 9AM 10AM 117AM 12PM 1PM 2PM 3PM 4PM 5PM GPM 7PM

T 1 T 1
8PM 9PM 10PM 11PM

Figure 1: Existing Speed Graph for |-495

Speed for 1-270 between |-495/MD-355 and |-70/U$-40 and |-270-SPUR
Averaged per hour for May 02, 2017 through May 31, 2017 (Every Tuesday, Wednesday, and Thursday)
Northbound

t t T qT t qT T t t qT qT t T T qT t T
3AM 4AM SAM 6AM 7AM GAM GAM 10AM 11AM 12PM 1PM 2PM 3PM 4PM 5PM 6PM 7PM

Southbound

T qT t t
8PM 9PM 10PM 11PM

T
1AM

t 1 T qT t T t t tT T t T T qT q T
3AM 4AM 5AM GAM 7AM GAM 9AM 10AM 11AM 12PM@ 1PM 2PM 3PM 4PM 5PM 6PM 7PM

T qT q 1
SPM 9PM 10PM 11PM

Figure 2: Existing Speed Graph for |-270

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The validation targets for the I|-270 and I-495 model were:

a) Volumes
o Throughput volumes within 10%, GEH within 5

b) Speed
o +15 MPH for I-495 Inner Loop/Clockwise in the AM Peak Hour

+14 MPH for 1-495 Outer Loop/Counter-clockwise in the AM Peak Hour
+17 MPH for I-270 Southbound in the AM Peak Hour

+6 MPH for I-270 Northbound in the AM Peak Hour

+16 MPH for 1-495 Inner Loop/Clockwise in the PM Peak Hour

+19 MPH for 1-495 Outer Loop/Counter-clockwise in the PM Peak Hour
+12 MPH for I-270 Southbound in the PM Peak Hour

+16 MPH for I-270 Northbound in the PM Peak Hour

oO Oo O09 0 0 909 0

These targets were chosen based on the complexity and size of the network and the variability of the field-measured travel
time runs along certain travel time segments. Priority was given to corridor travel speeds since it will be animportant measure
of effectiveness for evaluation.

5) Summary of Results

The results are summarized below in Figures A1, A2, and A3 in the appendix. These tables show the travel time along the I-
495 and !-270 corridors, the length and % of each corridor meeting the simulation targets, and the length and % of each
segment over 0.5 miles long in each corridor meeting the simulation targets in the 8-9 AM and 5-6 PM peak hours,
respectively. Most evaluation periods show close correlation in terms of speed (and as a result, travel time) with a few
exceptions.

-  |-270 Southbound from 6 AM to 8 AM
-  |-270 Northbound from 3 PM to 7 PM

For the longer segment evaluation for the 8-9 AM and 5-6 PM peak hours, there was a relatively high rate of compliance for
both volume and speed found on |-270 NB in the AM peak hour and I-270 SB in the PM peak hour. Except for I-270 in the PM
peak hour, most of the longer evaluated segments were compliant with regards to speed.

It should be noted that the speeds are reflective of May 2017 (Tuesdays, Wednesdays, and Thursdays) but the volumes were
collected over multiple days, months, and years. Due to the size of the study area, there was not a cost-effective method to
collect all volume data on the same day. Additionally, due to oversaturated conditions along both corridors, the traffic
conditions are very volatile and can change dramatically from day to day. The goal of calibrating the existing model is to
develop a model that is representative of a typical day along the corridor, while also considering the volatility of the corridor
and reliability of each data set.

The VISSIM study area network for the I-270 and |-495 Managed Lane Study is larger and more complex than most traffic
simulation models, due to the duration of daily congestion and variability of the day-to-day traffic speeds and volumes along
the corridors. When evaluating the combination of model speeds and traffic volumes compared to the field-collected data,
while also considering the variability along the corridor, the model appears to be reasonably calibrated, thereby providing
the sensitivity necessary to evaluate the future year conditions for alternative analysis. Additional refinements to the
modeling may be completed as the study progresses and a preferred alternative is selected.

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APPENDIX A

Figures Ai to A3 show the travel time summary and compliance summaries

Figures A4 to A59 show the volume, speed, and travel time result summaries for all the |-495 mainline segments.
Figures A57 to A104 show the volume, speed, and travel time result summaries for all the |-270 mainline segments.
Figures A105 to A120 show the volume, speed, and travel time result summaries for all the |-495 ramp segments.
Figures A121 to A136 show the volume, speed, and travel time result summaries for all the |-270 ramp segments.

Figures A137 to A144 show the volume, speed, and travel time result summaries for all the I-270 Spur ramp segments.

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BUSS

. Length | Field Travel | Simulated Travel | Difference | Difference
Time Period Segment ' = 2 :
(miles) | Time (min) Time (min) (min) (%)
6-7 AM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 43.4 46.0 -2.6 -6%
7-8 AM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 65.8 54.6 11.2 17%
8-9 AM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 66.2 53.1 13.0 20%
9-10 AM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 53.2 50.3 3.0 6%
6-7 AM |-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 49.3 54.1 -4,9 -10%
7-8 AM |-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 69.6 66.8 2.8 4%
8-9 AM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 79.9 69,1 10.8 13%
9-10 AM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 64,7 61.8 2.9 5%
6-7 AM |-270 from I-495 to MD 85 31.1 28.5 29.5 -1.0 -3%
7-8 AM |-270 from I-495 to MD 85 31.1 28.5 29.7 -11 -4%
8-9 AM |-270 from I-495 to MD 85 31.1 28.7 29.8 -11 -4%
9-10 AM 1-270 from 1-495 to MD 85 31.1 29,3 29.8 -0.5 -2%
6-7 AM 1-270 from MD 85 to |-495 31.3 48.3 51.5 -3.2 -7%
7-8 AM 1-270 from MD 85 to |-495 31.3 61.7 59.9 1.8 3%
8-9 AM 1-270 from MD 85 to |-495 31.3 56.9 43.8 8.1 14%
9-10 AM 1-270 from MD 85 to |-495 31.3 42.8 41.6 1.3 3%
3-4 PM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 72.9 64.0 8.9 12%
4-5PM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 97.4 84.8 12.7 13%
5-6PM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 109.2 104.6 4.5 4%
6-7 PM 1-495 Inner Loop from VA 193 to Woodrow Wilson Bridge 43,3 86,7 94.9 -8.2 -9%
3-4 PM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 63.7 62.6 11 2%
4-5 PM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 77.3 71.4 5.9 8%
5-6 PM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 81.5 83.6 -2.2 -3%
6-7 PM 1-495 Outer Loop from Woodrow Wilson Bridge to VA 193 43.6 65.8 84.8 -19.0 -29%
3-4 PM |-270 from 1-495 to MD 85 31.1 44.5 41.0 3.5 8%
4-5 PM |-270 from I-495 to MD 85 31.1 53.9 44.4 9.5 18%
5-6 PM |-270 from I|-495 to MD 85 31.1 65.5 50.3 15.1 23%
6-7 PM |-270 from I|-495 to MD 85 31.1 46.6 49.1 -2.4 -5%
3-4 PM !-270 from MD 85 to |-495 31.3 29.4 30.9 -L5 -5%
4-5 PM 1-270 from MD 85 to |-495 31.3 31.4 31.3 0.0 0%
5-6 PM 1-270 from MD 85 to |-495 31.3 32.9 317 1.2 4%
6-7 PM 1-270 from MD 85 to |-495 31.3 30.1 31.3 -1,1 -4%

Figure A. 1: Travel Time Summary

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Total Length of | Total Length of Total Length of nem one S
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ae, Speed Criteria (Miles) es Speed Criteria Volume and
(Miles) Criteria (%) Criteria (%) = bavi
(Miles) Speed Criteria (%)
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6-7 AM nner “oop irom ws se t9 43.3 1L6 26.7% 41.4 95.7% 11.6 26.7%
Woodrow Wilson Bridge
1-495 Inner Loop from VA 193 to
7-8 AM i 43,3 11.7 27.0% 37.0 85.5% 13.0 30.1%
Woodrow Wilson Bridge
Sang | PS tnoer boop trem Wn t93t0 43.3 5.8 13.4% 36.8 85.1% 4.6 10.6%
Woodrow Wilson Bridge
i fi
scitayy: | PAS Ineerteap renew 20509 43.3 5.5 12.7% 37.4 86.5% 55 12.7%
Woodrow Wilson Bridge
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” Wilson Bridge to VA 193 . . ° ‘ ° . .
pany | OS Outerloop trom Wesdaw | aoe 13.9 31.8% 34.5 79.2% 13.6 31.1%
° Wilson Bridge to VA 193 ° : ; ; ; :
s-gam | 1495 Outer Loop from Woodrow | 4. 10.9 25.1% 34.6 79,3% 8.0 18.5%
Wilson Bridge to VA 193
9-10 am | 495 Outer Loop from Woodrow), 7.8 17.8% 34.7 79.6% 40.8 93.5%
Wilson Bridge to VA 193
6-7 AM 1-270 from 1-495 to MD 85 33.1 6.0 18.3% 31.1 94.0% 6.0 18.3%
7-8 AM 1-270 from I-495 to MD 85 33.1 20.2 61.1% 311 94.0% 19.2 58.1%
8-9 AM 1-270 from 1-495 to MD 85 33.1 20.8 62.9% 311 93.9% 19.9 60.0%
9-10 AM 1-270 from 1-495 to MD 85 33.1 8.3 24.9% 30.9 93.4% 7.3 22.0%
6-7 AM 1-270 from MD 85 to 1-495 33.3 3.2 9.6% 25.1 75.3% 3.0 8.9%
7-8 AM 1-270 from MD 85 to 1-495 33.3 13 3.9% 23.3 87.9% 13 3.9%
8-9 AM 1-270 from MD 85 to 1-495 33.3 3.5 10.5% 24.8 74.4% 3.5 10.5%
9-10 AM 1-270 from MD 85 to 1-495 33.3 12.3 36.9% 28.5 85.5% 11.3 33.8%
i fi
sayy | tea merceae trent vA 108 to 43.3 16.3 37.7% 33.6 77.5% 12.5 28.8%
Woodrow Wilson Bridge
1-495 Inner Loop from VA 193 t
4-5 PM Cee tee emer 43.3 5.8 13.5% 37.0 85.5% 5.8 13.5%
Woodrow Wilson Bridge
1-495 Inner Loop fram VA 193 t
5-6 PM PERRO Ec ms 43,3 11.4 26.4% 35.3 81.5% 10.3 23.8%
Woodrow Wilson Bridge
6-7pm__ | 1495 Inner Loop from VA 193 to 43.3 12.0 27.7% 38.0 87.7% 11.4 26.4%
Woodrow Wilson Bridge
34pm | 1499 Outer Loop from Woodrow | 4, 29.5 67.8% 315 72.2% 20.7 47.4%
” Wilson Bridge to VA 193 . . : . ° . :
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Wilson Bridge to VA 193 . . * . . . .
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Wilson Bridge to VA 193
erp |e owertneptremWaadrow | gag 16.4 37.7% 37.1 85.2% 13.3 30.5%
Wilson Bridge to VA 193
3-4PM 1-270 from 1-495 to MD 85 33.1 1.0 3.0% 2.1 69.8% 0.0 0.0%
4-5PM 1-270 from 1-495 to MD 85 33.1 0.7 2.1% 20.4 61.5% 0.7 2.1%
5-6 PM 1-270 from 1-495 to MD 85 33.1 1.0 3.1% 12.5 37.6% 0.1 0.2%
6-7 PM 1-270 from 1-495 to MD 85 33.1 2.0 6.0% 25.7 77.1% 0.0 0.0%
3-4PM 1-270 from MD 85 to 1-495 33.3 18.1 54.2% 31.1 93.2% 18.1 54.2%
45PM 1-270 from MD 85 to 1-495 33.3 17.3 52.0% 311 93.2% 17.3 52.0%
5-6 PM 1-270 from MD 85 to 1-495 33.3 23.2 69.4% 29.9 89.7% 23.2 69.4%
6-7 PM 1-270 from MD 85 to -495 33.3 8.1 24.2% 30.6 91.8% 8.1 24.2%

Figure A.2: All Segments Compliance Summary

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Time Period Segment 6 >= 0.5 Miles) >= 0.5 Miles) Seen (Length >= 0.5 : ‘ .
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Miles) (Miles) get = ily Speed Criteria ni Volume and Speed | Both Volume and
Criteria (Miles) Criteria (%) Speed Criteria (%) eee i ate
(Miles) Criteria (Miles) Speed Criteria (%)
1-495] Li fi ‘A193 te
8-9 AM Sitar Loop troy VA 192:80 33.1 5.8 17.5% 273 82.6% 4.6 13.8%
Woodrow Wilson Bridge
morany | EPO Loon ror Woodrow 34.9 95 27.3% 27.4 78.5% 7A 20.3%
Wilson Bridge to VA 193 . . . . . . .
8-9 AM 1-270 from |-495 to MD 85 31.0 18.9 60.8% 29.0 93.6% 17.9 57.7%
8-9 AM 1-270 from MD 8&5 to 1-495 29.9 3.3 11.0% 21,9 73.2% 3.3 11.0%
1-495 | L f VA 193 t
5-6 PM ee 33.1 83 25.2% 26.5 80.0% 7.2 21.8%
Woodrow Wilson Bridge
5-6pm_ | '499 Outer Loop from Woodrow 34.9 14.7 42.0% 26.2 75.1% 8.4 24.0%
Wilson Bridge to VA 193 . . . . . . ‘
5-6 PM 1-270 from 1-495 to MD 8&5 31.0 1.0 3.2% 11.2 36.2% 0.0 0.0%
5-6 PM 1-270 from MD &5 to 1-495 29.9 20.2 67.6% 26.7 89.4% 20.2 67.6%

Figure A-3: Long Segments Compliance Summary

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|-495 Mainline Volume
Tables

Legend

| Higher Throughput in Model

Higher Throughput in Field

Criteria Not Met

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Figure A.4; |-495 Mainline 6-7 AM Volumes

1-495 Inner Loop Calibration not met

BETWEEN VA-193 AND GW MEMORIAL PREWY 7362 7431 Yes 0.8023 Yes
AMERICAN LEGION BRIDGE 7963 #DIV/0! 126.198 No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 5390 7445 No 25.6553 No
BETWEEN MD 190 AND 1-270 6278 7146 No 10.5978 No
BETWEEN 1-270 WEST AND MD 187 3253 4303 No 17.079 No
BETWEEN 1-270 EAST AND MD 187 3068 3992 No 15.5559 No
BETWEEN MD 355 AND MD 185 5795 6131 Yes 4.34799 | Yes
BETWEEN MD 185 AND MD 97 5213 5714 Yes 6.7714 No
BETWEEN MD 97 AND US 29 5121 5436 Yes 4.33227 | Yes
BETWEEN MD US 29 AND MD 193 5668 $449 Yes 2.9408 Yes
BETWEEN MD 193 AND MD 650 4254 5763 No 21.3191 No
BETWEEN MD 650 AND F-95 6777 7066 Yes 3.4678 Yes
BETWEEN US 1 AND L-95 6157 6934 No 9.60694 No
BETWEEN GREENBELT STATION AND US 1 6942 7735 No 9.25415 No
BETWEEN GREENBELT STATION AND MD 201 5917 7383 No 17.9715 No
BETWEEN MD 201 AND MD 295 $930 6857 No 11.5904 No
BETWEEN MD 295 AND MD 450 3972 6082 No 29.7597 No
BETWEEN MD 450 AND US 50 5574 6502 No 11.9458 No
BETWEEN US 50 AND MD 202 5839 7360 No 18.7171 No
BETWEEN MD 202 AND ARENA DR 5714 5898 Yes 2.41479 | Yes
BETWEEN ARENA DR AND MD 214 5949 7233 No 15.8099 | __No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 4010 7168 No 42.2363 No
BETWEEN RITCHIE MARLBORO AND MD 4 6802 7295 Yes 5.86632 No
BETWEEN MD 4 AND FORESTVILLE RD 6362 6826 res §.71102 No.
BETWEEN FORESTVILLE AND MD 218 6179 #DIV/0! 111.162 No
BETWEEN MD 218 AND MD 5 6215 6345 "es 1.63418 | Yes
BETWEEN MD 5 AND MD 414 4685 6746 No 27.2646 No
BETWEEN MD 414 AND MD 210 6577 6818 Yes 2.94181 Yes
BETWEEN MD 210 AND 1-295 7551 TI68 Yes 24738 Yes
WOODROW WILSON BRIDGE 7825 9506 No. 18.0606 No
|I-495 Outer Loop Calibration not met

WOODROW WILSON BRIDGE 5676 7420 No 21.5551 | _No
BETWEEN MD 210 AND 1-295 3965 4357 Yes 6.0694 No
BETWEEN MD 414 AND MD 210 3932 4588 No 10.0508 |__No
BETWEEN MD 5 AND MD 414 3230 4373 No 18.542 No
IBETWEEN MD 218 AND MD 5 5647 5686 Yes 0.51146 | Yes
IBETWEEN FORESTVILLE AND MD 218 5071 #DIV/0! 100.703 No
BETWEEN MD 4 AND FORESTVILLE RD 5588 5698 Yes 1.46101 Yes
BETWEEN RITCHIE MARLBORO AND MD 4 6389 6513 Yes 1.53767 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 4297 7405 No 40.6346 No
BETWEEN ARENA DR AND MD 214 6675 7771 No 12.8902 No
BETWEEN MD 202 AND ARENA DR 6552 5864 No 8.7385 No
BETWEEN US 50 AND MD 202 6590 7725 No 13.4158 No
BETWEEN MD 450 AND US 50 7101 $340 No 14.0982 No
BETWEEN MD 295 AND MD 450 5383 $385 No 36.1791 No
BETWEEN MD 201 AND MD 295 6123 $390 No 26.6153 No
BETWEEN GREENBELT STATION AND MD 201 6843 7814 No 11.3369 No
BETWEEN GREENBELT STATION AND US 1 7031 7871 No 9.73414 No
BETWEEN US 1 AND I-95 6926 7618 Yes 8.1091 No
BETWEEN MD 650 AND L-95 8317 $219 Yes 1.07777 | Yes
BETWEEN MD 193 AND MD 650 5235 7088 No 23.6095 No
BETWEEN MD US 29 AND MD 193 6569 6998 Yes §.20572 No
BETWEEN MD 97 AND US 29 7595 7633 Yes 0.42977 | Yes
BETWEEN MD 185 AND MD 97 8092 7968 Yes 1.38097 | Yes
BETWEEN MD 355 AND MD 185 6497 6636 Yes 1.71226 Yes
BETWEEN 1-270 EAST AND MD 187 3779 3665 Yes 1.8686 Yes
BETWEEN 1-270 WEST AND MD 187 3848 3830 Yes 0.29455 | Yes
BETWEEN MD 190 AND 1-270 8930 9565 Yes 6.60586 No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 5852 $017 No 25.9959 No.
AMERICAN LEGION BRIDGE $160 #DIV/0! 127.746 No
BETWEEN VA-193 AND GW MEMORIAL PKWY 7894 §925 No 23.6909 No

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Figure A.5:; |-495 Mainline 7-8 AM Volumes

1-495 Inner Loop Calibration not met
BETWEEN VA-193 AND GW MEMORIAL PKWY 9289 8040 No | 13.4237 No
AMERICAN LEGION BRIDGE 8348 #DIV/0! 129.209 No.
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6651 7820 No 13.7373 No
IBETWEEN MD 190 AND 1-270 8502 7830 Yes TA4208 No.
BETWEEN 1-270 WEST AND MD 187 4095 4482 Yes 5.90214 No
BETWEEN 1-270 EAST AND MD 187 3333 4273 No 15.239 No
BETWEEN MD 355 AND MD 185 6761 7811 No 12.2983 No
BETWEEN MD 185 AND MD 97 7227 7301 Yes 0.86825 | Yes
BETWEEN MD 97 AND US 29 6750 7143 Yes 4.7153 Yes
BETWEEN MD US 29 AND MD 193 6575 6846 Yes 3.30518 | Yes
BETWEEN MD 193 AND MD 650 5563 7231 No 20.852 No
BETWEEN MD 650 AND 1-95 8538 8275 Yes 2.87395 | Yes
BETWEEN US 1 AND 1-95 6820 6740 Yes 0.97462 | Yes
BETWEEN GREENBELT STATION AND US 1 7823 8100 Yes 3.10166 | Yes
BETWEEN GREENBELT STATION AND MD 201 6778 7607 No 9.77495 No
BETWEEN MD 201 AND MD 295 6919 7023 Yes 1.23965 | Yes
BETWEEN MD 295 AND MD 450 ATAT 6345 No 21.461 No
BETWEEN MD 450 AND US 50 6625 6717 Yes 1.1203 Yes
BETWEEN US 50 AND MD 202 7212 7644 Yes 5.00671 No
BETWEEN MD 202 AND ARENA DR 6792 S716 No 13.6127 No
BETWEEN ARENA DR AND MD 214 6901 7371 Yes 5.55796 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 4335 7266 No 38.4843 No
BETWEEN RITCHIE MARLBORO AND MD 4 8049 7387 Yes 7.5412 No
IBETWEEN MD 4 AND FORESTVILLE RD 6875 6543 Yes 4.05639 Yes
BETWEEN FORESTVILLE AND MD 218 5926 #DIV/0! 108.867 No
BETWEEN MD 218 AND MD 5 6317 6110 Yes 2.62924 Yes
BETWEEN MD 5 AND MD 414 4765 5403 No 8.95123 No
BETWEEN MD 414 AND MD 210 5411 5495 Yes 1.13078 Yes
BETWEEN MD 210 AND 1-295 7990 6639 No 15.7996 No
WOODROW WILSON BRIDGE 8253 9891 No 17.1949 No
|I-495 Outer Loop Calibration not met
WOODROW WILSON BRIDGE 6105 8214 No 24.9223 No_
IBETWEEN MD 210 AND 1-295 4670 4854 Yes 2.65921 Yes
BETWEEN MD 414 AND MD 210 4981 5008, Yes 0.38205 Yes
BETWEEN MD 5 AND MD 414 4224 4938 No 10.5456 No
IBETWEEN MD 218 AND MD 5 6222 6312 Yes 1.13373 Yes
IBETWEEN FORESTVILLE AND MD 218 5667 #DIV/0! 106.459 No
BETWEEN MD 4 AND FORESTVILLE RD 6187 6724 Yes 6.68358 No
BETWEEN RITCHIE MARLBORO AND MD 4 7872 7380 Yes 5.634 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 4848 8351 No 43.1152 No
BETWEEN ARENA DR AND MD 214 8431 8309 Yes 1.339 Yes
BETWEEN MD 202 AND ARENA DR 6653 5408 No 16.039 No
BETWEEN US 50 AND MD 202 6482 7934 No 17.1025 No
BETWEEN MD 450. AND US 50 7767 8613 No 9.34552 No
BETWEEN MD 295 AND MD 450 5797 8586 No 32.8828 No
BETWEEN MD 201 AND MD 295 6707 8715 No 22.867 No
BETWEEN GREENBELT STATION AND MD 201 6843 7894 No 12.2465 No
BETWEEN GREENBELT STATION AND US 1 7145 7997 No 9.7946 No
BETWEEN US 1 AND 1-95 6808 7653 No 9.94025 No
BETWEEN MD 650 AND 1-95 5068 6420 No 17.8421 No
IBETWEEN MD 193 AND MD 650 4594 6115 No 20.7796 No
BETWEEN MD US 29 AND MD 193 5086 6434 No 17.7584 No
IBETWEEN MD 97 AND US 29 7028 7073 Yes 0.53592 Yes
IBETWEEN MD 185 AND MD 97 8334 8155 Yes 1.96861 Yes
BETWEEN MD 355 AND MD 185 7541 7655 Yes 1.30498 Yes
BETWEEN L270 EAST AND MD 187 4259 4290 Yes 0.47034 Yes
BETWEEN I-270 WEST AND MD 187 4731 4593 Yes 2.01744 Yes
IBETWEEN MD 190 AND 1-270 9718 9973 Yes 2.57243 Yes
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6554 8373 No 21.0553 No
AMERICAN LEGION BRIDGE 8879 #DIV/0! 133.255 No
IBETWEEN VA-193 AND GW MEMORIAL PKWY 8516 6592 No 22.1399 No

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L-495 Inner Loop Calibration not met
BETWEEN VA-193 AND GW MEMORIAL PKWY 9274 7351 No 21.0976 No
AMERICAN LEGION BRIDGE $309 #DIV/O0! 128.911 No
BETWEEN CLARA BARTON PEWY AND CABIN JOHN PKWY 6995 7704 No 8.26453 No
BETWEEN MD 190 AND I-270 9156 $178 No 10.5024 No
BETWEEN 1-270 WEST AND MD 187 3590 3908 Yes 5.19761 No
BETWEEN I-270 EAST AND MD 187 3227 3678 No 7.66732 No
BETWEEN MD 355 AND MD 185 6439 7145 No 8.56359 No
BETWEEN MD 185 AND MD 97 6990 7427 Yes 5.14996 No
BETWEEN MD 97 AND US 29 6634 7111 Yes 5.75685 No
BETWEEN MD US 29 AND MD 193 6349 6928 Yes 7.1093 No
BETWEEN MD 193 AND MD 650 5782 7465 No 20.6766 No
BETWEEN MD 650 AND I-95 7996 7885 Yes 1.24847 Yes
BETWEEN US 1 AND 1-95 6536 7316 No 9.36954 No
BETWEEN GREENBELT STATION AND US 1 7823 8495 Yes 7.4342 No
BETWEEN GREENBELT STATION AND MD 201 7100 8076 No 11.2016 No
BETWEEN MD 201 AND MD 295 7248 7314 Yes 6.52214 No.
BETWEEN MD 295 AND MD 450 5134 7123 No 25.4043 No
BETWEEN MD 450 AND US 50 6730 7493 No 9.04782 No
BETWEEN US 50 AND MD 202 6983 $300 No 15.0687 No
BETWEEN MD 202 AND ARENA DR 6361 5958 Yes 5.14138 No
BETWEEN ARENA DR AND MD 214 6544 7726 No 13.9961 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 4877 7296 No 31.0093 No
BETWEEN RITCHIE MARLBORO AND MD 4 7255 7169 Yes 1.01268 Yes
BETWEEN MD 4 AND FORESTVILLE RD 6157 6986 No 10.2264 No
BETWEEN FORESTVILLE AND MD 218 6338 #DIV/0l 112.583 No
BETWEEN MD 218 AND MD 5 5807 6538 No 9.29819 No
BETWEEN MD 5 AND MD 414 4685 5882 No 16.4612 No
BETWEEN MD 414 AND MD 210 4496 5907 No 19.5578 No
BETWEEN MD 210 AND I-295 6497 6878 Yes 4.65599 | Yes
WOODROW WILSON BRIDGE 7396 9787 No 25.7905 No
1-495 Outer Loop Calibration not met
WOODROW WILSON BRIDGE 6319 7836 No 18.0293 No
BETWEEN MD 210 AND L-295 4053 4593 No 8.21667 No
BETWEEN MD 414 AND MD 210 4631 4825 Yes 2.82499 Yes
BETWEEN MD 5 AND MD 414 4224 4594 Yes 5.57595 No
BETWEEN MD 218 AND MD 5 5552 5737 Yes 2.4624 Yes
BETWEEN FORESTVILLE AND MD 218 5133 #DIV/0! 101.316 No
BETWEEN MD 4 AND FORESTVILLE RD 5987 6145 Yes 2.02546 Yes
BETWEEN RITCHIE MARLBORO AND MD 4 7302 6956 Yes 4.09491 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5288 7577 No 28.5373 No
BETWEEN ARENA DR AND MD 214 $197 7733 Yes 5.19906 No
BETWEEN MD 202 AND ARENA DR 6451 4947 No 19.9227 No
BETWEEN US 50 AND MD 202 6806 7770 No 11.2921 No
BETWEEN MD 450 AND US 50 7167 8535 Yes 8.50119 No
BETWEEN MD 295 AND MD 450 5797 8368 No 30.5471 No
BETWEEN MD 201 AND MD 295 6512 8243 No 20.1559 No
BETWEEN GREENBELT STATION AND MD 201 6734 7449 No 8.49347 No
BETWEEN GREENBELT STATION AND US 1 6691 7547 No 10.1424 No
BETWEEN US 1 AND I-95 6573 7357 No 9.38828 No |
BETWEEN MD 650 AND £95 3769 6723 No 40.7846 No
BETWEEN MD 193 AND MD 650 4594 5972 No 18.9555 No
BETWEEN MD US 29 AND MD 193 4980 6275 No 17.2565 No
BETWEEN MD 97 AND US 29 6121 6885 No 9.46805 No
BETWEEN MD 185 AND MD 97 8092 8212 Yes 1.33183 | Yes
BETWEEN MD 355 AND MD 185 7773 $273 Yes §.5794 No
BETWEEN I-270 EAST AND MD 187 4019 3844 Yes 2.78696 | Yes
BETWEEN I-270 WEST AND MD 187 4668 4066 No 9.10972 No
BETWEEN MD 190 AND L270 9324 9530 Yes 2.12424 | Yes
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6788 $238 No 16.7232 No
AMERICAN LEGION BRIDGE 9359 #DIV/O! 136.079 No
BETWEEN VA-193 AND GW MEMORIAL PEWY 8949 6948 No 22.4442 No

Figure A.6; |-495 Mainline 8-9 AM Volumes

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1-495 Inner Loop

BETWEEN VA-193 AND GW MEMORIAL PRWY 8712 7150 17.5395
AMERICAN LEGION BRIDGE 8274 #DIV/O! 128.637 No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6995 7606 Yes 7.14524 No
BETWEEN MD 190. AND 1-270 $502 8028 Yes 5.21662 No
BETWEEN 1-270 WEST AND MD 187 3366 3864 No 8.28678 No
BETWEEN 1-270 EAST AND MD 187 2645 3727 No 19.1733 No
BETWEEN MD 355 AND MD 185 5687 6890 No 15.1732 No
BETWEEN MD 185 AND MD 97 6753 6798 Yes 0.54669 Yes
BETWEEN MD 97 AND US 29 6285 6682 Yes 4.92738 Yes
BETWEEN MD US 29 AND MD 193 5895 6412 Yes 6.59379 No
BETWEEN MD 193 AND MD 650 5782 6677 No 11.3396 No
BETWEEN MD 650 AND 1-95 7454 7050 Yes 4.75004 Yes
BETWEEN US 1 AND L-95 5778 7342 No 19.3101 No
BETWEEN GREENBELT STATION AND US 1 6721 8407 No 19.3857 No
BETWEEN GREENBELT STATION AND MD 201 6885 8253 No 15.7269 No
BETWEEN MD 201 AND MD 295 6589 7818 No 14.4832 No
BETWEEN MD 295 AND MD 450 5231 TO06 No 22.6862 No
BETWEEN MD 450 AND US 50 5784 7435 No 20.3049 No
BETWEEN US 50 AND MD 202 6640 $124 No 17.2666 No
BETWEEN MD 202 AND ARENA DR 6253 5988 Yes 3.38729 Yes
BETWEEN ARENA DR AND MD 214 6068 7698 No 19.6414 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5202 7385 No 27,5203 No
BETWEEN RITCHIE MARLBORO AND MD 4 6008 7549 No 18.7113 No
BETWEEN MD 4 AND FORESTVILLE RD 5747 6837 No 13.7445 No
BETWEEN FORESTVILLE AND MD 218 6242 #DIV/0! 111.734 No
BETWEEN MD 218 AND MD 5 5502 6470 No 12.5052 No
BETWEEN MD 5 AND MD 414 4368 5854 No 20.7793 No
BETWEEN MD 414 AND MD 210 5162 5637 Yes 6.4609 No
BETWEEN MD 210 AND 1-295 4917 6201 No 17.215 No
WOODROW WILSON BRIDGE 5681 7693 No 24.6072 No
1-495 Outer Loop Calibration not met
WOODROW WILSON BRIDGE 5569 7304 No 21.6288 No
BETWEEN MD 210 AND 1-295 3789 4484 No 10.8061 No
BETWEEN MD 414 AND MD 210 4282 4704 Yes 6.28842 No
BETWEEN MD 5 AND MD 414 4141 4583 No 6.68867 No
BETWEEN MD 218 AND MD 5 5264 5571 Yes 4.16764 Yes
BETWEEN FORESTVILLE AND MD 218 5240 #DIV/O! 102.374 No
BETWEEN MD 4 AND FORESTVILLE RD 5588 5927 Yes 446444 Yes
BETWEEN RITCHIE MARLBORO AND MD 4 6275 6650 Yes 4.66171 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5839 6997 No 14.4487 No
BETWEEN ARENA DR AND MD 214 6792 7259 Yes 5.56571 No
BETWEEN MD 202 AND ARENA DR 6250 5192 No 13.9913 No
BETWEEN US 50 AND MD 202 6374 7395 No 12.3052 No
BETWEEN MD 450 AND US 50 6768 7911 No 13.3361 No
BETWEEN MD 295 AND MD 450 5797 7604 No 22.0723 No
BETWEEN MD 201 AND MD 295 5249 7356 No 26,5347 No
BETWEEN GREENBELT STATION AND MD 201 S757 6719 No 12.1771 No
BETWEEN GREENBELT STATION AND US 1 5443 6813 No 17.4979 No
BETWEEN US 1 AND 1-95 5517 6916 No 17,7437 No
BETWEEN MD 650 AND 1-95 6108 6591 Yes 6.05531 No
BETWEEN MD 193 AND MD 650 5449 6091 No 8.44536 No
BETWEEN MD Us 29 AND MD 193 5827 6289 Yes 5.93262 No
BETWEEN MD 97 AND US 29 6348 6970 Yes 7.61931 No
BETWEEN MD 185 AND MD 97 6884 8216 No 15.3323 No
BETWEEN MD 355 AND MD 185 6729 7834 No 12.9438 No
IBETWEEN 1-270 EAST AND MD 187 3599 4003 No 6.55288 No
IBETWEEN 1-270 WEST AND MD 187 4100 4200 Yes 1.54844 Yes
IBETWEEN MD 190 AND 1-270 8930 8853 Yes 0.8219 Yes
IBETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6905 7633 No 8.53303 No
AMERICAN LEGION BRIDGE 8490 #DTV/0! 130.303 No
IBETWEEN VA-193 AND GW MEMORIAL PKWY 8438 6297 No 24.9403 No

Figure A.7: |-495 Mainline 9-10 AM Volumes

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1-495 Inner Loop Calibr: : i
BETWEEN VA-193 AND GW MEMORIAL PKWY 7249 6997 | 3% Yes 2.98586 | Yes
AMERICAN LEGION BRIDGE $371 #DIV/O! 129.387 |__No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6995 7622 Yes 7.33707 |__No
BETWEEN MD 190 AND £270 8763 8951 Yes 1.99499 |__Yes
BETWEEN J-270 WEST AND MD 187 3197 4130 No 15.4069 |__No
BETWEEN 1-270 EAST AND MD 187 2910 3925 No 17.3664 |__No
BETWEEN MD 355 AND MD 185 6439 7436 No 11.9729 |__No
BETWEEN MD 185 AND MD 97 7701 7446 l Yes 2.93596 | Yes
BETWEEN MD 97 AND US 29 8147 7770 Yes 4.23163 | Yes
BETWEEN MD US 29 AND MD 193 7369 7540 Yes 1.97768 | Yes
BETWEEN MD 193 AND MD 650 7309 7564 Yes 2.95416 | Yes
BETWEEN MD 650 AND 95 9081 $203 Yes 9.44193 |__ No
BETWEEN US 1 AND F-95 5305 6731 No 18.379 No
BETWEEN GREENBELT STATION AND US 1 6391 8242 No 21.6426 No
BETWEEN GREENBELT STATION AND MD 201 6347 8155 No 21.2269 No
BETWEEN MD 201 AND MD 295 6919 7960 No 12.072 No
BETWEEN MD 295 AND MD 450 6393 7989 No 18.8152 No
BETWEEN MD 450 AND US 50 7572 8474 ! No 10.0729 No
BETWEEN US 50 AND MD 202 7441 8132 : Yes 783081 No
BETWEEN MD 202 AND ARENA DR 7008 5795 i No 15.1673 No
BETWEEN ARENA DR AND MD 214 7734 7575 Yes 1.81735 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6936 7225 Yes 3.43746 Yes
BETWEEN RITCHIE MARLBORO AND MD 4 7595 6488, No 13.1952 No
BETWEEN MD 4 AND FORESTVILLE RD. 6465 6098, | Yes 4.62737 Yes
BETWEEN FORESTVILLE AND MD 218 5656 #DIV/O! 106.353 No
BETWEEN MD 218 AND MD 5 6521 6100 | Yes 5.30609 ‘No
BETWEEN MD 5 AND MD 414 4923 4972 Yes 0.69309 |__Yes
BETWEEN MD 414 AND MD 210 4829 4763 | Yes 0.95303 |__Yes
BETWEEN MD 210 AND 1-295 4565 4916 Yes 5.09794 |__No-
(WOODROW WILSON BRIDGE 6753 7580 No 9.76331 No.
1-495 Outer Loop Calibration not met
WOODROW WILSON BRIDGE 7926 9068 Mt No 12.3889 | _No
BETWEEN MD 210 AND £295 5816 7269 No 17.9665 No
BETWEEN MD 414 AND MD 210 6641 7087 Yes 5.37733 No
BETWEEN MD 5 AND MD 414 6211 6523 Yes 3.91009 Yes
BETWEEN MD 218 AND MD 5 6509 6616 Yes 1.31469 Yes
BETWEEN FORESTVILLE AND MD 218 6357 #DTV/O! 112.752 No
BETWEEN MD 4 AND FORESTVILLE RD 7085 Til Yes 2.66673 Yes
BETWEEN RITCHIE MARLBORO AND MD 4 7872 7588 Yes 3.23593 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 7161 7876 Yes 8.24032 No
BETWEEN ARENA DR AND MD 214 6909 7243 Yes 3.96469 Yes
BETWEEN MD 202 AND ARENA DR 6451 5059 No 18.3562 ‘No
BETWEEN US 50 AND MD 202 6806 7122 Yes 3.78667 Yes
BETWEEN MD 450 AND US 50 6879 7136 Yes 3.07305 Yes
BETWEEN MD 295 AND MD 450 6315 6639 Yes 4.02892 Yes
BETWEEN MD 201 AND MD 295 6026 7385 No 16.5931 ‘No.
BETWEEN GREENBELT STATION AND MD 201 RTT 7330 Yes 0.62017 | _Yes
BETWEEN GREENBELT STATION AND US 1 7371 7478 Yes 1.23601 | Yes
BETWEEN US 1 AND E95 8099 $154 Yes 0.61288 | __Yes
BETWEEN MD 650 AND 1-95 8447 7021 No 16.215 ‘No
BETWEEN MD 193 AND MD 650 6624 6737 Yes 1.38557 | __Yes
BETWEEN MD US 29 AND MD 193 5827 6529 No $.92509 | No.
BETWEEN MD 97 AND US 29 7255 7214 Yes 0.48498 | __Yes
BETWEEN MD 185 AND MD 97 7609 7632 Yes 0.26633 | Yes
BETWEEN MD 355 AND MD 185 7657 7933 Yes 3.12889 | Yes
BETWEEN 1-270 EAST AND MD 187 3959 4290 Yes 5.15016 | _ No
BETWEEN 1-270 WEST AND MD 187 4478 4513 Yes 0.52201 | _Yes
BETWEEN MD 190 AND 1-270 8010 TT Yes 3.30984 | Yes
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 7490 7098 Yes 4.59287 | Yes
AMERICAN LEGION BRIDGE 8053 #DIV/O! 126.909 |__ No
BETWEEN VA-193 AND GW MEMORIAL PKWY 8485 5557 No 34,9439 No

Figure A.8: |-495 Mainline 3-4 PM Volumes

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1-495 Inner Loop Calibr: :

BETWEEN VA-193 AND GW MEMORIAL PKWY 6058 6495 Yes 5.51908 | No
AMERICAN LEGION BRIDGE 7943 #DIV/O! 126.036 |__No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6078 7053 No 12.0329 |__No
BETWEEN MD 190 AND £270 7324 8677 No 15.1212 |__No
BETWEEN J-270 WEST AND MD 187 2636 3906 : No 22.2056 |__No
BETWEEN 1-270 EAST AND MD 187 2592 3493 No 16.3388 |__No
BETWEEN MD 355 AND MD 185 6224 6974 No 9.22658 |__No
BETWEEN MD 185 AND MD 97 7820 7382 l Yes 5.02387 | _No
BETWEEN MD 97 AND US 29 8031 7639 Yes 4.43432 | Yes
BETWEEN MD US 29 AND MD 193 7709 7431 Yes 3.19519 | Yes
BETWEEN MD 193 AND MD 650 7200 7647 Yes 5.1909 No
BETWEEN MD 650 AND 95 $945 8366 Yes 6.22074 |__ No
BETWEEN US 1 AND F-95 5399 6880 No 18.9042 |__No
BETWEEN GREENBELT STATION AND US 1 6611 8225 No 18.7396 No
BETWEEN GREENBELT STATION AND MD 201 5702 8118 No 29.0669 No
BETWEEN MD 201 AND MD 295 6809 8031 No 14.1807 No
BETWEEN MD 295 AND MD 450 6103 7691 No 19.1214 No
BETWEEN MD 450 AND US 50 7872 8114 Yes 6.1201 No
BETWEEN US 50 AND MD 202 6983 7951 No 11.205 No
BETWEEN MD 202 AND ARENA DR 6361 5792 | Yes 7.30265 No
BETWEEN ARENA DR AND MD 214 8329 641 Yes 7.70501 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6828 7544 ' No 8.44923 ‘No.
BETWEEN RITCHIE MARLBORO AND MD 4 7822 7018 No 9.33371 No
BETWEEN MD 4 AND FORESTVILLE RD. 6670 6922 Yes 3.05384 Yes
BETWEEN FORESTVILLE AND MD 218 6441 #DIV/O! 113.499 No
BETWEEN MD 218 AND MD 5 6826 7068 Yes 2.90049 Yes
BETWEEN MD 5 AND MD 414 5162 5823 No $.91901 |__No.
BETWEEN MD 414 AND MD 210 5328 5564 Yes 3.19796 |__Yes
BETWEEN MD 210 AND 1-295 5004 5774 No 10.4923 |__No-
(WOODROW WILSON BRIDGE 7289 $634 No 15.0712 |__ No
1-495 Outer Loop Calibration not met
WOODROW WILSON BRIDGE $247 9185 i No 10.0446 |__No
BETWEEN MD 210 AND £295 7402 7521 Yes 137187 | Yes
BETWEEN MD 414 AND MD 210 6728 7291 Yes 6.72458 No
BETWEEN MD 5 AND MD 414 6294 6512 Yes 2.72126 Yes
BETWEEN MD 218 AND MD 5 6030 6623 Yes 7.45236 No
BETWEEN FORESTVILLE AND MD 218 6271 #DITV/O! 111.993 No
BETWEEN MD 4 AND FORESTVILLE RD 6386 7305 No 11.1045 ‘No
BETWEEN RITCHIE MARLBORO AND MD 4 8214 TALE Yes 5.5658 ‘No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6941 7252 Yes 3.6918 Yes
BETWEEN ARENA DR AND MD 214 7377 6963 Yes 4.88624 Yes
BETWEEN MD 202 AND ARENA DR 5342 4671 No 9.A8686 ‘No.
BETWEEN US 50 AND MD 202 6050 mags No 14.5103 No
BETWEEN MD 450 AND US 50 6768 7218 Yes 5.38122 ‘No.
BETWEEN MD 295 AND MD 450 6315 6639 Yes 4.02279 Yes
BETWEEN MD 201 AND MD 295 5929 7018 No 13.529 ‘No.
BETWEEN GREENBELT STATION AND MD 201 217 7329 Yes 0.61141 | Yes
BETWEEN GREENBELT STATION AND US 1 TA2 7679 Yes 0.37333 | Yes
BETWEEN US 1 AND E95 $334 $406 Yes 0.78972 |__Yes
BETWEEN MD 650 AND 1-95 8187 7262 No 10.5217 |__No
BETWEEN MD 193 AND MD 650 6731 6963 Yes 2.80674 | Yes
BETWEEN MD US 29 AND MD 193 6463 6710 Yes 3.04653 | _Yes
BETWEEN MD 97 AND US 29 7141 7373 Yes 2.72339 | _Yes
BETWEEN MD 185 AND MD 97 7126 7502 Yes 4.39942 | Yes
BETWEEN MD 355 AND MD 185 7193 7594 Yes 4.65784 | ___Yes
BETWEEN 1-270 EAST AND MD 187 3419 3972 No 9.08888 | No
BETWEEN 1-270 WEST AND MD 187 3658 4164 No $.09495 No
BETWEEN MD 190 AND L270 8273 7374 No 10.1697 | No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 7022 6829 Yes 2.32522 | Yes
AMERICAN LEGION BRIDGE $141 #DIV/O! 127,603 | __No
BETWEEN VA-193 AND GW MEMORIAL PKWY 8135 5659 No 29.8173 No

Figure A.9: |-495 Mainline 4-5 PM Volumes

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Figure A.10: |-495 Mainline 5-6 PM Volumes

1-495 Inner Loop Cc :

BETWEEN VA-193 AND GW MEMORIAL PKWY 5884 6172 Yes 3.70306 Yes
AMERICAN LEGION BRIDGE 7808 #DITV/0! 124.96 No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 5963 6667 No 8.85903 No
BETWEEN MD 190 AND I-270 6932 8148 No 14.0066 No
BETWEEN I-270 WEST AND MD 187 2524 3518 No 18.0847 No
BETWEEN 1-270 EAST AND MD 187 2592 3249 No 12.1573 No
BETWEEN MD 355 AND MD 185 6224 6981 No 9.31028 No
BETWEEN MD 185 AND MD 97 7109 6997 Yes 1.33661 Yes
BETWEEN MD 97 AND US 29 7332 7196 Yes 1.59865 Yes
BETWEEN MD US 29 AND MD 193 7369 7101 Yes 3.1478 Yes
BETWEEN MD 193 AND MD 650 6872 7428 Yes 6.57829 No
BETWEEN MD 650 AND L-95 8403 7977 Yes 4.70725 Yes
BETWEEN US 1 AND I-95 5399 6638 No 15,9739 ‘No
BETWEEN GREENBELT STATION AND US 1 6611 7973 No 15.9442 No
BETWEEN GREENBELT STATION AND MD 201 5487 TI24 No 27.5269 No
BETWEEN MD 201 AND MD 295 6480 7580 No 13.1137 No
BETWEEN MD 295 AND MD 450 5812 7234 No 17.6008 No
BETWEEN MD 450 AND US 50 6941 7835 No 10.3982 No
BETWEEN US 50 AND MD 202 6754 8140 No 16.0582 No
BETWEEN MD 202 AND ARENA DR 6361 5761 Yes T7347 No
BETWEEN ARENA DR AND MD 214 8448 7745 Yes 7.80996 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6503 7738 No 14.6328 ‘No
BETWEEN RITCHIE MARLBORO AND MD 4 7595 7383 Yes 2.45558 Yes
BETWEEN MD 4 AND FORESTVILLE RD. 6670 W077 Yes 4.9032 Yes
BETWEEN FORESTVILLE AND MD 218 6630 #DIV/O! 115.152 No
BETWEEN MD 218 AND MD 5 6724 7185 Yes §,.5221 No.
BETWEEN MD 5 AND MD 414 5162 6019 No 11.4554 No.
BETWEEN MD 414 AND MD 210 5495 5765 Yes 3.59511 Yes
BETWEEN MD 210 AND 1-295 4741 5790 No 14,4563 No.
[WOODROW WILSON BRIDGE 7182 8803 No 18,1345 No.
1-495 Outer Loop Calibration not met

WOODROW WILSON BRIDGE 8247 9193 No 10,1253 No
BETWEEN MD 210 AND 1-295 7314 7435 Yes 1.40613 Yes
BETWEEN MD 414 AND MD 210 6379 7194 No 9.88726 No
BETWEEN MD 5 AND MD 414 6046 6409 Yes 4.60304 Yes
BETWEEN MD 218 AND MD 5 5552 6500 No 12.2122 No
BETWEEN FORESTVILLE AND MD 218 6186 #DIV/O! 111.232 ‘No
BETWEEN MD 4 AND FORESTVILLE RD 6187 7316 No 13.7431 No
BETWEEN RITCHIE MARLBORO AND MD 4 7872 7611 Yes 2.96639 Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6390 7352 No 11.6055 No
BETWEEN ARENA DR AND MD 214 7260 7037 Yes 2.64349 Yes
BETWEEN MD 202 AND ARENA DR 5947 4484 No 20.258 ‘No.
BETWEEN US 50 AND MD 202 6266 7074 No 9.88753 No
BETWEEN MD 450 AND US 50 6325 6631 Yes 3.79883 Yes
BETWEEN MD 295 AND MD 450 5901 5960 Yes 0.76938 Yes
BETWEEN MD 201 AND MD 295 5637 6679 No 13.2815 ‘No.
BETWEEN GREENBELT STATION AND MD 201 6734 71067 Yes 4.00573 Yes
BETWEEN GREENBELT STATION AND US 1 772 7608 Yes 1.19401 Yes
BETWEEN US 1 AND I-95 8334 8466 Yes 1.4348 Yes
BETWEEN MD 650 AND 1-95 8187 8012 Yes 1.94171 Yes
BETWEEN MD 193 AND MD 650 6731 7596 No 10,2229 No
BETWEEN MD US 29 AND MD 193 6569 7028 Yes 5.56979 No.
BETWEEN MD 97 AND US 29 6234 7780 No 18,4718 No
BETWEEN MD 185 AND MD 97 5918 T1718 No 22.4794 No
BETWEEN MD 355 AND MD 185 6729 77105 No 11.4916 No
BETWEEN I-270 EAST AND MD 187 3119 3911 No 13.3586 No
BETWEEN 1-270 WEST AND MD 187 3028 4050 No 17.1834 No
BETWEEN MD 190 AND 1-270 8273 6914 No 15.5925 No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6905 6511 Yes 4.8137 Yes
AMERICAN LEGION BRIDGE 717716 #DIV/0! 124.706 No
BETWEEN VA-193 AND GW MEMORIAL PKWY 7815 5283 No 31.2913 No

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1-495 Inner Loop fi Calibration not met

BETWEEN VA-193 AND GW MEMORIAL PKWY 6475 6202 Yes __| 3.43536 |_Yes
AMERICAN LEGION BRIDGE 7805 #Drvio!__| 124.942 |__No
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6422 6849 Yes 5.24193 No
BETWEEN MD 190 AND 1-270 8240 8078 Yes 1.79348 | Yes
BETWEEN 1-270 WEST AND MD 187 2636 3613 No. 17.4744 No
BETWEEN 1-270 EAST AND MD 187 2698 3570 No 15.5764 No
BETWEEN MD 355 AND MD 185 5795 6880 No 13.6322 | _No
BETWEEN MD 185 AND MD 97 6990 6711 Yes [2.63715] Yes
BETWEEN MD 97 AND US 29 6983 6751 Yes 2.8027 | Yes
BETWEEN MD US 29 AND MD 193 7369 6413 No 11.5133 |__No
IBETWEEN MD 193 AND MD 650 6345 6804 Yes 3.17326 | Yes
BETWEEN MD 650 AND 1-95 8538 7405 No 12.687 No
IBETWEEN US 1 AND 1-95 5494 5790 Yes 3.93415 Yes
BETWEEN GREENBELT STATION AND US 1 6301 7482 No 11.7294 No
BETWEEN GREENBELT STATION AND MD 201 6240 1537 No 15.6271 |_No
BETWEEN MD 201 AND MD 295 6589 7553 No 11.4611 |_No
BETWEEN MD 295 AND MD 450 5618 6824 No 15.2873 |__No
BETWEEN MD 450 AND US 50 5048 7827 No 34.6334 |__No
BETWEEN US 50 AND MD 202 F212 8141 No 10.6031 No
BETWEEN MD 202 AND ARENA DR. 6792 5685 No 14.0122 No
BETWEEN ARENA DR AND MD 214 7972 7421 Yes 6.28646 No
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6394 7287 No 10.7942 |_No
BETWEEN RITCHIE MARLBORO AND MD 4 7369 7166 Yes [2.38419 |__Yes
BETWEEN MD 4 AND FORESTVILLE RD 6157 7093 No 11.4996 |__No
BETWEEN FORESTVILLE AND MD 218 6559 #Drvio!__| 114.536 |__No
BETWEEN MD 218 AND MD 5 6215 6975 No 9.35551 No
BETWEEN MD 5 AND MD 414 4526 5642 No 15.6484 No
BETWEEN MD 414 AND MD 210 A745 3154 Yes 5.81357 No
IBETWEEN MD 210 AND 1-295 4302 5407 No 15.8595 No
WOODROW WILSON BRIDGE 6110 $238 No 25.1241 |_No
|I-495 Outer Loop Calibration not me
WOODROW WILSON BRIDGE 7283 8640 No 15.2057 |__No
BETWEEN MD 210 AND 1-295 6521 6813 Yes _|3.57617|__Yes
BETWEEN MD 414 AND MD 210 6379 6500 Yes 1.50475 | Yes
BETWEEN MD 5 AND MD 414 5466 5761 Yes __| 3.94065 | __Yes
BETWEEN MD 218 AND MD 5 5264 3801 No 7.21305 No
BETWEEN FORESTVILLE AND MD 218 5535 #DIV/0! 105.216 No
BETWEEN MD 4 AND FORESTVILLE RD 5688 6571 _No 11.2815 No
BETWEEN RITCHIE MARLBORO AND MD 4 1074 6850 Yes _| 2.68159 | Yes
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6170 7282 No 13.5619 | _No
BETWEEN ARENA DR AND MD 214 7143 7049 Yes 1.11887 | Yes
BETWEEN MD 202 AND ARENA DR 5141 4752 Yes__| 5.52734 | __No
BETWEEN US 50 AND MD 202 5834 6909 No 13.4675 No
BETWEEN MD 450 AND US 50 5881 6622 No. 9.37493 No
IBETWEEN MD 295 AND MD 450 5390 6153 No 7.34422 No
IBETWEEN MD 201 AND MD 295 5340 6883 No 17.0343 No
BETWEEN GREENBELT STATION AND MD 201 6626 7066 Yes [5.31188 | No
BETWEEN GREENBELT STATION AND US 1 6918 7551 Yes ___| 7.43929 |_No
BETWEEN US 1 AND 1-95 7395 $156 No 8.63019 |__No
BETWEEN MD 650 AND 1-95 7407 7307 Yes 1.17172 |_Yes
IBETWEEN MD 193 AND MD 650 6410 6798 Yes 4.76844 | Yes
BETWEEN MD US 29 AND MD 193 6145 6403 Yes 3.2541 Yes
BETWEEN MD 97 AND US 29 6348 7239 No 10.8101 No
BETWEEN MD 185 AND MD 97 6280 7464 No 14.2798 No__|
BETWEEN MD 355 AND MD 185 6149 7507 No 16.4315 |__No
BETWEEN I-270 EAST AND MD 187 2880 3509 No 11.133 | No
BETWEEN I-270 WEST AND MD 187 3217 3632 No 7.09169 |_No
BETWEEN MD 190 AND I-270 7091 6819 Yes 3.2585 | Yes
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6788 6769 Yes 0.23077 | Yes
AMERICAN LEGION BRIDGE 7847 #DIV/0! 125.274 No
BETWEEN VA-193 AND GW MEMORIAL PKWY 8408 5343 No 36.9606 No__|

Figure A.11: I|-495 Mainline 6-7 PM Volumes

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-495 Mainline Travel
Time and Speed Tables

Legend

: Speed Within Acceptable Range

Speed Outside of Acceptable Range

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Ne

1-495 Inner Loop 228612 43.3

VA-193/GEORGETOWN PIKE/EXIT 13 2729 05 58.0 57.5
GEORGE WASHINGTON MEMORIAL PRWY/EXIT 14 2453 0.5 $7.1 57.2
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935 0.4 56.4 49.3
AMERICAN LEGION BRIDGE 794 0.2 59.9 38.3
BEFORE AMERICAN LEGION BRIDGE 508 01 53.0 45.9
MERGE CLARA BARTON PARKWAY 1055 02 52.4 53.2
BETWEEN CLARA BARTON PEWY AND CABIN JOHN PEWY 7287 1.4 57.5 56.4
MERGE CABIN JOHN PARKWAY 2126 0.4 64.1 56.9
BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0 65.7 56.9
MERGE MD 190 1235 0.2 66.1 57.4
BETWEEN MD 190 ANDI 270 6468 1.2 66.1 57.1
MERGE 1270 867 0.2 62.0 53.9
BETWEEN I 270 AND MD 187 7828 15 617 54.7
MERGE MD 187 2140 0.4 63.1 $6.2
BETWEEN MD 187 ANDI 270 2278 0.4 60.0 55.6
MERGE BEFORE [270 1306 0.2 58.3 50.5
MERGE AFTER I270 564 0.1 593 57.8
MD 355 MERGE 1371 0.3 60.9 58.9
BETWEEN MD 355 AND MD 185 6065 Li 59.8 59.2
MD 185 MERGE 2074 0.4 6L1 58.5
BETWEEN MD 185 AND MD 97 9907 1.9 60.7 58.6
MD 97 MERGE 1461 0.3 63.1 57.7.
BETWEEN MD 97 AND US 29 5965 1,1 63.3 59.7
MERGE US 29 1734 03 63.8 603
BETWEEN MD US 29 AND MD 193 1640 03 63.5 59.6
MERGE MD 193 2099 04 643 58.0
BETWEEN MD 193 AND MD 650 6046 1.1 65.1 59.0
MERGE MD 650 3008 0.6 63.6 58.5
BETWEEN MD 650 ANDI 95 2869 05 624 60.7
BEFORE 1 95 MERGE 5612 11 67.0 60.3
AFTER 195 MERGE 2578 05 27 55.7
MERGE US 1 3873 05 62.0 53.2
BEFORE GREENBELT STATION MERGE 3544 07 625 49.9
AFTER GREENBELT STATION MERGE 595 0.1 63.0 50.1
BETWEEN GREENBELT STATION AND MD 201 4415 0.8 63.6 534
MERGE MD 201 3066 0.6 62.8 $2.8
BETWEEN MD 201 AND MD 295 MERGE 1900 04 61.0 54.5
MERGE MD 295 2725 0.5 63.9 55.4
BETWEEN MD 295 AND MD 450 10677 2.0, 653 53.6
MERGE MD 450 1203 0.2 622 55.9
BETWEEN MD 450 AND US 50 2809 0.5 60.2 55.5
MERGE US 50 4270 0.8 63.6 56.5
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0 61.2 55.5
END 495 EXPRESS LANE 515 0.1 62.7 54.8
BEFORE MD 202 MERGE 1817 0.3 61.0 54.8
MERGE MD 202 2462 0.5. 603 54.6
BETWEEN MD 202 AND ARENA DR. 1355. 0.3 57.3 $4.6
MERGE ARENA DR 2059 0.4 564 57.0
BETWEEN ARENA DR AND MD 214 3333 0.6 55.1 56.1
MD 214 MERGE 2564 0.5 52.7 56.8
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 1.1

MERGE RITCHIE MARLBORO RD 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 18 61.9 $42
MERGE MD 4 2628 0.5 628 55.8
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 63.2 $8.7
MERGE FORESTVILLE RD 930 0.2 63.2 62.6
BETWEEN FORESTVILLE AND MD 218 3213 0.6 63.4 63.1
MERGE MD 218 1660 03 63.8 63.0
BETWEEN MD 218 AND MD 5 6410 12 62.5 24
MERGE MD 5 2751 0.5 54.0 61.0
BETWEEN MD 5 AND MD 414 11958 2.3 49.7 61.2
MERGE MD 414 3478 0.7 426 54.7
BETWEEN MD 414 AND MD 210 2470 05 40.7 46.8
MERGE MD 210 5648 11 32.4 29.4
BETWEEN MD 210 ANDI 295 2959 0.6 32.1 272
MERGE 1295 3328 0.6 413 43.4
BEFORE WOODROW WILSON BRIDGE 1217 0.2 56.2 S78
WOODROW WILSON BRIDGE 6059 11 S77 soon

Figure A.12: |-495 Inner Loop Mainline 6-7 AM Travel Time and Speed

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L495 Outer Loop
WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE [295

BETWEEN MD 210 ANDI295

MERGE MD 210

BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 5 AND MD 414

MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4
MERGE RITCHIE MARLBORO RD
BETWEEN MD 214 AND RITCHIE MARLBORO RD
MERGE MD 214

BETWEEN ARENA DR AND MD 214

MERGE ARENA DR

BETWEEN MD 202 AND ARENA DR.

MERGE MD 202

BEFORE MD 202 MERGE

END 495 EXPRESS LANE

BETWEEN US 50. AND MD 202 (495 EXPRESS LANE)
MERGE US 50

BETWEEN MD 450 AND US 50

MERGE MD 450

BETWEEN MD 295 AND MD-450

MERGE MD 295

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 201

BETWEEN GREENBELT STATION AND MD 201
BETWEEN GREENBELT STATION AND US 1
MERGE US |

BETWEEN US 1 AND 195

195 MERGE

BETWEEN MD 650 AND L95

MERGE MD 650.

BETWEEN MD 193 AND MD 650

MERGE MD 193

BETWEEN MD US 29 AND MD 193

MERGE US 29

IBETWEEN MD 97 AND US 29

MD 97 MERGE
BETWEEN MD 185 AND MD 97
MD 185 MERGE
BETWEEN MD 355 AND MD 185

MD 355 MERGE

MERGE AFTER 1270

MERGE BEFORE [270

BETWEEN 1 270 EAST AND MD 187

MERGE MD 187

BETWEEN I 270 WEST AND MD 187

MERGE [270

BETWEEN MD 190 AND L270

MERGE MD 190

BETWEEN CABIN JOHN PARKWAY AND MD 190

MERGE CABIN JOHN PARKWAY

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
MERGE CLARA BARTON PARKWAY

BEFORE AMERICAN LEGION BRIDGE

AMERICAN LEGION BRIDGE

GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
GEORGE WASHINGTON MEMORIAL PKWY /EXIT 14
VA-193/GEORGETOWN PIKE/EXIT 13
VA-193/GEORGETOWN PIKE/EXTT 13

Figure A.13: I-495 Outer Loop Mainline 6-7 AM Travel Time and Speed

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Ne
(feet) Distan n |

1-495 Inner Loop 228612 43.3

VA-193/GEORGETOWN PIRE/EXIT 13 2729 0.5 25.7 49.9
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453 0.5 25.6 254
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935 0.4 30.7 23.6
AMERICAN LEGION BRIDGE 794 0.2 38.9 25.0
BEFORE AMERICAN LEGION BRIDGE 508 0.1 37.6 43.4
MERGE CLARA BARTON PARKWAY 1055. 0.2 43.3 51.6
BETWEEN CLARA BARTON PRWY AND CABIN JOHN PEWY 7287 14 53.0 55.8
MERGE CABIN JOHN PARKWAY 2126 0.4 60.8 56.5
BETWEEN CABIN JOHN PAREWAY AND MD 190 259 0.0 63.1 56.5
MERGE MD 190 1235 0.2 63.5 Si2
BETWEEN MD 190 ANDI 270 6468 1.2 63.6 56.7
MERGE 1270 867 0.2. 59.9 53.9
BETWEEN | 270 AND MD 187 7828 1.5 59.9 54.2
MERGE MD 187 2140 0.4 60.5 55.9
BETWEEN MD 187 ANDI270 2278 0.4 54.0 54.2
MERGE BEFORE [270 1306 0.2 47.9 49.7
MERGE AFTER [270 564 0.1 ce 57.5
MD 355 MERGE 1371 03 52.0 58.3
BETWEEN MD 355 AND MD 185 6065 ll 49.4 49.3
MD 185 MERGE 2074 0.4 55.9 55.9
BETWEEN MD 185 AND MD 97 9907 1.9 56.0 57.6
MD 97 MERGE 1461 0.3 59.5 56.4
BETWEEN MD 97 AND US 29 5965 11 60.4 58.5
MERGE US 29 1734 03 60.9 60.2
BETWEEN MD US 29 AND MD 193 1640 0.3 60.2 58.2
MERGE MD 193 2099 0.4 61.7 50.4
BETWEEN MD 193 AND MD 650 6046 11 62.3 57.2
MERGE MD 650 3008 0.6 61.0 56.2
BETWEEN MD 650 ANDI 95 2869 0.5 60.5 60.1
BEFORE 195 MERGE 5612 1.1 62.5 60.2
AFTER L95 MERGE 2578 0.5 39.7 33.5
MERGE US 1 2873 0.5 37.7 41.8
BEFORE GREENBELT STATION MERGE 3544 0.7 45.1 43.1
AFTER GREENBELT STATION MERGE 595 0.1 54.4 46.7
BETWEEN GREENBELT STATION AND MD 201 4415 0.8 56.9 524
MERGE MD 201 3066 0.6 56.8 52:2
BETWEEN MD 201 AND MD 295 MERGE 1900 0.4 56.2 53.8
MERGE MD 295 2725 0.5 60.2 54.7
BETWEEN MD 295 AND MD 450 10677 2.0, 62.0 523
MERGE MD 450 1203 0.2 S573 55.6
BETWEEN MD 450 AND US 50 2809 0.5 54.6 55.6
MERGE US 50 4270 0.8 54.7 56.1
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0 54.0 54.9
END 495 EXPRESS LANE S18 0.1 61.7 54.6
BEFORE MD 202 MERGE 1817 03 60.5 54.6
MERGE MD 202 2462 0.5— 60.2 54.5
BETWEEN MD 202 AND ARENA DR. 1355 0.3 58.3 54.5
MERGE ARENA DR 2059 0.4 56.2 56.5
BETWEEN ARENA DR AND MD 214 3333 0.6 54.6 55.9
MD 214 MERGE 2564 0.5 517 56.9
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 1.1

MERGE RITCHIE MARLBORO RD. 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 1.8 554 S14
MERGE MD 4 2628 0.5 60.0 56.9
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 6L1 58.8
MERGE FORESTVILLE RD 930 0.2 62.1 62.6
BETWEEN FORESTVILLE AND MD 218 3213 0.6 62.4 63.2
MERGE MD 218 1660. 0.3 63.4 63.0
BETWEEN MD 218 AND MD 5 6410 1.2 60.9 60.5
MERGE MD 5 2751 0.5 32.0 624
BETWEEN MD 5 AND MD 414 11958 2.3 18.2 49.7
MERGE MD 414 3478 0.7 14.6 375
BETWEEN MD 414 AND MD 210 2470 0.5 137 26.1
MERGE MD 210 5648 11 Ree. 11.0
BETWEEN MD 210 ANDI 295 2959 0.6 10.1 149
MERGE 1295 3328 0.6 22.6 39.8
BEFORE WOODROW WILSON BRIDGE 1217 0.2 48.8 57.6
WOODROW WILSON BRIDGE 6059 11 50.2 54.3

Figure A.14: |-495 Inner Loop Mainline 7-8 AM Travel Time and Speed

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1-495 Outer Loop 230042 43.6
WOODROW WILSON BRIDGE 6160 12
BEFORE WOODROW WILSON BRIDGE 644 01
MERGE 1295 1023 0.2
BETWEEN MD 210 AND 1295 377 01
MERGE MD 210 8656 1.6
BETWEEN MD 414 AND MD 210 4452 08
MERGE MD 414 2984 0.6
BETWEEN MD 5 AND MD 414 12214 23
MERGE MD 5 3740 07
BETWEEN MD 218 ANDMD 5 5897 11
MERGE MD 218 238 0.0
BETWEEN FORESTVILLE AND MD 218 4910 0.9
MERGE MD 337 912 02
BETWEENMD 4 AND FORESTVILLE RD 3145 0.6
MERGE MD 4 3108 0.6
BETWEEN RITCHIE MARLBORO AND MD 4 9857 1.9
MERGE RITCHIE MARLBORO RD 2341 04
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6303 12
MERGE MD 214 2618 0.5
BETWEEN ARENA DR AND MD 214 2789 05
MERGE ARENA DR 2437 05
BETWEEN MD 202 AND ARENA DR 1179 0.2
MERGE MD 202 3055 0.6
BEFORE MD 202 MERGE 908 02
END 495 EXPRESS LANE 594 01
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 6101 12
MERGE US 50 3680 0.7
BETWEEN MD 450 AND US 50 2561 05
MERGE MD 450 2100 04
BETWEEN MD 295 AND MD 450 10674 2.0
MERGE MD 295 2479 05
BETWEEN MD 201 AND MD 295 MERGE 1996 od
MERGE MD 201 3054 0.6
BETWEEN GREENBELT STATION AND MD 201 4643 0.9
BETWEEN GREENBELT STATION AND US 1 4102 0.8
MERGE US 1 2739 05
BETWEEN US 1 AND 195 3225 0.6
[95 MERGE 4389 0.8
BETWEEN MD 650 ANDI95 4048 08
MERGE MD 650 2547 05
BETWEEN MD 193 AND MD 650 6315 12
MERGE MD 193 1353 03
BETWEEN MD US 29 AND MD 193 2722 0.5
MERGE US 29 1127 02
BETWEEN MD 97 AND US 29 5926 Ll
MD 97 MERGE 1734 03
BETWEEN MD 185 AND MD 97 8746 7
MD 185 MERGE 3315 0.6
BETWEEN MD 355 AND MD 185 6287 12
MD 355 MERGE 1401 03
MERGE AFTER 1270 6 0.0
MERGE BEFORE 1270 1298 02
BETWEEN I 270 EAST AND MD 187 3092 0.6
MERGE MD 137 1936 04
BETWEEN I 270 WEST AND MD 187 7643 14
MERGE [270 1490 03
BETWEEN MD 190 AND1270 5153 Ll
MERGE MD 190 1537 03
BETWEEN CABIN JOHN PARKWAY AND MD 190 214 0.0
MERGE CABIN JOHN PARKWAY 2397 05
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6336 12
MERGE CLARA BARTON PARKWAY 1463 03
BEFORE AMERICAN LEGION BRIDGE 746 0.
AMERICAN LEGION BRIDGE 790 04
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 843 0.2
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 4288 0.8
VA-193/GEORGETOWN PIKE/EXIT 13 679 0
VA-193/GEORGETOWN PIKP/EXIT 13 1669 03

Figure A.15: |-495 Outer Loop Mainline 7-8 AM Travel Time and Speed

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1-495 Inner Loop 228612 43.3
VA-193/GEORGETOWN PIKE/EXIT 13 2729 05
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453 0.5
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935 0.4
AMERICAN LEGION BRIDGE 794 0,2
BEFORE AMERICAN LEGION BRIDGE 308 0.1
MERGE CLARA BARTON PARKWAY 1055 0.2
BETWEEN CLARA BARTON PEWY AND CABIN JOHN PEWY 7287 14
MERGE CABIN JOHN PARKWAY 2126 0.4
BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0
MERGE MD 190 1235 02
BETWEEN MD 190 AND 1270 6468 12
MERGE 1270 867 0.2
BETWEEN I 270 AND MD 187 7828 15
MERGE MD 187 2140 04
BETWEEN MD 187 ANDI 270 2278 0.4
MERGE BEFORE [270 1306 0.2
MERGE AFTER 1270 364 O41
MD 355 MERGE 1371 0.3
BETWEEN MD 355 AND MD 185 6065 11
MD 185 MERGE 2074 0.4
BETWEEN MD 185 AND MD 97 9907 1.9
MD 97 MERGE 1461 0.3
BETWEEN MD 97 AND Us 29 5965 1.1
MERGE US 29 1734 0.3
BETWEEN MD US 29 AND MD 193 1640 03
MERGE MD 193 2099 04
BETWEEN MD 193 AND MD 650 6046 11
MERGE MD 650 3008 0.6
BETWEEN MD 650 ANDI 95 2869 0.5
BEFORE 1 95 MERGE 5612 Ll
AFTER 95 MERGE 2578 0.5
MERGE US 1 2873 0.5
BEFORE GREENBELT STATION MERGE 3544 0.7
AFTER GREENBELT STATION MERGE 595 0.1
BETWEEN GREENBELT STATION AND MD 201 4415 0.8
MERGE MD 201 3066 0.6
BETWEEN MD 201 AND MD 295 MERGE 1900 04
MERGE MD 295 2725 0.5
BETWEEN MD 295 AND MD 450 10677 2.0,
MERGE MD 450 1203 0.2
BETWEEN MD 450 AND US 50 2809 0.5
MERGE US 50 4270 0.8
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0
END 495 EXPRESS LANE S18 0.1
BEFORE MD 202 MERGE 1817 0.3
MERGE MD 202 2462 05.
BETWEEN MD 202 AND ARENA DR 1355 0.3
MERGE ARENA DR 2059 04
BETWEEN ARENA DR AND MD 214 3333 0.6
MD 214 MERGE 2564 05
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 1.1
MERGE RITCHIE MARLBORO RD 3041 0.6
BETWEEN RITCHIE MARLBORO AND MD 4 9698 18
MERGE MD 4 2628 0.5
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6
MERGE FORESTVILLE RD 930 0.2
BETWEEN FORESTVILLE AND MD 218 3213 0.6
MERGE MD 218 1660 03
BETWEEN MD 218 AND MD 5 6410 12
MERGE MD 5 2751 0.5
BETWEEN MD 5 AND MD 414 11958 2.3
MERGE MD 414 3478 07
BETWEEN MD 414 AND MD 210 2470 0.5
MERGE MD 210 5648 11
BETWEEN MD 210 ANDI 295 2959 0.6
MERGE 1295 3328 | 0G
BEFORE WOODROW WILSON BRIDGE 1217 0.2
WOODROW WILSON BRIDGE 6059 11

Figure A.16: |-495 Inner Loop Mainline 8-9 AM Travel Time and Speed

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ee = A%) =!
1-495 Outer Loop 230042 43.6. 645.0 13% _
WOODROW WILSON BRIDGE 6160 12 -82.9 | -112%
BEFORE WOODROW WILSON BRIDGE 644 0.1 0.2 -3%
MERGE 1295 1023 0.2 0.7 ~6%
BETWEEN MD 210 AND 1295 377 0.1 0.0 1%
MERGE MD 210 8656 1.6 -1.5 -2%
BETWEEN MD 414 AND MD 210 4452 0.8 -2.3 5%
MERGE MD 414 2984 0.6 -2.6 8%
BETWEEN MD 5 AND MD 414 12214 23 -23.3 -18%
MERGE MD 5 3740 0.7 5.6 -13%
BETWEEN MD 218 AND MD 5 5897 11 8.9 11%
MERGE MD 218 238 0.0 0.6 15%
BETWEEN FORESTVILLE AND MD 218 4910 0.9 20.0 25%
MERGE MD 337 912 0.2 4.6 29%
BETWEEN MD 4 AND FORESTVILLE RD 3145 0.6 11.9 22%
MERGE MD 4 3108 0.6 14.3 27%
BETWEEN RITCHIE MARLBORO AND MD 4 9857 1.9
MERGE RITCHIE MARLBORO RD 2341 0.4
BETWEEN MD 214 AND RITCHIE MARLBORO RD 6303 1.2 28.3 27%
MERGE MD 214 2618 0.5 10.1 22%
BETWEEN ARENA DR AND MD 214 2789 0.5 6.5 13%
MERGE ARENA DR 2437 0.5 10.4 22%
BETWEEN MD 202 AND ARENA DR L179 0.2 2.6 8%
MERGE MD 202 3055 0.6 65 -1%
BEFORE MD 202 MERGE 908 0.2 -19.7 -16%
END 495 EXPRESS LANE 594 0.1 0.9 -4%
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 6101 1.2 48.6 36%
MERGE US 50 3680 0.7 28.6 40%
BETWEEN MD 450 AND US 50 2561 0.5 28.1 47%
MERGE MD 450 2100 0.4 15.5 36%
BETWEEN MD 295 AND MD 450 10674 2.0 15.1 10%
MERGE MD 295 2479 0.5 “1.4 5%
BETWEEN MD 201 AND MD 295 MERGE 1996 0.4 -2.5 -10%
MERGE MD 201 3054 0.6 63 -19%
BETWEEN GREENBELT STATION AND MD 201 4643 0.9 “12 -14%
BETWEEN GREENBELT STATION AND US 1 4102 0.8 0.3 1%
MERGE US 1 2739 0.5 3.5 10%
BETWEEN US 1 AND 195 3225 0.6 9.9 21%
195 MERGE 4389 0.8 233.1 78%
BETWEEN MD 650 AND L95 4048 0.8 47.9 14%
MERGE MD 650 2547 0.5 7.6 3%
BETWEEN MD 193 AND MD 650 6315 12 152.6 30%
MERGE MD 193 1353 0.3 14.2 16%
BETWEEN MD US 29 AND MD 193 2722 0.5 34.8 22%
MERGE US 29 1127 0.2 8.2 13%
BETWEEN MD 97 AND US 29 5926 1.1 -18.7 8%
MD 97 MERGE 1734 0.3 0.7 1%
BETWEEN MD 185 AND MD 97 8746 1.7 11.0 T%
MD 185 MERGE 3315 0.6 32 6%
BETWEEN MD 355 AND MD 185 6287 12 5.3 6%
MD 355 MERGE 1401 0.3 0.8 5%
MERGE AFTER 1270 él 0.0 0.0. 0%
MERGE BEFORE 1270 1298 0.2. 0.4 2%
BETWEEN 1270 EAST AND MD 187 3092 0.6 0.2 0%
MERGE MD 187 1936 0.4 13 5%
BETWEEN [ 270 WEST AND MD 187 7643 14 93 9%
MERGE 1270 1490 0.3 23 9%
BETWEEN MD 190 AND 1270 5753 11 20.3 21%
MERGE MD 190 1537 03 5.2 20%
BETWEEN CABIN JOHN PARKWAY AND MD 190 214 0.0 0.7 20%
MERGE CABIN JOHN PARKWAY 2397 0.5 1.9 4%
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY. 6336 1.2 14.1 14%
MERGE CLARA BARTON PARKWAY 1463 0.3 1.7 8%
BEFORE AMERICAN LEGION BRIDGE 746 0.1 0.4 4%
AMERICAN LEGION BRIDGE, 790 0.1 0.4 4%
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 843 0.2 0.3 -3%
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 4288 0.8 4.3 6%
VA-193/GEORGETOWN PIKE/EXIT 13 679 0.1 17 14%
VA-193/GEORGETOWN PIKE/EXIT 13 1669 0.3 1.0 4%

Figure A.17: |-495 Outer Loop Mainline 8-9 AM Travel Time and Speed

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1-495 Inner Loop 228612 43.3 | st 3194.6 | 3017.2 177.4 6%
VA-193/GEORGETOWN PIKE/EXIT 13 2729 08 18.9 13.8 98.5 134.4 “35.9 -36% |
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 2453 0.8 19.4 10.2 86.1 163.2 77.2 -90%
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 1935 0.4 26.7 205 49.4 645 -15.0 -30%
AMERICAN LEGION BRIDGE 794 0.2 37.0 24.6 14.6 22.0 “7.4 -50%
BEFORE AMERICAN LEGION BRIDGE 508 0.1 347 44.8 10.0 1d 2.2 22%
MERGE CLARA BARTON PARKWAY 1055 0.2 42.2 52.3 Wd 13.8 33 19%
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY. 7287 14 54.4 55.8 913 89.0 22 2%
MERGE CABIN JOHN PARKWAY 2126 0.4 60.3 56.4 24.0 25.7 AT -7%
BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0 615 564 29 31 -0.3 -9%
[MERGE MD 190 1235 0.2 617 57.0 13.7 14.8 “Ld -8%
BETWEEN MD 190 AND 1270 6468 12 60.9 56.0 72.4 78.8 6.4 -9%
MERGE 1270 867 0.2 58.7 54.2 10.1 10.9 -0.8 -8%
BETWEEN 1270 AND MD 187 7828 18 58.4 55.8 913 95.6 -4.3 -5%
MERGE MD 187 2140 0.4 51.1 57.0 28.5 25.6 2.9 10%
BETWEEN MD 187 AND 1270 2278 0.4 43.1 563 36.1 27.6 8.5 23%
MERGE BEFORE 1270 1306 0.2 48.6 51] 18.3 17.4 0.9 5%
MERGE AFTER 1 270 564 0.1 40.1 44.3 9.6 87 0.9 10%
MD 355 MERGE 1371 03 39.0 59.1 24.0 15.8 8.2 34%
BETWEEN MD 355 AND MD 185 6065 1.1 36.6 58.8 113.0 70.3 42.7 38%
MD 185 MERGE 2074 04 45.9 57.0 30.8 24.8 6.0 19%
BETWEEN MD 185 AND MD 97 9907 19 44.0 58.5 153.6 115.5 38.1 25%
MD 97 MERGE 1461 03 50.5 517 19.7 17.3 2.5 12%
(BETWEEN MD 97 AND US 29 5965 1.1 50.8 58.7 80.0 693 10.8 13%
MERGE US 29 1734 03 49.5 60.4 23.9 19.6 43 18%
BETWEEN MD US 29 AND MD 193 1640 0.3 45.1 59.5 24.8 18.8 6.0 24%
MERGE MD 193 2099 0.4 42.4 55.2 33.8 25.9 79 23%
BETWEEN MD 193 AND MD 650 6046 11 51.1 58.2 80.7 70.8 10.0 12%
MERGE MD 650 3008 0.6 57.7 583 35.6 35.2 0.4 1%
BETWEEN MD 650 AND 195 2869 08 60.1 611 32.5 32.0 0.5 2%
BEFORE [95 MERGE 5612 1.1 62.6 54.6 61.1 70.0 -9.0 -15%
AFTER 195 MERGE 2578 0.5 35.2 29.6 50.0 59.4 “9.4 “19%
MERGE US 1 2873 08 318 30.1 617 65.1 35 -6%
BEFORE GREENBELT STATION MERGE 3544 07 35.7 39.9 67.6 6 | 74 10%
AFTER GREENBELT STATION MERGE 595, 0.1 463 449 88 9.0 -0.3 -3%
BETWEEN GREENBELT STATION AND MD 201 4415 0.8 50.7 50.5 59.4 59.6 -0.3 0%
MERGE MD 201 3066 0.6 49.0 48.5 42.7 43.1 -0.4 1%
BETWEEN MD 201 AND MD 295 MERGE 1900 04 50.8 52.9 25.5 25 1.0 4%
MERGE MD 295 2725 08 56.1 54.7 33.1 34.0 -0.8 -3%
BETWEEN MD 295 AND MD 450 10677 2.0 55.2 51.0 1318 142.8 1 -8%
MERGE MD 450 1203 0.2 AT 55.0 17.2 14.9 22 13%
(BETWEEN MD 450 AND US 50 2809 08 49.7 55.2 38.5 37 3.8 10%
MERGE US 50 4270 0.8 51.3 55.2 56.7 527 | 4.0 7%
BETWEEN US 50. AND MD 202 (495 EXPRESS LANE) 5460 1.0 47.6 54.2 78.2 68.7 95 12%
END 495 EXPRESS LANE 515 0.1 56.0 54.2 63 65 -0.2 -3%
BEFORE MD 202 MERGE 1817 03 55.2 54.2 22.4 22.9 -0.4 -2%
MERGE MD 202 2462 08 54.6 53.9 30.7 311 -0.4 -1%
BETWEEN MD 202 AND ARENA DR 1355 0.3 53.1 53.9 17.4 17.1 0.3 1%
MERGE ARENA DR 2059 0.4 51.9 56.0 aA 25.1 2.0 71%
BETWEEN ARENA DR AND MD 214 3333 0.6 49.8 54.6 45.6 41.6 4.0 9%
MD 214 MERGE 2564 0.8 46.6 56.5 375 31.0 65 17%
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 1

MERGE RITCHIE MARLBORO RD 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 1.8 49.6 54.9 133.2 120.5 12.7 10%
MERGE MD 4 2628 0.5 52.2 56.9 34.4 31.5 2.8 8%
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 53.1 58.3 429 39.1 3.8 9%
MERGE FORESTVILLE RD 930 0.2 53.9 624 11.8 10.2 1.6 14%
BETWEEN FORESTVILLE AND MD 218 3213 0.6 55.6 63.1 39.4 347 47 12%
MERGE MD 218 1660 0.3 613 62.9 18.5 18.0 08 3%
BETWEEN MD 218 AND MD 5 6410 1.2 62.5 62.0 70.0 70.5 -0.6 -1%
MERGE MD 5 2751 0.5 57.1 62.5 32.8 30.0 28 9%
BETWEEN MD 5 AND MD 414 11958 23 48.6 62.9 167.8 129.7 38.2 23%
MERGE MD 414 3478 0.7 41.6 614 57.0 38.6 18.4 32%
BETWEEN MD 414 AND MD 210 2470 0.5 42.2 603 39.9 27.9 12.0 30%
MERGE MD 210 5648 1.1 38.0 54.8 101.3 70.3 31.0 31%
BETWEEN MD 210 AND 1295 2959 0.6 35.2 55.7 57.3 36.2 211 37%
MERGE 1295 3328 0.6 44.0 57.6 51.6 39.4 12.2 24%
BEFORE WOODROW WILSON BRIDGE 1217 0.2 54.5 58.2 15.2 143 1.0 6%
WOODROW WILSON BRIDGE 6059 11 54.2 55.9 16.3 3.9 2d 3%

Figure A.18: |-495 Inner Loop Mainline 9-10 AM Travel Time and Speed

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1-495 Outer Loop

WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE 1295

BETWEEN MD 210 AND 1295

MERGE MD 210

BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 5 AND MD 414

MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD 214

BETWEEN ARENA DR AND MD 214

MERGE ARENA DR

BETWEEN MD 202 AND ARENA DR.

MERGE MD 202

BEFORE MD 202 MERGE

END 495 EXPRESS LANE

BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)

MERGE US 50

BETWEEN MD 450 AND US 50

MERGE MD 450

BETWEEN MD 295 AND MD 450

MERGE MD 295

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 201

BETWEEN GREENBELT STATION AND MD 201

BETWEEN GREENBELT STATION AND US 1

MERGE US 1

BETWEEN US 1 AND I95

195 MERGE

BETWEEN MD 650 ANDI95

MERGE MD 650.

BETWEEN MD 193 AND MD 650

MERGE MD 193

BETWEEN MD US 29 AND MD 193

MERGE US 29

BETWEEN MD 97 AND US 29

MD 97 MERGE

BETWEEN MD 185 AND MD 97

MD 185 MERGE

BETWEEN MD 355 AND MD 185

MD 355 MERGE

MERGE AFTER 1270

MERGE BEFORE 1270

BETWEEN | 270 EAST AND MD 187

MERGE MD 187

BETWEEN [270 WEST AND MD 187

MERGE I 270

BETWEEN MD 190 ANDT270

MERGE MD 190

BETWEEN CABIN JOHN PARKWAY AND MD 190

MERGE CABIN JOHN PARKWAY

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

MERGE CLARA BARTON PARKWAY

BEFORE AMERICAN LEGION BRIDGE

AMERICAN LEGION BRIDGE

GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14

GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14

VA-193/GEORGETOWN PIKE/EXIT 13

VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.19: |-495 Outer Loop Mainline 9-10 AM Travel Time and Speed

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TT
; istance (feet) |
1-495 Inner Loop 228612
VA-193/GEORGETOWN PIKE/EXIT 13 2729
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935
AMERICAN LEGION BRIDGE 794
BEFORE AMERICAN LEGION BRIDGE 508
MERGE CLARA BARTON PARKWAY 1055
BETWEEN CLARA BARTON PEWY AND CABIN JOHN PEWY 7287
MERGE CABIN JOHN PARKWAY 2126
BETWEEN CABIN JOHN PARKWAY AND MD 190 259
MERGE MD 190 1235
BETWEEN MD 190 ANDI 270 6468
MERGE 1270 867
BETWEEN I 270 AND MD 187 7828
MERGE MD 187 2140
BETWEEN MD 187 ANDI 270 2278
MERGE BEFORE 1270 1306
MERGE AFTERI270 564
MD 355 MERGE 71
BETWEEN MD 355 AND MD 185 6065
MD 185 MERGE 2074
BETWEEN MD 185 AND MD 97 9907
MD 97 MERGE 1461
BETWEEN MD 97 AND US 29 5965
MERGE US 29 1734
BETWEEN MD US 29 AND MD 193 1640
[MERGE MD 193 2099
BETWEEN MD 193 AND MD 650 6046
MERGE MD 650 3008
BETWEEN MD 650 ANDI 95 2869
BEFORE 1 95 MERGE 5612
AFTER 195 MERGE 2578
MERGE US | 2873
BEFORE GREENBELT STATION MERGE 3544
AFTER GREENBELT STATION MERGE 595
BETWEEN GREENBELT STATION AND MD 201 4415
MERGE MD 201 3066
BETWEEN MD 201 AND MD 295 MERGE 1900
MERGE MD 295 2725
BETWEEN MD 295 AND MD 450 10677
MERGE MD 450 1203
BETWEEN MD 450 AND US 50 2809
MERGE US 50 4270
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460
END 495 EXPRESS LANE S15
BEFORE MD 202 MERGE 1817
MERGE MD 202 2462
BETWEEN MD 202 AND ARENA DR 1355
MERGE ARENA DR 2059
BETWEEN ARENA DR AND MD 214 3333
MD 214 MERGE 2564
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5033
MERGE RITCHIE MARLBORO RD 3041
BETWEEN RITCHIE MARLBORO AND MD 4 9698
MERGE MD 4 2628
BETWEEN MD 4 AND FORESTVILLE RD 3339
MERGE FORESTVILLE RD 930
BETWEEN FORESTVILLE AND MD 218 3213
MERGE MD 218 1660
BETWEEN MD 218 AND MD 5 6410
MERGE MD 5 2751
BETWEEN MD 5 AND MD 414 11958
MERGE MD 414 3478
BETWEEN MD 414 AND MD 210 2470
MERGE MD 210 5648.
BETWEEN MD 210 ANDI 295 2959
MERGE 1295 3328
BEFORE WOODROW WILSON BRIDGE 1217
WOODROW WILSON BRIDGE 6059

Figure A.20: |-495 Inner Loop Mainline 3-4 PM Travel Time and Speed

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(1-495 Outer Loop

WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE 1295

BETWEEN MD 21.0 ANDI 295

[MERGE MD 210
BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 35 AND MD 414

[MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD.

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD 214

BETWEEN ARENA DR AND MD 214

MERGE ARENA DR

BETWEEN MD 202 AND ARENA DR

MERGE MD 202

BEFORE MD 202 MERGE

END 495 EXPRESS LANE

BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)

MERGE US 50

BETWEEN MD 450 AND US 50

MERGE MD 450

BETWEEN MD 295 AND MD 450

MERGE MD 295

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 201

BETWEEN GREENBELT STATION AND MD 201

BETWEEN GREENBELT STATION AND US 1

MERGE US |

BETWEEN US 1 ANDI95

195 MERGE

BETWEEN MD 650 ANDI 95

MERGE MD 650.

BETWEEN MD 193 AND MD 650

MERGE MD 193

BETWEEN MD US 29 AND MD 193

MERGE US 29

BETWEEN MD 97 AND US 29

MD 97 MERGE

BETWEEN MD 185 AND MD 97

MD 185 MERGE

BETWEEN MD 355 AND MD 185

|MD 355 MERGE

MERGE AFTER 1270

MERGE BEFORE [270

BETWEEN I 270 EAST AND MD 187

MERGE MD 187

BETWEEN | 270 WEST AND MD 187

MERGE 1270

BETWEEN MD 190 ANDI 270 “ fs
MERGE MD 190 1537 0.3 30.47
BETWEEN CABIN JOHN PARKWAY AND MD 190 214 0.0 30.45
MERGE CABIN JOHN PARKWAY 2397 0.5 29.43
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PRWY 6336 1.2 36.90
MERGE CLARA BARTON PARKWAY 1463 0.3 39.96
BEFORE AMERICAN LEGION BRIDGE 746 0.1 45.26
AMERICAN LEGION BRIDGE 790 0.1 41.53
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 843 02 41.86
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 4288 0.8 34.31
VA-193/GEORGETOWN PIKE/EXIT 13 679 0.1 30.37
VA-193/GEORGETOWN PIKE/EXIT 13 1669 0.3 34.19

Figure A.21: |-495 Outer Loop Mainline 3-4 PM Travel Time and Speed

i -6.8 -20%
5.7 -0.9 -20%
76.6 -21.1 -38%
119-9 18 2%
19.4 5.6 22%
10.5 0.7 1%
41.5 -28.6 -220%
444 30.6 -223%
22550) -140.3 -165%
24.6 9.4 -61%
60.5 27.2 -82%

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Figure A.22: |-495 Inner Loop Mainline 4-5 PM Travel Time and Speed

1-495 Inner Loop 228612 43.3

WVA-193/GEORGETOWN PIKE/ENIT 13 2729 0.5 $.2 234

GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453 0.5 8.9 9.5

GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935, 0.4 iD 18.1

AMERICAN LEGION BRIDGE 794 0.2 14.4 17.4

BEFORE AMERICAN LEGION BRIDGE 508 0.1 145 | 162

MERGE CLARA BARTON PARKWAY 1055 0.2 14.7 16.1

BETWEEN CLARA BARTON PEWY AND CABIN JOHN PEWY 7287 14 13.8 14.8

MERGE CABIN JOHN PARKWAY 2126 0.4 11.9 13:5)

BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0 13.4 13:5

MERGE MD 190 1235 0.2 135 | 149

BETWEEN MD 190 ANDI 270 6465 12 18.6 27.1

MERGE 1270 867 02 513 | 524

BETWEEN I 270 AND MD 187 7828 15 609 | 452

MERGE MD 187 2140 0.4 474 27.4

BETWEEN MD 187 ANDI 270 2278 0.4 20.7 2.7

MERGE BEFORE 1270 1306 0.2 109 | 194

MERGE AFTER 1270 564 04 140 | 427

MD 355 MERGE Bil 03 38 | 16.0

BETWEEN MD 355 AND MD 185 6065 Ll 140 | 149

MD 185 MERGE 2074 0.4 14.1 12.6

BETWEEN MD 185 AND MD 97 9907 1.9 216 | 220

MD 97 MERGE 1461 0.3 23.9 18.5

BETWEEN MD 97 ANDUS 29 5965 11 29.2 33.5

MERGE US 29 1734 0.3 30.1 | 25.0

BETWEEN MD US 29 AND MD 193 1640 03 262 | 167

[MERGE MD 193 2099 0.4 26.3 20.4

BETWEEN MD 193 AND MD 650 6046 Ll 371_| 381

MERGE MD 650 3008 0.6 424 41.8

BETWEEN MD 650 ANDI 95 2869 0.5 41.1 aad

BEFORE 1.95 MERGE 5612 Ll 363_| 44.7

AFTER 195 MERGE 2578 0.5 14.9 16.8

MERGE US 1 2873 0.5 153 | 215

BEFORE GREENBELT STATION MERGE 3544 0.7 igs | 453

AFTER GREENBELT STATION MERGE 595 0.1 224 47.8

BETWEEN GREENBELT STATION AND MD 201 4415 0.8 22.8 43.2

MERGE MD 201 3066 0.6 212 42.4

BETWEEN MD 201 AND MD 295 MERGE 1900 0.4 25.5 44.5

MERGE MD 295 2725 0.5 264 41.5

BETWEEN MD 295 AND MD 450 10677 2.0, 279 | 334

MERGE MD 450 1203 0,2 27.1 30.9

BETWEEN MD 450 AND US 50 2809 0.5 32.9 17.8

MERGE US 50 4270 0.8 24.7 16.8

BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0 27.3 29.0

END 495 EXPRESS LANE 515 01 24.2 20.4

BEFORE MD 202 MERGE 1817 03 25.0 | 204

MERGE MD 202 2462 05 1486s

BETWEEN MD 202 AND ARENA DR 1355 03 igs | 205

MERGE ARENA DR. 2059 0.4 19.1 38.5

BETWEEN ARENA DR AND MD 214 3333 0.6 218 45.6

MD 214 MERGE 2564 05 29 | 42.9

BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 Ll

MERGE RITCHIE MARLBORO RD 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 18 29 [Sil 154.0 | 129.4 24.6 16%
MERGE MD 4 2628 0.5 53.7 $1.2 33.3 35.0 -1.7 -5%
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 334 | 521 42.6 | 43.7 Ad 3%
MERGE FORESTVILLE RD 930 0.2 54.2 61.1 LL.7 10.4 1.3 11%
BETWEEN FORESTVILLE AND MD 218 3213 0.6 54.8 | 63.1 40.0 | 347 5.2 13%
MERGE MD 218 1660 0.3 55.0 62.4 20.6 18.1 2.4 12%
BETWEEN MD 218 AND MD 5 6410 12 sos | 602 Bal BI 05 1%
MERGE MD 5 2751 0.5 63.0 62.3 29.8 30.1 -0.3 -1%
BETWEEN MD 5 AND MD 414 11958 2.3 644 62.9 126.6 129.7 -3.1 -2%
MERGE MD 414 3478 0.7 63.6 62.2 37.3 38.1 -0.8 -2%
BETWEEN MD 414 AND MD 210 2470 0.5 6l4 61.9 27.4 27:2 0.2 1%
MERGE MD 210 5648 1.1 48.9 53.7 78.7 TL 7.0 9%0
BETWEEN MD 210 ANDI 295 2959 0.6 345 38.3 38.4 52.7 5.7 10%
MERGE 1295 3328 0.6 345 | 378 65.7 | 60.1 56 9%
BEFORE WOODROW WILSON BRIDGE 1217 0,2 44.7 S27 18.6 15.8 2.8 15%
WOODROW WILSON BRIDGE 6059 1.1 49.7 54.6 §3.2 75.6 7.6 9%

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(1-495 Outer Loop

WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE 1295

BETWEEN MD 210 AND I 295

MERGE MD 210

BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 35 AND MD 414

MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD.

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD 214

BETWEEN ARENA DR AND MD 214

MERGE ARENA DR

BETWEEN MD 202 AND ARENA DR

MERGE MD 202

BEFORE MD 202 MERGE

END 495 EXPRESS LANE

BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)

MERGE US 50

BETWEEN MD 450 AND US 50

MERGE MD 450

BETWEEN MD 295 AND MD 450

MERGE MD 295

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 201

BETWEEN GREENBELT STATION AND MD 201

BETWEEN GREENBELT STATION AND US 1

MERGE US |

BETWEEN US 1 ANDI95

195 MERGE

BETWEEN MD 650 ANDI 95

MERGE MD 650

BETWEEN MD 193 AND MD 650

MERGE MD 193

BETWEEN MD US 29 AND MD 193

MERGE US 29

BETWEEN MD 97 AND US 29

MD 97 MERGE

BETWEEN MD 185 AND MD 97

MD 185 MERGE

BETWEEN MD 355 AND MD 185

MD 355 MERGE

MERGE AFTER [270

MERGE BEFORE [270

BETWEEN I 270 EAST AND MD 187

MERGE MD 187

BETWEEN | 270 WEST AND MD 187

MERGE 1270

BETWEEN MD 190 ANDI 270

MERGE MD 190

BETWEEN CABIN JOHN PARKWAY AND MD 190

MERGE CABIN JOHN PARKWAY

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

MERGE CLARA BARTON PARKWAY.

BEFORE AMERICAN LEGION BRIDGE

AMERICAN LEGION BRIDGE

GEORGE WASHINGTON MEMORIAL PK WY/EXIT 14

GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14

VA-193/GEORGETOWN PIKE/EXIT 13

VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.23: |-495 Outer Loop Mainline 4-5 PM Travel Time and Speed

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1-495 Inner Loop 228612 43.3

VA-193/GEORGETOWN PIKE/EXIT 13 2729 0.5 78 74

GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453 0.5 8.8 8.7

GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935 0.4 12.0 18.3
AMERICAN LEGION BRIDGE 794 0.2 137 16.9
BEFORE AMERICAN LEGION BRIDGE 508 1 138 145
MERGE CLARA BARTON PARKWAY 1055 0.2 13.5 14.4
BETWEEN CLARA BARTON PEWY AND CABIN JOHN PEWY. 7287 1.4 12.5 13:3
MERGE CABIN JOHN PARKWAY 2126 0.4 10.5 12.1
BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0 11.5 12.1
MERGE MD 190 1235 0.2 116 132
BETWEEN MD 190 ANDI 270 6468 1.2 164 21.1
MERGE 1270 867 0.2 495 | 382
BETWEEN | 270 AND MD 187 7828 15 58.8 | 28.8
MERGE MD 187 2140 0.4 28.7 12.0
BETWEEN MD 187 ANDI 270 2278 0.4 10.9 10.0
MERGE BEFORE 1270 1306 0.2 95 129
MERGE AFTERI270 564 1 io4 | 124
MD 355 MERGE 71 03 4 | 124
BETWEEN MD 355 AND MD 185 6065 11 126 142
MD 185 MERGE 2074 0.4 13.3 11.2
BETWEEN MD 185 AND MD 97 9907 1.9 214 19.1
MD 97 MERGE 1461 0.3 24.1 1S.
BETWEEN MD 97 AND US 29 5965 1.1 28.5 23.9
MERGE US 29 1734 03 28.5 145
BETWEEN MD US 29 AND MD 193 1640 03 23.4 148
[MERGE MD 193 2099 0.4 23.5 18.9
BETWEEN MD 193 AND MD 650 6046 11 32.1 | 396
MERGE MD 650 3008 0.6 33.8 415
BETWEEN MD 650 ANDI 95 2869 0.5 32.2 53.4
BEFORE 1 95 MERGE 5612 Ll 257 | 46.4
AFTER 195 MERGE 2578 0.5 12.6 15.3
MERGE US 1 2873 0.5 137 | 201
BEFORE GREENBELT STATION MERGE 3544 0.7 izi | 392
AFTER GREENBELT STATION MERGE 595 0.1 21.0 38.8
BETWEEN GREENBELT STATION AND MD 201 4415 0.8 21.5 27.5
MERGE MD 201 3066 0.6 20.2 29:3
BETWEEN MD 201 AND MD 295 MERGE 1900 0.4 25.6 27S
MERGE MD 295 2725 0.5 26.2 26.8
BETWEEN MD 295 AND MD 450 10677 2.0 283 | 269
MERGE MD 450 1203 0.2 Dee: 225
BETWEEN MD 450 AND US 50 2809 0.5 31.2 13.2
MERGE US 50 4270 0.8 21.8 17.0
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0 26.4 30.8
END 495 EXPRESS LANE S15 0.1 247 204
BEFORE MD 202 MERGE 1817 03 240 | 204
MERGE MD 202 2462 0.5 210 | 205
BETWEEN MD 202 AND ARENA DR 1355 03 is9 | 205
MERGE ARENA DR 2059 0.4 19.6 38.5
BETWEEN ARENA DR AND MD 214 3333 0.6 22.9 45.6
MD 214 MERGE 2564 0.5 25:1 42.9
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5033 1.1

MERGE RITCHIE MARLBORO RD 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 18 42 | sii
MERGE MD 4 2628 05 49.0 $1.2
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 479 | 52.0
MERGE FORESTVILLE RD 930 0.2 50.4 61.0
BETWEEN FORESTVILLE AND MD 218 3213 0.6 320 | 631
MERGE MD 218 1660 03 52.6 62.3
BETWEEN MD 218 AND MD 5 6410 12 363 | 603
MERGE MD 5 2751 0.5 6l4 624
BETWEEN MD 5 AND MD 414 11958 2.3 63.6 62.7
MERGE MD 414 3478 0.7 62.6 62.1
BETWEEN MD 414 AND MD 210 2470 05 S507 59.4
MERGE MD 210 5648 Ll 219 | 209
BETWEEN MD 210 ANDI 295 2959 0.6 16.7 14.1
MERGE 1295 3328 0.6 m8 | 36.1
BEFORE WOODROW WILSON BRIDGE 1217 0.2 38.4 52.9
WOODROW WILSON BRIDGE 6059 1.1 42.1 54.7

Figure A.24: |-495 Inner Loop Mainline 5-6 PM Travel Time and Speed

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1-495 Outer Loop

WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE 1295

BETWEEN MD 210 ANDI 295

MERGE MD 210

BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 5 AND MD 414

MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD 9

BETWEEN MD 214 AND RITCHIE MARLBORO RD 6303 1.2 42.77
MERGE MD 214 2618 0.5 41.22
BETWEEN ARENA DR AND MD 214 2789 0.5 34.90)
MERGE ARENA DR 2437 0.5 27.70
BETWEEN MD 202 AND ARENA DR. 1179 0.2 19.88
MERGE MD 202 3055 0.6 16.75
BEFORE MD 202 MERGE 908 0.2 17.99
END 495 EXPRESS LANE 594 0.1 15.67
BETWEEN US 50. AND MD 202 (495 EXPRESS LANE) 6101 12 24.54
MERGE US 50 3680 0.7 26.05
BETWEEN MD 450 AND US 50 2561 0.5 21.52
MERGE MD 450 2100 0.4 22.98
BETWEEN MD 295 AND MD 450 10674 2.0 28.54
MERGE MD 295 2479 0.5 23.35
BETWEEN MD 201 AND MD 295 MERGE 1996 O4 23.61
MERGE MD 201 3054 0.6 26.48
BETWEEN GREENBELT STATION AND MD 201 4643 0.9 37.26
BETWEEN GREENBELT STATION AND US 1 4102 0.8 54.26
MERGE Us 1 2739 0.5 56.15
BETWEEN US 1 ANDI95 3225 0.6 54.66
195 MERGE 4389 0.8 62.24
BETWEEN MD 650 ANDI 95 4048 0.8 48.91
MERGE MD 650 2547 0.5 42.68
BETWEEN MD 193 AND MD 650 6315 12 42.36
MERGE MD 193 1353 0.3 42.20
BETWEEN MD US 29 AND MD 193 2722 0.5 39.98
MERGE US 29 1127 0.2 38.31
BETWEEN MD 97 AND US 29 5926 1.1 37.64
MD 97 MERGE 1734 0.3 35.19
BETWEEN MD 185 AND MD 97 8746 17 39.83
MD 185 MERGE 3315 0.6 43.53
BETWEEN MD 355 AND MD 185 6287 1.2 38.03
MD 355 MERGE 1401 03 36.53
MERGE AFTER [270 61 0.0 39.05
MERGE BEFORE [270 1298 0.2 36.23
BETWEEN I 270 EAST AND MD 187 3092 0.6 35.64
MERGE MD 187 1936 0.4 24.45
BETWEEN 1 270 WEST AND MD 187 7643 14 19.97
MERGE 1270 1490 03 14.55
BETWEEN MD 190 ANDI 270 5753 11 16.17
MERGE MD 190 1537 0.3 16.54
BETWEEN CABIN JOHN PARKWAY AND MD 190 214 0.0 16.50
MERGE CABIN JOHN PARKWAY, 2397 0.5 16.41
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY 6336 1.2 21.80
MERGE CLARA BARTON PARKWAY 1463 0.3 24.82
BEFORE AMERICAN LEGION BRIDGE 746 0.1 31.23
AMERICAN LEGION BRIDGE 790 0.1 32.10
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 843 0.2 34.31
GEORGE WASHINGTON MEMORIAL PRWY/EXIT 14 4288 0.8 26.93
VA-193/GEORGETOWN PIKE/EXIT 13 679 01 24.25
VA-193/GEORGETOWN PIKE/EXIT 13 1669 0.3 29.32

Figure A.25: |-495 Outer Loop Mainline 5-6 PM Travel Time and Speed

1283 <27.7 -28%
107.5 -64,2 -148%
44 | -69.9 | -128%
94.8 -34.8 -58%
66.5 -26.0 -64%
171.6. 473 -38%
66.2 31.7 -92%
28.7 -2.9 -11%
117.6 51.8 31%
442 §2.1 54%
38.8 42.4 52%
49 20.5 33%
365.9 -110.9 -43%
155.5 -$3.1 -115%
O85 40.9 -71%
140.7 62.0 -79%
159.5 -74.5 -88%
59.6 -8.1 -16%
33.0 0.3 1%
38.5 1.7 4%
52.3 -4.3 -9%
52.2 4.2 T%
33.4 72 18%
86.0 15.6 15%
VT 42 19%
35.9 10.5 23%
18.2 1.9 9%
TIS 29.8 28%
23.0 10.6 31%
115.2 34.5 23%
44.4 75 14%
85.4 27.3 24%
18.7 T4 28%
0.8 0.3 26%
16.6 7.8 31%.
411 18.0 30%
26.3 27.7 51%
243.7 17.2 T%
78.0 -8.3 -12%
275.0 -32.5 -13%
80.6 -17.3 -27%
11.3 -2.4 -27%
116.6 -17.0 -17%
127.0 T12 36%
20.5 19.6 49%
13.1 3.1 19%
rel -20.3 -121%
39.6 -22.8 -136%
201.2 92.7 -B5%
73.3 4.2 -22%
$7.3 -18.5 -48%

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1-495 Inner Loop 228612 43.3

WVA-193/GEORGETOWN PIKE/ENIT 13 2729 0.5 9.2 9.0
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 2453 0.5 10.2 8.7
GEORGE WASHINGTON MEMORIAL PEWY/EXIT 14 1935 0.4 14.3 18.5
AMERICAN LEGION BRIDGE 794 0.2 15,3 Pico
BEFORE AMERICAN LEGION BRIDGE 508 0.1 igo | 15.1
MERGE CLARA BARTON PARKWAY 1055 0.2 19.2 15.1
BETWEEN CLARA BARTON PE WY AND CABIN JOHN PEWY 7287 14 18.8 14.2
MERGE CABIN JOHN PARKWAY 2126 0.4 14.8 12.4
BETWEEN CABIN JOHN PARKWAY AND MD 190 259 0.0 coe 12.4
MERGE MD 190 1235 0.2 is5 | 136
BETWEEN MD 190 ANDI 270 6465 1.2 20.6 20.9
MERGE 1270 867 02 503 | 35.6
BETWEEN I 270 AND MD 187 7828 15 524 | 318
MERGE MD 187 2140 0.4 22.6 18.1
BETWEEN MD 187 ANDI 270 2278 0.4 144 14.6
MERGE BEFORE 1270 1306 0.2 4 | 166
MERGE AFTER 1270 564 04 148 | 163
MD 355 MERGE. Bil 03 as | 141
BETWEEN MD 355 AND MD 185 6065 Ll 163 | 145
MD 185 MERGE 2074 0.4 16.5 10.7
BETWEEN MD 185 AND MD 97 9907 1.9 254 | 182
MD 97 MERGE 1461 0.3 28.7 14.4
BETWEEN MD 97 ANDUS 29 5965 11 32.0 21.8
MERGE US 29 1734 0.3 34.1 12.0
BETWEEN MD US 29 AND MD 193 1640 03 269 | 123
[MERGE MD 193 2099 0.4 244 15.9
BETWEEN MD 193 AND MD 650 6046 Ll 318 | 208
MERGE MD 650 3008 0.6 35.0 38.1
BETWEEN MD 650 ANDI 95 2869 0.5 33.9 47.6
BEFORE 1.95 MERGE 5612 Ll 397 _| 48.8
AFTER 195 MERGE 2578 0.5 17.5 277
MERGE US 1 2873 0.5 179 | 267
BEFORE GREENBELT STATION MERGE 3544 0.7 212 | 3383
AFTER GREENBELT STATION MERGE 595 0.1 27.8 oa
BETWEEN GREENBELT STATION AND MD 201 4415 0.8 Sia 272
MERGE MD 201 3066 0.6 30.4 417
BETWEEN MD 201 AND MD 295 MERGE 1900 0.4 35.4 44.0
MERGE MD 295 2725 0.5 36.5 39.9
BETWEEN MD 295 AND MD 450 10677 2.0, 377_|__ 357
MERGE MD 450 1203 0.2 35.8 30.2
BETWEEN MD 450 AND US 50 2809 0.5 39.6 16.4
MERGE US 50 4270 0.8 32.8 16.9
BETWEEN US 50 AND MD 202 (495 EXPRESS LANE) 5460 1.0 34.5 43.3
END 495 EXPRESS LANE 515 0.1 35.2 28.2
BEFORE MD 202 MERGE 1817 03 33.6 | 28.2
MERGE MD 202 2462 05 29.1 | 209
BETWEEN MD 202 AND ARENA DR 1355 03 262 | 209
MERGE ARENA DR. 2059 0.4 253 38.9
BETWEEN ARENA DR AND MD 214 3333 0.6 27.2 46.8
MD 214 MERGE 2564 0.5 28.0 44.0
BETWEEN MD 214 AND RITCHIE MARLBORO RD 5923 Ll

MERGE RITCHIE MARLBORO RD 3041 0.6

BETWEEN RITCHIE MARLBORO AND MD 4 9698 18 438 | 508
MERGE MD 4 2628 0.5 $2.5 $1.2
BETWEEN MD 4 AND FORESTVILLE RD 3339 0.6 53.8 | 519
MERGE FORESTVILLE RD 930 0.2 $5.2 61.0
BETWEEN FORESTVILLE AND MD 218 3213 0.6 353 | 63.1
MERGE MD 218 1660 03 54.1 62.7
BETWEEN MD 218 AND MD 5 6410 12 317 | 606
MERGE MD 5 2751 0.5 60.3 62.6
BETWEEN MD 5 AND MD 414 11958 2.3 63.0 62.9
MERGE MD 414 3478 0.7 624 6l4a
BETWEEN MD 414 AND MD 210 2470 0.5 59.0 59.5
MERGE MD 210 5648 11 43.4 42.2
BETWEEN MD 210 ANDI 295 2959 0.6 36.1 38.4
MERGE 1295 3328 0.6 354 | 434
BEFORE WOODROW WILSON BRIDGE 1217 0,2 44.0 53.0
WOODROW WILSON BRIDGE 6059 1.1 44.7 54.8

Figure A.26: |-495 Inner Loop Mainline 6-7 PM Travel Time and Speed

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(1-495 Outer Loop

WOODROW WILSON BRIDGE

BEFORE WOODROW WILSON BRIDGE

MERGE 1295

BETWEEN MD 210 AND I 295

MERGE MD 210

BETWEEN MD 414 AND MD 210

MERGE MD 414

BETWEEN MD 5 AND MD 414

MERGE MD 5

BETWEEN MD 218 AND MD 5

MERGE MD 218

BETWEEN FORESTVILLE AND MD 218

MERGE MD 337

BETWEEN MD 4 AND FORESTVILLE RD

MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD.

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD 214
BETWEEN ARENA DR AND MD 214 2789 0.5
MERGE ARENA DR 2437 0.5
BETWEEN MD 202 AND ARENA DR 1179 02
MERGE MD 202 3055 0.6
BEFORE MD 202 MERGE 908 0.2
END 495 EXPRESS LANE 594 0.1
BETWEEN US 50. AND MD 202 (495 EXPRESS LANE) 6101 12
MERGE US 50 3680 0.7
BETWEEN MD 450 AND US 50 2561 0.5
MERGE MD 450 2100 0.4
BETWEEN MD 295 AND MD 450 10674 2.0
MERGE MD 295 2479 O05
BETWEEN MD 201 AND MD 295 MERGE 1996 0.4
MERGE MD 201 3054 0.6
BETWEEN GREENBELT STATION AND MD 201 4643 0.9
BETWEEN GREENBELT STATION AND US 1 4102 0.8
MERGE Us 1 2739 0.5
BETWEEN US 1 ANDI95 3225 0.6
195 MERGE A389 0.8
BETWEEN MD 650 ANDI 95 4048 0.8
MERGE MD 650. 2547 05
BETWEEN MD 193 AND MD 650 6315 12
MERGE MD 193 1353 0.3
BETWEEN MD US 29 AND MD 193 2722 0.5
MERGE US 29 1127 0.2
BETWEEN MD 97 AND US 29 5926 1.1
MD 97 MERGE 1734 0.3
BETWEEN MD 185 AND MD 97 8746 17
MD 185 MERGE 3315 0.6
BETWEEN MD 355 AND MD 185 6287 12
|MD 355 MERGE 1401 03
MERGE AFTER [270 61 0.0
MERGE BEFORE [270 1298 0.2
BETWEEN I 270 EAST AND MD 187 3092 0.6
MERGE MD 187 1936 0.4
BETWEEN 1 270 WEST AND MD 187 7643 14
MERGE 1270 1490 03
BETWEEN MD 190 ANDI 270 5733 11
MERGE MD 190 1537 0.3
BETWEEN CABIN JOHN PARKWAY AND MD 190 214 0.0
MERGE CABIN JOHN PARKWAY 2397 O05
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PRWY 6336 1.2
MERGE CLARA BARTON PARKWAY 1463 0.3
BEFORE AMERICAN LEGION BRIDGE 746 0.1
AMERICAN LEGION BRIDGE 790 0.1
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 843 0.2
GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14 4288 0.8
VA-193/GEORGETOWN PIKE/EXIT 13 679 0.1
VA-193/GEORGETOWN PIKE/EXIT 13 1669 0.3

Figure A.27: |-495 Outer Loop Mainline 6-7 PM Travel Time and Speed

66.8 -28.3 -74%
ii01 | 68.3 | 146% _
95.2 48.6 -104%
59.6 -30.8 -107T%
151.8 61.2 -68%
66.2 -38.9 -142%
30.8 -10.4 -51%
120.9 32.3 21%
48.9 47.0 49%
AT.8 33.1 41%
44.1 20.5 32%
273.0 74 3%
116.9 -52.2 -B1%
86.0 33.5 -64%
138.9 623 -B1%
1574 65.5 -71%
60.3 8.1 -16%
32.8 -0.5 -2%
38.3 -1S -4%
52.2 3.9 -8%
52.1 8.8 15%
33.2 14 4%
83.3 AS -6%
EET. 0.7 -4%
35.9. -0.8 -2%
16.6 -2.2 -15%
Baa -0.2 0%
23.1 -0.2 -1%
114.5 -2.8 -3%
49.9 8.1 -19%
9L5 6.4 -8%
18.8 1.8 9%
0.8 0.1 13%
16.6 -O0.1 0%
48.5 45 -10%
114.5 82.9 -262%
629.6 -AT2.4 -300%
81.3 34.6 -74%
275.9 91.7 -50%
74.3 -25.0 -51%
10.4 “35 -51%
108.1 -29.8 -38%
123.1 28.5 19%
18.6 14.0 43%
9.5 4.7 33%
26.7 -14.5 -119%
28.6 -14.9 -109%
145.2 64.2 -719%
22.6 8.5 -60%
55.5 24.5 -79%

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-495 Mainline Travel
Time Graphs

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Cumulative Travel Time: !|-495 Inner Loop 6-7 AM

60.0

50.0

b
S
o

Travel Time (Minutes)

$= Travel Time (Field Average in Minutes)
=@=Travel Time (Simulated Average in Minutes)

10.0

=—-—=95% Confidence Interval (Upper Bound)

<= 95% Confidence Interval (Lower Bound)

0.0 I

VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A.28: |-495 Inner Loop Mainline 6-7 AM Cumulative Travel Time

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Cumulative Travel Time: |-495 Outer Loop 6-7 AM

50.0

6
6

S
5

Travel Time (Minutes)

10.0

Travel Time (Field Average in Minutes)
i-Travel Time (Simulated Average in Minutes)

== 95% Confidence Interval (Upper Bound)

r= 95% Confidence Interval (Lower Bound)

DI
WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEEN US1AND1I95 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN
PKWY

Figure A. 29: |-495 Outer Loop Mainline 6-7 AM Cumulative Travel Time

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Cumulative Travel Time: I-495 Inner Loop 7-8 AM
80.0
70,0
60.0
_
w
2
= 50.0
=
=
e
=
Y 300
o
Ee
20.0
Travel Time (Field Average in Minutes)
10.0 =—@=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
r= 95% Confidence Interval (Lower Bound)
0.0 TT
VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A. 30: |-495 inner Loop Mainline 7-8 AM Cumulative Travel Time

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Cumulative Travel Time: |-495 Outer Loop 7-8 AM

80.0

70.0

es) 2

t

iny

Oo
o

6
3

. Travel Time (M

0.0

10.0

Travel Time (Field Average in Minutes)
Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
=> 95% Confidence Interval (Lower Bound)

DI
WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEEN US1AND1I95 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN

PKWY

Figure A. 31: |-495 Outer Loop Mainline 7-8 AM Cumulative Travel Time

00037533
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Cumulative Travel Time: I-495 Inner Loop 8-9 AM
80.0
70.0
60.0
_—
w
2
5500
=
=
@ 40.0
Ee
9300
z=
Ee
20,0
——Travel Time (Field Average in Minutes)
406 =—@=Travel Time (Simulated Average in Minutes)
. == 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
QD
VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A. 32: |-495 inner Loop Mainline 8-9 AM Cumulative Travel Time

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Cumulative Travel Time: |-495 Outer Loop 8-9 AM
90.0
80.0
70.0
_
0.0
—
Ss
=
S00
—
E
s=}0.0
-
Go
>
00
e
20.0
Travel Time (Field Average in Minutes)
10.0 i-Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
= => 95% Confidence Interval (Lower Bound)
TT TTT
WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEENUS1AND195 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN
PKWY

Figure A. 33: |-495 Outer Loop Mainline 8&9 AM Cumulative Travel Time

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Cumulative Travel Time: I|-495 Inner Loop 9-10 AM

60.0

50.0

tes)

w
2
Oo

Travel Time (M

——Travel Time (Field Average in Minutes)

10.0
=—@=Travel Time (Simulated Average in Minutes)

== 95% Confidence Interval (Upper Bound)

== 95% Confidence Interval (Lower Bound)

QT
VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A. 34: |-495 Inner Loop Mainline 9-10 AM Cumulative Travel Time

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Cumulative Travel Time: I-495 Outer Loop 9-10 AM

80.0

70.0

g

6
5

6
3

_ Travel Time (Minutes)

0.0

Travel Time (Field Average in Minutes)
10.0

Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)

r= 95% Confidence Interval (Lower Bound)

D.0 Retr tr rr ee Te
WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEEN US1AND1I95 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN

PKWY

Figure A.35: |-495 Outer Loop Mainline 9-10 AM Cumulative Travel Time

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Pe
Cumulative Travel Time: I-495 Inner Loop 3-4 PM
90.0
80.0
70.0
_—
60.0
-
Ss
=
= 50.0
—
E
sm 40.0
—
S
300
-
20.0
—¢—Travel Time (Field Average in Minutes)
10.0 —Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
re 95% Confidence Interval (Lower Bound)
VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A.36: |-495 Inner Loop Mainline 3-4 PM Cumulative Travel Time

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tsi)

Cumulative Travel Time: I-495 Outer Loop 3-4 PM

80.0

70.0

3
S

6
6

6
6

. Travel Time (Minutes)

‘0.0

10.0

—$—Travel Time (Field Average in Minutes)
=H=Travel Time (Simulated Average in Minutes)
ber 95% Confidence Interval (Upper Bound)
= 95% Confidence Interval (Lower Bound)

0 OT Tt a et ke Pah tee eee eee tat hee he hte

WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEEN US 1AND195 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN
PKWY

Figure A.37: |-495 Outer Loop Mainline 3-4 PM Cumulative Travel Time

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Cumulative Travel Time: I-495 Inner Loop 4-5 PM

120.0
100.0
a
q@ 80.0
-
Ss
=
=
@ 60.0
—
S
B00
-

20.0 —¢—Travel Time (Field Average in Minutes)
—@—Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
re 95% Confidence Interval (Lower Bound)

VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A.38: |-495 Inner Loop Mainline 4-5 PM Cumulative Travel Time

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ceemie tth)
ES

Cumulative Travel Time: I-495 Outer Loop 4-5 PM

90.0

80.0

70.0

3
o

3
°

2
Oo

S
5

Travel Time (Minutes)

20.0

—$—Travel Time (Field Average in Minutes)

10.0

=H=Travel Time (Simulated Average in Minutes)

ber 95% Confidence Interval (Upper Bound)

—— 95% Confidence Interval we Bound)

ghee ee veg a ae ee
CLS SESE OSE PEEPS SESE CCEES LEEEEESS

Figure A.39: |-495 Outer Loop Mainline 4-5 PM Cumulative Travel Time

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Cumulative Travel Time: I-495 Inner Loop 5-6 PM

140.0

120.0

8
5

S

Travel Time (Minutes).

40.0

—¢—Travel Time (Field Average in Minutes)

200 —Travel Time (Simulated Average in Minutes)

== 95% Confidence Interval (Upper Bound)

re 95% Confidence Interval (Lower Bound)

VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5S AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A.40: 1-495 Inner Loop Mainline 5-6 PM Cumulative Travel Time

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tsi)

100.0

Cumulative Travel Time: I-495 Outer Loop 5-6 PM

10.0

—$—Travel Time (Field Average in Minutes)
=H=Travel Time (Simulated Average in Minutes)

oOo ee

ber 95% Confidence Interval (Upper Bound)

= 95% Confidence Interval (Lower Bound)

WOODROW WILSON
BRIDGE

Tt er tt eet ee mT

MERGE MD 337 END 495 EXPRESS LANE BETWEEN US 1AND195 BETWEEN MD 355 AND BETWEEN CLARA BARTON
MD 185 PKWY AND CABIN JOHN
PKWY

Figure A.41: 1-495 Outer Loop Mainline 5-6 PM Cumulative Travel Time

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Cumulative Travel Time: I-495 Inner Loop 6-7 PM
120.0
100.0
_—
480.0
-
Ss
=
=
@ 60.0
=
S
B00
-

20.0 —¢—Travel Time (Field Average in Minutes)
—@—Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
re 95% Confidence Interval (Lower Bound)

VA-193/GEORGETOWN BETWEEN | 270 AND MDBETWEEN MD US 29 AND BETWEEN MD 201 AND BETWEEN ARENA DR ANDBETWEEN MD 5 AND MD
PIKE/EXIT 13 187 MD 193 MD 295 MERGE MD 214 414

Figure A.42: |-495 Inner Loop Mainline 6-7 PM Cumulative Travel Time

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tsi)

Cumulative Travel Time: I-495 Outer Loop 6-7 PM

100.0

10.0

—$—Travel Time (Field Average in Minutes)
=H=Travel Time (Simulated Average in Minutes)
ber 95% Confidence Interval (Upper Bound)
= 95% Confidence Interval (Lower Bound)

oe Tot a et ttt “4
WOODROW WILSON MERGE MD 337 END 495 EXPRESS LANE BETWEEN US 1AND195 BETWEEN MD 355 AND BETWEEN CLARA BARTON
BRIDGE MD 185 PKWY AND CABIN JOHN
PKWY

Figure A.43: |-495 Outer Loop Mainline 6-7 PM Cumulative Travel Time

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-495 Mainline Overall
Comparison Tables

Legend

Criteria Met

Critera Not Met

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1-495 Inner Loop 6-7 AM
Speed withi
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
Yes -1% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY Yes Yes Yes Yes 0% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 314% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
‘No 56M. AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes 16% BEFORE AMERICAN LEGION BRIDGE
Yes 1% MERGE CLARA BARTON PARKWAY
_ Yes -2% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes No Yes 713% MERGE CABIN JOHN PARKWAY
Yes -15% BETWEEN CABIN JOHN PARKWAY AND MD 190
; Ee Yes -15% MERGE MD 190
BETWEEN MD 190 AND |-270 Yes No. No = Se SFTW EEN MIG aSG ANDO
; as a Yes -15% MERGE | 270
BETWEEN I-270 WEST AND MD 187 Yes No ‘No = ae RETIvEEN ITO ES Rae
Yes “12% MERGE MD 187
. Yes 8% BETWEEN MD 187 AND | 270
BETWEEN I-270 EAST AND MD 187 Yes No No. Te Gee WERCERESORE avo
Yes -2% MERGE AFTER 1 270
Yes +35 MD 355 MERGE
BETWEEN MD 355 AND MD 185 Yes Yes Yes Yes 5 BETWEEN MD 355 AND MD 185
An Yes 4% MD 185 MERGE
BETWEEN MD 185 AND MD 97 Yes Yes ‘No = a BSAWEEN In IRE ANID Do?
Yes 9% MD 97 MERGE
BETWEEN MD 97 AND US 29 Yes Yes Yes Yes 6% BETWEEN MD 97 AND US 29
Yes 6% MERGE US 29
BETWEEN MD US 29 AND MD 193 lo ¥ ~
ft oe oe ae Yes 7% BETWEEN MD US 29 AND MD 193
a i Yes -11% MERGE MD 193
BETWEEN MD 193 AND MD 650 Yes No No Yes 710% BETWEEN MD.193 AND MD 650
BETWEEN MD 650 AND I-95 Yes Ye: Yes ae at MERGE MD 650
i Yes 3% BETWEEN MD 650 AND 195
= : Yes 11% BEFORE | 95 MERGE
BETWEEN US 1 AND 1-95 Yes No Noo ie fae RETEHIGRKIENGE
fee = Yes 717% MERGE US 1
BETWEEN GREENBELT STAUON ANGUS Yes Ne Nai Yes =25% BEFORE GREENBELT STATION MERGE
i Yes ~26% AFTER GREENBELT STATION MERGE
BETWEEN GREENBELT STATION A D ¥ ; ‘No.
EV OESN GREENE CET sist AND Di zoA es Ne Yes “19% BETWEEN GREENBELT STATION AND MD 201
BETWEEN MD 201 AND MD 295 Yes ‘No No- a a vo
Yes “12% BETWEEN MD 201 AND MD 295 MERGE
| _ Yes =15% MERGE MD 295
BETWEEN MD 295 AND MD 450 Yes No No” Yes 2% BETWEEN MD 295 AND MD 450
os Yes -11% MERGE MD 450
BETWEEN MD 450.AND US 50 Yes No. No Tie a BETWEEN MEMEO ANOUSSO
Yes -13% MERGE US 50
pe Bion Yes -10% BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)
BETWEEN US50 AND MO 202 Yes No ‘No Yes 714% END 495 EXPRESS LANE
Yes -11% BEFORE MD 202 MERGE
BETWEEN MD 202 AND ARENA DR Yes Yes Yes ae ous MERGE M202
Yes 5% BETWEEN MO 202 AND ARENA DR
oe Yes 1% MERGE ARENA DR
BETWEEN ARENA DR AND MD 214 Yes ‘No. No i aa SERVE ASAD AND MEDI
e ai Yes 7% MD 214 MERGE
BETWEEN MD 214 AND RITCHIE MARLBORO RD Yes No. No) SETNEEN MID DL@AND RITCHIE BALE RO RD
nn MERGE RITCHIE MARLBORO RD
BETWEEN RITCHIE MARLBORO AND MD 4 Yes yes ‘No: ras am BETWEEN RITCHIE [BORO AND MD 4
Yes “12% MERGE MD 4
BETWEEN MD 4 AND FORESTVILLE RD Yes Yes ‘No ae a SFIWEEN MEGAN EEE
Yes 71% MERGE FORESTVILLE RD
BEDAESH OR PBEM Yes 0% BETWEEN FORESTVILLE AND MD 218
BETWEEN MD 218 AND MD5 Yes Yes Yes a ae ae
Yes 0% BETWEEN MD 218 ANDMD 5
- Yes 11% MERGE MD5
BETWEEN MD 5 AND MD 414 Yes Ne ee Yes 19% BETWEEN MD 5 AND MD 414
Yes 22% MERGE MD 414
T
BETWEEN MO 414 AND MD 210 Yes Yes Yes saa Tai BEEWEEK NIGIGAND ITSO
Yes -10% MERGE MD 210
BETWEEN MD 210 AND 1-295 Yes Yes Yes Yes -18% BETWEEN MD 210 AND | 295
Yes 5% MERGE | 295
WOODROW WILSON BRIDGE me a rn Yes 3% BEFORE WOODROW WILSON BRIDGE
" Yes 5% WOODROW WILSON BRIDGE

Figure A.44: |-495 Inner Loop Mainline 6-7 AM Overall Comparison

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1-495 Outer Loop 6-7 AM
Speed withil
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
— _ Yes 6% WOODROW WILSON BRIDGE
WOODROW WILSON BRIDGE Yes No No Tes au BEFORE WCODRGWAWILSGN BRIDGE
Yes -7T% MERGE | 295.
BETWEEN MD 210 4ND 1-295 Yes Yes No Yes 4% BETWEEN MD 210 AND | 295
Yes -3% MERGE MD 210
1 Yes -59% BETWEEN MD 414 AND MD 210
TWEEN MD 414 MB 210 Yi No ‘No ee en eg
BETWEEN MD414 AND MD 2 es | NO Ne Yes 12% MERGE MD 414
= Yes 25% BETWEEN MD 5 AND MD 414
BETWEEN MD 5 AND MD 414 yi
= he Yes “17% MERGE MD 5
Yes -19% BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD5 Yes Yes Yes Te ai MERGE OES
BETWEEN FORESTVILLE AND MD 242 Yes 21% BETWEEN FORESTVILLE AND MD 218
Yes -21% MERGE MD 337
Yes 22% BETWEEN MD 4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Yes Yes Yes ves aoe TERGEWIES
BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 Yes Yes Yes MERGE RITCHIE MARLBORO RD
i j i Yes ~13% BETWEEN MD 214 AND RITCHIE MARLBORO RD
WEEN 4 Al RITCHI AR Ri yi S 4 i
BETWEEN MD 214 AND RITCHIE MARLBORO RD es No No ve “ay MERGE MD 214
i Yes. 7% BETWEEN ARENA DR AND MD 214
BETWEEN ARENA DR AND MD 214 vi No y
= Ne eS Yes -13% MERGE ARENA DOR
= - Yes -25% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA DR ‘No No No ve ae ESS Sas
Yes 9% BEFORE MD 202 MERGE
BETWEEN US50 AND MD 202 Yes No ice noe ENDL S9> EXrREse LANE
- Yes -11% BETWEEN US 50.4ND MD 202 (495 EXPRESS LANE)
Yes 3% MERGE U5 50
| Yes 7% BETWEEN MD 450 AND US 50
BETWEEN MD 450 AND US 50 Yes No No. Ye 46 MERGE MD 450
a ah Yes “9% BETWEEN MD 295 AND MD 450
BETWEEN MD 295 AND MD 450 vi e No!
w Ee . No BS. Yes -16% MERGE MD 295
ee Yes -20% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 Yes No. No va SEK MEEENDaOE
BETWEEN GREENBELT STATION AND MD 201 Yes r No. ‘No- i Yes -18% BETWEEN GREENBELT STATION AND MD 201
i Yes -O% BETWEEN GREENBELT STATION AND US1
TWEEN GREENBELT STATION AND U: vi No y
BE EENBE! DUS1 es No No Yes 3% MERGE US 1
ah Yes “6% BETWEEN US1 ANDI 95
BETWEEN US 1 AND I-95 vi vi No- —-- —
1 ze re ie. Na 36% 195 MERGE
Yes 28% BETWEEN MD 650 AND 195
BETWEEN MD 650 AND 1-95 No Yes Yes Tas ae ESSERE
i Ss mi) Yes 5% BETWEEN MD 193 AND MD 650
T' i rs 4 i
BETWEEN MD 193 AND MD 650 Yes No. No. Yes 59% MERGE MD 193
an Yes 41% BETWEEN MD.US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 Yes Yes ‘No: Tek ASK MERGE US29
Yes 60% BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 Yes: Yes Yes No T Tse MD 97 MERGE
A Yes -25% BETWEEN MD 185 AND MD 97
8 N MD N 9 i vi ¥
ETWEEN MD 185 AND MD 97 No S Yes 2% MD 185 MERGE
BETWEEN MD 355 AND MD 185 Yes Yes Yes pe 2% SERED OS Ne
Yes -15% MD 355 MERGE
Yes =10% MERGE AFTER | 270
Yes =7% MERGE BEFORE | 270
T N I-. EAST AND Mi vi
SE) PERNT DASE Ne re ise Yes “3% BETWEEN | 270 EAST AND MD 187
Yes 14% MERGE MD 187
= Yes -19% BETWEEN | 270 WEST AND MD 187
BETWEEN I-270 WEST AND MD 187 No. Yes Yes Yes 1B% MERGE! 270
Ai Yes -18% BETWEEN MD 190 AND | 270
BETWEEN MD 190 AND !-270 Ves Yes No Yes -20% MERGE MD.190
Yes -19% BETWEEN CABIN JOHN PARKWAY AND MD 190
_ Yes “26% MERGE CABIN JOHN PARKWAY
ETWEEN CLARA BARTON PRWY AND CABIN JOHN PKWY vi Me No!
BETWE MA Ee No ie. Yes -20% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
Yes “17% MERGE CLARA BARTON PARKWAY
Yes -16% BEFORE AMERICAN LEGION BRIDGE
MERICAN fh RI
AMERICAN LEGION BRIDGE Yes 17% AMERICAN LEGION BRIDGE
Yes 12% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes “1675 GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PEWY No No No ve aN VA-193/GEORGETOWN PIKE/EXIT 13
Yes 24% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.45: l-495 Outer Loop Mainline 6-7 AM Overall Comparison

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1-495 Inner Loop 7-8 AM

Speed withi
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
No 48% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY. No ‘No. No Yes “1% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 30% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 56% AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes 13% BEFORE AMERICAN LEGION BRIDGE
Yes 16% MERGE CLARA BARTON PARKWAY,
_ Yes 5% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes No rs = pacRGE CAGIN TOTST PRR
Yes 12% BETWEEN CABIN JOHN PARKWAY AND MD 190
= Yes 1% MERGE MD 190
BETWEEN MDA80 AND tet70 Na Nes = Yes “12% BETWEEN MD 190 AND | 270
aan Yes 1% MERGE | 270
BETWEEN I-270 WEST AND MD 187 Yes Yes ‘No = =a SEANEEN DUAN Dae
Yes “8% MERGE MD 187
_ Yes 0% BETWEEN MD 187 AND | 270
BETWEEN |-270 EAST AND MD 187 Yes No No = eee aes
Yes 10% MERGE AFTER 1 270
= Yes 11% MD 355 MERGE
BETWEEN MD 355 AND MD 185 Yes No. No = — ae he eae
Yes o% MD 185 MERGE
BETWEEN MD 185 AND MD 97 Yes Yes Yes = = eee a ST
Yes 5% MD 97 MERGE
BETWEEN MD 97 AND US 29 Yes Yes tes Yes 3% BETWEEN MD 97 AND US 29
Yes “1% MERGE US 29
BETWEEN MO US 29. AND MD 193 ¥ ¥
i fs oe ae Yes ~4% BETWEEN MO US 29 AND MO 193
= F Yes -22% MERGE MD 193
BETWEEN MD 193 AND MD 650 Yes No No Ves 3% BETWEEN MO 193 AND MD 650
BETWEEN MD 650 AND I-95 No Ye Yes a at MERGE MD 650
i Yes =1% BETWEEN MD 650 AND 195
Yes =4% BEFORE | 95 MERGE
BETWEEN US 1 AND |-95 No Yes yes fe Sar eee
Yes 10% MERGE US 1
BETWEEN GREENBELT STATION AND US 1 Yes Yes Yes — a SURE GREENSETS = IGN ERS
i Yes 7% AFTER GREENBELT STATION MERGE
BETWEEN GREENBELT STATION AND MD 201 Yes No No a =o SETHE GAEEMREET UNIT AB HED
BETWEEN MD 201 AND MD 295 Yes Yes Yes acs =a MERGE MD 201
Yes 5% BETWEEN MD 201 AND MD 295 MERGE
. 7 Yes “10% MERGE MD 295
BETWEEN MD 295 AND MD 450 Yes Ne: Be Yes 719% BETWEEN MD 295 AND MD 450
Yes -3% MERGE MD 450
BETWEEN MD 450 ANDUS 50 Yes Yes Yes vc =a SES eT En
Yes 2% MERGE US 50
Ae Yes 2% BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)
BETWEEN US50 AND MO 202 Yes Yes No Yes “13% END 495 EXPRESS LANE
Yes 11% BEFORE MD 202 MERGE
a _ Yes “10% MERGE MD 202
BETWEEN MD 202 AND ARENA DR : ‘No
Ne Ne we Yes “7% BETWEEN MO 202 AND ARENA OR
_ Yes 1% MERGE ARENA DR
BETWEEN ARENA DR AND MD 214 Yes Yes No cc ae SIE GAEL STARE DIE
BETWEEN MD 214 AND RITCHIE MARLBORO RO Ye N ‘No ES aa EE EBS
i 2 _ BETWEEN MD 214 AND RITCHIE MARLBORO RD
x MERGE RITCHIE MARLBORO RD
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes ‘No = a eee er
Yes 5% MERGE MD 4
PET WEEN M04 AND: PORES EVILLE'AD we i Me Yes “4% BETWEEN MD 4 AND FORESTVILLE RD
Yes 1% MERGE FORESTVILLE AD
BETWEEN FORESTVILLE ANE ME 18 Yes 1% BETWEEN FORESTVILLE AND MD 218
BETWEEN MD 218 AND MD 5 No Yes Yes a ty eae
Yes “1% BETWEEN MD 218 AND MD 5
_ No 49% MERGE MD 5
NMD5 D4 ¥ No 5 Ne
PERVEER MOS ANG MDL = ae Re No 163% BETWEEN MD 5 AND MD 414
No 61% MERGE MD414
i °
BETWEEN MD 414 AND MD 210 Yes Yes Yes ree ee Sa wna
7 Yes 30% MERGE MD 210
BETWEEN MD 210 AND 1-295 No No. ‘No. Yes 32% BETWEEN MD 210 AND | 295
No a3 MERGE | 295
WOODROW WILSON BRIDGE a ae ae Yes 15% BEFORE WOODROW WILSON BRIDGE
: Yes 2% WOODROW WILSON BRIDGE

Figure A.46: |-495 Inner Loop Mainline 7-8 AM Overall Comparison

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1-495 Outer Loop 7-8 AM
Speed withi
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
—_ _ No {53% WOODROW WILSON BRIDGE
WOODROW WI R ¥ : ~ :
eee mon Sass er Be Ne Yes 4% BEFORE WOODROW WILSON BRIDGE
Yes -4% MERGE | 295
BETWEEN MD 210 AND 1-295 Yes Yes Yes Yes 2% BETWEEN MD 210 AND 1295
Yes 1% MERGE MD 210
Yes 5% BETWEEN MD 414 AND MD 210
TWEEN MD 414 AND MD 210 ¥ ¥ — RIM EE ee ee
BETWEEN MD 414 AND MD 2 es es Yes Yes 7% MERGE MD 414
Yes -10% BETWEEN MD 5 AND MD 414
BETWEEN MD5 AND MD 414 ¥ No. f
fa Ng: Ke Yes “17% MERGE MD 5
Yes 14% BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD 5 Yes Yes Yes Te mei MERGE OES
SERWELN FORESRU LEE ID ND O38 Yes 5% BETWEEN FORESTVILLE AND MD 218
Yes =2% MERGE MD 337
Yes 2% BETWEEN MD 4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Yes ¥ ‘No
Es Ne Yes 10% MERGE MD 4
7 _ BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes No TAERGE RITCHIE MARLSGRORO
i i Yes 20% BETWEEN MD 214 AND RITCHIE MARLBORO RD
wi 4 AND RITCHIE MAR RI ¥ : ‘No-
BETWEEN MD 214 AND RITCHIE MARLBORO RD es No No No 25% MERGE MD 214
BETWEEN ARENA DR AND MD 214 No Yes Yes aire ase BETWEEN ARENA OR AND MD ZIe.
Yes 20% MERGE ARENA DR
i - _ Yes 29% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA DR No No No No ae HERCERIGS
Yes 9% BEFORE MD 202 MERGE
e Yes 16% END 495 EXPRESS LANE
BETWEEN US50 AND MD 202 ¥ : No
a Ne Ne No 32% BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)
‘No 34% MERGE US 50
; ‘No 40% BETWEEN MD 450 AND US 50
BETWEEN MD 450 AND US 50 ¥ No No-
piWeS = is ae Yes 20% MERGE MD 450
_ Yes =2% BETWEEN MD 295 AND MD 450
BETWEEN MD 295 AND MD 450 ¥ : No-
= | Ne Be Yes 5% MERGE MD 295
; Yes -9% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 ¥ No
es 0 No Yes “16% MERGE MD 201
BETWEEN GREENBELT STATION AND MD 201 Yes No No. Yes =10% BETWEEN GREENBELT STATION AND MD 201
; Yes ~4% BETWEEN GREENBELT STATION AND US.1
TWEEN GREENBELT STATION AND US ¥ No No-
BETWEEN GREENBE! DUS1 es No No 7 Te ERGEeeS
| _ — No 26% BETWEEN US 1 AND 195
BETWEEN US 1 AND I-95 ¥ : No” = a
1 ee Ne we No 75% 195 MERGE
: a Yes 11% BETWEEN MD 650 AND 195
BETWEEN MD 650 AND 1-95 Yes No No oie ae MERGEREEED
: Sit Yes 12% BETWEEN MD 193 AND MD 650
T' i 4 i
BETWEEN MD 193 AND MD 650 Yes No. No. we Sea WGERGE Modes
Yes 6% BETWEEN MD.US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 Yes ‘No ‘No
: ‘ Yes 1% MERGE US 29
Yes 19% BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 Yes Yes Yes me sax MOF MERGE
A Yes 5% BETWEEN MD 185 AND MD 97
BI EN MD N 9 : ¥ y
ETWEEN MD 185 AND MD 97 No es Ss Yes 14% MD 185 MERGE
BETWEEN MD 355 AND MD 185 Yes Yes Yes oe ah —E—
Yes =12% MD 355 MERGE
Yes -7% MERGE AFTER | 270
Yes 4% MERGE BEFORE | 270
EEN 1-270 EAST AND M ¥ ¥
BEIWEEN L270 DAT er re Se Yes “8% BETWEEN 1270 EAST AND MD 187
Yes 712% MERGE MD 187
A Yes -15% BETWEEN | 270 WEST AND MD 187
BETWEEN 1-270 WEST AND MD 187 No. Yes Yes NG zi nee
Yes -B% BETWEEN MD 190 AND | 270
N MD 190 AND I-27! ¥ ¥ Yi — ene -
eae = a on Yes -24% MERGE MD 190
Yes =24% BETWEEN CABIN JOHN PARKWAY AND MD 190
- No 58% MERGE CABIN JOHN PARKWAY
ETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY ¥ Ne ‘No- =
BETM! a er Nes Be Yes 12% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
Yes -10% MERGE CLARA BARTON PARKWAY
Yes -10% BEFORE AMERICAN LEGION BRIDGE
MERICA ION BRI
AMERICAN LEGION BRIDGE Yes -9% AMERICAN LEGION BRIOGE
Yes 7% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes =11% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PKWY No No No a aay sya 35a PSED RGETOUUN PIKETENET a
Yes =13% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.47: |-495 Outer Loop Mainline 7-8 AM Overall Comparison

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1-495 Inner Loop 8-9 AM

Volume Segment

More
Throughput in

BETWEEN VA-193 AND GW MEMORIAL PKWY

AMERICAN LEGION BRIDGE

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

Yes

BETWEEN MD 190 AND |-270

BETWEEN 1-270 WEST AND MD 187

BETWEEN 1-270 EAST AND MD 187

BETWEEN MD 355 AND MD 185

BETWEEN MD 185 AND MD 97

Volume Speed within
Difference Less | SEH Less than | acceptable —e Travel Time Segment
than 10%? Range?
Yes 11% VA-193/GEORGETOWN PIKE/EXIT 13
Yes 71%. GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes -25% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 47% AMERICAN LEGION BRIDGE
Yes 19% BEFORE AMERICAN LEGION BRIDGE
Yes 18% MERGE CLARA BARTON PARKWAY
Yes. 6% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
Yes -4% MERGE CABIN JOHN PARKWAY
Yes 6% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes 5% MERGE MD 190
Yes -B% BETWEEN MD 190 AND | 270
Yes 8% MERGE | 270
Yes : BETWEEN | 270 AND MD 187
MERGE MD 187

BETWEEN MD 187 AND | 270

MERGE BEFORE | 270

MERGE AFTER 1270

MD 355 MERGE

BETWEEN MD. 355 AND MD 185

MD 185 MERGE

BETWEEN MD 97 AND US 29

BETWEEN MD 185 AND MD 97

MD 97 MERGE

BETWEEN MD US 29. AND MD 193

BETWEEN MD 97 AND US 29

MERGE US 29

BETWEEN MD 193 AND MD 650

BETWEEN MD 650 AND I-95

BETWEEN US1 AND I-95

BETWEEN GREENBELT STATION AND US 1

BETWEEN GREENBELT STATION AND MD 201

BETWEEN MD 201 AND MD 295

BETWEEN MD 295 AND MD 450

BETWEEN MD 450 AND US 50

BETWEEN US50 AND MD 202

BETWEEN MD 202 AND ARENA DR

BETWEEN ARENA DR AND MD 214

BETWEEN MD 214 AND RITCHIE MARLBORO RD

BETWEEN RITCHIE MARLBORO AND MD 4

BETWEEN MD 4 AND FORESTVILLE RD

BETWEEN FORESTVILLE AND MD 218

BETWEEN MD 218 AND MD 5

BETWEEN MD 5 AND MD 414

BETWEEN MD 414 AND MD 210

BETWEEN MD 210 AND 1-295

WOODROW WILSON BRIDGE

Figure A.48:

BETWEEN MD US 29 AND MD 193

MERGE MD 193

BETWEEN MD.193 AND MD 650

MERGE MD 650

BETWEEN MD 650 AND 195

BEFORE | 95 MERGE

AFTER | 95 MERGE

MERGE US 1

BEFORE GREENBELT STATION MERGE

AFTER GREENBELT STATION MERGE

BETWEEN GREENBELT STATION AND MD 201

MERGE MD 201

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 295

BETWEEN MD 295 AND MD 450

MERGE MD 450

BETWEEN MD 450 AND US 50

MERGE US 50

BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)

END 495 EXPRESS LANE

BEFORE MD 202 MERGE

MERGE MD 202

BETWEEN MD 202 AND ARENADR

MERGE ARENA DR

BETWEEN ARENA DR AND MD 214

MD 214 MERGE

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE RITCHIE MARLBORO RD

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE MD 4

BETWEEN MD 4 AND FORESTVILLE RD

MERGE FORESTVILLE RD.

BETWEEN FORESTVILLE AND MD 218

MERGE MD 218

BETWEEN MD 218 ANDMD 5

MERGE MD 5

BETWEEN MD 5 AND MD 414

MERGE MD 414

BETWEEN MD 414 AND MD 210

MERGE MD 210

Yes

BETWEEN MD 210 AND | 295

MERGE | 295

BEFORE WOODROW WILSON BRIDGE

20%

WOODROW WILSON BRIDGE

1-495 Inner Loop Mainline 8-9 AM Overall Comparison

00037551
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1-495 Quter Loop 8-9 AM

More Volume Speed within
(GEH Less than Travel Time % s
Volume Segment Throughput in | Difference Less 5? Acceptable Ditkie ace Travel Time Segment
Model? than 10%? Range?
No -112% WOODROW WILSON BRIDGE
WOODROW WILSON BRID: ¥ No No-
SCR SRISE = fis ue Yes 3% BEFORE WOODROW WILSON BRIDGE
Yes -6% MERGE | 295
BETWEEN MD 210 AND I-295 Yes No No Yes 1% BETWEEN MD 210 AND | 295
Yes -2% MERGE MD 210
Yes “5% BETWEEN MD 414 AND MD 210
ETWE 414 AND MD 2 ¥ ¥ ¥ pee ee:
Bi EN MD 41: ID MD 210 es es es Yes “8% MERGE MD 414
BETWEEN MD 5 AND MD 414 Yes Yes No. Yes -18% BETWEEN MD 5 AND MD 414
Yes -13% MERGE MD 5
Yes 11% BETWEEN MD 218 ANDMD 5
BETWEEN MD 218 AND MDS Yes Yes Yes Yes 5% MERGEMD Dis
Yes 25% BETWEEN FORESTVILLE AND MD 218
BETWEEN FORESTVILLE AND MD 218 a sae SERRE ISS
Yes 22% BETWEEN MD-4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Ye: ¥ ¥
i ia = Wo 2% MERGE MD 4
. BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes Yes MERGE RIECHIENIERISORCEED
- No 27% BETWEEN MD 214 AND RITCHIE MARLBORO RD
N MD 214 AND RITCHIE MARLBORO ¥ Ne No” ois
BETWEEN MD 214 Al CHIE LBORO RD es No No Wee 2% MERGEMD 214
3 a Yes 13% BETWEEN ARENA DR AND MD 214
BETWEEN ARENA DR AND MD 214 : ¥
No: ae Ne Yes 22% MERGE ARENA DR
= x Alsi Yes 8% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA DR No. No. No Yes “7% MERGE MD 202
Yes -76% BEFORE MD 202 MERGE
- Yes -4% END 495 EXPRESS LANE
BETWEEN US 50 AND MD 202 ¥ No : = -
= Ne ne No 36% BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)
No 40% MERGE US 50
No 4% BETWEEN MD 450 AND US 50
BETWEEN MD 450 AN 5 ¥ ¥ a
TWEEN MD 450 AND US 50 es es No) No 36% MERGE MD 450
F T Yes 10% BETWEEN MD 295 AND MD 450
BETWEEN MD 295 AND MD 450 ¥ ; ‘No-
<8 Ne NS Yes -5% MERGE MD 295
ye. Yes =10% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 Yes No- ‘No: Yes 719% MERGE MD 201
BETWEEN GREENBELT STATION AND MD 201 Yes No Yes -14% BETWEEN GREENBELT STATION AND MD 201
nee Yes =1% BETWEEN GREENBELT STATION AND US1
TWEEN GREENBELT STATION AND US ¥ :
BETWEE ENBELT STATION AND US 1 es No Yes 10% MERGE US 1
i Yes 21% BETWEEN US 1 ANDI 95
BETWEEN US 1 AND |-95 ¥ ; ‘No- -
2 ae Ne NS No 78% 195 MERGE
ny Yes 14% BETWEEN MD 650 AND 195
BETWEEN MD 650 AND I-95 Yes No ‘No: YEE aN: MERGEMBaEO
_ Yes 30% BETWEEN MD 193 AND MD 650
BETWEEN MD 193 AND MD 650 Yes No. No ve aoe MERGE NID ISa
7 z Yes 22% BETWEEN MD US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 ¥ ‘No. o
= . i Yes 13% MERGE US 29
a a Yes -B% BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 Yes No No wae a MDT MERGE
Yes 7% BETWEEN MD 185 AND MD 97
El ND MD 97 ¥ ¥
BETWEEN MD 185 AND M es es Yes Yes 6% MD 185 MERGE
BETWEEN MD 355 AND MD 185 Yes Yes No ae ae BELWEEN NBS Nee
- Yes 5% MD 355 MERGE
Yes 0% MERGE AFTER | 270
4s Yes 2% MERGE BEFORE 1270
TWEEN |- DMD 187 ¥ ¥
BULWEET icra coon OAS Be “ . Yes 0% BETWEEN | 270 EAST AND MD 187
Yes 5% MERGE MD 187
= _ - Yes 9% BETWEEN | 270 WEST AND MD 187
BETWEEN I-270 WEST AND MD 187 No ‘No No Te a MERGET S70
Yes 21% BETWEEN MD 190 AND | 270
EN 190 AND 1-271 Mi Vi maser renin aces ne
BETWEEN MD ID 1-270 es ‘es Yes. ae 20% MERGE MD 190
Yes 20% BETWEEN CABIN JOHN PARKWAY AND MD 190
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes No. No a ae ee
Yes 14% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
Yes 8% MERGE CLARA BARTON PARKWAY
Yes 4% BEFORE AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes 4% AMERICAN LEGION BRIDGE
Yes -3% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
ee re a. Yes 6% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PKWY No. No No. Tae ae VA-193/GEORGETOWN PIKE/EXIT 13
Yes 4% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.49: |-495 Outer Loop Mainline 8-9 AM Overall Comparison

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1-495 Inner Loop 9-10 AM

Volume Segment

BETWEEN VA-193 AND GW MEMORIAL PKWY

AMERICAN LEGION BRIDGE

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

BETWEEN MD 190 AND |-270

BETWEEN 1-270 WEST AND MD 187

BETWEEN 1-270 EAST AND MD 187

Speed within
Acceptable Travel Time Segment
Range?
Yes VA-193/GEORGETOWN PIKE/EXIT 13
Yes GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes AMERICAN LEGION BRIDGE
Yes BEFORE AMERICAN LEGION BRIDGE
Yes MERGE CLARA BARTON PARKWAY
Yes BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
Yes MERGE CABIN JOHN PARKWAY
Yes BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes MERGE MD 190
Yes BETWEEN MD 190 AND | 270
Yes MERGE | 270
Yes BETWEEN | 270 AND MD 187
Yes MERGE MD 187
Yes BETWEEN MD 187 AND | 270

Yes

MERGE BEFORE | 270

BETWEEN MD 355 AND MD 185

BETWEEN MD 185 AND MD 97

Yes

MERGE AFTER 1 270

MD 355 MERGE

BETWEEN MD. 355 AND MD 185

MD 185 MERGE

BETWEEN MD 185 AND MD 97

BETWEEN MD 97 AND US 29

MD 97 MERGE

BETWEEN MD US 29. AND MD 193

BETWEEN MD 97 AND US 29

MERGE US 29

BETWEEN MD 193 AND MD 650

BETWEEN MD US 29 AND MD 193

MERGE MD 193

BETWEEN MD 650 AND I-95

BETWEEN MD.193 AND MD 650

MERGE MD 650

BETWEEN US1 AND I-95

BETWEEN MD 650 AND 195

BEFORE | 95 MERGE

BETWEEN GREENBELT STATION AND US 1

AFTER | 95 MERGE

MERGE US 1

BETWEEN GREENBELT STATION AND MD 201

BEFORE GREENBELT STATION MERGE

AFTER GREENBELT STATION MERGE

BETWEEN MD 201 AND MD 295

BETWEEN GREENBELT STATION AND MD 201

MERGE MD 201

BETWEEN MD 295 AND MD 450

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 295

BETWEEN MD 450 AND US 50

BETWEEN MD 295 AND MD 450

MERGE MD 450

BETWEEN US50 AND MD 202

BETWEEN MD 450 AND US 50

MERGE US 50

BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)

END 495 EXPRESS LANE

BETWEEN MD 202 AND ARENA DR

BEFORE MD 202 MERGE

MERGE MD 202

BETWEEN ARENA DR AND MD 214

BETWEEN MD 202 AND ARENA DR

MERGE ARENA DR

BETWEEN MD 214 AND RITCHIE MARLBORO RD

BETWEEN ARENA DR AND MD 214

MD 214 MERGE

BETWEEN RITCHIE MARLBORO AND MD 4

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE RITCHIE MARLBORO RD

BETWEEN MD 4 AND FORESTVILLE RD

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE MD 4

BETWEEN FORESTVILLE AND MD 218

BETWEEN MD 4 AND FORESTVILLE RD

MERGE FORESTVILLE RD.

BETWEEN MD 218 AND MD5

BETWEEN FORESTVILLE AND MD 218

MERGE MD 218

BETWEEN MD 5 AND MD 414

BETWEEN MD 218 ANDMD 5

MERGE MD 5

BETWEEN MD 414 AND MD 210

BETWEEN MD 210 AND 1-295

WOODROW WILSON BRIDGE

Yes

BETWEEN MD 5 AND MD 414

MERGE MD 414

BETWEEN MD 414 AND MD 210

MERGE MD 210

BETWEEN MD 210 AND | 295

MERGE | 295

Yes

BEFORE WOODROW WILSON BRIDGE

Yes

WOODROW WILSON BRIDGE

Figure A.50: 1-495 Inner Loop Mainline 9-

10 AM Overall Comparison

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1-495 Outer Loop 9-10 AM

Volume Segment

More
Throughput in | Difference Less
Model?

Speed within
Acceptable
Range?

GEH Less than
5?

Travel Time %
Difference

Travel Time Segment

WOODROW WILSON BRIDGE

WOODROW WILSON BRIDGE Yes BEFORE WOODROW WILSON BRIDGE
MERGE | 295
BETWEEN MD 210 AND 1-295 Yes BETWEEN MD 210 AND | 295
MERGE MD 210
; BETWEEN MD 414 AND MD 210
BETWEEN MD 414 AND MD 210 Yes MERGE MO #14
BETWEEN MD 5 AND MD 414
BETWEEN MD 5 AND MD 414 Yes MERGEMDS
: : Yes 4% BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD 5 Yes Yes Yes Yes 7% MERGED 218
Yes 15% BETWEEN FORESTVILLE AND MD 218
BETWEEN FORESTVILLE AND MD 218 Yes 1% MERGE MD 237
Yes. 14% BETWEEN MD 4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Yes Yes. Yes Yes i6% MERGE MD 4
we BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 Yes Yes Yes MERGE RITCHIE MARLBORO RD

BETWEEN MD 214 AND RITCHIE MARLBORO RD

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD 214

BETWEEN ARENA DR AND MD 214

BETWEEN MD 202 AND ARENA DR

BETWEEN ARENA DR AND MD 214

MERGE ARENA DR

BETWEEN MD 202 AND ARENA DR

MERGE MD 202

BETWEEN US 50 AND MD 202

BEFORE MD 202 MERGE

END 495 EXPRESS LANE

BETWEEN MD 450 AND US 50

BETWEEN MD 295 AND MD 450

BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)

MERGE US 50

BETWEEN MD 450 AND US 50

MERGE MD 450

BETWEEN MD 295 AND MD 450

MERGE MD 295

BETWEEN MD 201 AND MD 295

BETWEEN MD 201 AND MD 295 MERGE

BETWEEN GREENBELT STATION AND MD 201

MERGE MD 201

BETWEEN GREENBELT STATION AND MD 201

BETWEEN GREENBELT STATION AND US 1

BETWEEN GREENBELT STATION AND US 1

MERGE US 1

BETWEEN US 1 AND I-95

BETWEEN US 1 ANDI95

195 MERGE

BETWEEN MD 650 AND I-95

BETWEEN MD 650 AND 195

BETWEEN MD 193 AND MD 650

MERGE MD 650

BETWEEN MD 193 AND MD 650

MERGE MD 193

BETWEEN MD US 29 AND MD 193

BETWEEN MD. US 29 AND MD 193

MERGE US 29

BETWEEN MD 97 AND US 29

BETWEEN MD 97 AND US 29

MD 97 MERGE

BETWEEN MD 165 AND MD 97

BETWEEN MD 185 AND MD 97

MD 185 MERGE

BETWEEN MD 355 AND MD 185

BETWEEN MD 355 AND MD 185

MD 355 MERGE

BETWEEN 1-270 EAST AND MD 187

MERGE AFTER | 270

MERGE BEFORE 1270

BETWEEN | 270. EAST AND MD 187

MERGE MD 187

BETWEEN |-270 WEST AND MD 187

BETWEEN | 270 WEST AND MD 187

BETWEEN MD 190 AND |-270

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

AMERICAN LEGION BRIDGE

Yes

MERGE | 270

BETWEEN MD 190 AND | 270

MERGE MD 190

BETWEEN CABIN JOHN PARKWAY AND MD 190

MERGE CABIN JOHN PARKWAY

| BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY

MERGE CLARA BARTON PARKWAY

BEFORE AMERICAN LEGION BRIDGE

Yes

AMERICAN LEGION BRIDGE

BETWEEN VA-193 AND GW MEMORIAL PKWY

Yes 16% GEORGE WASHINGTON MEMORIAL PRWY/EXIT 14
Yes 23% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 22% VA-193/GEORGETOWN PIKE/EXIT 13
Yes 12% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.51: |-495 Outer Loop Mainline 9-10 AM Overall Comparison

00037554

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1-495 Inner Loop 3-4 PM
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
No 79% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY No Yes Yes No 74% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
‘No 50% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
No 49% AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes 38% BEFORE AMERICAN LEGION BRIDGE
Yes 22% MERGE CLARA BARTON PARKWAY
Yes -36% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes Yes ve aa WERGECARINIOENESEREGIEY
Yes 47% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes 52% MERGE MD 190
BETWEEN MD 190 AND |-270 Yes Yes Yes wae ai SETWEEN SIGAGO END TGTO
i Avi Yes -3% MERGE | 270
BETWEEN I-270 WEST AND MD 187 Yes No ‘No Tz ag BETWEEN ILOSEaNE ROHR
‘No A2% MERGE MD 187
ue | No 70% BETWEEN MD 187 AND | 270
BETWEEN I-270 EAST AND MD 187 Yes No No No 67% MERGE BEFORE 1270
‘No TS MERGE AFTER | 270
; ; No 70% MD 355 MERGE
BETWEEN MD 355 AND MD 185 ¥ ‘No. ; = ee
es o No No 50% BETWEEN MD 355 AND MD 185
=z Yes =10% MD 185 MERGE
BETWEEN MD 185 AND MD 97 No Yes Yes TE “35% BETWEEN MD 185 AND MD 97
_ ‘No =101% MD 97 MERGE
BETWEEN MD 97 AND US 23 a8 ues ie Yes ~15% BETWEEN MD 97 AND US 29
Yes 8% MERGE US 29
BETWEEN MO US 29 AND MD 193 ¥ ¥ -
= we Yes -6% BETWEEN MD US 29 AND MO 193
Yes =29% MERGE MD 193
BETWEEN MD 193 AND MD 650 Nes oe i= Yes ~14% BETWEEN MD 193 AND MD 650
BETWEEN MD 650 AND I-95 No Ye: No" ae ae MERGE MD 650
i Yes 13% BETWEEN MD 650 AND 195
Yes 5% BEFORE | 95 MERGE
BETWEEN US 1 AND I-95 Yes No as oe ATER ERENCE
= Yes 3% MERGE US 1
BETWEEN GREENBELT STATION AND US 1 Yes No No. NG rai BEFORE GAEENDELT SATION MIEREE
t No 36% AFTER GREENBELT STATION MERGE
BETWEEN GREENBELT STATION AND MD ¥ : ‘No. - -
ERAEEN ShEENEE ELS APOE ADMD & us fe No 37% BETWEEN GREENBELT STATION AND MD 201
BETWEEN MD 201 AND MD 295 Yes ‘No- No- = ee ————
Yes 30% BETWEEN MD 201 AND MD 295 MERGE
| a rm Yes 28% MERGE MD 255
BETWEEN MD 295 AND MD 450 vee ) Ne me Yes 18% BETWEEN MD 295 AND MD 450
; = Yes 31% MERGE MD 450
BETWEEN MD 450 AND US 50 Yes No. No ie Tae SERNTEN MOMSO AND USSO
Yes -18% MERGE US 50
ai Yes =1% BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)
BETWEEN US 50 AND MO 202 Yes Yes Ne Yes 68% END 495 EXPRESS LANE
‘No “78%. BEFORE MD 202 MERGE
Yes -71% MERGE MD 202
BETWEEN MD 202 AND ARENA DR : : ‘No
xe Ne Be Yes ~45% BETWEEN MD 202 AND ARENA DR
Yes 29% MERGE ARENA DR
BETVEEN ARENA DR AND ME 213 Na Nes is No 40% BETWEEN ARENADR AND MD 214
No 41%. MD 214 MERGE
BETWEEN MD 214 AND RITCHIE MARLBORO RD Yes Yes Yes SERWEEN MID DLGAND RITCHIE WARLORD RD
a nn MERGE RITCHIE MARLBORO RD
BETWEEN RITCHIE MARLBORO AND MD 4 No No- ‘No. TE ae BETWEEN RIICHIEARLEOROENGNIDE
Yes -2% MERGE MD 4
PETWEEN MO 4 AND: PORES [VILLE RD ee = ae Yes -6% BETWEEN MD 4 AND FORESTVILLE RD
Yes 6% MERGE FORESTVILLE RD
BETWEEN FOREST VIELE AND Mp 228 Yes 10% BETWEEN FORESTVILLE AND MD 218
BETWEEN MD 218 AND MD 5 No Yes No Yes 9% MERGE MD 218
l Yes 2% BETWEEN MD 218 AND MD 5
Yes 6% MERGE MD 5
BETWEEN MD 5 AND MD 414 os nes i Yes 4% BETWEEN MD 5 AND MD 414
= Yes -1% MERGE MD 414
1 No.
BETWEEN ME)#34 AND MD: 210 He: les ae Yes 0% BETWEEN MD 414 AND MD 210
Yes -6% MERGE MD 210
BETWEEN MD 210 AND 1-295 Yes Yes ‘No- Yes 2% BETWEEN MD 210 AND | 295
Yes -6% MERGE | 295
WOODROW WILSON BRIDGE 7 a ae Yes -1% BEFORE WOODROW WILSON BRIDGE
: Yes -4% WOODROW WILSON BRIDGE

Figure A.52: |-495 Inner Loop Mainline 3-4 PM Overall Comparison

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1-495 Outer Loop 3-4 PM
Speed withi
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
—_ a Yes ~4% WOODROW WILSON BRIDGE
ROW WI R ¥ ;
wees mon Sass er Be Ne Yes 2% BEFORE WOODROW WILSON BRIDGE
Yes 2% MERGE | 295
BETWEEN MD 210 AND 1-295 Yes No. No) Yes 20% BETWEEN MD 210 AND | 295
Yes 20% MERGE MD 210
BETWEEN MD 414 AND MD 210 Yes Yes No a a
rs Yes 15%
Yes 24% BETWEEN MD 5 AND MD 414
BETWEEN MD 5 AND MD 414 y ¥ —— :
= fe iss Na 0%, MERGE MD 5
No [a2 BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD 5 Yes Yes Yes Na “aa MERCED
SERUEEN RORESRELIE AAD hipaa No | 41% BETWEEN FORESTVILLE AND MD 218
Yes 7% MERGE MD 337
Yes 19% BETWEEN MD 4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Yes ¥ Yes — a
e No 37% MERGE MD 4
7 BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes Yes RIERGE RITCHIE MARLBORO RD
Yes 17% BETWEEN MD 214 AND RITCHIE MARLBORO RD
WEEN 4 AND RITCHIE MARI RI ¥ ¥ ‘No.
BETWEEN MD 214 AND RITCHIE MARLBORO RD es es No a “55 MERGE MD 214
BETWEEN ARENA DR AND MD 214 Yes Yes Yes a eee: BEIVEEN ARENA CR AND MDL
Yes -24% MERGE ARENA DR
= a = Yes -56% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA DR No No No Vas "Eis MERGE MD 202
Yes “148% BEFORE MD 202 MERGE
BETWEEN US50 AND MD 202 Yes Yes Yes ae ae END 2o2 EXRESS LENE
Yes 9% BETWEEN US 50,4ND MD 202 (495 EXPRESS LANE)
Yes 4% MERGE US 50
Yes 7% BETWEEN MD 450 AND US 50
BETWEEN MD 450. AND US50 ¥ ¥ ¥
piWeS ¢ = = = Yes 6% MERGE MD 450
Yes 8% BETWEEN MD 295 AND MD 450
BETWEEN MD 295 AND MD 450 ¥ ¥
vm ee re is Yes 1% MERGE MD 295
i ; Yes -16% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 ¥ ‘No. oO
es io Ne Yes "66% MERGE MD 201
BETWEEN GREENBELT STATION AND MD 201 Yes Yes Yes ‘No 92% BETWEEN GREENBELT STATION AND MD 201
Yes -23% BETWEEN GREENBELT STATION AND US 1
TWEEN GREENBELT STATION AND U ¥ ¥ ¥
BE EENBEI DUS1 es es es ree MERGE US 1
Yes BETWEEN US 1 AND 195
BETWEEN US 1 AND |-95 ¥ ¥
1 er re 1S Yes 195 MERGE
= Yes BETWEEN MD 650 AND 195
BETWEEN MD 650 AND I-95 No No. No Ne RESCERIDESS
BETWEEN MD 193 AND MD 650 Yes Yes Yes Ue SETWEEN ME eee Meee
= ‘No MERGE MD 193
un No 45% BETWEEN MD US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 Yes ‘No “No —e —
, : = No 45% MERGE US 29
_ ‘Na 45% | BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 No Yes Yes we Ease MOF MERGE
Yes 12%. BETWEEN MD 185 AND MD 97
BI N MD N 9 ¥ ¥ ¥ -- =
ETWEEN MD 185 AND MD 97 es es es No Toa% MD 185 MERGE
BETWEEN MD 355 AND MD 185 Yes Yes Yes Nes me ———————
Yes 4% MD 355 MERGE
Yes 2% MERGE AFTER | 270
Yes 0% MERGE BEFORE 1 270
TWEEN I-270 EAST AND M ¥ ¥
SEL OREN 270 DAT ef re Yes 1% BETWEEN 1270 EAST AND MD 187
Yes 8% MERGE MD 187
Yes 15% BETWEEN | 270 WEST AND MD 187
BETWEEN I-270 WEST AND MD 187 Yes Yes Yes Vx Soa MERSET 270
Yes 23% BETWEEN MD 190 AND! 270
IN MD 190. AND I- No ¥ ¥ ee
BETWEEN MD 190 AND !-270 No es es VEE aia RERGE RSH
Yes -20% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes -38% MERGE CABIN JOHN PARKWAY
ETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY i ¥
BETWEEN SUA Ne re ise Yes -2% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
Yes 22% MERGE CLARA BARTON PARKWAY
Yes 7% BEFORE AMERICAN LEGION BRIDGE
IMERICAN LEGION BRI -
AMERICAN LEGION BRIDGE No 722056 AMERICAN LEGION BRIDGE
No -223% GEORGE WASHINGTON MEMORIAL PRWY/EXIT 14
Na | -165% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PKWY No No No re rE VATIOA/GEORGETOWN PIKEEMT 5
Yes 82% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.53: Il-495 Outer Loop Mainline 3-4 PM Overall Comparison

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1-495 Inner Loop 4-5 PM

More Volume Speed within
GEH Less th T | Time %
Volume Segment Throughput in | Difference Less = im Acceptable tes ae Travel Time Segment
Model? than 10%? Range?
Yes 65% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY Yes Yes Yes 6% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 33% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 17% AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes 11% BEFORE AMERICAN LEGION BRIDGE
Yes 9% MERGE CLARA BARTON PARKWAY
ae Yes. M% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes. Yes 12% MERGE CABIN JOHN PARKWAY
Yes 0% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes 10% MERGE MD 190
BPTIVEEN MEAS ANDIS2TD ue Yes 31% BETWEEN MD 190 AND | 270
Yes MERGE | 270
Se ciceiiemiedecd BETWEEN | 270 AND MD 187
MERGE MD 187

BETWEEN |-270 EAST AND MD 187

BETWEEN MD 355 AND MD 185

BETWEEN MD 185 AND MD 97

BETWEEN MD 97 AND US 29

BETWEEN MD US 29 AND MD 193

BETWEEN MD 193 AND MD 650

BETWEEN MD 6S0 AND I-95

BETWEEN US 1 AND |-95

BETWEEN MD 187 AND | 270

MERGE BEFORE | 270

MERGE AFTER 1 270

MD 355 MERGE

BETWEEN MD 355 AND MD 185

MD 185 MERGE

BETWEEN MD 185 AND MD 97

MD 97 MERGE

BETWEEN MD 97 AND US 29

BETWEEN GREENBELT STATION AND US 1

BETWEEN GREENBELT STATION AND MD 201

BETWEEN MD 201 AND MD 295

BETWEEN MD 295 AND MD 450

BETWEEN MD 450 AND US 50

BETWEEN US50 AND MD 202

BETWEEN MD 202 AND ARENA DR

BETWEEN ARENA DR AND MD 214

BETWEEN MD 214 AND RITCHIE MARLBORO RD

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE US 29

BETWEEN MD US 29 AND MD 193

MERGE MD 193

BETWEEN MD.193 AND MD 650

MERGE MD 650

BETWEEN MD 650 AND 195

BEFORE | 95 MERGE

AFTER | 95 MERGE

MERGE US 1

BEFORE GREENBELT STATION MERGE

AFTER GREENBELT STATION MERGE

BETWEEN GREENBELT STATION AND MD 201

MERGE MD 201

BETWEEN MD 201 AND MD 295 MERGE

MERGE MD 295

BETWEEN MD 295 AND MD 450

MERGE MD 450

BETWEEN MD 450 AND US 50

MERGE US 50

BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)

END 495 EXPRESS LANE

BEFORE MD 202 MERGE

MERGE MD 202

BETWEEN MD 202 AND ARENADR

MERGE ARENA DR

BETWEEN ARENA DR AND MD 214

MD 214 MERGE

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE RITCHIE MARLBORO RD

BETWEEN RITCHIE MARLBORO AND MD 4

" Yes “5% MERGE MD 4
BETWEEN MD 4 AND FORESTVILLE RD Yes Yes Yes = a SETES se GID FOREST LENS
Yes 11% MERGE FORESTVILLE RD.
BETWEEN FORESTVILLE AND MD 218 7 ma FERRARA IDE
Yes 12% MERGE MD 218
BETWEEN MD 218 AND MD 5 1 Yes 1% BETWEEN MD 218 ANDMD 5 Tl
Yes “1% MERGE MDS
CHEE ee NODS Yes “2% BETWEEN MD 5AND MD 414
Yes DY MERGE MD 414
BETWEEN MID SLE AND MO:200, Nes Yes 1% BETWEEN MD 414 AND MD 210
Yes 9% MERGE MD 210
BETWEEN MD 210 AND |-295 ‘Yes Yes 10% BETWEEN MD 210 AND | 295
Yes 9 MERGE 1 295
Yes 15% BEFORE WOODROW WILSON BRIDGE
WOODROW WILSON BRIDGE Yes ee = SAGGONGWUaEw EIGaE

Figure A. 54: |-495 Inner Loop Mainline 4-5 PM Overall Comparison

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1-495 Outer Loop 4-5 PM
More Volume Speed within
th Travel Time %
Volume Segment Throughput in | Difference Less SH — at Acceptable ch Travel Time Segment
Model? than 10%? Range?
, a | “Yes 71696 WOODROW WILSON BRIDGE
WOODROW WILSON BRIDGE ves Yes 3% BEFORE WOODROW WILSON BRIDGE
Yes “6% MERGE | 295
BETWEEN MD 210 AND |-295. Yes Yes 5% BETWEEN MD 210 AND | 295
Yes 7% MERGE MD 210
| 2 5 BETWEEN MD 414 AND MD 210
BETWEEN MD 414 AND MD 210 Yes Yes MERGE MD 414
5 BETWEEN MO5 AND MD 414
BETWEEN MD 5 AND MD 414 Yes Yes MERGE MD 5
BETWEEN MD 218 AND M05
BETWEEN MD 218 AND MD 5. Yes MERGE MD 218
BETWEEN FORESTVILLE AND MD 218
BETWEEN FORESTVILLE AND MD 218 MERGE MD 337
BETWEEN MD-4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD. MERGE MD 4

BETWEEN RITCHIE MARLBORO AND MD4

BETWEEN MD 214 AND RITCHIE MARLBORO RD

BETWEEN RITCHIE MARLBORO AND MD 4

MERGE RITCHIE MARLBORO RD

BETWEEN MD 214 AND RITCHIE MARLBORO RD

MERGE MD214
BETWEEN ARENA DR AND MD 214 ee areas a s : MD 214
BETWEEN MD 202 AND ARENA DR Se che ENADR
BEFORE MD 202 MERGE
SETINEEN SSO ANON 202 BETWEEN as eos ae LANE)
MERGE US 50
BETWEEN MD 450 AND US 50 No Sere 8 ou US 50
BETWEEN MD 295 AND MD 450 sere eee MD 450
BETWEEN MD 201 AND MD 295 BETWEEN Mo 201 AND uo 295 MERGE
BETWEEN GREENBELT STATION AND MD 201 BETWEEN GREENBELT STATION AND MD 203
BETWEEN GREENBELT STATION ANDUS1 BETWEEN et aos AND US1
BETWEEN US 1 AND 1-95, 2a 2 - fo 195
BETWEEN MD 650 ANDI-95 et vue 50 LAND 195
BETWEEN MD 193 AND MD 650 BETWEEN MO 123. AND MO 650
BETWEEN MD US 29 AND MD 193 EE 28ND MD 193
BETWEEN MD 97 AND US 29 ; 7 oT on ae US 29
BETWEEN MD 185 AND MD 97 Yes Yes Yes 2 7 eee MD 97
BETWEEN MD 355 AND MD 185 Yes Yes Yes = = ee ate 185
2 MERGE AFTER | 270
BETWEEN |-270 EAST AND MD 187 awn Before 1270 18?
MERGE MD 187
BETWEEN I-270 WEST AND MD 187 BETWEEN ae MD 187
BETWEEN MD 190 AND 1-270 2a Sh 1270

BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY

AMERICAN LEGION BRIDGE

BETWEEN VA-193 AND GW MEMORIAL PKWY

BETWEEN CABIN JOHN PARKWAY AND MD 190

MERGE CABIN JOHN PARKWAY

BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY

MERGE CLARA BARTON PARKWAY

BEFORE AMERICAN LEGION BRIDGE

AMERICAN LEGION BRIDGE

GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14

GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14

VA-193/GEORGETOWN PIKE/EXIT 13

VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.55: I|-495 Outer Loop Mainline 4-5 PM Overall Comparison

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1-495 Inner Loop 5-6 PM

More Volume Speed within
(GEH Less than Travel Time % s
Volume Segment Throughput in | Difference Less 5? Acceptable Ditkie ace Travel Time Segment
Model? than 10%? Range?
Yes “6% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY Yes Yes yes Yes “1% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 34% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 19% AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIEGE Yes 50% BEFORE AMERICAN LEGION BRIDGE
Yes 5% ________MERGECLARA BARTON PARKWAY
a Yes 6% BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY.
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes No No = ae SCReE CARIN DIST EARUIAT
Yes 5% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes 12% MERGE MD 190
BETWEEN MD 190 AND |-270 Yes No. ‘No. a — nese ee
_ Yes 23% MERGE | 270
EN 1-270 WEST AND ¥ No. ‘No. a
BEI WEEN I27E WERE OND MD 287 fs NG: he No Toa BETWEEN | 270 AND MD 187
No 21405 MERGE MD 187
; a Yes 3% BETWEEN MD 187 AND 270
BETWEEN I-270 EAST AND MD 187 Yes No No. = — Sener WEGRE Tae
Yes 16% MERGE AFTER 1 270
Yes 16% MD 355 MERGE
BEI MEE ID eee ANDO ae ve Ne ve Yes 1% BETWEEN MD 355 AND MD 185
7 Yes “19% MD 185 MERGE
BETWEEN MESES ANGLE A oe = ae Yes 12% BETWEEN MD 185 AND MD 97
i Yes 54% MD 97 MERGE
TW 9 5 : ¥ ¥
BETMVEEN MG a7 ANE U9 22 No: om 3 Yes 20% BETWEEN MD 97 AND US 29
BETWEEN MO US 29 AND MD 193 No Yes Yes za ee
Yes -58% BETWEEN MO US 29 AND MD 193
; Yes 28% MERGE MD 193
TWEEN MD 193 AND MD 650 ¥ ¥ ;
BE MEEN ME SANE = = Re Yes 19% BETWEEN MD 193 AND MD 650
_ Yes 19% MERGE MD 650
BETWEEN MD 650 AND I-95 No. Yes Yes ie aes Se cae
; aor No 45% BEFORE | 95 MERGE
BETWEEN US 1 AND |-95 Yes No No. = om Ter TGE WGI
Yes 32% MERGE US 1
BETWEEN GREENBELT STATION AND US 1 Yes No No. = a SEFORE GAEENBELT STATION MERGE
7 7 No “46% AFTER GREENBELT STATION MERGE
N GREENBELT STATION AND MD. ¥ : ‘No :
SEE Sree ES ave Na zes = Ne: He Yes 22% BETWEEN GREENBELT STATION AND MD 201
= — Yes 31% MERGE MD 201
BETWEEN MD 201 AND MD 295 ¥ :
=F Be Ne Yes 6% BETWEEN MD 201 AND MD 295 MERGE
vn Yes 2% MERGE MD 295
BETWEEN MD 295 AND MD 450 nes Nes NS Yes 5% BETWEEN MD 295 AND MD 450
BETWEEN MD 450 ANDUS 50 Yes ‘No. ‘No a ae MERGE MESES
: ? No 37% BETWEEN MD 450 AND US 50
Yes 28% MERGE US 50
_ Yes 14% BETWEEN US 50,AND MD 202 (495 EXPRESS LANE)
BETWEEN US50 AND MD 202 Yes No. 'No Yes “21% END 495 EXPRESS LANE
Yes -18% BEFORE MD 202 MERGE
c j Yes =2% MERGE MD 202
BETWEEN MD 202 AND ARENA DR ¥ No
Bo “s NS Yes 3% BETWEEN MD 202 AND ARENA DR
: Ne “49% MERGE ARENA DR
BETWEEN ARENA DR AND MD 214 No Yes ‘No 1 ok A ETVEENTR THUS ANG DST
_ _ ‘No 41% MD 214 MERGE
BETWEEN MD 214 AND RITCHIE MARLBORO RD Yes No. No SEN WOE a LE
MERGE RITCHIE MARLBORO RD
BETWEEN RITCHIE MARLBORO AND MD 4 ¥ y
Na ce = Yes Im BETWEEN RITCHIE MARLBORO AND MD 4
Yes 4% MERGE MD 4
BETWEEN MD 4 AND FORESTVILLE RD Yes Yes Yes = a rr
Yes 17% MERGE FORESTVILLE RD
PETINEEN PORES VILE AND MD aAe Yes 18% BETWEEN FORESTVILLE AND MD 218
; Yes 16% MERGE MD 218
BETWEEN MD 218 AND MD 5 ¥ ¥ f
# fs oe he Yes 7% BETWEEN MD 218 AND MD 5
: ma Yes 2% MERGE MD 5
BETWEEN MD 5 AND MD 414 Yes No NG Yes =1% BETWEEN MD 5 AND MD 414
BETWEEN MD 414 AND MD 210 Yes Ye Yes ue at MERGE MD 414
i Yes 6% BETWEEN MD 414 AND MD 210
Yes “5% MERGE MD 210
BETWEEN MD 210 AND |-295 Yes ‘No No” Yes “19% BETWEEN MD 210 AND | 295
Yes 37% MERGE | 295
; = Yes 27% BEFORE WOODROW WILSON BRIDGE
WOODROW WILSON BRIDGE Yes No. No aa oa SAGE

Figure A. 56: |-495 Inner Loop Mainline 5-6 PM Overall Comparison

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1-495 Outer Loop 5-6 PM
Speed withii
Mole Voluris (GEH Less than Reet wi Travel Time % s
Volume Segment Throughput in | Difference Less 5? Acceptable Ditkie ace Travel Time Segment
Model? than 10%? Range?
Ves ~39% WOODROW WILSON BRIDGE
WOODROW WILSON BRID vi No No
Soe = les a Yes 4% BEFORE WOODROW WILSON BRIDGE
Yes “4% MERGE! 295.
BETWEEN MD 210 AND |-295 Yes Yes Yes Yes 11% BETWEEN MD 210 AND | 295
Yes 16% MERGE MD 210
: Yes 10% BETWEEN MD 414 AND MD 210
ET MD 414 AND MB 2 ve i No. a ee
BETWEEN MD 414 AND MD 210 es No ND Yes 17% MERGE MD 414
‘No 34% BETWEEN MD SAND MD 414
BETWEEN MO 5 AND MD 414 Yi ¥i vi
= = = No “53% MERGE MD 5
‘A j No 50% | BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD 5 Yes No No ves Ba RERGERIGSES
BETWEEN FORESTVILLE AND MD 24a Yes 26% BETWEEN FORESTVILLE AND MD 218
Yes -1% MERGE MD 337
; 5 oa Yes 24% BETWEEN MD.4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD Ye: ‘No.
s No , No 37% MERGE MD 4
_ BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes Yes MERGE RITCHIE MARLBORO RD
” Yes ~28% BETWEEN MD 214 AND RITCHIE MARLBORO RD
EEN MD 214 AND RITCHIE MAR RO vi Ne No! = er
BETWEEN MD 214 Al CHIE MARLBORO RD es No No NE Ta% MERGEM Da
os No 128% BETWEEN ARENADR AND MD 214
BETWEEN ARENA DR AND MD 214 Yi ¥ ; an
No: aS ee Yes “58% MERGE ARENA DR
e x aa Yes 64% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA OR ‘No No. No. a ciate Recueene
Yes. “92% BEFORE MD 202 MERGE
_ Yes. -11% END 495 EXPRESS LANE
BETWEEN US50 AND MOD 202 Yi No #
= ne ae Yes 31% BETWEEN US 50, 4ND MD 202 (495 EXPRESS LANE)
No 54% MERGE US 50
No 52% BETWEEN MD 450 AND US 50
BETWEEN MD 450 AN 5 Yi Yi ¥ :
BEN ME Asp AND Eee? er me ee Yes 33% MERGE MD 450
BETWEEN MO 295 AND MD 450 Yes Yes Yes: ies a BETWEEN BID 225. ANEIMO 0
Yes “115% MERGE MD 295
ne Yes 71% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 Yes No No | ve rR WERGENIDOE
BETWEEN GREENBELT STATION AND MD 201 Yes Yes Yes ‘No -B8% BETWEEN GREENBELT STATION AND MD 201
a Yes -16% BETWEEN GREENBELT STATION AND US1
N GREENBELT STATI AN 5 o Yi ¥
BETWEE! ENBELT STATION AND US 1 No es es vis ix MERGE US 1
BETWEEN US 1 AND I-95 Yes Yes Yes ies aN: BETWEEN UE LAND SS
Yes “9% (95 MERGE
a Yes 7% BETWEEN MD 650 AND 195
BETWEEN MD 650 AND 1-95 | No Yes Yes Yes 780 MERGE MD 650
ae Yes 15% BETWEEN MD 193 AND MD 650
BETWEEN MD 193 AND MD 650 Yes ! No No. Yes 715% MERGE MD 193
: Yes 23% BETWEEN MD.US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 ¥ ¥ ;
= ce = Yes 3% MERGE US 29
a a Yes 28% BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 Yes No. ‘No No ae MD 97 MERGE
j Yes 23% BETWEEN MD 185 AND MD 97
El NO MDS? Yi No 4
BETWEEN MD 185 AND Mi es ne No Yes 14% MD 185 MERGE
oa > Yes 24% BETWEEN MD 355 AND MD 185.
BETWEEN MD 355 AND MD 185 yi ‘No.
= Ne Re Yes 28% MD 355 MERGE
Yes 26% MERGE AFTER | 270
: No 32% MERGE BEFORE | 270
TWEEN |- DM i yi ‘ | i P
ae <8 Ne NS Yes 30% BETWEEN | 270 EAST AND MD 187
No 51% MERGE MD 187
; _ _ Yes 7% BETWEEN | 270 WEST AND MD 187
BETWEEN I-270 WEST AND MD 187 Yes No No Fae 72% MERGE 270
7 Yes “13% BETWEEN MD 190 AND | 270
EN 190 AND 1-271 io “No. No. - menses Ty eee TE
BES EEN ME Bee we Ng: Ke Yes “27% MERGE MD 190
Yes -27% BETWEEN CABIN JOHN PARKWAY AND MD 190
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY No Yes Yes Is: ee NERSE ASIN OTN CARR
Yes 36% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
‘No 40 MERGE CLARA BARTON PARKWAY
Yes 19% BEFORE AMERICAN LEGION BRIDGE
RIC, LEGION BRIDGI =
AMERICAN LEGION E No -121% AMERICAN LEGION BRIDGE
No -136% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Rauese hiss me Yes -B5% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PKWY No. No No Yeu 33% VA-193/GEORGETOWN PIKE/EXIT 13
Yes 48% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.57: |-495 Outer Loop Mainline 5-6 PM Overall Comparison

00037560
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ir
1-495 Inner Loop 6-7 PM
Speed withi
More =| Volume | cevtessthan | SP°ed Within | vel time % -
Volume Segment Throughput in | Difference Less 5? Acceptable Difference Travel Time Segment
Model? than 10%? Range?
Yes -2% VA-193/GEORGETOWN PIKE/EXIT 13
BETWEEN VA-193 AND GW MEMORIAL PKWY No Yes Yes Yes 18% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 23% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Yes 11% AMERICAN LEGION BRIDGE
AMERICAN LEGION BRIDGE Yes =19% BEFORE AMERICAN LEGION BRIDGE
Yes 27% MERGE CLARA
Yes 32% BETWEEN CLARA BARTON
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY Yes Yes ‘No wae PERCE CANNTORN ERRATA
Yes -25% BETWEEN CABIN JOHN PARKWAY AND MD 190
Yes “14% MERGE MD 190
BETWEEN MD 190 AND |-270 No Yes Yes = a SFTW EEN MIG aSG ANDO
? i : Yes 1% MERGE | 270
N |-270 WEST AND MD 187 ¥ ‘No ‘No = ;
BETWEE! ‘0 WEST AND MD 18 es No No No 5 BETWEEN | 270 AND MD 187
Yes -24% MERGE MD 187
. Yes 2% BETWEEN MD 187 AND | 270
BETWEEN |-270 EAST AND MD 187 Yes No No. Te ae WERCERESORE avo
Yes 9% MERGE AFTER 1 270
; TZ Yes =3% MD 355 MERGE
BETWEEN MD 355 AND MD 185 Yes No. No Te ae SEEN GSE
=m Yes 54% MD 185 MERGE
BETWEEN MD 185 AND MD 97 a No Yes Yes Te an Se SAGAN AID GT
_ Yes =100% MD 97 MERGE
BETWEEN MD 97 AND US 29 No Yes Nes Yes 37% BETWEEN MD 97 AND US 29
_ ; No 185% MERGE US 29
BETWEEN MD US 29 AND MD 193 lo i - ~
i oy Ke Yes -118% BETWEEN MD US 29 AND MD 193
Yes 5a% MERGE MD 193
BETWEEN MD 193 AND MD 650 Yes Yes Yes ve ae SETNFEN TES aNE ERO
BETWEEN MD 650 AND I-95 No. i No No- ae Be MERGE MD 650
Yes 29% BETWEEN MD 650 AND 195
Yes 19% BEFORE | 95 MERGE
BETWEEN US 1 AND |-95 Yes Yes Yes Ye ie Bape Ene
__ Yes 33% MERGE US 1
BETWEEN GREENBELT STATION AND US 1 Yes No No iG a5% SERRE GELENGE aN EGE
aN Yes 21% AFTER GREENBELT STATION MERGE
BETWEEN GREENBELT STATION AND MD 201 Yes No No ves ae RETIN ER EGREC NEEL STETISIEANIDINSDe
/ Yes 27% MERGE MD 201
BETWEEN MD 201 AND MD 295 ¥ ‘No No-
= Ay = Yes 20% BETWEEN MD 201 AND MD 295 MERGE
| _ rm Yes 9% MERGE MD 295
BETWEEN MD 295 AND MD 450 Yes ! No oe Yes 6% BETWEEN MD 295 AND MD 450
os Yes -18% MERGE MD 450
BETWEEN MD 450 AND US 50 Yes No. No ie ioe BETWEEN MEMEO ANOUSSO
Yes 34% MERGE US 50
oe Re Yes 20% BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)
BETWEEN US50 AND MOD 202 Yes No ‘No Yes 25% END 495 EXPRESS LANE
Yes =19% BEFORE MD 202 MERGE
; _ _ Yes -39% MERGE MD 202
BETWEEN MD 02 AND ARENADS Ne Ng oe Yes -25% BETWEEN MD 202 AND ARENADR
ae Yes 35% MERGE ARENA DR
BETWEEN ARENA DR AND MD 214 No Yes No Ne i SERUEFN READ RAND ESTE
| ae Yes 36% MD 214 MERGE
BETWEEN MD 214 AND RITCHIE MARLBORO RD Yes No. No) SEVERN NID SLEAND RITCHIE MARLBORO RD
Y MERGE RITCHIE MARLBORO RD
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes Yes = a SELOEEN IT CHEER SORE RES
7 Yes 3% MERGE MD 4
BETWEEN MD 4 AND FORESTVILLE RD Yes No. ‘No Te a SFIWEEN MEGAN EEE
Yes 9% MERGE FORESTVILLE RD
BETWEEN FORESTVILLE ANE ME A Yes 12% BETWEEN FORESTVILLE AND MD 218
BETWEEN MD 218 AND MD5 Yes ‘No ‘No a aa ae
Yes 15% BETWEEN MD 218 AND MD 5
- Yes 4% MERGE MD5
BETWEEN MD 5 AND MD 414 Yes ‘No No° Yes 0% BETWEEN MD 5 AND MD 414
_ Yes =2% MERGE MD 414
T
BETWEEN MD 414 AND MD 210 Yes Yes No saa ae BEEWEEK NIGIGAND ITSO
Yes 3% MERGE MD 210
BETWEEN MD 210 AND |-295 Yes No. ‘No- Yes 6% BETWEEN MD 210 AND | 295
Yes 19% MERGE | 295
WOODROW WILSON BRIDGE me a a Yes 17% BEFORE WOODROW WILSON BRIDGE
" Yes 18% WOODROW WILSON BRIDGE

Figure A.58: |-495 Inner Loop Mainline 6-7 PM Overall Comparison

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1-495 Outer Loop 6-7 PM
Speed withi
Mole Voluris (GEH Less than een Travel Time % s
Volume Segment Throughput in | Difference Less 5? Acceptable Ditkie ace Travel Time Segment
Model? than 10%? Range?
l Yes 32% WOODROW WILSON BRIDGE
WOODROW WILSON BRI Ye ‘No.
B SoU BRIDGE = aot a Yes 4% BEFORE WOODROW WILSON BRIDGE
Yes -5% MERGE | 295
BETWEEN MD 210 AND |-295 Yes Yes Yes Yes ax BETWEEN MD 210 AND | 295
Yes 1% MERGE MD 210
Yes -3% BETWEEN MD 414 AND MD 210
BETWEEN MD 414 AND MD 210 Yes Yes Yes Yes “a8 MERGED 4
BETWEEN MD 5 AND MD 414 Yes Yes Yes ee Be BERVEEH MES SND MESS
Yes 25% MERGE MD 5
Yes 27% BETWEEN MD 218 AND MD 5
BETWEEN MD 218 AND MD 5 Yes No ‘No ves ane GERCEMI IS
Yes 23% BETWEEN FORESTVILLE AND MD 218
BETWEEN FORESTVILLE AND MD 218 Te ia TAERGE MIDS?
; ; 5 Yes 8% BETWEEN MD.4 AND FORESTVILLE RD
BETWEEN MD 4 AND FORESTVILLE RD ¥ No ‘No
= a Yes 19% MERGE MD 4
_ BETWEEN RITCHIE MARLBORO AND MD 4
BETWEEN RITCHIE MARLBORO AND MD 4 No Yes Yes MERGE RIECHIENIERISORCEED
= Yes 2% BETWEEN MD 214 AND RITCHIE MARLBORO RD
N MD 214 AND RITCHIE MARLBORO : ‘No -
BETWEEN MD 214 A CHIE MARLBORO RD Yes No No NE a6, MERGEM DE
BETWEEN ARENA DR AND MD 214 No Yes Yes be alee SERV EEN REN ADR ARE zee
i Yes 104% MERGE ARENA DR
F : Yes 107% BETWEEN MD 202 AND ARENA DR
BETWEEN MD 202 AND ARENA DR No Yes No a ae Recueene
Yes 142% BEFORE MD 202 MERGE
_ . Yes 51% END 495 EXPRESS LANE
BETWEEN US50 AND MD 202 ye YS
= Be: ee Yes 21% BETWEEN US 50 AND MD 202 (495 EXPRESS LANE)
No 49% MERGE US 50
a ~ Yes 41% BETWEEN MD 450 AND US 50
ETWEEN MD 450 ANDUS5I ¥ i ‘No.
BERVEEN ME Sep ANDES =? = ne Be Yes 32% MERGE MD 450
‘ Yes 3% BETWEEN MD 295 AND MD 450
BETWEEN MD 295 AND MD 450 :
nes Noe Ne Yes 81% MERGE MD 295
we Yes 64% BETWEEN MD 201 AND MD 295 MERGE
BETWEEN MD 201 AND MD 295 Yes l ‘No No Ws cane WERGEOESEE
BETWEEN GREENBELT STATION AND MD 201 Yes Yes No Yes -71% BETWEEN GREENBELT STATION AND MD 201
. Yes ~16% BETWEEN GREENBELT STATION AND US 1
N GREENBELT STATION AND US. Ye ¥ ‘No
BETWEE! ENBELT STATION AND US 1 es es No ae 2% MERGE US 1
i < Yes 4% BETWEEN US1 AND | 95
BETWEEN US 1 AND I-95 :
2 ee | Ne: Ne Yes “8% 195 MERGE
Yes 15% BETWEEN MD 650 AND | 95
BETWEEN MD 650 AND 1-95 No Yes Yes vei a RIERGENRTEEO
Yes -6% BETWEEN MD 193 AND MD 650
BETWEEN MD 193 AND MD 650 Yes Yes Yes ve ae TENGE RIDES
Yes -2% BETWEEN MD US 29 AND MD 193
BETWEEN MD US 29 AND MD 193 y y ¥
o ce = Yes “15% MERGE US 29
; : Yes 0% BETWEEN MD 97 AND US 29
BETWEEN MD 97 AND US 29 Yes ‘No ‘No = 1% MD 97 MERGE
| i Yes -3% BETWEEN MD 185 AND MD 97
BETWEEN MD 185 AND MD 97 Yes No ‘No re an RIRIBERIEREE
Yes -8% BETWEEN MD 355 AND MD 185
BETWEEN MD 355 AND MD 185
eT te No: ne Yes 9% MD 355 MERGE
Yes 13% MERGE AFTER | 270
‘ Yes 0% MERGE BEFORE | 270
EEN |- AND MD 187 :
BETWEEN 1-270 FAST AND MD 18 ve Me. Yes =10% BETWEEN | 270 EAST AND MD 187
No 162% MERGE MD 187
; i No -300% BETWEEN | 270 WEST AND MD 187
BETWEEN I-270 WEST AND MD 187 Yes No ‘No ve ak TSE STO
Yes 50% BETWEEN MD 190 AND | 270
BI EN 190 AND 1-271 “No We $name Stoneman
ETWEEN MD iD 1-270 No Yes es Tae “Si MERGE MD 190
Yes 51% BETWEEN CABIN JOHN PARKWAY AND MD 190
BETWEEN CLARA BARTON PKWY AND CABIN JOHN PKWY “No. Yes Yes = see SS ee
Yes 19% BETWEEN CLARA BARTON PARKWAY AND CABIN JOHN PARKWAY
No 43% MERGE CLARA BARTON PARKWAY
Yes 33% BEFORE AMERICAN LEGION BRIDGE
RICAN LEGION BRIDG!
AMERICAN LEGIO E No =119% AMERICAN LEGION BRIDGE
No 109% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
Pee oe oe Yes 79% GEORGE WASHINGTON MEMORIAL PKWY/EXIT 14
BETWEEN VA-193 AND GW MEMORIAL PKWY No. No. No ie Ea. WA ASR IGRIRGET ONG EEIENT a
Yes -79% VA-193/GEORGETOWN PIKE/EXIT 13

Figure A.59: |-495 Outer Loop Mainline 6-7 PM Overall Comparison

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-270 Mainline Volume
Tables

Legend

Higher Throughput in Model

Higher Throughput in Field

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Figure A.60: |-270 Mainline 6-7 AM Volumes

1-270 SB mn not
BETWEEN MD 85 AND MD 80 2583 3163 No 10.812 | No
BETWEEN MD 80 AND MD 109 3122 3493 No 6.44673 | __No
BETWEEN MD 109 AND MD 121 3310 3963 No 10.8207 |__No
BETWEEN MD 121 AND MD 27 3502 5071 No__| 23.9577 |_No
BETWEEN MD 27 AND MD 118 4975 5613 No 8.76524 |__No
BETWEEN MD 118 AND MIDDLEBROOK RD 4119 6045 No 27.0139 | __No
BETWEEN MIDDLEBROOK ROAD AND MD 124 5793 7735 No __| 23.6156 |__No
BETWEEN MD 124 AND MD 117 7886 8092 Yes 2.30751 | __ Yes
BETWEEN MD 117 AND 1-370 9827 9852 Yes 0.24699 |__Yes
BETWEEN 1-370 AND SHADY GROVE RD 10244 6177 No 44.8807 |__No
BETWEEN SHADY GROVE RD AND MD 28 9384 6863 No 27.9765 |_No
BETWEEN MD 28 AND MD 189 9995 6338 No___| 40.4706 |_No
BETWEEN MD 189 AND MONTROSE RD 8609 6184 No. 28.1936 |__No
BETWEEN MONTROSE RD AND 1-270 SPLIT 10171 9669 Yes 5.04274 | _No
BETWEEN 1-270 SPLIT AND MD 187 3941 3674 Yes 4.32292 | Yes
BETWEEN MD 187 AND 1-495 3009 #DIV/O!__| 77.5725 |__No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 4308 5836 No 21.4585 | __No
BETWEEN DEMOCRACY BLVD AND 1-495 4988 5677 No 9.43195 | _No
1-270 NB Calibration not met
BETWEEN DEMOCRACY BLVD AND 1-495 2363 2987 No___| 12.0603 |_No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 2049 2913 No 17.346 | No
BETWEEN MD 187 AND 1-495 2476 #DIV/O!___| 70.3669 |__No
BETWEEN I-270 SPLIT AND MD 187 1844 1913 Yes 1.59772 |__Yes
BETWEEN MONTROSE RD AND 1-270 SPLIT 4088 4858 No __| 11.5095 |_No
BETWEEN MD 189 AND MONTROSE RD 5214 2746 No 39.1204 |_No
BETWEEN MD 28 AND MD 189 2919 2592 No 6.22942 |__No
BETWEEN SHADY GROVE RD AND MD 28 2648 1927 No 15.0862 |_No
BETWEEN 1-370 AND SHADY GROVE RD 2468 1709 No___| 16.6202 |_No
BETWEEN MD 117 AND 1-370 2541 2819 No. 5.37004 |__No
BETWEEN MD 124 AND MD 117 2257 2380 Yes 2.54935 |__ Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 2015 2843 No 16.8003 |_No
BETWEEN MD 118 AND MIDDLEBROOK RD 1789 2412 No 13.5883 |__No
BETWEEN MD 27 AND MD 118 1918 2183 No 5.8575 | No
BETWEEN MD 121 AND MD 27 1575 1975 No 9.49985 |__No
BETWEEN MD 109 AND MD 121 1421 1639 No 5.56711 |__No
BETWEEN MD 80 AND MD 109 1147 1573 No 11.5578 |_No
BETWEEN MD 85 AND MD 80 1575 1729 Yes 3.77691 | __Yes

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BETWEEN MD 85 AND MD 80 2890 3301 No _| 7.38714 | _No
BETWEEN MD 80 AND MD 109 3038 3524 No 8.48884 | __No
BETWEEN MD 109 AND MD 121 3433 3955 ‘No 8.59256 | __No
BETWEEN MD 121 AND MD 27 3608 4792 No _| 18.2731 | _No
BETWEEN MD 27 AND MD 118 3717 5150 No 21.5146 | __No
BETWEEN MD 118 AND MIDDLEBROOK RD 3465 5768 No 33.8919 |__No
BETWEEN MIDDLEBROOK ROAD AND MD 124 5705 7605 No _| 23.2848 | No
BETWEEN MD 124 AND MD 117 6721 7995 No 14.8494 | __No
BETWEEN MD 117 AND 1-370 9364 9817 Yes 4.62822 | Yes
BETWEEN I-370 AND SHADY GROVE RD 8893 5129 No 44.9565 | __No
BETWEEN SHADY GROVE RD AND MD 28 8293 5832 No 29.2809 |__No
BETWEEN MD 28 AND MD 189 9020 5542 No _| 40.7633 | __No
BETWEEN MD 189 AND MONTROSE RD 8720 5523 No _| 37.8808 | __No
BETWEEN MONTROSE RD AND 1-270 SPLIT 10964 10191 Yes 7.51355 |__No
BETWEEN I-270 SPLIT AND MD 187 4418 4805 Yes 5.69168 | __No
BETWEEN MD 187 AND 1-495 3994 #DIVio!__| 89.3784 | __No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 4252 5448 No 17.1668 | __No
BETWEEN DEMOCRACY BLVD AND 1-495 4926 5405 Yes 6.66468 | __No
1-270 NB i Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 3938 3472 | No 7.66006 | No
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD 3492 3542 Yes 0.84311 | Yes
BETWEEN MD 187 AND 1-495 3390 #DIV/0! | 82.3347 | No
BETWEEN I-270 SPLIT AND MD 187 2499 2531 Yes 0.64306 | _Yes
BETWEEN MONTROSE RD AND 1-270 SPLIT 6405 6086 Yes 4.03972 | _Yes
BETWEEN MD 189 AND MONTROSE RD 7362 3362 No | 54.6256 | No
BETWEEN MD 28 AND MD 189 5077 3172 No 29.6626 | __No
BETWEEN SHADY GROVE RD AND MD 28 4375 2693 No _| 28.2986 |__No
BETWEEN 1-370 AND SHADY GROVE RD 3589 2316 ‘No 23.433 | No
BETWEEN MD 117 AND 1-370 4505 4067 Yes 6.69034 | __No
BETWEEN MD 124 AND MD 117 3574 3043 No 9.23164 | _No
BETWEEN MIDDLEBROOK ROAD AND MD 124 3241 3718 No | 8.0783 | __No
BETWEEN MD 118 AND MIDDLEBROOK RD 2719 3007 No _| 5.38703 | __No
BETWEEN MD 27 AND MD 118 2685 2705 Yes 0.39006 | _Yes
BETWEEN MD 121 AND MD 27 2257 2384 Yes 2.62617 | _Yes
BETWEEN MD 109 AND MD 121 2153 2194 Yes 0.86876 | _Yes
BETWEEN MD 80 AND MD 109 2029 2094 Yes 1.42614 | Yes
BETWEEN MD 85 AND MD 80 2594 2429 Yes 3.29244 | Yes

Figure A.61: I-270 Mainline 7-8 AM Volumes

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BETWEEN MD 85 AND MD 80 2715 3078 No | 6.74481 No
BETWEEN MD 80 AND MD 109 3038 3533 No 8.63164 No
BETWEEN MD 109 AND MD 121 2166 3951 No 32.2802 No
BETWEEN MD 121 AND MD 27 3502 4618 No | 17.5146 |__No
BETWEEN MD 27 AND MD 118 3946 4821 No. 13.2087 No
BETWEEN MD 118 AND MIDDLEBROOK RD 5165 5542 Yes 5.1492 No
BETWEEN MIDDLEBROOK ROAD AND MD 124 6056 7156 No | 13.5339 No
BETWEEN MD 124 AND MD 117 5645 TT No 25.3438 No
BETWEEN MD 117 AND 1-370 9017 9442 Yes 4.4187 Yes
BETWEEN 1-370 AND SHADY GROVE RD 7655 4267 No 43.8891 No
BETWEEN SHADY GROVE RD AND MD 28 8293 4778 No 43.4796 No
BETWEEN MD 28 AND MD 189 8898 4624 No. | 51.9862 |__No
BETWEEN MD 189 AND MONTROSE RD 8278 4818 No | 42.7619 |__No
BETWEEN MONTROSE RD AND 1-270 SPLIT LO171 9779 Yes 3.92744 | __Yes
BETWEEN 1-270 SPLIT AND MD 187 4538 4553 Yes 0.21507 | Yes
BETWEEN MD 187 AND 1-495 3611 #DIV/0! 84.9794 | __No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 4028 5221 No 17.5432 |__No
BETWEEN DEMOCRACY BLVD AND 1-495 4495 5306 No 11.5851 No
1-270 NB Calibration not met
BETWEEN DEMOCRACY BLVD AND 1-495 5155 4403 No 10.8818 No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 4478 4467 Yes 0.16822 | Yes
BETWEEN MD 187 AND 1-495 4622 #DIV/0! 96.1457 No
BETWEEN 1-270 SPLIT AND MD 187 2856 3950 No 18.7458 | _No
BETWEEN MONTROSE RD AND 1-270 SPLIT 8313 8417 Yes 1.13983 Yes
BETWEEN MD 189 AND MONTROSE RD 9509 4665 _No 57.5439 |__ No
BETWEEN MD 28 AND MD 189 7615 4347 No 42.264 | No
BETWEEN SHADY GROVE RD AND MD 28 6332 3490 No | 40.5504 | _ No
BETWEEN 1-370 AND SHADY GROVE RD 4599 2917 No 27.4468 No
BETWEEN MD 117 AND 1-370 6007 4798 No 16.445 No
BETWEEN MD 124 AND MD 117 4232 3448 No 12.6517 No
BETWEEN MIDDLEBROOK ROAD AND MD 124 3854 4277 No 6.62648 No
BETWEEN MD 118 AND MIDDLEBROOK RD 3291 3392 Yes 1.73865 Yes
BETWEEN MD 27 AND MD 118 2557 2809 Yes 4.86037 | Yes
BETWEEN MD 121 AND MD 27 2362 2461 Yes 2.02104 | Yes
BETWEEN MD 109 AND MD 121 2110 2312 Yes 4.29593 Yes
BETWEEN MD 80 AND MD 109 2294 2295 Yes 0.02609 | Yes
BETWEEN MD 85 AND MD 80 2641 2636 Yes 0.09247 | Yes

Figure A.62: I-270 Mainline 8-9 AM Volumes

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1-270 SB Calibration not met

BETWEEN MD 85 AND MD 80 2715 2874 Yes 3.00777 | _Yes
BETWEEN MD 80 AND MD 109 3038 3274 Yes 4.19218 | Yes
BETWEEN MD 109 AND MD 121 2166 3844 No 30.6144 | __No
BETWEEN MD 121 AND MD 27 3502 4517 No _| 16.0295 | __No
BETWEEN MD 27 AND MD 118 3946 4885 No 14.124 | __No
BETWEEN MD 118 AND MIDDLEBROOK RD 5165 5265 Yes 1.3882 | Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 6056 6719 No _| 8.29256 | No
BETWEEN MD 124 AND MD 117 5645 7140 No 18.6985 | _No
BETWEEN MD 117 AND 1-370 9017 8766 Yes 2.66454 | Yes
BETWEEN I-370 AND SHADY GROVE RD 7655 4469 No 40.9238 |__No
BETWEEN SHADY GROVE RD AND MD 28 8293 5735 No 30.5402 | __No
BETWEEN MD 28 AND MD 189 8898 5460 No _| 40.5731 | __No
BETWEEN MD 189 AND MONTROSE RD 8278 5375 No _| 35.1356 | No
BETWEEN MONTROSE RD AND 1-270 SPLIT 10171 9211 Yes 9.74925 |__No
BETWEEN 1-270 SPLIT AND MD 187 4538 4145 Yes 5.9606 | No
BETWEEN MD 187 AND 1-495 3370 #DIvio!__| 82.0975 | _ No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 4028 4897 No 13.0122 |_No
BETWEEN DEMOCRACY BLVD AND 1-495 4495 4615 Yes 1.77066 | Yes
1-270 NB i Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 4868 4304 | No 8.33221 |__No
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD 4403 4370 Yes 0.50582 | _Yes
BETWEEN MD 187 AND 1-495 4000 #DIV/0!__ | 99.4399 |__No
BETWEEN I-270 SPLIT AND MD 187 2796 3563 No 13.6066 | __No
BETWEEN MONTROSE RD AND 1-270 SPLIT 7768 8041 Yes 3.06783 | _Yes
BETWEEN MD 189 AND MONTROSE RD 9202 4548 Noo | 56.1258 [No
BETWEEN MD 28 AND MD 189 7361 4282 No 40.3619 |__No
BETWEEN SHADY GROVE RD AND MD 28 6102 3390 No _| 39.3664 | __No
BETWEEN I-370 AND SHADY GROVE RD 4150 2813 ‘No 22.6547 | _No
BETWEEN MD 117 AND 1-370 5429 5082 Yes 4.78304 | Yes
BETWEEN MD 124 AND MD 117 3856 4112 Yes 4.05194 | Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 3942 4890 No | 14.2586 [No
BETWEEN MD 118 AND MIDDLEBROOK RD 3076 3927 No _| 14.3735 |__No
BETWEEN MD 27 AND MD 118 2365 3157 No 15.0639 |__No
BETWEEN MD 121 AND MD 27 2467 2648 Yes 3.57907 | _ Yes
BETWEEN MD 109 AND MD 121 1766 2339 No 12.6426 |__No
BETWEEN MD 80 AND MD 109 1941 2279 No _| 7.35827| No
BETWEEN MD 85 AND MD 80 2224 2523 No. 6.13232 | __No

Figure A.63: |-270 Mainline 9-10 AM Volumes

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1-270 SB Calibration not met

BETWEEN MD 85 AND MD 80 2189 2007 Yes 3.97346 | Yes
BETWEEN MD 80 AND MD 109 1956 1794 Yes 3.74123 Yes
BETWEEN MD 109 AND MD 121 1880 1891 Yes 0.25907 | _Yes
BETWEEN MD 121 AND MD 27 2812 2233 No 11.5335 No
BETWEEN MD 27 AND MD 118 2802 2735 Yes 1.28292 | Yes
BETWEEN MD 118 AND MIDDLEBROOK RD 3400 3232 Yes 2.92184 | Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 4827 4128 No | 10.4423 No
BETWEEN MD 124 AND MD 117 4480 4370 Yes 166118 | Yes
BETWEEN MD 117 AND 1-370 5780 5689 Yes 1.20832 | Yes
BETWEEN 1-370 AND SHADY GROVE RD 3827 3081 No 12.6889 No
BETWEEN SHADY GROVE RD AND MD 28 5783 4007 No 25.3805 No
BETWEEN MD 28 AND MD 189 6826 3614 No. | 44.453 | No
BETWEEN MD 189 AND MONTROSE RD 6071 3607 No | 35.4293 | __No
BETWEEN MONTROSE RD AND 1-270 SPLIT 7397 6717 Yes 8.09162 | __No
BETWEEN 1-270 SPLIT AND MD 187 3224 3468 Yes 4.21395 Yes
BETWEEN MD 187 AND 1-495 3517 #DIV/0! 83.863 | No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 3524 3226 Yes 5.13395 |__No
BETWEEN DEMOCRACY BLVD AND 1-495 4003 3266 No 12.2293 No
1-270 NB Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 5298 4960 Yes 4.7231 Yes
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 5997 5401 Yes T9017 No
BETWEEN MD 187 AND 1-495 4337 #DIV/0! 93.1316 No
BETWEEN 1-270 SPLIT AND MD 187 4521 4872 Yes 5.12177 |__ No
BETWEEN MONTROSE RD AND 1-270 SPLIT 9540 10836 No 12.8423 No
BETWEEN MD 189 AND MONTROSE RD 11042 7325 No 38.7929 |__ No
BETWEEN MD 28 AND MD 189 10534 7109 No 36.4719 |__No
BETWEEN SHADY GROVE RD AND MD 28 9786 7350 No | 26.3171 | _No
BETWEEN 1-370 AND SHADY GROVE RD 9983 6524 No 38.0712 No
BETWEEN MD 117 AND 1-370 9703 8209 No |_ 15.784 No
BETWEEN MD 124 AND MD 117 8088 6818 No 14.7109 No
BETWEEN MIDDLEBROOK ROAD AND MD 124 6920 8204 No 14.7654 No
BETWEEN MD 118 AND MIDDLEBROOK RD 6368 6790 Yes 5.20578 No
BETWEEN MD 27 AND MD 118 5625 6073 Yes 5.85142 No
BETWEEN MD 121 AND MD 27 4146 4504 Yes 5.4362 No
BETWEEN MD 109 AND MD 121 3359 4105 No 12.2154 No
BETWEEN MD 80 AND MD 109 3749 4063 Yes 5.02024 | _No
BETWEEN MD 85 AND MD 80 3382 4097 No 11.6962 No

Figure A.64: |-270 Mainline 3-4 PM Volumes

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1-270 SB Calibration not met

BETWEEN MD 85 AND MD 80 2539 2338 | Yes 4.06521 Yes
BETWEEN MD 80 AND MD 109 2206 2140 Yes 1.41584 | Yes
BETWEEN MD 109 AND MD 121 2125 2215 Yes 1.93202 | Yes
BETWEEN MD 121 AND MD 27 2971 2610 No 6.82898 | _No
BETWEEN MD 27 AND MD 118 2974 3025 Yes 0.92211 Yes
BETWEEN MD 118 AND MIDDLEBROOK RD 3596 3610 Yes 0.2374 Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 4915 4491 Yes 6.1827 No
BETWEEN MD 124 AND MD 117 4480 4870 Yes 5.70392 No
BETWEEN MD 117 AND 1-370 6358 6476 Yes 1.46994 | Yes
BETWEEN 1-370 AND SHADY GROVE RD 5741 3350 No 35.4599 No
BETWEEN SHADY GROVE RD AND MD 28 5892 4215 No 23.5943 No
BETWEEN MD 28 AND MD 189 6704 3814 No. | 39.8477 |__No
BETWEEN MD 189 AND MONTROSE RD 5960 3808 No |30.8011 | __No
BETWEEN MONTROSE RD AND 1-270 SPLIT 7001 7212 Yes 2.50296 | Yes
BETWEEN 1-270 SPLIT AND MD 187 3284 3590 Yes 5.21536 No
BETWEEN MD 187 AND 1-495 3642 #DIV/0! 85.3464 | No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 2965 3568 No 10.5506 | __No
BETWEEN DEMOCRACY BLVD AND 1-495 2833 3398 No 10.1267 No
1-270 NB Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 5298 4886 Yes 5.77368 No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 5997 5354 No 8.53169 |__No
BETWEEN MD 187 AND 1-495 4287 #DIV/0! 92.5959 No
BETWEEN 1-270 SPLIT AND MD 187 4521 5037 No 7.45713 | No
BETWEEN MONTROSE RD AND 1-270 SPLIT 9540 10943 No 13.866 No
BETWEEN MD 189 AND MONTROSE RD 11042 7831 No 33.0604 | _No
BETWEEN MD 28 AND MD 189 10534 7530 No 31.6145 |__No
BETWEEN SHADY GROVE RD AND MD 28 9786 7581 No | 23.6625 | __No
BETWEEN 1-370 AND SHADY GROVE RD 9983 6427 No 39.2605 No
BETWEEN MD 117 AND 1-370 9703 8025 No | 17.8228 No
BETWEEN MD 124 AND MD 117 8088 6763 No 15.3824 No
BETWEEN MIDDLEBROOK ROAD AND MD 124 6920 8114 No 13.7715 No
BETWEEN MD 118 AND MIDDLEBROOK RD 6368 6716 Yes 4.30253 Yes
BETWEEN MD 27 AND MD 118 5625 6237 _No 7.94355 No
BETWEEN MD 121 AND MD 27 4146 4953 No 11.9573 No
BETWEEN MD 109 AND MD 121 3359 4275 No 14.8264 No
BETWEEN MD 80 AND MD 109 3749 4210 No | 7.30395 |__No
BETWEEN MD 85 AND MD 80 3382 4243 No 13.9405 No

Figure A.65: |-270 Mainline 4-5 PM Volumes

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BETWEEN MD 85 AND MD 80 2802 2707 Yes 1.8149 | Yes
BETWEEN MD 80 AND MD 109 2539 2491 Yes 0.96715 | Yes
BETWEEN MD 109 AND MD 121 2452 2569 Yes 2.32524 | Yes
BETWEEN MD 121 AND MD 27 3183 3045 Yes 2.46845 | Yes
BETWEEN MD 27 AND MD 118 3203 3259 Yes 0.97643 | Yes
BETWEEN MD 118 AND MIDDLEBROOK RD 3988 3855 Yes 2.12386 | Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 5178 4955 Yes 3.13293 | Yes
BETWEEN MD 124 AND MD 117 5197 5311 Yes 1.57275 | Yes
BETWEEN MD 117 AND 1-370 7052 7008 Yes 0.52179 | Yes
BETWEEN I-370 AND SHADY GROVE RD 5853 3622 No 32.4134 | No
BETWEEN SHADY GROVE RD AND MD 28 6547 4806 No 23.1114 | _No
BETWEEN MD 28 AND MD 189 7557 4201 No 43.7694 | __No
BETWEEN MD 189 AND MONTROSE RD 6733 4196 No. 34.3198 | No
BETWEEN MONTROSE RD AND J-270 SPLIT 7530 7482 Yes 0.55114 | Yes
BETWEEN I-270 SPLIT AND MD 187 3881 3562 Yes 5.23753 | __No
BETWEEN MD 187 AND 1-495 3512 #DIV/O! | 83.8093 |__ No
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD 2462 3881 No. 25.1892 |__No
BETWEEN DEMOCRACY BLVD AND 1-495 2217 3273 No 20.1598 | No
1-270 NB Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 4009 4728 No | 10.8783 | No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 5465 5248 Yes 2.96496 | Yes
BETWEEN MD 187 AND 1-495 4235 #DIV/0! | 92.0272 |__No
BETWEEN 1-270 SPLIT AND MD 187 4819 S01] Yes 2.7422 | Yes
BETWEEN MONTROSE RD AND 1-270 SPLIT 9404 11017 No _| 15.9605 | __No
BETWEEN MD 189 AND MONTROSE RD 11349 7165 No. 36.6668 | No
BETWEEN MD 28 AND MD 189 10153 7476 No. 28.5134 | No
BETWEEN SHADY GROVE RD AND MD 28 9210 7404 No 19.8209 | No
BETWEEN I-370 AND SHADY GROVE RD 9197 6291 No. 33.0258 | No
BETWEEN MD 117 AND 1-370 9126 7880 No. 13.5096 | No
BETWEEN MD 124 AND MD 117 7712 6605 No | 13.09 | No
BETWEEN MIDDLEBROOK ROAD AND MD 124 6394 7952 No | 18.3985 | No
BETWEEN MD 118 AND MIDDLEBROOK RD 5366 6766 No. 17.9784 | No
BETWEEN MD 27 AND MD 118 5178 6251 No 14.1973 |__No
BETWEEN MD 121 AND MD 27 3937 4955 No 15.2638 | No
BETWEEN MD 109 AND MD 121 3574 4284 No 11.3271 |__No
BETWEEN MD 80 AND MD 109 3705 425] No 8.6492 | No
BETWEEN MD 85 AND MD 80 3613 4146 No. 8.55735 | No

Figure A.66: I-270 Mainline 5-6 PM Volumes

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BETWEEN MD 85 AND MD 80 2102 2537 No | 9.02227 |__ No
BETWEEN MD 80 AND MD 109 2123 2350 No 4.80515 Yes
BETWEEN MD 109 AND MD 121 2043 2417 No 7.91989 No
BETWEEN MD 121 AND MD 27 2706 2890 Yes 3.47852 | Yes
BETWEEN MD 27 AND MD 118 2688 3269 No. 10.6414 No
BETWEEN MD 118 AND MIDDLEBROOK RD 3531 3796 Yes 4.37011 Yes
BETWEEN MIDDLEBROOK ROAD AND MD 124 4476 4805 Yes 4.82602 | Yes
BETWEEN MD 124 AND MD 117 4301 5062 No 11.1152 No
BETWEEN MD 117 AND 1-370 6012 6380 Yes 4.67198 | Yes
BETWEEN 1-370 AND SHADY GROVE RD 5291 3616 No 25.1076 No
BETWEEN SHADY GROVE RD AND MD 28 6002 4538 No 20.1631 No
BETWEEN MD 28 AND MD 189 6826 4057 No. | 37.5374 No
BETWEEN MD 189 AND MONTROSE RD 5850 4053 No | 25.5337 | __No
BETWEEN MONTROSE RD AND 1-270 SPLIT 6605 7281 No | 8.11284 | No
BETWEEN 1-270 SPLIT AND MD 187 3582 3703 Yes 2.00076 | Yes
BETWEEN MD 187 AND 1-495 3465 #DIV/0! 83.2466 | No
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 2238 3557 No 24.4997 |__No
BETWEEN DEMOCRACY BLVD AND 1-495 2155 3151 No 19.3283 No
1-270 NB Calibration not met

BETWEEN DEMOCRACY BLVD AND 1-495 4367 4673 Yes 4.55148 | Yes
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD 5389 5099 Yes 4.01167 | Yes
BETWEEN MD 187 AND 1-495 4532 #DIV/0! 95.1998 No
BETWEEN 1-270 SPLIT AND MD 187 4581 4966 Yes 5.56885 |__No
BETWEEN MONTROSE RD AND 1-270 SPLIT 9812 10695 Yes 8.72016 No
BETWEEN MD 189 AND MONTROSE RD 11196 7853 No | 34.2515 |__No
BETWEEN MD 28 AND MD 189 9646 7567 No 22.4071 | __No
BETWEEN SHADY GROVE RD AND MD 28 $520 7415 No | 12.3852 | No
BETWEEN 1-370 AND SHADY GROVE RD 8861 6252 No 30.0164 No
BETWEEN MD 117 AND 1-370 9241 7966 No | 13.7431 No
BETWEEN MD 124 AND MD 117 7806 6701 No 12.9744 No
BETWEEN MIDDLEBROOK ROAD AND MD 124 6394 8063 No | 19.6305 No
BETWEEN MD 118 AND MIDDLEBROOK RD 5652 6693 No | 13.244 No
BETWEEN MD 27 AND MD 118 5050 6077 No 13.772 No
BETWEEN MD 121 AND MD 27 3674 4679 No 15.5474 No
BETWEEN MD 109 AND MD 121 3359 4232 No 14.1703 No
BETWEEN MD 80 AND MD 109 3617 4045 No | 6.91493 |__No
BETWEEN MD 85 AND MD 80 3382 3848 No 7.75456 No

Figure A.67: |-270 Mainline 6-7 PM Volumes

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-270 Mainline Travel
Time and Speed Tables

Legend

7 Speed Within Acceptable Range

Speed Outside of Acceptable Range

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dee |

1-270 SB -7%
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5 60.0 1%
FROM MD-85 ON RAMP TO MD-80 25540 4.8 31.6 40%
BETWEEN MD-80 ON AND OFF RAMPS B45 0.2 22.5 36%
FROM MD-80 ON RAMP TO MD-109 18767 3.6 30.0 -17%
BETWEEN MD-109 ON AND OFF RAMPS 922 0.2 275 -20%
FROM MD-109 ON RAMP TO MD-121 18329 3.5 47.7 -6%
BETWEEN MD-12] ON AND OFF RAMPS 2354 04 58.3 -13%
[FROM MD-121 TO MD-27 10608 2.0 47.7 8%

BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7 27.1 21%
FROM MD-27 ON RAMP TO MD-118 1852 04 26.6 -37%
BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6 26.4 -44%
FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 0.5 32.5 1%

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1460 0.3 36.1 19%
FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 1.9 35.1 1%

BETWEEN MD-124 ON AND OFF RAMPS 1613 0.3 32.7 -63%
FROM MD-124 ON RAMP TO MD-117 3042 0.6 38.0 -59%
BETWEEN MD-117 ON AND OFF RAMPS 1463 0.3 43.5 -51%
FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7 47.7 -48%
BETWEEN 1-370 ON AND OFF RAMPS 3154 0.6 51.2 -19%
FROM 1-370 ON RAMP TO SHADY GROVE RD 4729 0.9 443 -25%
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 77 0.0 43.3 1%

FROM SHADY GROVE RD ON RAMP TO MD-28 9889 19 43.4 -24%
BETWEEN MD-28 ON AND OFF RAMPS 52 0.0 45.1 -3%
FROM MD-28 ON RAMP TO MD-189 4132 0.8 45.8 -8%
BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6 45.7 -29%
FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6 46.4 -40%
BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9 46.9 -45%
FROM MONTROSE RD ON RAMP TO 1-270 SPUR 6153 12. | | 49-0 90%
FROM 1-270 SPUR MD-187 1248 0.2 59.2 -69%
BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8 62.8 -2%
FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 1.2 62.6 0%

BETWEEN 1-495 INTERCHANGE ON AND OFF RAMPS 1395 0.3 58.9 T%

1-270 NB 164322 31.1 -3%
FROM GROSVENOR LANE TO EXIT 1A 6217 12 60.2 6%

BETWEEN EXIT 1A AND 1B 4042 0.8 61.8 3%

FROM MD-187 TO 1-270 SPUR 341 0.1 61.6 2%

FROM TUCKERMAN LANE TO 1-270 LOCAL 1076 13 64.2 -2%
[FROM 1-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0 66.1 -4%
FROM EXIT 5 FOR 270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6 65.7 5%
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6 65.9 -3%
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8 66.9 -5%
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0 67.1 -6%
[FROM MD-28 ON RAMP TO REDLAND BLVD 10016 1.9 59.2 ™M%

BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0 66.5 “41%
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9 67.0 5%
FROM I-370 INTERCHANGE TO MUDDY BRANCH RD 172 0.0 67.4 -1%
FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15 66.4 5%
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0 66.3 -4%
FROM MD-117 TO MD-134 OFF RAMP 3249 0.6 67.0 -5%
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0 | | 66.6 4%
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 2.3 66.6 -5%
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1221 0.2 65.7 -3%
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.5 64.8 -2%
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6 64.9 -2%
FROM MD-118 ON RAMP TO MD-27 1487 0.3 64.8 -2%
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6 65.8 -3%
[FROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2 65.4 -3%
BETWEEN MD-121 ON AND OFF RAMPS 959 0.2 65.4 “3%
FROM MD-121 TO MD-109 20431 3.9 67.4 -6%
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2 65.4 1%
FROM MD-109 ON RAMP TO MD-80 18686 3.5 66.7 -6%
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2 66.3 -5%
FROM MD-80 ON RAMP TO MD-85 24888 47 66.9 -6%
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5 62.5 -1%

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1-270 SB

165516 31.3
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5 1
FROM MD-85 ON RAMP TO MD-80 25540 48
BETWEEN MD-80 ON AND OFF RAMPS 845 02
FROM MD-80 ON RAMP TO MD-109 18767 3.6
BETWEEN MD-109 ON AND OFF RAMPS 922 0.2
FROM MD-109 ON RAMP TO MD-121 18329 3.5
BETWEEN MD-121 ON AND OFF RAMPS 2354 04
[FROM MD-121 TO MD-27 10608 2.0
BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7
FROM MD-27 ON RAMP TO MD-118 1852 0.4
BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6
FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 08
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1460 0.3
FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 19
BETWEEN MD-124 ON AND OFF RAMPS 1613 0.3
FROM MD-124 ON RAMP TO MD-117 3042 0.6
BETWEEN MD-117 ON AND OFF RAMPS 1463 03
[FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7
BETWEEN L370 ON AND OFF RAMPS 3154 0.6
FROM 1-370 ON RAMP TO SHADY GROVE RD 4729 0.9
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 7 0.0
FROM SHADY GROVE RD ON RAMP TO MD-28 9889 19
BETWEEN MD-28 ON AND OFF RAMPS 52 a0
FROM MD-28 ON RAMP TO MD-189 4132 0.8
BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6
FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6
BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9
FROM MONTROSE RD ON RAMP TO 1-270 SPUR 6153 1.2
FROM 1-270 SPUR MD-187 1248 0.2
BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8
FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 1.2
BETWEEN [-495 INTERCHANGE ON AND OFF RAMPS 1395 03
1-270 NB 164322 31.1
FROM GROSVENOR LANE TO EXIT 1A 6217 12
BETWEEN EXIT 1A AND 1B 4042 0.8
FROM MD-187 TO 1-270 SPUR 341 0
FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 3
FROM 270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0
FROM MD-28 ON RAMP TO REDLAND BLVD. 10016 19
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9
FROM I-370 INTERCHANGE TO MUDDY BRANCH RD 172 0.0
[FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15
FROM JUST SOUTH OF MD-117 TO MD-117 29 0.0
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 2.3
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1221 0.2
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.8
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6
FROM MD-118 ON RAMP TO MD-27 1487 03
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6
[ROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2
BETWEEN MD-121 ON AND OFF RAMPS 959 0.2
FROM MD-121 TO MD-109 20431 3.9
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2
FROM MD-109 ON RAMP TO MD-80 18686 3.8
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2
FROM MD-80 ON RAMP TO MD-85 24888 47
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5

Figure A.69: |-270 Mainline 7-8 AM Travel Time and Speed

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1-270 SB

165516 31.3
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5 1
FROM MD-85 ON RAMP TO MD-80 25540 48
BETWEEN MD-80 ON AND OFF RAMPS 845 02
FROM MD-80 ON RAMP TO MD-109 18767 3.6
BETWEEN MD-109 ON AND OFF RAMPS 922 0.2
FROM MD-109 ON RAMP TO MD-121 18329 3.5
BETWEEN MD-121 ON AND OFF RAMPS 2354 04
[FROM MD-121 TO MD-27 10608 2.0
BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7
FROM MD-27 ON RAMP TO MD-118 1852 0.4
BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6
FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 08
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1460 0.3
FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 19
BETWEEN MD-124 ON AND OFF RAMPS 1613 0.3
FROM MD-124 ON RAMP TO MD-117 3042 0.6
BETWEEN MD-117 ON AND OFF RAMPS 1463 03
[FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7
BETWEEN L370 ON AND OFF RAMPS 3154 0.6
FROM I-370 ON RAMP TO SHADY GROVE RD 4729 0.9
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 7 0.0
FROM SHADY GROVE RD ON RAMP TO MD-28 9889 19
BETWEEN MD-28 ON AND OFF RAMPS 52 0.0
FROM MD-28 ON RAMP TO MD-189 4132 08
BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6
FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6
BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9
FROM MONTROSE RD ON RAMP TO 1-270 SPUR 6153 1.2
FROM 1-270 SPUR MD-187 1248 0.2
BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8
FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 1.2
BETWEEN [-495 INTERCHANGE ON AND OFF RAMPS 1395 03
1-270 NB 164322 31.1
FROM GROSVENOR LANE TO EXIT 1A 6217 12
BETWEEN EXIT 1A AND 1B 4042 0.8
FROM MD-187 TO 1-270 SPUR 341 0
FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 3
FROM £270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0
FROM MD-28 ON RAMP TO REDLAND BLVD. 10016 19
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9
FROM I-370 INTERCHANGE TO MUDDY BRANCH RD 172 0.0
[FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 2.3
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1221 0.2
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.8
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6
FROM MD-118 ON RAMP TO MD-27 1487 03
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6
[ROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2
BETWEEN MD-121 ON AND OFF RAMPS 959 0.2
FROM MD-121 TO MD-109 20431 3.9
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2
FROM MD-109 ON RAMP TO MD-80 18686 3.8
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2
FROM MD-80 ON RAMP TO MD-85 24888 47
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5

Figure A. 70: !-270 Mainline 8-9 AM Travel Time and Speed

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1-270 SB

165516 31.3
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5 1
FROM MD-85 ON RAMP TO MD-80 25540 48
BETWEEN MD-80 ON AND OFF RAMPS 845 02
FROM MD-80 ON RAMP TO MD-109 18767 3.6
BETWEEN MD-109 ON AND OFF RAMPS 922 0.2
FROM MD-109 ON RAMP TO MD-121 18329 3.5
BETWEEN MD-121 ON AND OFF RAMPS 2354 04
[FROM MD-121 TO MD-27 10608 2.0
BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7
FROM MD-27 ON RAMP TO MD-118 1852 0.4
BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6
FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 08
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1460 0.3
FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 19
BETWEEN MD-124 ON AND OFF RAMPS 1613 0.3
FROM MD-124 ON RAMP TO MD-117 3042 0.6
BETWEEN MD-117 ON AND OFF RAMPS 1463 03
[FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7
BETWEEN L370 ON AND OFF RAMPS 3154 0.6
FROM I-370 ON RAMP TO SHADY GROVE RD 4729 0.9
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 7 0.0
FROM SHADY GROVE RD ON RAMP TO MD-28 9889 19
BETWEEN MD-28 ON AND OFF RAMPS 52 0.0
FROM MD-28 ON RAMP TO MD-189 4132 08
BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6
FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6
BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9
FROM MONTROSE RD ON RAMP TO 1-270 SPUR 6153 1.2
FROM 1-270 SPUR MD-187 1248 0.2
BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8
FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 1.2
BETWEEN [-495 INTERCHANGE ON AND OFF RAMPS 1395 03
1-270 NB 164322 31.1
FROM GROSVENOR LANE TO EXIT 1A 6217 12
BETWEEN EXIT 1A AND 1B 4042 0.8
FROM MD-187 TO 1-270 SPUR 341 0
FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 3
FROM £270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0
FROM MD-28 ON RAMP TO REDLAND BLVD. 10016 19
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9
FROM I-370 INTERCHANGE TO MUDDY BRANCH RD 172 0.0
[FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 2.3
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS. 1221 0.2
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.8
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6
FROM MD-118 ON RAMP TO MD-27 1487 03
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6
[ROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2
BETWEEN MD-121 ON AND OFF RAMPS 959 0.2
FROM MD-121 TO MD-109 20431 3.9
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2
FROM MD-109 ON RAMP TO MD-80 18686 3.8
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2
FROM MD-80 ON RAMP TO MD-85 24888 47
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5

Figure A.71: 1-270 Mainline 9-10 AM Travel Time and Speed

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1-270 5B

BETWEEN MD-85 ON AND OFF RAMPS

FROM MD-85 ON RAMP TO MD-80

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-109

BETWEEN MD-109 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-121

BETWEEN MD-121 ON AND OFF RAMPS

[FROM MD-121 TO MD-27

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-118

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-11% ON RAMP TO MIDDLEBROOK RD

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS,

FROM MIDDLEBROOK RD ON RAMP TO MD-124

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO MD-117

BETWEEN MD-117 ON AND OFF RAMPS

FROM MD-117 TO 1-370 INTERCHANGE

BETWEEN 1-370 ON AND OFF RAMPS

FROM 1-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

FROM MONTROSE RDON RAMP TO 1-270 SPUR

FROM 1-270 SPUR MD-187

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO 1-495 INTERCHANGE

BETWEEN 1-495 INTERCHANGE ON AND OFF RAMPS

1-270 NB 164322 31.1

FROM GROSVENOR LANE TO ENIT 1A 6217 1.2 26.7 38.1
BETWEEN EXIT 1A AND 1B 4042 0.8 37.2 53.9
FROM MD-187 TO L270 SPUR 341 0.1 45.1 43,4
[FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 1.3 49.6 43.8
FROM 1-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0 55.6 50.9
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6 350.6 32.9
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6 44.1 52.8
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8 46.7 51.9
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0 54.4 50.7
FROM MD-28 ON RAMP TO REDLAND BLVD 10016 1.9 59.4 32.3
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0 60.9 52.4
FROM SHADY GROVE RD ON RAMP TO I-370 INTERCHANGE 4827 0.9 61.0 45.4
FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD. 172 0.0 62.0 28.7
[FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 1.5 61.4 28.7
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0 60.5 2
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6 57.9 20:5
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0 36.5 20.9
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 23 49.0 36.0
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS, 1221 0.2 39.1 36.3
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 Os 34.3 37.3
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6 31.6 45.6
FROM MD-118 ON RAMP TO MD-27 1487 0.3 38.9 48.0
BETWEEN MD-27 ON AND OFF RAMPS. 3356 0.6 47.8 47.8
[FROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2 46.7 45.2
BETWEEN MD-121 ON AND OFF RAMPS 959 0.2 46.3 45.6
FROM MD-121 TO MD-109 20431 3.9 40.0 50.5
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2 313 32.2,
FROM MD-109 ON RAMP TO MD-80 18686 3.5 28.8 52.1
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2 21.8 52.4
FROM MD-80 ON RAMP TO MD-85 24888 4.7 43.9 52.0
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5 60.9 52.7

Figure A. 72: |-270 Mainline 3-4 PM Travel Time and Speed

2457.0 212.6 8%
729 85.8 H%
$1.1 23.0 31%
3.4 0.2 -4%
110.1 -12.9 -13%
68.0 5.7 -9%
41.6 19 4%
39.8 Ta 16%
53.6 6.0 10%
0.7 O.0 -1%
130.6 -15.7 -14%

1.0 -0.1 -16%
72:5 -18.5 -34%
4.1 -2.2 -116%
188.8 -100.6 -114%
0.9 06 -176%
108.0 -69.7 -182%
0.9 0.6 -170%
228.3 -60.8 -36%
23.0 -1.6 -8%
aaa [39 8%
512 22.8 H%
21.1 45 19%
478 0.0 0%
174.0 -5.7 -3%
14.4 -0.2 -2%
275.6 72.7 21%
12.0 8.0 40%
244.7 198.0 45%
123 172 58%
326.5 59.9 16%
32.1 -43 -16%

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Figure A. 73: 1-270 Mainline 4-5 PM Travel Time and Speed

off

1.270 SB 165516 31.3 1881.9 | 1880.6 13 0%
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5 60.0 | 37.9 29.0 30.0 “1.0 “4%
FROM MD-85 ON RAMP TO MD-80 25540 4.8 494 | 61.0 352.3 | 285.5 66.8 19%
BETWEEN MD-80 ON AND OFF RAMPS a5 0.2 64.1 31.7 9.0 10.0 1.0 -11%
FROM MD-80 ON RAMP TO MD-109 18767 3.6 64.9 | 58.6 197.3 | 2185 “21.2 -11%
BETWEEN MD-109 ON AND OFF RAMPS 922 0.2 65.1 | 58.2 9.6 10.8 “12 -12%
FROM MD-109 ON RAMP TO MD-121 18329 3.5 64.2 | 57.5 194.7 | 2173 “22.6 -12%
(BETWEEN MD-121 ON AND OFF RAMPS 2384 0.4 6.1 | 614 243 261 “1.9 “8%
[FROM MD-121 TO MD-27 10608 2.0 67.6 | 63.2 106.9 | 114.5 -1.6 -1%
BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7 65.2 | 629 39.8 412 “14 -4%
FROM MD-27 ON RAMP TO MD-118 1852 04 643 | «9 19.6 201 04 -2%
BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6 633 | 62.6 34.2 35.7 “15 “4%
FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 0.5 652 | 62.0 27.0 28.4 “14 5%
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS 1460 03 66.7 | 6.0 14.9 15.8 0.9 6%
FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 19 66.5 | 6.2 104.7 [1101 5.4 5%
BETWEEN MD-124 ON AND OFF RAMPS 1613 03 | | 647 | 3a 17.0 173 04 “2%
FROM MD-124 ON RAMP TO MD-117 3042 0.6 62.6 | 64 33.1 33.8 -0.6 2%
BETWEEN MD-117 ON AND OFF RAMPS 1463 03 6.2 | 615 15.8 162 04 3%
FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7 62.6 | 615 40.6 413 0.7 -2%
BETWEEN 1-370 ON AND OFF RAMPS 3154 0.6 65.3 | 4 32.9 33.9 0.9 -3%
FROM I-370 ON RAMP TO SHADY GROVE RD 4729 0.9 65.3 | 62.0 49.4 52.0 2.6 5%
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 7 0.0 65.6 | 594 08 09 01 =10%
[FROM SHADY GROVE RD ON RAMP TO MD-28 9889 1.9 66.2 | 603 iis | 119 -10.1 -10%
BETWEEN MD-28 ON AND OFF RAMPS 52 0.0 64 | 593 0s 0.6 01 =10%
FROM MD-28 ON RAMP TO MD-189 4132 0.8 648 | 60.6 43.5 46.5 -3.0 -7%
BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6 6.4 | 605 32.1 34.7 2.6 “8%
FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6 6.9 | 604 34.5 382 31 “11%
BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9 671 60.6 49.0 343 53 “11%
FROM MONTROSE RD ON RAMP TO 1-270 SPUR 6153 12 64.3 | 59.5 65.2 70.5 453 -8%
FROM £270 SPUR MD-187 1248 0.2 614 | 59.5 13.9 143 0.4 -3%
BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8 623 | 58.5 46.6 49.6 3.0 -6%
FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 12 46.5 | 57.2 90.8 73.8 17.0 “19%
BETWEEN 1-495 INTERCHANGE ON AND OFF RAMPS 1395 0.3 18.7_| 35.7 50.9 267 24.3 48%
[270 NB 164322 31.1 2666.3 | 570.5 18%
FROM GROSVENOR LANE TO EXIT 1A 6217 1.2 223 | 35.9 739 114.0 60%
BETWEEN EXIT 1A AND 1B 4042 0.8 28.7 | 358 77.0 18.8 20%
FROM MD-187 TO 1-270 SPUR Mi 0.1 33.6 | 35.2 6.6 03 5%
FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 13 34.0 | 40.6 119.0 2.8 16%
FROM £270 LOCAL TO EXIT 3 FOR 1-270 LOCAL 5080 1.0 SAN OESiS 672 254 27%
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6 24.4 52.8 417 48.5 54%
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6 19.8 [52.7 39.8 66.4 63%
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8 29.8 | 48.3 375 38.7 38%
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0 44.3 | 49.3 0.7 01 10%
FROM MD-28 ON RAMP TO REDLAND BLVD 10016 19 $5.0 | S16 132.4 8.1 -7%
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0 s74_ | 0 10 0.2 =17%
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9 568 | 35.7 92.2 “34.2 -59%
FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD 172 oo || 57.7 | 348 47 2.7 133%
FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15 52.5 | 24.8 218.1 115.0 | -112%
FROM JUST SOUTH OF MD-117 TO MD-117 29 0.0 318 | 29 0.9 -0.5 “127%
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6 465 | 202 109.5 ~61.8 -130%
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0 422 | 20.5 0.9 0.5 “106%
[FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 23 338 | 294 279.4 “36.7 “15%
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS 1221 0.2 284 | 25.5 327 33 “11%
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.5 25.7 | 35.7 463 18.1 28%
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6 24.5 | 45.5 513 44.2 46%
FROM MD-118 ON RAMP TO MD-27 1487 03 32.5 | 48.0 211 10.1 32%
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6 a7 | 476 48.1 55 10%
FROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2 40.0 | 38.0 206.9 =10.5 5%
BETWEEN MD-12] ON AND OFF RAMPS 959 02 38.7 | 292 22.4 5.5 =32%
FROM MD-121 TO MD-109 20431 3.9 343 | 494 283.6 122.4 30%
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2 27.7 | 517 21 10.5 16%
[FROM MD-109 ON RAMP TO MD-80 18686 3.5 29.6 | 52.0 244.9 185.3 43%
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2 i9.9 [519 12.4 20.0 62%
FROM MD-80 ON RAMP TO MD-85 24888 4,7 39.7_ | 51.7 328.0 99.2 23%
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5 aoa | 52.7 32.1 2d 6%

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1.270 SB 168516 31.3
BETWEEN MD-85 ON AND OFF RAMPS 2549 0.5

FROM MD-85 ON RAMP TO MD-80 25540 48

BETWEEN MD-80 ON AND OFF RAMPS a5 0.2

FROM MD-80 ON RAMP TO MD-109 18767 3.6

BETWEEN MD-109 ON AND OFF RAMPS 922 0.2

FROM MD-109 ON RAMP TO MD-121 18329 35

BETWEEN MD-121 ON AND OFF RAMPS 2354 0.4

FROM MD-121 TO MD-27 10608 2.0

BETWEEN MD-27 ON AND OFF RAMPS 3802 0.7

FROM MD-27 ON RAMP TO MD-118 1852 04

BETWEEN MD-118 ON AND OFF RAMPS 3278 0.6

FROM MD-118 ON RAMP TO MIDDLEBROOK RD 2587 0.8

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS 1460 0.3

FROM MIDDLEBROOK RD ON RAMP TO MD-124 10210 19

BETWEEN MD-124 ON AND OFF RAMPS 1613 0.3 1

FROM MD-124 ON RAMP TO MD-117 3042 0.6

BETWEEN MD-117 ON AND OFF RAMPS 1463 03

FROM MD-117 TO 1-370 INTERCHANGE 3727 0.7

BETWEEN [370 ON AND OFF RAMPS 3154 0.6

FROM I-370 ON RAMP TO SHADY GROVE RD 4729 0.9

BETWEEN SHADY GROVE RD ON AND OFF RAMPS 77 0.0

[FROM SHADY GROVE RD ON RAMP TO MD-28 9889 1.9

BETWEEN MD-28 ON AND OFF RAMPS 52 0.0

FROM MD-28 ON RAMP TO MD-189 4132 0.8

BETWEEN MD-189 ON AND OFF RAMPS 3083 0.6

FROM MD-189 ON RAMP TO MONTROSE RD 3383 0.6

BETWEEN MONTROSE RD ON AND OFF RAMPS 4822 0.9

FROM MONTROSE RD ON RAMP TO I-270 SPUR 6153 12

FROM 1-270 SPUR MD-187 1248 0.2

BETWEEN MD-187 SPUR ON AND OFF RAMPS 4256 0.8

FROM MD-187 ON RAMP TO 1-495 INTERCHANGE 6196 12

BETWEEN 1-495 INTERCHANGE ON AND OFF RAMPS 1395 0.3

1-270 NB 164322 311 3020.2 | 908.4 23%

FROM GROSVENOR LANE TO EXIT 1A 6217 1.2 19.2 90.0 130.5 59%

BETWEEN EXIT 1A AND 1B 4042 0.8 25.3 133.1 -24.1 -22%
FROM MD-187 TO 1-270 SPUR Mi 0.1 30.4 71 05 1%

FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 13 24.2 125.3 7B. 37%

FROM 1-270 LOCAL TO EXIT 5 FOR £270 LOCAL 5080 1.0 28.1 : 617 55.7, 45%

FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6 20.6 | 52.9 41.6 65.4 61%

BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6 175 39.8 80.5 67%

FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8 27.9 37.1 42.3 3%

BETWEEN MD-28 ON AND OFF RAMPS 49 a0 43.2 0.7 0.1 12%

FROM MD-28 ON RAMP TO REDLAND BLVD. 10016 19 50.9 134.7 “0.4 -15%
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0 50.7 19 0.9 -89%
FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE 4827 0.9 45.0 i 130.4 S72 -78%
FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD 172 oo || 45.7 (| 2 53 =a 106%
FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 15 33.0 | 22.2 243.9 -80.0 -49%
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0 38.0 | 205 Lo 0.4 -86%
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6 28.6 19.1 115.7 -38.1 -49%
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0 23.3 19.5 10 0.2 -20%
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 2.3 27 | 36.0 316.2 46.0 13%

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS 1221 0.2 Ba | 244 34.1 1s 4%

FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.5 2.0 | 359 46.0 29.0 39%

BETWEEN MD-118 ON AND OFF RAMPS 312 58.1 53%

FROM MD-118 ON RAMP TO MD-27 21.9 12.3 36%

BETWEEN MD-27 ON AND OFF RAMPS 39.2 02 0%

FROM MD-27 ON RAMP TO MD-121 OFF RAMP 315.0 88.6 -39%
BETWEEN MD-121 ON AND OFF RAMPS 43.2 23.2 -116%
FROM MD-121 TO MD-109 288.8 181.1 39%

BETWEEN MD-109 ON AND OFF RAMPS 123 12.7 51%

[ROM MD-109 ON RAMP TO MD-80 245.3 217.1 47%

BETWEEN MD-80 ON AND OFF RAMPS 124 22.7 65%

FROM MD-80 ON RAMP TO MD-85 326.1 207.2 39%

BETWEEN MD-85 ON AND OFF RAMPS 32] 73 19%

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1-270 SB

BETWEEN MD-85 ON AND OFF RAMPS.

FROM MD-85 ON RAMP TO MD-80

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-109

BETWEEN MD-109 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-121

BETWEEN MD-121 ON AND OFF RAMPS

[FROM MD-121 TO MD-27

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-118

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-118 ON RAMP TO MIDDLEBROOK RD

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

FROM MIDDLEBROOK RD ON RAMP TO MD-124

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO MD-117

BETWEEN MD-117 ON AND OFF RAMPS

FROM MD-117 TO 1-370 INTERCHANGE

BETWEEN 1-370 ON AND OFF RAMPS

[FROM 1-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS.

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

FROM MONTROSE RD-ON RAMP TO 1-270 SPUR

FROM 1-270 SPUR MD-187

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO 1-495 INTERCHANGE

BETWEEN 1-495 INTERCHANGE ON AND OFF RAMPS

1-270 NB 164322 31.1

[FROM GROSVENOR LANE TO EXIT 1A 6217 1.2 21.2 2ec0
BETWEEN EXIT 1A AND 1B 4042 0.8 27.3 18.3
FROM MD-187 TO 1-270 SPUR 341 0.1 34.5 aah
FROM TUCKERMAN LANE TO 1-270 LOCAL 7076 1.3 41.0 38.8
FROM 1-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL 5080 1.0 48.6 Sia
FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189 3227 0.6 43.9 52.8
BETWEEN MD-189 ON AND OFF RAMPS 3080 0.6 38.0 32.7
FROM MD-189 TO JUST SOUTH OF MD-28 4076 0.8 40.2 47.9
BETWEEN MD-28 ON AND OFF RAMPS 49 0.0 49.6 ABS
[FROM MD-28 ON RAMP TO REDLAND BLVD. 10016 1.9 57.1 37.3
BETWEEN SHADY GROVE RD ON AND OFF RAMPS 74 0.0 58.6 24.5
FROM SHADY GROVE RD ON RAMP TO I-370 INTERCHANGE 4827 0.9 57.1 28.5
FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD 172 0.0_ 37.0 26.0
FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117 7943 1.5 44.8 26.0
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117 29 0.0 41.8 23:5
FROM MD-117 TO MD-124 OFF RAMP 3249 0.6 38.3 23.4
BETWEEN MD-124 ON AND OFF RAMPS 27 0.0 36.1 23.4
FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD 12046 23 32:4 32.8
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS 1221 0.2 28.9 28.1
FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP 2423 0.5 26.5 37.1
BETWEEN MD-118 ON AND OFF RAMPS 3423 0.6 25.3 45.5
FROM MD-118 ON RAMP TO MD-27 1487 0.3 34.5 464
BETWEEN MD-27 ON AND OFF RAMPS 3356 0.6 473 413
FROM MD-27 ON RAMP TO MD-121 OFF RAMP 11527 2.2 45.5 30.3
BETWEEN MD-12] ON AND OFF RAMPS 959 0.2 43.5 20.5
FROM MD-121 TO MD-109 20431 3.9 45.9 48.5
BETWEEN MD-109 ON AND OFF RAMPS 920 0.2 42.5 52.8
FROM MD-109 ON RAMP TO MD-80 18686 3.5 42.1 32.1
BETWEEN MD-80 ON AND OFF RAMPS 946 0.2 32.1 5255
FROM MD-80 ON RAMP TO MD-85 24888 4.7 43.5 32.3
BETWEEN MD-85 ON AND OFF RAMPS 2482 0.5 535 32.6

Figure A. 75: |-270 Mainline 6-7 PM Travel Time and Speed

2944.1 -146.5 -5%
186.7 13.3 1%
150.9 -49.7 -49%

TA -0.6 -9%
134.3 -6.6 -6%
74 | 39 5%
41.6 a5 17%
39.8 15.3 28%
58.0 11.1 16%

0.7 o.0 -2%
183.3 -63.6 -53%

2.0 -1.2 -139%
115.6 -58.0 -101%

45 25 | -120%
208.6 -87.6 =72%

0.8 -0.3 -64%
94.8 -36.9 -64%

0.8 -0.3 ~§4%
250.1 3.7 1%
29.7 -0.8 -3%
445 17.8 29%
513 40.8 44%
219 1S 26%
$54 -71 -15%
259.5 -86.7 -50%
31.9 -16.9 -113%
287.1 16.5 5%
114 2.9 20%
244.5 58.4 19%
123 Ta 39%
324.7 65.4 17%
322 -0.5 -2%

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|-270 Mainline Travel
Time Graphs
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Cumulative Travel Time: I-270 SB 6-7 AM

=—¢=Travel Time (Field Average in Minutes)

100 —B=Travel Time (5i d Average in Mil
= 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)

0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T 1
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM I-270 SPUR
ON AND OFF ON AND OFF ONAND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS. ON AND OFF RAMPS OFF RAMPS RAMPS
RAMPS.
Figure A.76: |-270 SB Mainline 6-7 AM Cumulative Travel Time

00037582
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Cumulative Travel Time: I-270 NB 6-7 AM

35.0
30.0 —
25-0
w
ov
—
Ss
c
Ss 20.0
—
E
FE 150
G
>
z=
- 10.0
——Travel Time (Field Average in Minutes)
5.0 =—@=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T 1

FROM FROM 1-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
GROSVENOR LANE TO EXIT 5 FOR |- ON AND OFF INTERCHANGETO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
TO EXIT 1A 270 LOCAL RAMPS MUDDY BRANCH RAMPS RAMPS. RAMPS RAMPS
RD

Figure A.77: |-270 NB Mainline 6-7 AM Cumulative Travel Time

00037583
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Cumulative Travel Time: I-270 SB 7-8 AM
70.0
60.0
3
5
=
2
E
o
>
c
i
=—$—Travel Time (Field Average in Minutes)
10.0 —@—Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T 7 T T T T T T T T 1
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM I-270 SPUR
ON AND OFF ON AND OFF ONANDOFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS. ON AND OFF RAMPS. OFF RAMPS RAMPS.
RAMPS.

Figure A.78: |-270 SB Mainline 7-8 AM Cumulative Travel Time

00037584
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Cumulative Travel Time: I-270 NB 7-8 AM

35.0
30.0 x
25-0
w
ov
—
Ss
c
Ss 20.0
—
E
FE 150
G
>
z=
- 10.0
——Travel Time (Field Average in Minutes)
5.0 =—@=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T 1

FROM FROM 1-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
GROSVENOR LANE TO EXIT 5 FOR |- ON AND OFF INTERCHANGETO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
TO EXIT 1A 270 LOCAL RAMPS MUDDY BRANCH RAMPS RAMPS. RAMPS RAMPS
RD

Figure A.79: |-270 NB Mainline 7-8 AM Cumulative Travel Time

00037585
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tsi)

Cumulative Travel Time: I-270 SB 8-9 AM
70.0
60.0
e
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5
=
2
E
ov
>
o
O
——Travel Time (Field Average in Minutes)
10.0 =—®=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0 Bi
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM I-270 SPUR
ON AND OFF ON AND OFF ONAND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS ON AND OFF RAMPS OFF RAMPS RAMPS
RAMPS

Figure A.80: |-270 SB Mainline 8-9 AM Cumulative Travel Time

00037586
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Cumulative Travel Time: I-270 NB 8-9 AM

35.0
30.0
25-0
w
ov
—
Ss
c
Ss 20.0
—
E
FE 150
G
>
z=
- 10.0
——Travel Time (Field Average in Minutes)
5.0 =—@=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T 1

FROM FROM 1-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
GROSVENOR LANE TO EXIT 5 FOR |- ON AND OFF INTERCHANGETO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
TO EXIT 1A 270 LOCAL RAMPS MUDDY BRANCH RAMPS RAMPS. RAMPS RAMPS
RD

Figure A.81: |-270 NB Mainline 8-9 AM Cumulative Travel Time

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tsi)

Cumulative Travel Time: I-270 SB 9-10 AM

RAMPS

100 —#—Travel Time (Field Average in Minutes)
=—=Travel Time (Simulated Average in Minutes)
5.0 =~ 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T r T T T T T T T T T T T T T T T T 7 T T T T T T T T 1
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM I-270 SPUR
ON AND OFF ON AND OFF ONAND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS. ON AND OFF RAMPS. OFF RAMPS RAMPS.

Figure A.82: |-270 SB Mainline 9-10 AM Cumulative Travel Time

00037588
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Cumulative Travel Time: I-270 NB 9-10 AM

35.0
30.0 x
25-0
w
ov
—
Ss
c
Ss 20.0
—
E
FE 15.0
G
>
z=
- 10.0
——Travel Time (Field Average in Minutes)
5.0 =—@=Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T 1

FROM FROM 1-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
GROSVENOR LANE TO EXIT 5 FOR |- ON AND OFF INTERCHANGETO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
TO EXIT 1A 270 LOCAL RAMPS MUDDY BRANCH RAMPS RAMPS. RAMPS RAMPS
RD

Figure A.83: |-270 NB Mainline 9-10 AM Cumulative Travel Time

00037589
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tsi)

Cumulative Travel Time: I-270 SB 3-4 PM
35.0
30.0
ov
—
s
=
—
E
v
%
hm
= Travel Time (Field Average in Minutes)
5.0 —fi—Travel Time (Simulated Average in Minutes)
== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 = 7 r T t T T T T T T T r T T T t tT t T t t Tt t t T T
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM |-270 SPUR
ON AND OFF ON AND OFF ONAND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS ON AND OFF RAMPS OFF RAMPS RAMPS
RAMPS

Figure A.84: |-270 SB Mainline 3-4 PM Cumulative Travel Time

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tsi)

Cumulative Travel Time: I-270 NB 3-4 PM

50.0
45.0 re
40,0 =
Tho
ov
-
=
0
=
mmo
Eo
vu
>
o
jo
10.0 —$—Travel Time (Field Average in Minutes)
Travel Time (Simulated Average in Minutes)
5.0 == 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T
FROM GROSVENOR FROM I-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
LANE TO EXIT 14 TO EXITS FOR|-270 ON AND OFF INTERCHANGE TO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
LOCAL RAMPS MUDDY BRANCH RAMPS. RAMPS RAMPS. RAMPS.
RD

Figure A.85: |-270 NB Mainline 3-4 PM Cumulative Travel Time

00037591
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tsi)

Cumulative Travel Time: I-270 SB 4-5 PM

—— Travel Time (Field Average in Minutes)

Travel Time (Simulated Average in Minutes)

5.0

—h=95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)

0.0 7 t t 7 7 7 7 t 7 T T T T T T T 7 7 1 tT t 7 7 1 7 7 7 T T

BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM |-270 SPUR

ON AND OFF ON AND OFF ON AND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS ON AND OFF RAMPS OFF RAMPS RAMPS
RAMPS

Figure A.86: I|-270 SB Mainline 4-5 PM Cumulative Travel Time

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Cumulative Travel Time: I-270 NB 4-5 PM

60.0
50.0
—_—
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£
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apo
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@
Ro
-
Travel Time (Field Average in Minutes)
10.0 =@=Travel Time (Simulated Average in Minutes)
eh 95% Confidence Interval (Upper Bound)
he 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T
FROM GROSVENOR FROM !-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
LANE TO EXIT 14 TO EXITS FOR|-270 ON AND OFF INTERCHANGE TO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
LOCAL RAMPS MUDDY BRANCH RAMPS. RAMPS RAMPS. RAMPS.
RD

Figure A.87: |-270 NB Mainline 4-5 PM Cumulative Travel Time

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Cumulative Travel Time: I-270 SB 5-6 PM

40.0
35.0
30.0
—_—
w
ov
—
2
—
2a)
e
1m)
z
E
10.0
Travel Time (Field Average in Minutes)
=<=Travel Time (Simulated Average in Minutes)
50 ~»6=-95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 7 7 t T Tt t T T t T T T T r T T T t t T t t Tt t t T t T
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM |-270 SPUR
ON AND OFF ON AND OFF ONAND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS ON AND OFF RAMPS OFF RAMPS RAMPS

RAMPS

Figure A.88: |-270 SB Mainline 5-6 PM Cumulative Travel Time

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tsi)

Cumulative Travel Time: I-270 NB 5-6 PM

80.0

60.0 :
_—
w
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2 ff
= /
4p0
=
Bo
%
i
-
20.0
Travel Time (Field Average in Minutes)
—@—Travel Time (Simulated Average in Minutes)
300 he 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
0.0 T T T T T T T T T T T T T T T T T T T T T T T T T T T T T T
FROM GROSVENOR FROM I-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
LANE TO EXIT 1A TO EXITS FOR|-270 ON AND OFF INTERCHANGE TO ON AND OFF ON AND OFF ON AND OFF ON AND OFF
LOCAL RAMPS MUDDY BRANCH RAMPS. RAMPS RAMPS. RAMPS.
RD

Figure A.89: I|-270 NB Mainline 5-6 PM Cumulative Travel Time

00037595
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tsi)

Cumulative Travel Time: I-270 SB 6-7 PM
35.0
30.0
Vv
—
Ss
=
—
E
Vv
&
i
hm
—¢—Travel Time (Field Average in Minutes)
=—@=Travel Time (Simulated Average in Minutes)
5.0
=== 95% Confidence Interval (Upper Bound)
== 95% Confidence Interval (Lower Bound)
oF, t t 7 7 7 7 t T T T T T T T r T 7 T t tT t T t 1 Tt t 7 T T
BETWEEN MD-85 BETWEEN MD-109 BETWEEN MD-27 BETWEEN BETWEEN MD-117 BETWEEN SHADY BETWEEN MD-189 FROM |-270 SPUR
ON AND OFF ON AND OFF ON AND OFF MIDDLEBROOKRD ONANDOFF GROVERDONAND ON AND OFF MD-187
RAMPS RAMPS RAMPS ON AND OFF RAMPS OFF RAMPS RAMPS
RAMPS

Figure A.90: |-270 SB Mainline 6-7 PM Cumulative Travel Time

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Cumulative Travel Time: I-270 NB 6-7 PM

(Minutes)

o

Travel Timé

—@—= Travel Time (Field Average in Minutes)
<@=Travel Time (Simulated Average in Minutes)

10.0
=>=95% Confidence Interval (Upper Bound)

=—95% Confidence Interval (Lower Bound)

0.0 T T —T T T T T 7—T T —T T T TT —T T T Tt rT T T —T T
FROM GROSVENOR FROM I-270 LOCAL BETWEEN MD-28 FROMI-370 BETWEEN MD-124 BETWEEN MD-118 BETWEEN MD-121 BETWEEN MD-80
LANE TO EXIT 1A TOEXITSFORI-270 ONANDOFF INTERCHANGETO ON AND OFF OWN AND OFF ON AND OFF ON AND OFF
LOCAL RAMPS MUDDY BRANCH RAMPS. RAMPS RAMPS RAMPS
RD

Figure A.91: |-270 NB Mainline 6-7 PM Cumulative Travel Time

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|-270 Mainline Overall
Comparison Tables

Legend

Criteria Met

Critera Not Met

00037598
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1-270 SB 6-7 AM

More Volume Speed within
Volume Segment Throughputin | Difference Less en ee Acceptable ee Travel Time Segment
Model? than 10%? Range
BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes FROM MD-85 ON RAMP TO MD-80
BETWEEN MD-80 ON AND OFF RAMPS
FROM MD-80 ON RAMP TO MD-109
BETWEEN MD 80 AND MD 109 i BETWEEN MD-109 ON AND OFF RAMPS
FROM MD-109 ON RAMP TO MD-421
BETWEEN NE tee Nw tet a BETWEEN MD-121 ON AND OFF RAMPS
FROM MD-121 TO MD-27
BETWEEN. MD: 92:1 AND: MD: 27 aes BETWEEN MD-27 ON AND OFF RAMPS
FROM MD-27 ON RAMP 10 MD-118
BETWEEN ME 27 ND Mate Mes BETWEEN MD-118 ON AND OFF RAMPS
FROM MD-118 ON RAMP TO MIDDLEBROOK RD
GERWEEN MP 226 AND MIDOLEBROOKRO is BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
FROM MIDDLEBROOK RD ON RAMP TO MD-124
BETWEEN MIDDLEBROOK ROAD AND MD 124 Yes ge ee
FROM MD-124 ON RAMP TO MD-117
MD :
BETWEEN MELA ANE MD 1H? va yes. 5 BETWEEN MD-117 ON AND OFF RAMPS
7 = Yes ~48% FROM MD-117 TO 1-370 INTERCHANGE
BETES MD SEE PND L320 Hes tee Kes Yes 19% BETWEEN |-370 ON AND OFF RAMPS
Yes. -25% FROM I-370 ON RAMP TO SHADY GROVE RD
BETWEEN STE AME SHADY CREVERD Yes 1% BETWEEN SHADY GROVE RD ON AND OFF RAMPS
‘Yes “24% FROM SHADY GROVE RD ON RAMP TO MD-28
BETWEEN SHADY GROVE RD AND MD 28 = ae Seen eee
Yes “8% FROM MD-28 ON RAMP TO MD-189
NM
BETWEEN SID 25 AND U0 48? Yes 295% BETWEEN MD-189 ON AND OFF RAMPS
Yes ~40% FROM MD-189 ON RAMP TO MONTROSE RD
BETWEEN BID de? AND: MONTREBERD Yes “45% BETWEEN MONTROSE RD ON AND OFF RAMPS
BETWEEN MONTROSE RD AND |-270 SPLIT Yes FROM MONTROSE RD ON RAMP TO I-270 SPUR
= " ae FROM [-270 SPUR MD-187
BETWEEN 270 SELLE PND MD AED Ne: Kes Yes “2% BETWEEN MD-187 SPUR ON AND OFF RAMPS
Yes. 0% FROM MD-187 ON RAMP TO 1-495 INTERCHANGE
BETWEEN MP 487, ANO.M85 Yes 7% BETWEEN |-495 INTERCHANGE ON AND OFF RAMPS
BETWEEN |-270 SPLIT AND DEMOCRACY BLVD Yes
BETWEEN DEMOCRACY BLVD AND |-495 Yes

Figure A.92: |-270 SB Mainline 6-7 AM Overall Comparison

00037599
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1-270 NB 6-7 AM
More Volume Speed within
Volume Segment Throughputin | Diffarance Less oer 7 Acceptable eo 2 Travel Time Segment
Model? than 10%? Range? rence
BETWEEN DEMOCRACY BLVD AND 1-495 Yes
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD
BETWEEN MD 187 AND |-495
Yes o% FROM GROSVENOR LANE TO EXIT 1A
Yes 3% BETWEEN EXIT 2A AND 48
BETWEEN 1-270 SPLIT AND MD 187 Yes 2% FROM MD-187 TO |-270 SPUR
BETWEEN MONTROSE RD AND |-270 SPLIT = = ERM TN oe
Yes “4%, FROMI-270 LOCAL TO EXIT 5 FORI-270 LOCAL
BETWEEN MD 189 AND MONTROSE RD Yes “5% FROM EXIT 5 FOR I-270 LOCAL TO JUST SOUTH OF MD-189
Yes =3% BETWEEN MD-189 ON AND OFF RAMPS
N
SERRE MD 2e nome: Yes. “5% FROM MD-189 TO JUST SOUTH OF MD-28
Yes 76% BETWEEN MD-28 ON AND OFF RAMPS
BETWEEN SHAD GROVE RD-AND MD 28 Yes 7%. FROM MD-28 ON RAMP TO REDLAND BLVD
Yes “4% BETWEEN SHADY GROVE RD ON AND OFF RAMPS
TWEEN I- A '¥ GR R
SEEN a) pare Yes “5% FROM SHADY GROVE RD ON RAMP TO I-370 INTERCHANGE
Yes 7% FROM |-370 INTERCHANGE TO MUDDY BRANCH RD
BETWEEN. MDZ AND F370 Yes 15% FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
Yes ~4% FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117
BETWEEN MD 124 AND MD 117
Yes 5% FROM MD-117 TO MD-124 OFF RAMP
Yes “4% BETWEEN MD-124 ON AND OFF RAMPS
ROOK ROAD AND MD 124 as !
BEPINEEN MIBOLEBR OSI: ROAD AND: MDT Yes “5% FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD
Yes =3% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
BEF IEEN MB EIB AND MIDELERRDOR AD ves "2% FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP
Yes “2% BETWEEN MD-118 ON AND OFF RAMPS
BETWEEN MD:27-AND.MOL118 Yes =2% FROM MO-118 ON RAMP TO MD-27
Yes -3% BETWEEN MD-27 ON AND OFF RAMPS
BETWEEN MD 121 AND MD 27
Yes 3% FROM MD-27 ON RAMP TO MD-121 OFF RAMP
Yes 3% BETWEEN MD-121 ON AND OFF RAMPS
BETWEEN MD 109 AND MD 121 ye “6% FROM MD-121 TO MD-109
Yes ~A% BETWEEN MD-109 ON AND OFF RAMPS
BEOUEEN: ME Sanne e a2. Yes 76% FROM MD-109 ON RAMP TO MD-80
Yes 75% BETWEEN MD-80 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes =6% FROM MD-80 ON RAMP TO MD-85
Yes “1% BETWEEN MD-85 ON AND OFF RAMPS

Figure A.93: I|-270 NB Mainline 6-7 AM Overall Comparison

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1-270 SB 7-8 AM

More Volume Speed within
Volume Segment Throughputin | Difference Less en ee Acceptable ee Travel Time Segment
Model? than 10%? Range?

Yes: 3% BETWEEN MD-85 ON AND OFF RAMPS

BETWEEN MD 85 AND MD 80 Yes Yes 27% FROM MD-85 ON RAMP TO MD-80
Yes -3% BETWEEN MD-80 ON AND OFF RAMPS

Yes -39% FROM MD-80 ON RAMP TO MD-109
BETWEEN MD 80 AND MO 109 = Yes “37% BETWEEN MD-109 ON AND OFF RAMPS
: : Yes -2% FROM MD-109 ON RAMP TO MD-121
SE crate CNet ae = 4 BETWEEN MD-121 ON AND OFF RAMPS

FROM MD-121 TO MD-27
N MD 121 AND MD 27 i

Sern BMOe aS ) BETWEEN MD-27 ON AND OFF RAMPS

: i Yes 6% FROM MD-27 ON RAMP TO MD-118
BETWEEN IME 21 AND aE) 418 ‘Yes +12% BETWEEN MD-118 ON AND GFF RAMPS

Yes 18% FROM MD-118 ON RAMP TO MIDDLEBROOK RD
BETWEEN MD 118 AND MIDDLEBROOK RD ¥
ee Yes 29% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
pee ; Yes 7% FROM MIDDLEBROOK RD ON RAMP TO MD-124
BETWEEN MIDDLEBROOK ROAD AND MD 124 Yes = ; ;

- Yes 38% BETWEEN MD-124 ON AND OFF RAMPS

Yes -29% FROM MD-124 ON RAMP TO MD-117

MDB |

BETWEEN APE ANE OI? va Yes. -8% BETWEEN MD-117 ON AND OFF RAMPS

BETWEEN MD 117 AND 1-370

BETWEEN I-370 AND SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN MD 28 AND MD 189

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MONTROSE RD AND 1-270 SPLIT

BETWEEN I-270 SPLIT AND MD 187

Yes

FROM MD-117 TO |-370 INTERCHANGE

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

FROM MONTROSE RD ON RAMP TO |-270 SPUR

FROM |-270 SPUR MD-187

BETWEEN MD 187 AND I-495

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO |-495 INTERCHANGE

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

BETWEEN DEMOCRACY BLVD AND |-495

Figure A.94: |-270 SB Mainline 7-8 AM Overall Comparison

00037601
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1-270 NB 7-8 AM
More Volume Speed within
Volume Segment Throughputin | Diffarance Less oer oe Acceptable eo 2 Travel Time Segment
Model? than 10%? Range? rence
BETWEEN DEMOCRACY BLVDAND 495 | 1
BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD
BETWEEN MD 187 AND 1-495
Yes 2% FROM GROSVENOR LANE TO EXIT 1A
Yes 4% BETWEEN EXIT 4A AND 48
BETWEEN 1-270 SPLIT AND MD 187 Yes 3% FROM MD-187 TO |-270 SPUR
BETWEEN MONTROSE RD AND |-270 SPLIT = oe ERM TURAN Sete
Yes 5% FROMI-270 LOCAL TO EXIT 5 FOR |-270 LOCAL
BETWEEN MD 189 AND MONTROSE RD Yes “5% FROM EXIT 5 FOR I-270 LOCAL TO JUST SOUTH OF MD-189
Yes ~A% BETWEEN MD-189 ON AND OFF RAMPS
BETWEEN MD 28 AND MD 189
ves 5% FROM MD-189 TO JUST SOUTH OF MD-28
Yes 7% BETWEEN MD-28 ON AND OFF RAMPS
ETWEEN SHADY GROVE R 8
BESS GROVE RD ORD 02 Yes -4% FROM MD-28 ON RAMP TO REDLAND BLVD
Yes 75% BETWEEN SHADY GROVE RD ON AND OFF RAMPS
ee ee Yes -6% FROM SHADY GROVE RD ON RAMP TO |-370 INTERCHANGE
Yes 8% FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD
BETWEEN. MDZ AND F370 Yes “7% FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
Yes “5% FROM JUST SOUTH OF MD-417 TO MD-417
BETWEEN MD 124 AND MD 117
Yes “5% FROM MD-117 TO MO-124 OFF RAMP.
Yes “5% BETWEEN MD-124 ON AND OFF RAMPS
EBR KR AND MI 4 =
BEPINEEN SIDOLEEROGK BAAD eae Yes “5% FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD
Yes “3% BETWEEN MIDOLEBROOK RD ON AND OFF RAMPS
BEF IEEN MB EIB AND MIDELERRDOR AD Yes. “2% FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP
Yes -2% BETWEEN MD-118 ON AND OFF RAMPS
BETWEEN MD 27 AND MD 118 Yes Yes Yes = a
Yes ~4% BETWEEN MD-27 ON AND OFF RAMPS
BETWEEN MD 121 AND MD 27 y Yes y
. = eo Yes 2% FROM MD-27 ON RAMP TO MD-121 OFF RAMP
Yes =3% BETWEEN MD-121 ON AND OFF RAMPS
BETWEEN MD 109 AND MD 121 y ¥ y
. . . Yes 6% FROM MD-121 TO MD-109
Yes =A% BETWEEN MD-109 ON AND OFF RAMPS
BETWEEN MD 80. AND MD 109 Yes Yes Yes = ae See ra ee
Yes ~6% BETWEEN IMD-80 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes Yes Yes “6% FROM MD-80 ON RAMP TO MD-85
Yes 0% BETWEEN MD-85 ON AND OFF RAMPS

Figure A.95: |-270 NB Mainline 7-8 AM Overall Comparison

00037602

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1-270 SB 8-9 AM
More Volume Speed within
T
Volume Segment Throughputin | Difference Less en ee Acceptable Pe Travel Time Segment
Model? than 10%? Range?
i Yes: 72% BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80

Yes_

FROM MD-85 ON RAMP TO MD-80

BETWEEN MD 80 AND MD 109

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-109

BETWEEN MD 109 AND MD 121

BETWEEN MD-109 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-121

BETWEEN MD 121 AND MD 27

BETWEEN MD-121 ON AND OFF RAMPS

FROM MD-121 TO MD-27

BETWEEN MD 27 AND MD 118

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-118

BETWEEN MD 118 AND MIDDLEBROOK RD

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-118 ON RAMP TO MIDDLEBROOK RD

BETWEEN MIDDLEBROOK ROAD AND MD 124

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

FROM MIDDLEBROOK RD ON RAMP TO MD-124

BETWEEN MD 124 AND MD 117

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO MD-117

BETWEEN MD 117 AND 1-370

BETWEEN |-370 AND SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 23°

BETWEEN MD 28 AND MD 189

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MONTROSE RD AND 1-270 SPLIT

BETWEEN |-270 SPLIT AND MD 187

BETWEEN MD-117 ON AND OFF RAMPS

FROM MD-117 TO |-370 INTERCHANGE

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

FROM MONTROSE RD ON RAMP TO |-270 SPUR

FROM 1-270 SPUR MD-187

BETWEEN MD-187 SPUR ON AND OFF RAMPS
Yes. 12% FROM MD-187 ON RAMP TO 1-495 INTERCHANGE
PEPER MS NOS Yes 25% BETWEEN -495 INTERCHANGE ON AND OFF RAMPS
BETWEEN -270 SPLIT AND DEMOCRACY BLVD | __Yes
BETWEEN DEMOCRACY BLVD AND I-495 Yes

Figure A.96: |-270 SB Mainline 8-9 AM Overall Comparison

00037603
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1-270 NB 8-9 AM
More Volume Speed within
Volume Segment Throughputin | Diffarance Less oer oe Acceptable eo 2 Travel Time Segment
Model? than 10%? Range? rence
BETWEEN DEMOCRACY BLVDAND 1-495) i 1 jl
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD |
BETWEEN MD 187 AND 1-495
Yes. Bi FROM GROSVENOR LANE TO EXIT 1A
Yes 2% BETWEEN EXIT 2A AND 48
BETWEEN 1-270 SPLIT AND MD 187 Yes Yes 3% FROM MD-187 TO |-270 SPUR
BETWEEN MONTROSE RD AND |-270 SPLIT Yes Yes Yes wes Oe ERONETE GEER MABE Ez UE Oe ae
Yes 15% FROMI-270 LOCAL TO EXIT 5 FORI-270 LOCAL
BETWEEN MD 189 AND MONTROSE RD Yes ~4% FROM EXIT 5 FOR I-270 LOCAL TO JUST SOUTH OF MD-189
Yes =3% BETWEEN MD-189 ON AND OFF RAMPS
N
BER ESE MD Ze ph O Mae ves 75% FROM MD-189 TO JUST SOUTH OF MD-28
BETWEEN MD-28 ON AND OFF RAMPS
BETWEEN SHADY GROVE RD-AND MD: 28 Yes -3% FROM MD-28 ON RAMP TO REDLAND BLVD
Yes 75% BETWEEN SHADY GROVE RD ON AND OFF RAMPS
SCENES SSO SPeY Sete Yes “6% FROM SHADY GROVE RD ON RAMP TO I-370 INTERCHANGE
Yes “8% FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD
BETWEEN MD TEZAND F820 Yes T% FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
Yes i -6% FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117
SELICEEEMD s28 PEI Et? Yes “5% FROM MD-117 TO MD-124 OFF RAMP
Yes “5% BETWEEN MD-124 ON AND OFF RAMPS
BETWEEN MIDDLEBROOK ROAD-AND:MD 124 es ves 496 FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD
Yes “1% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
BE TIEN MG 118 AND MIPOLEBROOR RD i = i Yes. “1% FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP
; Yes -1% BETWEEN MD-118 ON AND OFF RAMPS
BETWEEN MD 27 AND MD 118 Yes Yes. Yes Yes Oe FROM MD-118 ON RAMP TO MD-27
Yes -3% BETWEEN MD-27 ON AND OFF RAMPS
BEPDES Mp tet ONE MO es ass Xe Vs Yes 3% FROM MD-27 GN RAMP TO MD-121 OFF RAMP
Yes “3% BETWEEN MD-121 ON AND OFF RAMPS
TWEE AN
BETWEEN MD 109 AND MD 121 Yes Yes Yes = = TD ASCITES
Yes ~A% BETWEEN MD-109 ON AND OFF RAMPS
BETWEEN MO 80 AND MO 109 Yes Yes Yes = a Sei eee
Yes ~6% BETWEEN IMD-80 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes Yes Yes ~6% FROM MD-80 ON RAMP TO MD-85
Yes “1% BETWEEN MD-85 ON AND OFF RAMPS

Figure A.97: |-270 NB Mainline 8-9 AM Overall Comparison

00037604
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1-270 SB 9-10 AM
More Volume Speed within
Volume Segment Throughput in | Diffarance Less oer ee Acceptable oe * Travel Time Segment
Model? than 10%? Range? =
Yes. -7% BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes Yes Yes Yes -18% FROM MD-85 ON RAMP TO MD-80
Yes -30% BETWEEN MD-80 ON AND OFF RAMPS
: Yes 39% FROM MD-80 ON RAMP TO MD-109
BETWEEN MD 80 AND MD 109 ¥ Y Yes
= = Yes 43% BETWEEN MD-109 ON AND OFF RAMPS
: Yes -8% FROM MD-109 ON RAMP TO MD-121
SE crate CNet ae = Yes -15% BETWEEN MD-121 ON AND OFF RAMPS
Yes “10% FROM MD-121 TO MD-27
N MD 121 4ND MD 27 fs
SERWERT NOS DNoe = 7 BETWEEN MD-27 ON AND OFF RAMPS
: FROM MD-27 ON RAMP TO MD-118
PERWESI NG ANE ate mee BETWEEN MD-118 ON AND OFF RAMPS
FROM MD-118 ON RAMP TO MIDDLEBROOK RD
BETWEEN MD 118 AND MIDDLEBROOK RD ¥
ee Yes 15% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
se Yes 6% FROM MIDDLEBROOK RD ON RAMP TO MD-124
BETWEEN MIDDLEBROOK ROAD AND MD 124 Yes — : - -
: Yes 15% BETWEEN MD-124 ON AND OFF RAMPS
FROM MD-124 ON RAMP TO MD-117
MD D i
BETWEEN MD tee ANE TH? is BETWEEN MD-117 ON AND OFF RAMPS

BETWEEN MD 117 AND 1-370

BETWEEN I-370 AND SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN MD 28 AND MD 189

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MONTROSE RD AND |-270 SPLIT

BETWEEN I-270 SPLIT AND MD 187

BETWEEN MD 187 AND I-495

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN DEMOCRACY BLVD AND |-495

FROM MD-117 TO |-370 INTERCHANGE

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

FROM MONTROSE RD ON RAMP TO |-270 SPUR

FROM 1-270 SPUR MD-187

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO |-495 INTERCHANGE

BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

Figure A.98: |-270 SB Mainline 9-10 AM Overall Comparison

00037605
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1-270 NB 9-10 AM
More Volume Speed within
Volume Segment Throughputin | Diffarance Less oer 7 Acceptable eo 2 Travel Time Segment
Model? than 10%? Range? rence
BETWEEN DEMOCRACY BLVD ANDI-495 _ | 1 jl
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD [|
BETWEEN MD 187 AND I-495
ves | 7% FROM GROSVENOR LANE TO ExIT 1A
Ves 2% BETWEEN EXIT 1A AND 18
BETWEEN I-270 SPLIT AND MD 187 Yes Yes 3% FROM MD-187 TO |-270 SPUR
BETWEEN MONTROSE RD AND |-270 SPLIT Yes Yes Yes wes ate ERONETE GEER MABE Ez UE Oe ae
Yes “2% FROMI-270 LOCAL TO EXIT 5 FOR I-270 LOCAL
BETWEEN MD 189 AND MONTROSE RD Yes “1% FROM EXIT 5 FOR I-270 LOCAL TO JUST SOUTH OF MD-189
Yes “1% BETWEEN MD-189 ON AND OFF RAMPS
Se ee ene Yes” “3% FROM MD-189 TO JUST SOUTH OF MD-28
Yes 78% BETWEEN MD-28 ON AND OFF RAMPS
N SHADY GROVE R é
BEDWEEN SHADE GROVE RE ONO MG 28 Yes “2% FROM MD-28 ON RAMP TO REDLAND BLVD
Yes =3% BETWEEN SHADY GROVE RD ON AND OFF RAMPS
PEERS Te Sper mere Yes ~4% FROM SHADY GROVE RD ON RAMP TO |-370 INTERCHANGE
yan Yes 8% FROM 1-370 INTERCHANGE TO MUDDY BRANCH RD
BETWEEN. MDZ AND F370 tes Yes Yes ~7%6 FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
ves “5% FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-417
BETWEEN MD 124 AND MD 117 ¥ yes y
= = = Yes “4% FROM MD-117 TO MD-124 OFF RAMP
Yes “4% BETWEEN MD-124 ON AND OFF RAMPS
ROOK ROAD AND MD 124 x
re ae Yes “4% __ | FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RO
Yes “2% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
BEF IEEN MB EIB AND MIDELERRDOR AD vas ves "2% FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP
Yes “1% BETWEEN MD-118 ON AND OFF RAMPS
BETWEEN MD:27-AND.MOL118 es Yes 0% FROM MD-118 ON RAMP TO MD-27
Yes “3% BETWEEN MD-27 ON AND OFF RAMPS
BETWEEN MD 121 AND MD 27 y ves y
= . = Ves “1% FROM MD-27 GN RAMP TO MD-121 OFF RAMP
BETWEEN MD-121 ON AND OFF RAMPS
BETWEEN MD 109 AND MD 124 = Yes 6% FROM MD-121 TO MD-109
Yes ~A% BETWEEN MD-109 ON AND OFF RAMPS
BETWEEN MD 80 AND MD 109 Yes a a Sine Ee oe
Yes ~4% BETWEEN MD-80 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes Yes =6% FROM MD-80 ON RAMP TO MD-85
Yes 1% BETWEEN MD-85 ON AND OFF RAMPS

Figure A.99: |-270 NB Mainline 9-10 AM Overall Comparison

00037606
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1-270 SB 3-4 PM
More Volume Speed within
Volume Segment Throughput in | Diffarance Less oer ee Acceptable oe * Travel Time Segment
Model? than 10%? Range? =
Yes -8% BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes. Yes Yes -5% FROM MD-85 ON RAMP TO MD-80
Yes -12% BETWEEN MD-80 ON AND OFF RAMPS
: Yes 10% FROM MD-80 ON RAMP TO MD-109
BETWEEN MD 80 AND MD 109 “S ae Yes -10% BETWEEN MD-109 ON AND OFF RAMPS
: 5: Yes 11% FROM MD-109 ON RAMP TO MD-121
BETWEEN MD 109 AND MD 121 vi ¥ eee
e Yes 7% BETWEEN MD-121 ON AND OFF RAMPS
Yes -T% FROM MD-121 TO MD-27
N MD 121 AND MD 27
See : Bhs Yes -4% BETWEEN MD-27 ON AND OFF RAMPS
Yes -3% FROM MD-27 ON RAMP TO MD-118
BETWEEN IME 21 AND aE) 418 Yes -4% BETWEEN MD-118 ON AND OFE RAMPS
i FROM MD-118 ON RAMP TO MIDDLEBROOK RD
BETWEEN MD 118 AND MIDDLEBROOK RD
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
FROM MIDDLEBROOK RD ON RAMP TO MD-124
BETWEEN MIDDLEBROOK ROAD AND MD 124 SE ANEEN MAO] CHAN OG ES
FROM MD-124 ON RAMP TO MD-117
MD D
BETWEEN MELE ANE MO 147 BETWEEN MD-117 ON AND OFF RAMPS
FROM MD-117 TO |-370 INTERCHANGE
BETNE RS MD SEE PND E10 BETWEEN 1-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD
BETWEEN SHADY GROVE RD ON AND OFF RAMPS

BETWEEN I-370 AND SHADY GROVE RD

FROM SHADY GROVE RD ON RAMP TO MD-28
BETWEEN MD-28 ON AND OFF RAMPS

BETWEEN SHADY GROVE RD AND MD 28

FROM MD-28 ON RAMP TO MD-189
BETWEEN MD-189 ON AND OFF RAMPS

BETWEEN MD 28 AND MD 189

FROM MD-189 ON RAMP TO MONTROSE RD
BETWEEN MONTROSE RD ON AND OFF RAMPS

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MONTROSE RD AND 1-270 SPLIT FROM MONTROSE RD ON RAMP TO |-270 SPUR

FROM |-270 SPUR MD-187
BETWEEN MD-187 SPUR ON AND OFF RAMPS

BETWEEN I-270 SPLIT AND MD 187

FROM MD-187 ON RAMP TO |-495 INTERCHANGE
BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

BETWEEN MD 187 AND I-495

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN DEMOCRACY BLVD AND |-495

Figure A.100: |-270 SB Mainline 3-4 PM Overall Comparison

00037607
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BETWEEN DEMOCRACY BLVD AND 1-495.
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD
BETWEEN MD 187 AND 1-495

1-270 NB 3-4 PM
More Volume Speed within
T
Volume Segment Throughputin | Difference Less ee 7 Acceptable Pee 2 Travel Time Segment
Model? than 10%? Range? rence

FROM GROSVENOR LANE TO EXIT 1A

BETWEEN EXIT 1A AND 18

FROM MD-187 TO |-270 SPUR

BETWEEN 1-270 SPLIT AND MD 187

FROM TUCKERMAN LANE TO 1-270 LOCAL

BETWEEN MONTROSE RD AND 1-270 SPLIT

FROMI-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL

FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189

BETWEEN MD 189 AND MONTROSE RD.

BETWEEN MD-189 ON AND OFF RAMPS

BETWEEN MD 28 AND MD 189

FROM MD-189 TO JUST SOUTH OF MD-28
BETWEEN MD-28 ON AND OFF RAMPS

BETWEEN SHADY GROVE RD AND MD 28

FROM MD-28 ON RAMP TO REDLAND BLVD
BETWEEN SHADY GROVE RD ON AND OFF RAMPS

BETWEEN |-370 AND SHADY GROVE RD

FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE
FROM |-370 INTERCHANGE TO MUDDY BRANCH RD

BETWEEN MD 117 AND I-370

FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117

BETWEEN MD 124 AND MD 117

FROM MD-117 TO MD-124 OFF RAMP”
BETWEEN MD-124 ON AND OFF RAMPS

BETWEEN MIDDLEBROOK ROAD AND MD 124

FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD
BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

BETWEEN MD 118 AND MIDDLEBROOK RD.

FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP.
BETWEEN MD-118 ON AND OFF RAMPS

BETWEEN MD 27 AND MD 118

FROM MD-118 ON RAMP TO MD-27
BETWEEN MD-27 ON AND OFF RAMPS

BETWEEN MD 121 AND MD 27

FROM MD-27 ON RAMP TO MD-121 OFF RAMP
BETWEEN MD-121 ON AND OFF RAMPS

BETWEEN MD 109 AND MD 121

FROM MD-121 TO MD-109
BETWEEN MD-105 ON AND OFF RAMPS

BETWEEN MD 80 AND MD 109

FROM MD-109 ON RAMP TO MD-80
BETWEEN MD-80 ON AND OFF RAMPS

BETWEEN MD 85 AND MD 80

f FROM MD-80 ON RAMP TO MD-85
| -16% | BETWEEN MD-85 ON AND OFF RAMPS

Yes_

Figure A.101: 1-270 NB Mainline 3-4 PM Overall Comparison

00037608
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1-270 SB 4-5 PM
Speed within
GEH Less than Travel Time %
Volume Segment 5? Acceptable Diffarante Travel Time Segment
Range?
Yes =a BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes 19% FROM MD-85 ON RAMP TO MD-80
Yes “11% BETWEEN MD-0 GN AND OFF RAMPS
Yes 11% FROM MO-80 ON RAMP TO MD-109
BERWERN MD EO-AND. ME: 109 Yes “12% BETWEEN MD-109 ON AND OFF RAMPS
Yes 12% FROM MD-109 ON RAMP TO MD-421
Se eae sciase anes Yes =8% BETWEEN MD-121 ON AND OFF RAMPS
Yes “7% FROM MD-121 TO MD-27
N MD 121 AND MD 27 a
BER WEEN RO tat ANH MD yes “4% BETWEEN MD-27 ON AND OFF RAMPS
Yes "2 FROM MD-27 ON RAMP TO MD-118
N MD 27 ¥ y
eS ee ae zi S Yes = BETWEEN MD-118 ON AND OFF RAMPS
Yes “5% FROM MD-118 ON RAMP TO MIODLEBROOK RD
BETWEEN ME: L12 AND: MIDELEBRDOR RE i tes iss Yes “6% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

BETWEEN MIDDLEBROOK ROAD AND MD 124

BETWEEN MD 124 AND MD 117

FROM MIDDLEBROOK RD ON RAMP TO MD-124

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO MD-117

BETWEEN MD 117 AND I-370

BETWEEN I-370 AND SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN MD 28 AND MD 189

BETWEEN MD 189 AND MONTROSE RD.

BETWEEN MONTROSE RD AND |-270 SPLIT

BETWEEN MD-117 ON AND OFF RAMPS

FROM MD-117 TO |-370 INTERCHANGE

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-185 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

BETWEEN 1-270 SPLIT AND MD 187

FROM MONTROSE RD ON RAMP TO I-270 SPUR

FROM I-270 SPUR MD-187

BETWEEN MD 187 AND I-495

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO |-495 INTERCHANGE

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

BETWEEN DEMOCRACY BLVD AND 1-495

L
|

Figure A.102: |-270 SB Mainline 4-5 PM Overall Comparison

00037609

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ES

BETWEEN DEMOCRACY BLVD AND 1-495

BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD

BETWEEN MD 187 AND 1-495

1-270 NB 4-5 PM
More Volume Speed within
Volume Segment Throughputin | Difference Less en 7 Acceptable eo 2 Travel Time Segment
Model? than 10%? Range? rence

BETWEEN 1-270 SPLIT AND MD 187

BETWEEN MONTROSE RD AND 1-270 SPLIT

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MD 28 AND MD 189

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN |-370 AND SHADY GROVE RD

BETWEEN MD 117 AND I-370

BETWEEN MD 124 AND MD 117

BETWEEN MIDDLEBROOK ROAD AND MD 124

BETWEEN MD 118 AND MIDDLEBROOK RD

BETWEEN MD 27 AND MD 118

BETWEEN MD 121 AND MD 27

BETWEEN MD 109 AND MD 121

BETWEEN MD 80 AND MD 109

BETWEEN MD 85 AND MD 80

FROM GROSVENOR LANE TO EXIT 1A

BETWEEN EXIT 1A AND 18

FROM MD-187 TO |-270 SPUR

FROM TUCKERMAN LANE TO 1-270 LOCAL

FROMI-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL

FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 TO JUST SOUTH OF MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO REDLAND BLVD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE

FROM |-370 INTERCHANGE TO MUDDY BRANCH RD

FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117

FROM JUST SOUTH OF MD-117 TO MD-117

FROM MD-117 TO MD-124 OFF RAMP

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP.

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-118 ON RAMP TO MD-27

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-121 OFF RAMP

BETWEEN MD-121 ON AND OFF RAMPS

FROM MD-121 TO MD-109

BETWEEN MD-105 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-80

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-85

Yes”

| 6%

BETWEEN MD-85 ON AND OFF RAMPS

Figure A.103: |-270 NB Mainline 4-5 PM

Overall Comparison

00037610

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1-270 SB 5-6 PM
Speed within
6 tha T |
Volume Segment EH Less than Acceptable nye Time % Travel Time Segment
5? Difference
than 10%? Range?
Yes BETWEEN MD-85 ON AND OFF RAMPS

BETWEEN MD 85 AND MD 80

‘Yes

FROM MD-85 ON RAMP TO MD-80

BETWEEN MD 80. AND MD 109

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-109

BETWEEN MD 109 AND MD 121

BETWEEN MD-109 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-121

BETWEEN MD 121 AND MD 27

BETWEEN MD-121 ON AND OFF RAMPS

FROM MD-121 TO MD-27

BETWEEN MD 27 AND MD 118

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-118

BETWEEN MD 118 AND MIDDLEBROOK RD

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-118 ON RAMP TO MIDDLEBROOK RD

BETWEEN MIDDLEBROOK ROAD AND MD 124

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

FROM MIDDLEBROOK RD ON RAMP TO MD-124

BETWEEN MD 124 AND MD 117

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO MD-117

BETWEEN MD 117 AND I-370

BETWEEN MD-117 ON AND OFF RAMPS

FROM MD-117 TO |-370 INTERCHANGE

BETWEEN |-370 AND SHADY GROVE RD

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD 28 AND MD 189

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-185 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD AND |-270 SPLIT

BETWEEN MONTROSE RD ON AND OFF RAMPS

BETWEEN 1-270 SPLIT AND MD 187

FROM MONTROSE RD ON RAMP TO I-270 SPUR

FROM I-270 SPUR MD-187

BETWEEN MD 187 AND I-495

BETWEEN MD-187 SPUR ON AND OFF RAMPS

FROM MD-187 ON RAMP TO |-495 INTERCHANGE

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

BETWEEN DEMOCRACY BLVD AND 1-495

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sy

Volume Segment

1-270 NB 5-6 PM
Mor Volume | GeH Lessthan | SPecd within | + veltime %
Throughputin | Difference Less Acceptable i
5? Difference
Model? Range?

than 10%?

Travel Time Segment

BETWEEN DEMOCRACY BLVD AND 1-495

BETWEEN 1-270 SPLIT AND DEMOCRACY BLVD

BETWEEN MD 187 AND 1-495

Yes

FROM GROSVENOR LANE TO EXIT 1A

BETWEEN EXIT 1A AND 18,

BETWEEN 1-270 SPLIT AND MD 187 Pi. FROM MDB-187 TO |-270 SPUR
BETWEEN MONTROSE RD AND 1-270 SPLIT Yes ate a EROM TUCKERMAN EANETOF270 LOCAL
z FROMI-270 LOCAL TO EXIT 5 FOR |-270 LOCAL
BETWEEN MD 189 AND MONTROSE RD FROM EXIT 5 FOR |-270 LOCAL TO JUST SOUTH OF MD-189
BETWEEN MD-189 ON AND GFF RAMPS
N
BEES EDD 26 SnD ee) 222 FROM MD-189 TO JUST SOUTH OF MD-28
Yes 12% BETWEEN MD-28 ON AND OFF RAMPS
BET EEN SAD GROVE REAND MEE 28. ‘Yes E -15%. FROM MD-28 ON RAMP TO REDLAND BLVD
BETWEEN SHADY GROVE RD ON AND OFF RAMPS
SE eee aoa Osu po chee ane FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE
FROM 1-370 INTERCHANGE TO MUDDY BRANCH AD
BETWEEN MD 117,AND 1-370 Yes 5 49% FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117
Saar FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-417
SERED 25 PENG Et? Yes ~49% FROM MD-117 TO MD-124 OFF RAMP.
i Yes =20%. BETWEEN MD-124 ON AND OFF RAMPS
BETWEEN. MIDDLEBROOK ROAD-AND: MD 124 ave Yes 13% FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD
Recs Yes. AN BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
See Eee Me EEesoekn a Yes: 39% FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP
= BETWEEN MD-118 ON AND OFF RAMPS
BETWEEN MD 27 AND MD 118 ‘Yes RET Eos
‘Yes. 0% BETWEEN MD-27 ON AND OFF RAMPS
SERIES NE ENON EF nee Yes_ =39%_ FROM MD-27 ON RAMP TO MD-124 OFF RAMP
qe BETWEEN MD-121 ON AND OFF RAMPS
BETWEEN MD 109 AND MD 121 ‘Yes SET
oe 4 ae BETWEEN MD-109 ON AND OFF RAMPS.
BETWEEN MD 80. AND MD 109 Yes FROM MD-109 ON RAMP TO MD-80
BETWEEN MD-80 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes FROM MB-80 ON RAMP TO MD-85.
‘Yes 19% BETWEEN MD-85 ON AND OFF RAMPS

Figure A.105: |-270 NB Mainline 5-6 PM Overall Comparison

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1-270 SB 6-7 PM
More Volume Speed within
Volume Segment Throughput in | Differance Less| °°" ee Acceptable oe * Travel Time Segment
Model? than 10%? Range? rence
BETWEEN MD-85 ON AND OFF RAMPS
BETWEEN MD 85 AND MD 80 Yes FROM MD-85 ON RAMP TO MD-80
BETWEEN MD-80 ON AND OFF RAMPS
FROM MD-80 ON RAMP TO MD-109
BETWEEN MD 80 AND MO 109 = BETWEEN MD-109 ON AND OFF RAMPS
FROM MD-109 ON RAMP TO MD-121
SE oe ON = BETWEEN MD-121 ON AND OFF RAMPS
FROM MD-121 TO MD-27
TWEEN MD 121 AND MD 27 fs
SER EST NSS MID MD 25 BETWEEN MD-27 ON AND OFF RAMPS
FROM MD-27 ON RAMP TO MD-118
PERWESI NG ANE ate mee BETWEEN MD-118 ON AND OFF RAMPS
FROM MD-118 ON RAMP TO MIDDLEBROOK RD
BETWEEN MD 118 AND MIDDLEBROOK RD y
= es 7% BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS
Yes 6% FROM MIDDLEBROOK RD ON RAMP TO MD-124.
BETWEEN MIDDLEBROOK ROAD AND MD 124 y
SS Yes =3% BETWEEN MD-124 ON AND OFF RAMPS
Yes =A% FROM MD-124 ON RAMP TO MD-117
mo D
BETWEEN MD tee ANE: MD TH? is Yes. “5% BETWEEN MD-117 ON AND OFF RAMPS
Yes =3% FROM MD-117 TO |-370 INTERCHANGE

BETWEEN MD 117 AND 1-370

BETWEEN I-370 AND SHADY GROVE RD

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN MD 28 AND MD 189

BETWEEN MD 189 AND MONTROSE RD

BETWEEN MONTROSE RD AND 1-270 SPLIT

Yes

BETWEEN |-370 ON AND OFF RAMPS

FROM I-370 ON RAMP TO SHADY GROVE RD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 ON RAMP TO MONTROSE RD

BETWEEN MONTROSE RD ON AND OFF RAMPS

BETWEEN I-270 SPLIT AND MD 187

FROM MONTROSE RD ON RAMP TO |-270 SPUR

FROM |-270 SPUR MD-187

BETWEEN MD-187 SPUR ON AND OFF RAMPS

BETWEEN MD 187 AND I-495

BETWEEN I-270 SPLIT AND DEMOCRACY BLVD

BETWEEN DEMOCRACY BLVD AND |-495

Yes

FROM MD-187 ON RAMP TO |-495 INTERCHANGE

BETWEEN I-495 INTERCHANGE ON AND OFF RAMPS

Figure A.106: I-270 SB Mainline 6-7 PM Overall Compa

rison

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ES

BETWEEN 1-270 SPLIT AND MD 187

BETWEEN MONTROSE RD AND 1-270 SPLIT

BETWEEN MD 189 AND MONTROSE RD.
BETWEEN MD 28 AND MD 189

BETWEEN SHADY GROVE RD AND MD 28

BETWEEN |-370 AND SHADY GROVE RD

BETWEEN MD 117 AND I-370

BETWEEN MD 124 AND MD 117

BETWEEN MIDDLEBROOK ROAD AND MD 124

BETWEEN MD 118 AND MIDDLEBROOK RD.

BETWEEN MD 27 AND MD 118

BETWEEN MD 121 AND MD 27

BETWEEN MD 109 AND MD 121

BETWEEN MD 80 AND MD 109

BETWEEN MD 85 AND MD 80

Figure A. 107: |-270 NB Mainline 6-7 PM

1-270 NB 6-7 PM
More Volume Speed within
Volume Segment Throughputin | Difference Less en 7 Acceptable Travel Time Segment
Model? than 10%? Range?
BETWEEN DEMOCRACY BLVD AND 1-495. Yes Yes” Yes
BETWEEN I-270 SPLIT AND DEMOCRACY BLVD Yes Yes
BETWEEN MD 187 AND I-495
Yes Th FROM GROSVENOR LANE TO EXIT 1A
Yes” Ao BETWEEN EXIT 1A AND 18

FROM MD-187 TO |-270 SPUR

FROM TUCKERMAN LANE TO 1-270 LOCAL

FROMI-270 LOCAL TO EXIT 5 FOR 1-270 LOCAL

FROM EXIT 5 FOR 1-270 LOCAL TO JUST SOUTH OF MD-189

BETWEEN MD-189 ON AND OFF RAMPS

FROM MD-189 TO JUST SOUTH OF MD-28

BETWEEN MD-28 ON AND OFF RAMPS

FROM MD-28 ON RAMP TO REDLAND BLVD

BETWEEN SHADY GROVE RD ON AND OFF RAMPS

FROM SHADY GROVE RD ON RAMP TO 1-370 INTERCHANGE

FROM |-370 INTERCHANGE TO MUDDY BRANCH RD

FROM MUDDY BRANCH RD TO JUST SOUTH OF MD-117

FROM JUST SOUTH OF MD-117 INTERCHANGE TO MD-117

FROM MD-117 TO MD-124 OFF RAMP

BETWEEN MD-124 ON AND OFF RAMPS

FROM MD-124 ON RAMP TO JUST SOUTH OF MIDDLEBROOK RD

BETWEEN MIDDLEBROOK RD ON AND OFF RAMPS

FROM MIDDLEBROOK RD ON RAMP TO MD-118 OFF RAMP.

BETWEEN MD-118 ON AND OFF RAMPS

FROM MD-118 ON RAMP TO MD-27

BETWEEN MD-27 ON AND OFF RAMPS

FROM MD-27 ON RAMP TO MD-121 OFF RAMP

BETWEEN MD-121 ON AND OFF RAMPS

FROM MD-121 TO MD-109

BETWEEN MD-105 ON AND OFF RAMPS

FROM MD-109 ON RAMP TO MD-80

BETWEEN MD-80 ON AND OFF RAMPS

FROM MD-80 ON RAMP TO MD-85

Lm |

‘Yes |

BETWEEN MD-85 ON AND OFF RAMPS

Overall Comparison

00037614
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I-495 Ramp Volume
Tables

Legend

Pd Higher Throughput in Model

Higher Throughput in Field

Criteria Not Met

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[495 Inner Loop

FROM-495 TO CLARA BARTON PARKWAY. 686 688

FROM CLARA BARTON PARKWAY EB TO L495 30 161

FROM [-495 TO MD 190 662 $22

FROM CABIN JOHN PARKWAY TO L495 65 253 No.
FROM MD WB 190 TO 1-495 416 846 No
FROM 1-495 TO 1-270 SPUR NB. 2363 3779 No
[FROM [-495 TO MD 187 439 $23 Yes
FROM MD 187 TO L495 153 305 No_
FROME-495 TO MD 355 SB 502 493 Yes
FROM [-270 SB TO 1-495 2443 2389 Yes
FROM MD 355 SB TO 1-495 375 849 No 10.2686 | No.
FROM MD 355 NB TO 1-495 126 200 No 5.81348 | No
FROM 1-495 TO MD 185 786 1076 No 9.49681 | No
FROM MD 185 SB TO L495 134 190 No 6 | Yes
FROM MD 185 NB TO 1-495 395 695 No 12.8414 | No
FROM L495 TO MD 97 SB 938 942 Yes 0.11417 | Yes
FROM MD 97 SB TO L495 661 707 Yes 1.74003 | ‘Yes
FROM -495 TO MD 97 NB 259 280 Yes 1.26427 | Yes
FROM MD 97 NB TO 1-495 3 447 __No 6.96246 | No
FROM L495 TO US 29 SB 62 143 ‘No 7.96094 | No
FROM 1-495 TO US 29 NB 302 640 P 15,5648 |__No_
FROM US 29 NB TO 1-495 221 573 ‘No 17.6566 | No __
FROM 1-495 TO MD 193 EB 383 499 No 5.50156 | No _
FROM MD 193 EB TO 1-495 327 521 No 9.39996 | No
FROM MD 193 WB TO L495 262 376 No 6.39552 | __No-
FROM [-495 TO MD 650 SB 515 357 No 7.59295 | No.
FROM MD 650 SB TO 1-495 639 616 Yes 0.91817 | Yes
FROM 1-495 TO MD 630 NB 325 493 x 8.31816 | No |
FROM MD 650 NB TO 1-495 1071 1033 Yes 1.17159 | Yes
1-495 TO 1.95 NB/PARK AND RIDE LOT 3151 2831 No 5.84646 | No
1-95 SB (TO US 1) TO 1-495 301 386 No 4.56091 | Yes
PARK AND RIDE LOT TO 1-495 102 103 Yes 0.07412 | Yes
1-95 SB TO 1-495 2928 3505 No 10.1738 | Ne
1-495 TO US 1 SB 468 1622 No 35.6871 | No
US 1 SB TO L495 342 401 ‘No 3.07352 | Yes
1-495 TO US | NB 351 426 (No 3.81717 | Yes
US 1 NB TO 1-495 335 435 No 5.08456 | No
FROM L495 TO GREENBELT METRO 337, 366 Yes 1.52068 | Yes
FROM L495 TO MD 201 796 1297 No 15.487 | No
FROM MD 201 SB TO 1-495 333 443 ‘No 5.56081 | No
FROM MD 201 NB TO 1-495 333 446 ‘No 3.70214 | No
FROM [-495 TO MD 295 SB 1490 1281 No 3.62885 | __No
FROM MD 295 SB SB TO 1-495 1113 1110 Yes 0.08248 | Yes
FROM 1-495 TO MD 295 NB 401 618 ‘No 9.62353 | No
FROM M 295 NB TO L495 19 2B No 0.87287 | Yes
FROM 1-495 TO MD 450 533 624 No 3.76349 | Yes
FROM MD 450 TO 1-495 1011 1099 Yes 2.69422 | Yes
FROM 1-495 TOUS 50 EB 937 1125 No 3.84016 | No
FROM [-495 TO US 50 WB 407 722 No 13.2399 | No
FROMUS 50 TO L495 2604 2682 Yes 1.50736 | Yes
FROMI-495 TO MD 202 WB 250 314 No 3.7971 | Yes
FROM MD 1-495 TO MD 202 EB 342 661 No 14.2541 | Noo
FROM MD 202 TO 1-495 307 7 No 17.8981 | No-
FROM 1-495 TO ARENA DRIVE 173 280 No 7.08036 | No
FROM ARENA DRIVE TO 1-495 79 2 No 12.2089 | __No_
FROM L495 TO MD 214 WB 607 699 No 3.60024 | Yes
FROME-495 TO MD 214 EB 253 587 No 16.2878 |__No
FROM MD 214 TO L495 813 1061 ‘No 8.10181 | No _
FROM 1-495 TO RITCHIE MARLBORO ROAD 445 956 No 19.2916 | No.
FROM RITCHIE MARLBORO ROAD TO L495 643° 1002 (No 12.5178 | No
FROM 1-495 TO MD 4 WB 1132 1082 Yes 1.49518 | Yes
FROM MD 4 WB TO 1-495 831 7071 No | 99.2734 | No
FROM L495 TO MD 4 851 704 No 3.29068 | __No
FROM MD 4 EB TO 1-495 427 423 Yes 0.20619 | Yes
FROM 1-495 TO FORESTVILLE ROAD 510 636 No 5.25385 | No
FROM SUITLAND ROAD TO 1495 223 219 Yes 0.25218] Yes
FROM L495 TO MD 5 SBVMD 535 1527 1869 No 8.28808 | No
FROM MD 5 NB/MD 535 TO 1495 1749 1192 ‘No 14.5395 | No
FROM MD 5 SB TO 1-495 100 341 No 16.2053 | No __
FROM 1-495 TO MD 414 278 353 No 4.20918 | Yes
FROM MD 414 NB TO 1-495 614 285 No 15.5039 |__ No
FROM 1-495 TO MD 414 SB 308 421 No 5.90666 | No.
FROM MD 414 SB TO 1-495 550 439 No 4.97973 | Yes
FROM 1-495 TO MD 210 TU 872 No 5.72269 | No _
FROM MD 210 NB (LOOP RAMP) TO 1-495 1430 1371 1.56981 | ‘Yes
FROM MD 210 SB TO L495 331 424 q 4.78657 | ‘Yes
FROM MD 210 NB (FLYOVER RAMP) TO 495 473 914 No 18,6106 | No
FROM [-495 TO 1-295 NB 786 686 ‘No 3.69558 | Yes
FROM NATIONAL HARBOR BOULEVARD WB TO 1-495 1055 1094 Yes 1.18977 | Yes _|
[FROM 1-495 TO NATIONAL HARBOR BOULEVARD EB 88 101 No 136211 | Yes
FROM 1-295 SB TO 1-495 719 960 No 832577 [Non

Figure A. 108: |-495 Inner Loop Ramp 6-7 AM Volumes

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ES

1-495 Outer Loop

FROM L495 TO 1-295 NB/NATIONAL HARBOR BLVD SB 507

FROM L495 TO MD 210 SB/HARBORVIEW AVENUE 238 4 [12.7613 |
1-295 SB/NATIONAL HARBOR BOULEVARD NB TO 1-495 361 : i 8.5817
FROM 1-495 TO MD 414 (OXON HILL ROAD) 243 : 12.9888 |
FROM MD 414 (OXON HILL ROAD) TO 1-495 580 : 5.49125
FROM [-495 TO MD 414 (ST. BARNABAS ROAD) 98 10.0093
FROM MD 414 (ST. BARNABAS ROAD) SB TO L495 180 N ‘| 3.60669
FROM 1-495 TO MD 414 (ST. BARNABAS ROAD) NB 427 i 2s 1.99585
FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 450 “3% 0.68911
FROM -495 TO MD 5 EB 646 } ‘ | 6.25283 |
FROM MD 5 EB TO 1-495 373 1.52302
FROM 1-495 TO MD 5 WB 260 4 2.51986
FROM MD 5 WB TO 1-495 1787 2.24682
FROM 1-495 TO MD 337 568 1.9325
FROM MD 337 TO L495 664 : 4.39738
FROM 1-495 TO MD 4 EB 504 : j 2.13245
FROM MD 4 EB TO 1-495 570 2 0.37847
FROM 1-495 TO MD 4 WB 355 No 10.4976
FROM MD 4 WB TO 1-495 991 3 6.6016
FROME-495 TO RITCHIE MARLBORO ROAD 471 2.23412
FROM RITCHIE MARLBORO ROAD TO L495 987 ; 7.29858 |
FROM 1-495 TO MD 214 361 : 14.5944 |
FROM MD 214 EB TO 1-495 491 i 3.56537
FROM MD 214 WB TO L495 525 1.15287
FROM 495 TO ARENA DRIVE 381 2.5055
FROM ARENA DRIVE TO 1-495 93 . 17.7995 | __
FROM L495 TO MD 202 732 4.22982
FROM MD 202 EB TO 1-495 171 : 18.4932 |
FROM MD 202 TO 1-495 890 0.10884
FROM-495 TO US 50 851 ‘ 5.70465
FROM 1-495 TO US 50 WB 958 i 2.82616
FROM US 50 TO L495 2393 E | 54.1464
FROM -495 TO MD 450 EB 533 5.25805
FROM 1-495 TO MD 450 WB 191 ‘No 3.4341
FROM MD 450 TO 1-495 792 23 1.20407
FROM L495 TO MD 295 NB/MD 193 EB 1619 ; 1.21449
FROM MD 295 SB TO 1-495 995 1.64283
FROM [-495 TO MD 295 SB 3 No 4.89915
FROM MD 295 SB TO 1-495 566 : ‘No 4.72647
FROM[-495 TO MD 201 1093 ‘No 4.88987
FROM MD 201 NB TO 1-495 691 E ! ‘ 936613
FROM MD 201 SB TO L495 118 No 1.1869
FROM GREENBELT METRO STATION TO 1-495 30 No 3.26559
[FROM -495 TOUS I 651 ‘No 8.14288
FROM US 1 NB TO L495 260 Ne 5.20638
FROM US 1 SB TO 1-495 347 0.71777
FROM L495 TO 1-95 NB/PARK AND RIDE LOT 2364 : = 13.7997
FROM PARK AND RIDE LOT TO 1-495 él a 2.80899
FROMI-95 SB TO 1-495 3093 ! | 10.2768
FROM 495 TO MD 630 NB $40 0.49227
FROM MD 650 NB TO 1-495 262 9 | 0.15482
FROM L495 TO MD 650 SB 660. : 1.13148
FROM MD 650 SB TO L495 37 No 3.10522
FROM L495 TO MD 193 WB 360 1% 0.21141
FROM MD 193 WB TO L495 740 A | é 1.07666
FROM US 29 NB TO 1-495 41 2 13.1086
FROM [-495 TO US 29 SB 403 i 1.76939
FROM US 29 SB FROM TO 1-495 1266 : E 11.3279
FROM [-495 TO MD 97 435. 2.87209
FROM MD 97 NB TO 1-495 470 4 } 14.7915
FROM MD 97 SB TO 1-495 344 : 7.49797
FROM 1-495 TO MD 185 1765 5 0.65795
FROM MD 185 NB TO 1-495 235 S 17,5466 |
FROM MD 185 SB TO 1-495 340 No 3.4919
FROM 1-495 TO MD 335 NB 723 No 5.75515
FROM 495 TO 1-270 NB 2170 No 17,122
MD 355 NB TO 1-495 199 ‘No 7.63447
FROM 1-495 TO MD 187 327 4.61754
FROM MD 187 TO L-495 233 ‘No 20.8782
FROM I-270 SPUR SB TO 1-495 4988 3.84807
FROM MD 190 WB TO L495 250 ; [10.2176
FROM 1-495 TO MD 190 832 5 0.05198
FROM MD 190 EB TO 1-495 459 : 30.2738 |
FROM 1-495 TO CABIN JOHN PARKWAY 1523 Sie : 8.4386
FROM 1-495 TO CLARA BARTON PARKWAY WB 183 | : 3.34169
FROM CLARA BARTON PARKWAY TO 1-495 264 i {22.3202 [

Figure A.109: |-495 Outer Loop Ramp 6-7 AM Volumes

00037617
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1-495 Inner Loop bration not met
FROM 1-495 TO CLARA BARTON PARKWAY. 716 704 Yes 0.45035 | Yes
FROM CLARA BARTON PARKWAY EB TO 1-495 108 172 a 3.39027 | No.
FROM 1-495 TO MD 190 851 824 Yes 0.93298 | Yes
FROM CABIN JOHN PARKWAY TO 1-495 238 260 Yes 1.3787 | Yes
FROM MD WB 190 TO L495 981 913 Yes 220143 | Yes
FROM 1-495 TO 1-270 SPUR NB 3938 3798 Yes 2.24699 | Yes
FROM 1-495 TO MD 187 644 S17 ‘No 3.29301 | No-
FROM MD 187 TO 1-495 310 290 Yes 1.1547 | Yes
FROM 1-495 TO MD 355 SB 475 454 Yes 0.99784 | Yes
FROM I-270 SB TO 1-495 2635 3542 Yes 1.83289 [Yes
FROM MD 355 SB TO 1-495 998 $37 No 3.30662 |__No
FROM MD 355 NB TO 1-495 218 185 ‘No 2.34309 | Yes
FROM 1-495 TO MD 185 1044 “1086 Yes 1.2794 [Yes __
FROM MD 185 SB TO 1-495 178 193 Yes 1.11931 | Yes
FROM MD 185 NB TO 1-495 827 699 | _No 4.63391 | Yes
FROM 1-495 TO MD 97 SB 1113 995 ‘No 3.62673 | Yes
FROM MD 97 SB TO 1-495 831 684 No 5.35057 | No
FROM I-495 TO MD 97 NB 335 295 No 2.25374 | Yes
FROM MD 97 NB TO 1-495 331 444 ‘No 3.96399 | Yes
FROM 1-495 TO US 29 SB 150 156 Yes 0.50308 | Yes
FROM 1-495 TO US 29 NB 779 661 ‘No 4417 | Yes
FROM US 29 NB TO 1-495 491 554 ‘No 2.76672 | Yes
FROM 1-495 TO MD 193 EB 534 510 Yes 1.05045 | Yes
FROM MD 193 EB TO 1-495 450 515 No 2.94814 | Yes
FROM MD 193 WB TO L495 288 369 No 4.48201 [Yes
FROM 1-495 TO MD 630 SB 662 353 ‘No 13.742 | No
FROM MD 650 SB TO 1-495 657 639 Yes 0.69722 | __Yes
FROM 1-495 TO MD 650 NB 333 505 Yes 1.21794 [Yes
FROM MD 650 NB TO 1-495 856 1038 No 5.89874 | No_
1-495 TO 1-95 NB/PARK AND RIDE LOT 3287 2934 ‘No 6.51851 | No
1-95 SB (TOUS 1) TO 1-495 549 443 No 4.77137 | Yes
IPARK AND RIDE LOT TO 1-495 114 97 ‘No 1.63509 | ‘Yes
1-95 SB TO 1-495 2921 3682 ‘No 13.2443 | No_
1-495 TOUS 1 SB 74 1699 ‘No 28.3635 | No_
US 1 SB TO 1-495 529 411 ‘No 3.44293 | No |
1-495 TO US 1 NB 337 458 ‘No | 6.069 | No
US 1 NB TO 1-495 521 446 No 3.41085 | Yes
FROM [-495 TO GREENBELT METRO 488 341 ‘No 7.23367 [No
FROM 1-495 TO MD 201 1090 1356 __No 7.59269 | No.
FROM MD 201 SB TO L495 447 455 Yes 0.38842 | Yes
FROM MD 201 NB TO 1-495 413. 449 Yes 1.74585 | Yes
FROM 1-495 TO MD 295 SB 1501 1292 No 3.60664 | _No
FROM MD 295 SB SB TO 1-495 1025 1132 No 3.25817 | Yes
FROM I-495 TO MD 295 NB 363 619 Yes 2.31357 | Yes
FROM M 295 NB TO 1-495 28 24 ‘No 0.78446 | Yes
FROM 1-495 TO MD 450 751 629 ‘No 4.64446 | ‘Yes
FROM MD 450 TO 1-495 1166 1048 No 3.562 | Yes
FROM 1-495 TOUS 50 EB 1304 1134 ‘No 4.86167 [Yes
FROM 1-495 TOUS 50 WB 334 739 ‘No 17.4764 | Now
FROM US 50 TO 1-495 2850 2629 Yes 4.23212 | Yes
FROM 1-495 TO MD 202 WB 359 337 Yes 1.20636 | Yes
FROM MD 1-495 TO MD 202 EB 715 677 Yes 1.44039 | ‘Yes
FROM MD 202 TO 1-495 440 735 ___No 12.1708 | Na]
FROM 1-495 TO ARENA DRIVE 233 268 No 2.21138 | Yes
FROM ARENA DRIVE TO 1-495 145 223 No 5.71726 | No.
FROM 1-495 TO MD 214 WB 767 706 Yes 2.25713 | Yes
FROM 1-495 TO MD 214 EB 597 592 Yes 0.19479 | __Yes
FROM MD 214 TO 1-495 1129 1041 Yes 2.67932 | __ Yes
FROM 1-495 TO RITCHIE MARLBORO ROAD 618 963 ‘No 12.2786 | Na
FROM RITCHIE MARLBORO ROAD TO 1-495 949. 1056 ‘No 3.37173 | Yes
FROM 1-495 TO MD 4 WB 1532 1065 ‘No 12.9673 | __No.
FROM MD 4 WB TO 1-495 914 7058 ‘No 97.3132 | No.
FROM 1-495 TO MD4 758 701 Yes 1.99194 | Yes
FROM MD 4 EB TO 1-495 523 436 ___No 3.97306 | Yes
FROM 1-495 TO FORESTVILLE ROAD 620 589 Yes 1.27115| Yes
FROM SUITLAND ROAD TO 1-495 197 225 No 1.94423 [Yes
FROM 1-495 TO MD 3 SB/MD 535 2416 1876 ___No 11.6511 [No
FROM MD 5 NB/MD 535 TO L495 1068 1115 Yes 14301 | Yes
FROM MD 5 SB TO 1-495 157 367 No | 12.9615 | No
FROM [-495 TO MD 414 448 342 No 3.36029 | __No
FROM MD 414 NB TO 1-495 410 304 ‘No 5.63855 | No
FROM 1-495 TO MD 414 SB 404 429 Yes 1.20085 | Yes
FROM MD 414 SB TO L495 513 462 Yes 2.30985 | Yes
FROM 1-495 TO MD 210 441 863 No 16.5104 | No
FROM MD 210 NB(LOOP RAMP) TO 1-495 1042 1361 ‘No 9.13952 | No.
FROM MD 210 SB TO 1495 216 423 ‘No 11.5807 | No
FROM MD 210 NB (FLYOVER RAMP) TO 1-495 563 960 No 14,3786 | No
FROM 1-495 TO 1-295 NB 352 539 No 9.69898 | No.
[FROM NATIONAL HARBOR BOULEVARD WB TO [495 1052 1088 Yes 1,10813 | Yes
FROM L495 TO NATIONAL HARBOR BOULEVARD EB 62 100 ‘No 4.17311 | Yes
FROM 1-295 SB TO 1-493 1150 938 No 63775 | No

Figure A.110: |-495 Inner Loop Ramp 7-8 AM Volumes

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ES

1-495 Outer Loop

FROM [-495 TO [-295 NB/NATIONAL HARBOR BLVD SB 703 2668
FROM L495 TO MD 210 SB/HARBORVIEW AVENUE 352 506
1-295 SB/NATIONAL HARBOR BOULEVARD NB TO [-495 600 S42
FROM -495 TO MD 414 (OXON HILL ROAD) 294 Si
FROM MD 414 (OXON HILL ROAD) TO 1-495 706 696
FROMI-495 TO MD 414 (ST, BARNABAS ROAD) 156 22
FROM MD 414 (ST. BARNABAS ROAD) SB TO [-495 774 a3T
FROM [-495 TO MD 414 (ST. BARNABAS ROAD) NB 481 a1
FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 726 430
FROMI-495 TO MD 5 EB 825 850
FROM MD 5 EB TO 1-495 432 403
FROM I-495 TO MD 5 WB 423 317
FROM MD 5 WB TO L495 1818 1882
FROM-495 TO MD 337 809 603
FROM MD 337 TO 1-495 1034 778
FROM 495 TO MD4 EB 491 437
FROM MD 4 EB TO 1-495 687 375
FROM 1-495 TO MD 4 WB 7 589
FROM MD 4 WB TO L495 1039 1214
FROM[-495 TO RITCHIE MARLBORO ROAD 663 520
FROM RITCHIE MARLBORO ROAD TO 1-495 i419 1199
FROM -495 TO MD 214 978 947
FROM MD 214 EB TO 1-495 625 387
FROM MD 214 WB TO 1-495 606 348
FROM[-495 TO ARENA DRIVE 499 445
FROM ARENA DRIVE TO 1-495 169 366
FROM 1-495 TO MD 202 1080 863
FROM MD 202 EB TO 1-495 176 0
FROM MD 202 TO 1-495 1239 912
FROM 1-495 TO US 50 EB 1031 1028
FROM 1-495 TOUS 50 WB 967 865
FROMUS 50 TO 1-495 2664 $852
FROMI-495 TO MD 450 EB 752 675
[FROM 1-495 TO MD 450 WB. 202 246
FROM MD 450 TO 1-495 804 312
FROM [495 TO MD 295 NB/MD 193 EB 1515 1580
FROM MD 295 SB TO 1-495 1187 1023
FROM I-495 TO MD 295 SB 2 47
FROM MD 295 SB TO 1-495 608 487
FROMI-495 TO MD 201 1486 i255
FROM MD 201 NB TO 1-495 603 458
FROM MD 201 SB TO 1-495 135 132
FROM GREENBELT METRO STATION TO 1-495 38 45
IFROML-495 TOUS 1 1150 392
FROM US 1 NB TO L495 423 378
FROMUS | SBTO 1-495 347 371
FROM -495 TO 1-95 NB/PARK AND RIDE LOT 3711 3105
FROM PARK AND RIDE LOT TO 1-495 97 87
FROMI-95 SB TO 1-495 2286 2672
FROM-495 TO MD 630 NE 635 364
FROM MD 650 NB TO 1-495 319 253
FROM 1-495 TO MD 650 SB 663 633
FROM MD 650 SB TO 1-495 415 374
FROML495 TO MD 193 WB 350 349
FROM MD 193 WB TO L495 597 700
FROM US 29 NB TO 1-495 104 183
FROM 1-495 TO US 29 SB 377 421
FROM US 29 SB FROM TO 1-495 1475 872
FROMI-495 TO MD 97 287 318
FROM MD 97 NB TO L495 1041 "830
FROM MD 97 SB TO 1-495 918 720
FROM -495 TO MD 185 1452 1727
FROM MD 185 NB TO 1-495 653 610
FROM MD 185 SB TO 1-495 72 619
FROM -495 TO MD 355 NB $38 913
FROM [495 TO 1-270 NB. 2860 3101
MD 355 NB TO 1-495 389 320
FROMI-495 TO MD 187 467 428
FROM MD 187 TO L495 406 651
FROM -270 SPUR SB TO 1-495 496 5265,
FROM MD 190 WB TO L495 423 438
FROM 1-495 To MD 190 1125 us
FROM MD 190 EB TO 1-495 705 1409
FROM 1-495 TO CABIN JOHN PARKWAY 925 1243
FROM 1-495 TO CLARA BARTON PARKWAY WB 162 154
FROM CLARA BARTON PARKWAY TO 1-495 695 768

Figure A.111: |-495 Outer Loop Ramp 7-8 AM Volumes

No 47.8671 | No"
No | 7.4242 |
Yes 24165
No 10.827
Yes 0.38717
No 4.31739
i ‘| 2.33097
Yes 0.45835
No 12.3354 |
Yes 0.84672
Yes 1.43174
No 5.53854
Yes 0.7879
7.75291 | 1
No 8.52282 | No
‘No 2.53078
No 4.46904
No 4.77497
No 5.1997 | |
No 5.90155 |
No 6.09509
Yes 0.99922
Yes 1.54364
Yes 2.42524
No 2.50923
No 12,0325 |
No 6.97901 |
‘No 18.7617
No [9.97109 | Ne
Yes 0.1013
‘No 3.36169
‘No 48.8557
No 2.90189
No 2.95575
Yes 2.81639
Yes 1.64605
No [4.94919
No 3.25238
No 5.19378
No 6.23983
4 6.28383
Yes 0.3032
No 1.88576
‘No 8.07434
No (| 2.27429
Yes 1.2537
No 10.3851
No 1.04257
No 7.75263
No _| 2.89977
No 3.88703
Yes 1.17851
‘No 2.09008
Yes 0.08026
No 4.04466
No | 6.57679
J 2.21492
No 17.619
No 11.4927
No 6.91587
: ‘| 6.90942
6.90367 |
1.73136
| 3.93058
2 2.5182
Yes 4.41889
‘No 3.69258
Yes 1.86776
‘No 10.6476
Yes 4.74905
Yes 0.72294
No | 8.81924 |S
No 21.6474 | 9
‘No 9.6656
Yes 0.63645
No [2.69007

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ES

1-495 Inner Loop = ~__ Calibration not met_

FROM 1-495 TO CLARA BARTON PARKWAY. 776 703 Yes 2.68444 | Yes
FROM CLARA BARTON PARKWAY EB TO 1-495 117 167 a 4.21503 | Yes
FROM 1-495 TO MD 190 905 817 Yes 2.99029 | Yes
FROM CABIN JOHN PARKWAY TO 1-495 297 249 No 2.92089 | Yes
FROM MD WB 190 TO L495 1427 892 15.7115 | No
FROM 1-495 TO 1-270 SPUR NB 5155 3754 No 20.9993 | No
FROM 1-495 TO MD 187 657 49) No 6.95109 | No
FROM MD 187 TO 1-495 321 297 Yes 1.37981 | Yes
FROM 1-495 TO MD 355 SB 332 4733 No [4.38077 | Yes
FROM I-270 SB TO 1-495 2770 2583 Yes 3.62442 | Yes
FROM MD 355 SB TO 1-495 1089 $53 No 7.59062 | __No
FROM MD 355 NB TO 1-495 335 186 ‘No 3.3773 |__ Yes
FROM 1-495 TO MD 185 1014 1078 Yes 1.98647 | Yes |
FROM MD 185 SB TO 1-495 234 193 No 2.82392 | Yes
FROM MD 185 NB TO 1-495 895 719 No 6.18621 | __No
FROM 1-495 TO MD 97 SB 1203 1009 ‘No 5.84128 | No
FROM MD 97 SB TO 1-495 767 694 Yes 2.69145 |__Yes
FROM I-495 TO MD 97 NB 305 300 Yes 0.30192 | Yes
FROM MD 97 NB TO 1-495 497 444 ‘No 243156 | Yes
FROM 1-495 TO US 29 SB 182 147 Ne [2.76997] Yes
FROM 1-495 TO US 29 NB 834 674 No 3.32686 | __No
FROM US 29 NB TO 1-495 735 561 No 6.82489 | No
FROM 1-495 TO MD 193 EB 507 518 Yes 047491 | Yes
FROM MD 193 EB TO 1-495 462 499 Yes 1.66556 | Yes
FROM MD 193 WB TO L495 305 374 ‘No 3.71904 | Yes
FROM 1-495 TO MD 630 SB 644 352 === Ne 13.0848 | No
FROM MD 650 SB TO 1-495 648 649 Yes 0.02945 | Yes
FROM 1-495 TO MD 650 NB 757 506 ‘No 10.0101 | No.
FROM MD 650 NB TO 1-495 660 1010 ‘No 12.12 [Ne
1-495 TO 1-95 NB/PARK AND RIDE LOT 3032 2845 Yes 3.44499 | Yes
1-95 SB (TOUS 1) TO 1-495 669 406 ‘No 11.344 | No
IPARK AND RIDE LOT TO 1-495 113 105 Yes 0.79066 | Yes
1-95 SB TO 1-495 2593 3440 ‘No 15.4132 | No"
1-495 TOUS 1 SB 901 1706 No 22.2967 | __No_
US 1 SB TO 1-495 477 417 ‘No 2.8379 | Yes
1-495 TO US 1 NB 370 457 ‘No 4.26675 | Yes
US 1 NB TO 1-495 550 433 No | 3.30135 | No.
FROM [-495 TO GREENBELT METRO 381 351 Yes 1.35479

FROM 1-495 TO MD 201 1132 1325 | _No 5.49957
FROM MD 201 SB TO L495 464 444 Yes 0.96238
FROM MD 201 NB TO 1-495 439 431 Yes 0.40766

FROM 1-495 TO MD 295 SB 1324 1317 Yes 0.18574
FROM MD 295 SB SB TO 1-495 1293 1150 Ne [4.10629

FROM I-495 TO MD 295 NB 726 603 No 4.78168
FROM M 295 NB TO L495 27 24 ‘No 0.59409

FROM 1-495 TO MD 450 744 632 No (| 4.27988
FROM MD 450 TO 1-495 1200 1067 No 3.94276

FROM 1-495 TOUS 50 EB 1386 1169 ‘No 6.07127

FROM 1-495 TOUS 50 WB 280 723 ‘No 19.7645
FROM US 50 TO 1-495 2791 2650 Yes 2.70816

FROM 1-495 TO MD 202 WB 387 333 No 28734
FROM MD 1-495 TO MD 202 EB 959 639 ‘No 9.4059

FROM MD 202 TO 1-495 454 710 ‘No 10.6208

FROM 1-495 TO ARENA DRIVE 404 287 No 6.3237

FROM ARENA DRIVE TO 1-495 145 230 No 6.23371

FROM 1-495 TO MD 214 WB 865 700 ‘No 5.91732

FROM 1-495 TO MD 214 EB 681 584 No 3.86725
FROM MD 214 TO 1-495 1033 1032 Yes 0.02334

FROM 1-495 TO RITCHIE MARLBORO ROAD 655, 942 ‘No 10.1404

FROM RITCHIE MARLBORO ROAD TO 1-495 785 1048 ‘No 8.69506

FROM 1-495 TO MD 4 WB 870 1062 ‘No 6.16985

FROM MD 4 WB TO 1-495 831 7081 ‘No 99.3692

FROM 1-495 TO MD4 507 709 No | 4.3829

FROM MD 4 EB TO 1-495 429 424 Yes 0.24211

FROM 1-495 TO FORESTVILLE ROAD 635 618 Yes 0.68924

FROM SUITLAND ROAD TO [1-495 207 229 No 1.47352

FROM 1-495 TO MD 3 SB/MD 535 2211 1901 ‘No 6.8482 |
FROM MD 5 NB/MD 535 TO L495 S87 1148 No 8.16759
FROM MD 5 SB TO 1-495 150 358 No 13.0386

FROM I-495 TO MD 414 414 367 No 2.36538

FROM MD 414 NB TO L495 303 295 Yes 049177

FROM 1-495 TO MD 414 SB 473 421 No 2,45952

FROM MD 414 SB TO 1-495 469 445 Yes 1.14638

FROM L495 TO MD 210 436 862 No 16.722
FROM MD 210 NB (LOOP RAMP) TO 1-495 962 1337 F 11.0606

FROM MD 210 SB To 1-495 207 416 ‘No 11.83

FROM MD 210 NB (FLYOVER RAMP) TO 1-495 392 953 No 21.633

FROM 1-495 TO 1-295 NB 442 339 No 4.37978

[FROM NATIONAL HARBOR BOULEVARD WB TO L495 1159 1091 Yes 2.03493

FROM 1-495 TO NATIONAL HARBOR BOULEVARD EB 104 90 ‘No 13952

[FROM 1-295 SB TO 1-495 1079 962 No 3.67057

Figure A.112: |-495 Inner Loop Ramp 8-9 AM Volumes

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1-495 Outer Loop Calibration not met
FROM I-495 TO 1-295 NBVNATIONAL HARBOR BLVD SB 725 2621 No 46.3456

FROM 1-495 TO MD 210 SB/HARBORVIEW AVENUE 314 489 ‘No | 8.74476 |

1-295 SB/NATIONAL HARBOR BOULEVARD NB TO 1-495 628 558 No 2.88513

FROM 1-495 TO MD 414 (OXON HILL ROAD) 324 521 ‘No 9.58413

FROM MD 414 (OXON HILL ROAD) TO 1-495 741 709 Yes 1.18845

FROM 1-495 TO MD 414 (ST. BARNABAS ROAD) 209 219 Yes 0.70047

FROM MD 414 (ST. BARNABAS ROAD) SB TO [-495 251 227 Yes 1.53586

FROM 1-495 TO MD 414 (ST. BARNABAS ROAD) NB 542 455 ‘No 3.88492
FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 597 438 No 6.9776

FROM 1-495 TO MD 5 EB 789 840 Yes 1.79562

FROM MD 5 EB TO 1-495 396 391 Yes 0.2647

FROM 1-495 TO MD 5 WB 418 304 No 6
FROM MD 5 WB TO 1-495 1713 1896 ‘No 4.30223

FROM 1-495 TO MD 337 314 615 4.24093
FROM MD 337 TO 1-495 913 757 q 5.3986

FROM 1-495 TO MD 4 EB 482 461 Yes 0.96712
FROM MD 4 EB TO 1-495 528 561 Yes 1.39311

FROM 1-495 TO MD 4 WB 651 561 ‘No 3.67707
FROM MD 4 WB TO 1-495 979 1238 No 7.78622

FROM 1-495 TO RITCHIE MARLBORO ROAD 721 514 No 8.31923 |
FROM RITCHIE MARLBORO ROAD TO -495 87 1189 ‘No 6.13125

FROM 1-495 TO MD 214 1006 954 Yes 1.66917

FROM MD 214 EB TO 1-495 393. 597 Yes 0.15375
FROM MD 214 WB TO 1495 457 534 No 4.29313

FROM 1-495 TO ARENA DRIVE 703 447 No 10.6991

FROM ARENA DRIVE TO 1-495 188 375 No 11.1456 |
FROM 1-495 TO MD 202 1213 $32 No 11913 |
FROM MD 202 EB TO 1-495 222 0 No 21.0713
FROM MD 202 TO 1-495 1188 923 No | 8.16492
FROM 1-495 TO US 50 1078 1033 Yes 1.38511

FROM 1-495 TOUS 50 WB 366 a71 Yes 0.16119
FROM Us 50 TO 1-495 2500 5821 No | 51.4868

FROM 1-495 TO MD 450 EB 784 651 No 4.98478

FROM 1-495 TO MD 430 WB. 283 240 No 2.643
FROM MD 450 TO 1-495 731 809 : 2.81971

FROM 1-495 TO MD 295 NB/MD 193 EB 1547 1562 Yes 0.38677
FROM MD 295 SB TO 1-495 1136 1021 Yes 3.21252
FROM 1-495 TO MD 295 SB 37 51 ‘No 2.04101

FROM MD 295 SB TO 1-495 536 453 Yes 2.33667

FROM 1-495 TO MD 201 1572 1265 ‘No 8.15124
FROM MD 201 NB TO 1-495 519 442 No 3.51272
FROM MD 201 SB TO 1-495 126 123 Yes 0.26887

FROM GREENBELT METRO STATION TO 1-495 35 44 ‘No 1.52601
[FROM -495 TOUS I 1080 381 ‘No 6.37198
FROM US 1 NB TO L495 418 359 ‘No 3.00631

FROM US 1 SB TO 1-495 380 361 Yes 0.97394

FROM 1-495 TO1-95 NEB/PARK AND RIDE LOT 3825 3014 ‘No 13.8643

FROM PARK AND RIDE LOT TO 1-495 89 A ‘No 1.28876

FROM I-95 SB TO [-495 1928 2618 ‘Na 14.4727

FROM 1-495 TO MD 650 NB 689 553 No 3.44691
FROM MD 650 NB TO 1-495 236 248 Yes 0.78726

FROM I-495 TO MD 630 SB 750. 592 No | 6.10974 |
FROM MD 650 SB TO 1-495 330 374 No 2.3323

FROM 1-495 TO MD 193 WB 390 344 ‘No 240118
FROM MD 193 WB TO L495 565 675 ‘No 4.39851
FROM US 29 NB TO 1-495 226 175 No [3.60175
FROM 1-495 TO US 29 SB 352 425 ‘No 3.70363
FROM US 29 SB FROM TO 1-495 1265 879 ‘No 11.7977

FROM 1-495 TO MD 97 365, 539 No 8.16301
FROM MD 97 NB TO 1-495 1285 S41 No 13.635

FROM MD 97 SB TO 1-495 1060 705 ‘No 11.9593

FROM 1-495 TO MD 185 1512 1748 ‘No 5.85142 |
FROM MD 185 NB TO 1-495 975 593 No 13.6328 |
FROM MD 185 SB TO 1-495 724 617 ‘No 4.13223

FROM 1-495 TO MD 355 NB 832 918 No 2.90733

FROM 1-495 TO 1-270 NB 3525 3082 ‘No 10.5108

MD 355 NB TO 1-495 402 329 ‘No 3.81838

FROM 1-495 TO MD 187 497 438 ‘No 2.75259

FROM MD 187 TO 1-495 492 652 No 6.69966 | No
FROM I-270 SPUR SB TO 1-495 4434 5412 ‘No 13.9421 | No
FROM MD 190 WB TO 1495 653 451 No 8.59769 | No
FROM 1-495 TO MD 190 1004 848 No 5.1436 | No.
FROM MD 190 EB TO 1-495 630 1403 No 24.2516 | No”
FROM L495 TO CABIN JOHN PARKWAY 1042 1263 No 6.50285 | No
FROM L-495 TO CLARA BARTON PARKWAY WB 101 148 No 4.17162 | Yes
FROM CLARA BARTON PARKWAY TO 1-495 1304 781 No 16.2155 | Noo

Figure A.113: |-495 Outer Loop Ramp 8-9 AM Volumes

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1-495 Inner Loop = Calibration not met

FROM 1-495 TO CLARA BARTON PARKWAY $22 703 No 4.3001

FROM CLARA BARTON PARKWAY EB TO 1495 59 161 ; 645901

FROM 1-495 TO MD 190 $75 S44 Yes 1.0574

FROM CABIN JOHN PARKWAY TO 1-495 232 260, No 1.73423

FROM MD WB 190 TO L495 1235 888 No 10.6422

FROM 1-495 TO 1-270 SPUR NB 4868 3834 No 15.6757

FROM 1-495 TO MD 187 435 538 No 4.66977

FROM MD 187 TO 1-495 267 293 ¥es 1.5538

FROM 1-495 TO MD 355 SB 433 455 Yes 1.51556

FROM [1-270 SB TO 1-495 2512 2482 Yes 0.6104

FROM MD 355 SB TO 1-495 534 566, Yes 1.10608

FROM MD 355 NB TO 1-495 200 195 Yes 0.33789

FROM 1-495 TO MD 185 1034 1072 Yes 1.1634

FROM MD 185 SB TO 1-495 195 199 Yes 0.28499

FROM MD 185 NB TO 1-495 709 697 Yes 0.44312

FROM [-495 TO MD 97 SB. 890. 980 No | 2.94331

FROM MD 97 SB TO 1-495, 621 706, No 3.30928

FROM 1-495 TO MD 97 NB 318 288 Yes 1.73345
FROM MD 97 NB TO 1-495 468 462 Yes 0.30151

FROM 1-495 TO US 29 SB 224 149 3.51204

FROM 1-495 TO US 29 NB 734 664 Yes 2.63795
FROM US 29 NB TO 1-495 521 547 Yes 1.10375

FROM 1-495 TO MD 193 EB 427 523 ‘No 4.38299

FROM MD 193 EB TO 1-495 383 504 No 3.72351

FROM MD 193 WB TO 1-495. 227 375 No 8.51794

FROM 1-495 TO MD 650 SB 570 351 No 10.2184

FROM MD 650 SB TO 1-495 622 632 Yes 0.37947

FROM [-495 TO MD 650 NB 593 532 No 2.59364

FROM MD 650 NB TO 1-495 437 1035 No 22.0352

1-495 TO 1-95 NB/PARK AND RIDE LOT 2623 2815 ¥es 3.68682

1-95 SB (TOUS 1) TO 1-495 426 A58 Yes 1.32208

|PARK AND RIDE LOT TO [-495 116 102 ‘No 1.36569

1-95 5B TO 1-495 2961 3626 No 11.5834

1-495 TO US 1 SB 784 1712 No 26.2688

US 1 SB TO 1-495 336 427 No 4.65902

1-495 TOUS 1 NB 359 463 No $.12994

US 1 NB TO 1-495 4l4 AST No 2.07219

FROM I-495 TO GREENBELT METRO 169 342 No 10.8361 |
FROM 1-495 TO MD 201 1090 1301 No 6.1025 |
FROM MD 201 SB TO 1-495 436 452 Yes 0.77108

FROM MD 201 NB TO 1-495 385 451 No 3.20467

FROM 1-495 TO MD 295 SB 1457 1292 No 4.45053

FROM MD 295 SB SB TO 1-495 1310 1145 No 4.71686

FROM 1-495 TO MD 295 NB 690 603 No 3.44198
FROM M 295 NB TO 1-495 29 26 No 0.67048

FROM L495 TO MD 450 561 641 No 3.24355
FROM MD 450 TO 1-495 1032 1057 Yes 0.78123

FROM 1-495 TOUS 50 EB 1179 1140 Yes 1.15273

FROM 1-495 TOUS 50 WB. 413 75 No 13.0616
FROM US 50 TO 1-495 _ 2612 2623 Yes 0.20524

FROM 1-495 TO MD 202 WB 346 337 Yes 0.48702

FROM MD 1-495 TO MD 202 EB 762 672 No 3.35148

FROM MD 202 TO 1-495 367 Tag No 15.2045 |
FROM 1-495 TO ARENA DRIVE 321 272. No 2.43981

FROM ARENA DRIVE TO 1-495 138 237 No 7.22994

FROM 1-495 TO MD 214 WB 639 704 No 2.51778

FROM 1-495 TO MD 214 EB 675 S77 No 3.91687

FROM MD 214 TO L495 835 1070 No 7.59919 [aN
FROM 1-495 TO RITCHIE MARLBORO ROAD S44 930 No 14.2265 | Na"
FROM RITCHIE MARLBORO ROAD TO 1-495 S45 1013 No 16.7678 | No
FROM 1-495 TO MD 4 WB 921 1079 No 4.9964 Yes
FROM MD 4 WB TO 1-495 548 T75 No 106.64 No
FROM 1-495 TO MD 4 667 727 Yes 2.25413 | Yes
FROM MD 4 EB TO 1-495 408 ait Yes 0.13592 | Yes
FROM 1-495 TO FORESTVILLE ROAD 528 612 No 3.51837 | Yes
FROM SUITLAND ROAD TO 1495 216 228 Yes 0.82193 | Yes
FROM 1-495 TO MD_3 SB/MD 335 1937 1915 Yes 0.28522 | Yes
FROM MD 5 NB/MD 535 TO 1-495 S77 1157 No 8.77276 Neo
FROM MD 5 8B TO 1-495 106 369 No 17.054 No
FROM 1-495 TO MD 414 318 359 No 2.24163 | Yes
FROM MD 414 NB TO [1-495 303 294 Yes 0.55009 | Yes
FROM L495 TO MD 414 SB 453 438 Yes 0.72261 Yes
FROM MD 414 5B TO 1-495 312 A52 No 7.13978 | No
FROM 1-495 TO MD 210 337 $21 No 10.8989 | No
FROM MD 210 NB (LOOP RAMP) TO 1-495 $35 1337 ‘No 14.5526 | No
FROM MD 210 5B TO 1-495 234 406 No 5.59089 | No:
FROM MD 210 NB (FLYOVER RAMP) TO 1-495 221 om ‘No 30.7072 | Nol
FROM 1-495 TO 1-295 NB 722 533 No 7.53419 | No.
FROM NATIONAL HARBOR BOULEVARD WB TO [-495 S45 LO79 No 18.7471 | Ne
FROM 1-495 TO NATIONAL HARBOR BOULEVARD EB 213 o1 No 19.89551 |__No-
FROM 1-295 SB TO 1-495 893 944 Yes 1.66652 | Yes

Figure A.114: |-495 inner Loop Ramp 9-10 AM Volurnes

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1-495 Outer Loop Calibration not met
FROM 1-495 TO 1-295 NB/NATIONAL HARBOR BLVD SB 812 2571 No 42.7601 | 3
FROM 1-495 TO MD 210 SB/HARBORVIEW AVENUE 342 487 No | 7.09964 |

1-295 SB/NATIONAL HARBOR BOULEVARD NB TO 1-495 544 534 Yes 0.44155

FROM 1-495 TO MD 414 (OXON HILL ROAD) 314 500. ‘No 9.23065

FROM MD 414 (OXON HILL ROAD) TO 1-495 854 698 No 5.61893

FROM 1-495 TO MD 414 (ST, BARNABAS ROAD) 215. 229 Yes 0.90657

FROM MD 414 (ST. BARNABAS ROAD) SB TO [-495 235. 244 Yes 0.59755
FROM I-495 TO MD 414 (ST. BARNABAS ROAD) NB 403 470 E 3.19537

FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 560 429 No 5.879

FROM 1-495 TO MD 5 EB ‘154 808 Yes 1.93227

FROM MD 5 EB TO 1-495 381 394 Yes 0.67299

FROM 1-495 TO MD 5 WB 299. 310. Yes 0.61617
FROM MD 5 WB TO 1-495 1536 1862 No 7.91476

FROM 1-495 TO MD 337 313 621 14.2332

FROM MD 337 TO L-495 739. 770 Yes 0.68053

FROM 1-495 TO MD 4 EB 506 444 No 2.86845
FROM MD 4 EB TO 1-495 535 560 Yes 1.079

FROM 1-495 TO MD 4 WB 551 572 Yes 0.89668

FROM MD 4 WB TO 1-495 810 1261 Wo] 14.0014 | 4
FROM 1-495 TO RITCHIE MARLBORO ROAD 643 522 No 5.03526 |
FROM RITCHIE MARLBORO ROAD TO 1-495 676 “1154 ‘No 15.795

FROM 1-495 TO MD 214 962 952 Yes 0.31515
FROM MD 214 EB TO 1-495 572 582 Yes 0.40594

FROM MD 214 WB TO 1-495 404 547 ‘No 6.55784

FROM [-495 TO ARENA DRIVE 601 439 No 710417
FROM ARENA DRIVE TO 1-495 182 360 ‘No 10.7873

FROM 1-495 TO MD 202 824 805 Yes 0.67456

FROM MD 202 EB TO 1-495 138 0 ‘No 16.6132 |
FROM MD 202 TO 1-495 1003 899 No | 3.38076

FROM 1-495 TOUS 50 1120 1019 Yes 3.08036
FROMI-495 TOUS 50 WB 934 873 Yes 2.02093
FROM US 50 TO 1-495 2449 5754 No | 51.606

FROM 1-495 TO MD 450 EB 702 670 Yes 1.24108

[FROM 1-495 TO MD 450 WB 257 251 Yes 0.3607

FROM MD 450 TO 1-495 586 816 E | 8.66964

FROM 1-495 TO MD 295 NB/MD 193 EB 1626 1560 Yes 1.65362
FROM MD 295 SB TO 1-495 893 1044 N | 4.85979

FROM 1-495 TO MD 295 SB 52 50 Yes 0.31545

FROM MD 295 SB TO 1-495 477 457 Yes 0.93718

FROM 1-495 TO MD 201 1162 1255 Yes 2.66817

FROM MD 201 NB TO 1-495 483 449 Yes 1.58681

FROM MD 201 SB TO 1-495 131 126 Yes 0.48566

FROM GREENBELT METRO STATION TO 1-495 39 46 ‘No 1.07375
IFROML-495 TOUS 1 720 897 ‘No 6.20829
FROM US 1 NB TO 1-495 299 370 No | 3.89498
FROM US 1 SB TO 1-495 389 374 Yes 0.79383

FROM 1-495 TO1-95 NB/PARK AND RIDE LOT 2683 3031 ‘No 6.51518

FROM PARK AND RIDE LOT TO 1-495 95 81 ‘No 1.49241
FROMI-95 SB TO 1-495 1614 2706 No 23.4914

FROM 495 TO MD 630 NB 703. 551 No 6.0703
FROM MD 650 NB TO 1-495 224 258 No 2.19013

FROM 1-495 TO MD 650 SB 650. 572 No 3.14511

FROM MD 650 SB TO [-495 395 373 Yes 1.14857

FROM 1-495 TO MD 193 WB 405 348 ‘No 2.92423
FROM MD 193 WB TO 1-495 438 696 ‘No 10.8164 | __No
FROM US 29 NB TO 1-495 331 181 No [9.41085 | Nc
FROM 1-495 TO US 29 SB. 517 434 1 3.79433
FROM US 29 SBFROM TO 1-495 1277 889 No 11.7984

FROM -495 TO MD 97 596 508 No 3.75639
FROM MD 97 NB TO 1-495 873 -870 Yes 0.1101

FROM MD 97 SB TO 1-495 722 705 Yes 0.63643

FROM 1-495 TO MD 185 1596 1722 Yes 3.09348

FROM MD 185 NB TO 1-495 683 603 No | 3.14473

FROM MD 185 SB TO 1-495 588 627 Yes 1.57233

FROM 1-495 TO MD 355 NB 904 917 Yes 0.43908

FROM 495 TO 1-270 NB 2640 3121 ‘No 8.96659

MD 355 NB TO 1-495 341 315 Yes 1.46378

FROM 1-495 TO MD 187 432 430 Yes 0.10839

FROM MD 187 TO 1-495 417 664 ‘No 10.6338 | No
FROM 1-270 SPUR SB TO 1-495 4495 “5183. No 9.88686 | No
FROM MD 190 WB TO 1-495 532 460 No 3.25617 | Yes _|
FROM I-495 TO MD 190 978 827 No 5.01769 | No.
FROM MD 190 EB TO 1-495 556 1399 No | 26.9631 | _No-
FROM [-495 TO CABIN JOHN PARKWAY 1335 1219 Yes 3.2461 | Yes
FROM [-495 TO CLARA BARTON PARKWAY WB 114 154 ‘No 3.47545 | Yes
FROM CLARA BARTON PARKWAY TO 1-495 1049 785 No 8.7269 | Noo)

Figure A.115: |-495 Outer Loop Ramp 9-10 AM Volumes

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not met
FROM I-4 2 2TON PARKWAY 793 3 7.40702 |__ No
FROMCLARABS AYEB TO1-195 138 10345261 Yes

ROM 1-495 TO 430 7 } 9.43834 |
FROM CABIN JOHN PARKWAY TO 1-495 $38 1280 No 11.9062 No.

ROM MD WB 190 TO L495 41279 1083 5.71852 i
FROMI-195 TO 1-270 SPU 5298 4370 | 6.00262 | No
FROM 1-395 TO MD 187 428 ¥ [101464 | Yes _|
FROM MD 187 TO1-495 277 305 No 1.62708 | Yes
FROM 1-495 TO.MD355 5B 313 310 Yes 0.43727 Yes
FROMI-270 $B TO 1-495 2761 2847 Yes 1.61472 | Yes
ER MD BIOL 749 7 5 | 0.36662 | Yes
FROM MD NB TO J-49 4) 324 yd 458732 | Yes |
FROM 1-495 TO MD 185 768 770 Yes 0.0541 Yes
FROM MD 185 $B TOI-495 346 237 No 33311 Yes
FROM MD 185 NB TO 1-495 1669 1456 i 54016 No
FROMI-#95 TO MD 97 5B 449 5 } 4.85766 | Yes
FROM MD 97 $B TO 1-495 725 617 4.15926 Yes
FROMI-495 TO MD97 NB 244 295 No 3.09213 | Yes
FROM MD 97 NB TO 1-495 650 363 No 3.31234 Yes
FROM 1495 TO US 29 SB 150 i9s No 3.65651 | Yes
FROMI-295 TO US 29 NB 918 3.64315 Yes |
FROM US 29 NB TOL49 $35 ‘ 43734 Yes
FROM 1-495 TO MD 193 EB 641 636 Yes 0.19787 Yes
FROM MD 193 EB TO 1-495 333 447 5.47833 No
FROM MD 193 WB TOL495 257 460 No 10.7101 No
FROM I-#95 TO MD 650 SB 570 7 I 1593911 | No |
FROM MD 650 5B TOI-49 669 516 371707 | Yes |
FROM1I495 TO MD 650 NB 299 324 Yes 1.41648 Yes
[FROM MD 650 NB TO 1-495 408 $39 No 17.269 | No
1-495 TO1-95 NB/PARK AND RIDE LOT 3435 3051 ‘ 6.74759 | No

95SB (TOUS 1O j-49 305 3 y Yes
PARK AND RIDE LOT TO 1-49 100 i < 2332 Xi
195 $B TOL495 2020 3199 No 23.0843 | No
L495TOUS 1SB 796 2045 33.1444 | No
US 1SB TO L495 374 346 Yes 1.47573 | Yes

495 TOUS 1 NB ALS ATs c | 2.95863 | Yes

5 1NB TO 1-195 432 0.44368 |_ Yes
FROMI-495 TO GREENBELT METRO 77 110 } 3.43634 | Yes
FROM #95 TO MD 201 $33 1400 No 16.8005 | Noo
FROM MD 201 SB TO1-495 605 633 Yes 1.32371 | Yes
FROM MD 201 NB TO 1-495 720 67) 18773 | Yes |
FROMI-295 TO MD 295 SB 1330 E 4.03822 |__Yes
FROM MD 295 $B SB TOI-495 1539 1219 No $.62436 | No
FROMI-495 TO D295 NB 330 422 4.73243 Yes
FROM M295 NB TO 1-495 39 24 __No 2.72256 | Yes
FROMI-#95 TO MD 450 590. Yes 2.42711 |_ Yes
FROM MD 450 TO L495 1183 1 0.6463 |_ Yes |
FROMI-495 TO US 50 EB 1822 1898 Yes 1.75647 Yes
FROMI-495 TOUS 50 WB 283 437 No 7.83764 No
FROM US 50 TO 1-495 2445 2354 Yes 1.85257 Yes
FROMI-£95 TO MD 327 3.55783 |_ Yes |
FROM MD 1-495 TO MD 20) 817 f 0.29815 | Yes
FROM MD 202 TOI-495 592 $06 $.07676 | No
FROM 1-495 TO ARENA DRIVE 372 549 ) 8.25872 [Noe
FROM ARENA DRIVE TO 1-495 241 429 ‘No 10.248 No
FROM 1-495 TO MD 214 WB 635 579. 4.22682 Yes
FRO 495 TO MD214EB 29 a 1.9162 Yes__
FROM MD 214 TOL-495 $91 966 Yes 2.45329 Yes__|
FROMI-495 TO RITCHIE MARLBORO ROAD 1002 1564 5 15.6838 No
FROM RITCHIE MARLBORO ROAD TO 1-495 698 1164 b o 15.2654 No-
FROM/-295 TO MD4 WB 800 zor 22 1.18797 | _Yes_|
FROM MD 4 WB TO 1-495 $21 6873 0 104.471 No
FROMI495 TO MD4 EB 910 748 5.61739 No_
FROM MD 4 EB TO 1-495 $10 657 Yes Lg47g4 Yes
FROMI-495 TO FORESTVILLE ROAD 477 454 Yes 1.08949 | Yes
FROM SUTILAND ROAD TO L495 472 527 3 2471738 Yes |
FROMI-495 TO MD 5 SB/MD 535 2328 2470 Yes 2.90414 | Yes
FROM MD 5 NB/MD 535 TO L495 1067, i021 Yes 1.42366 Yes
FROM MD 5 $B TO 1-495 197 307 : ‘ 6.92935 No:
FROMI-495 TO MD414 306 349 No 2.39943 Yes
FROM MD 414 NB TO 1-49 341 315 Yes 1.43561 Yes
FROMI-495 TO MD4145B 655 699 Yes 1.6816 Yes
FROM MD 414 SB TOI495 420 450 Yes 1.43839 | Yes
FROM 1-495 TO MD210 438 $39 13.6266 | No-

ROM MD 210 NB (LOOP RAMP) TO 1-495 588 638 Yes | 2.02937 | Yes
FROM MD 210 5B TO1-395 256 5.1074) | Noe
FROM MD 210 NB (FLYOVER RAMP) TO 1-495 282 301 Yes 1.11284 | Yes
FROMI-495 TO 1-295 NB 389 370 Yes 0.96233 | Yes
ERO! ATIONAL HARBOR BOULEVARD WB TO 1-49 74 1297 18.3856 No
FROMI-495 TO NATIONAL HARBOR BOULEVARD EB 306 297 Yes 0.54734 | Yes
FROMI-295 $B TO 1-495 2158 1954 Yes 4.49903 |_ Yes

Figure A. 116: |-495 Inner Loop Ramp 3-4 PM Volumes

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1-495 Outer c

FROM 1-495 TO 1-295 NB/NATIONAL HARBOR BLVD SB 1732 1569 No 34.0964
FROM 1-495 TO MD 210 SB/HARBORVIEW AVENUE 1078 893 No 12.7613
1-295 SB/NATIONAL HARBOR BOULEVARD NB TO 1-495 1667 1360 No 8.5817
FROM 1-495 TO MD 414 (OXON HILL ROAD) 821 1079 ‘No 12.9888
FROM MD 414 (OXON HILL ROAD) TO L-495- 903 800 ‘No 5.49125
FROM 1-495 TO MD 414 (ST. BARNABAS ROAD) 370 693 No 10.0093
IFROMMD 414 (ST. BARNABAS ROAD) SB TO 1-495 194 184 ‘No 3.60669
FROM 1-495 TO MD 414 (ST. BARNABAS ROAD) NB- 494 594 Yes 1.99585
FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 597 555 Yes 0.68911
FROM 1-495 TO MD 5 EB 1453 1379 ‘No 6.25283
FROM MD 5 EB TO 1-495 325 536 Yes 1.52302
FROM 1-495 TO MD 5 WB 282 296 No 2.51986
FROM MD 5 WB TO 1-495 1192 1066 Yes 2.24682
FROM 1-495 TO MD 337 356, 391 Yes 1.9325
FROM MD 337 TO 1-495 1004 892 ‘No 4.39738
FROM 1-495 TO MD 4 EB ‘838 769 Yes 2.13245
FROM MD 4 EB TO 1-495 852 802 Yes 0.37847
FROM 1-495 TO MD 4 WB 627 680 ‘No 10.4976 | >
FROM MD 4 WB TO 1-495 773 959 ‘No 6.6016 |
FROM 1-495 TO RITCHIE MARLBORO ROAD 687 506 ‘No 2.23412
FROM RITCHIE MARLBORO ROAD TO 1-495 599 733 ‘No 7.29858
FROM 1-495 TO MD 214 1183 1489 No | 14.5944
FROM MD 214 EB TO 1-495 766 757 Yes 0.34432
FROM MD 214 WB TO L495 329 369 ‘No 211514
FROM 1-495 TO ARENA DRIVE 625 319 No 14.0982
FROM ARENA DRIVE TO 1-495 231 406 (No 9.80581
FROM 1-495 TO MD 202 979 ORS. Yes 0.27903
FROM MD 202 EB TO 1-495 Bl 0 No 21.4942
FROM MD 202 TO 1-495 1176 990 ‘No 5.6678
FROM 1-495 TOUS 50 EB 1811 1722 Yes 2.12959
FROM 1-495 TOUS 50 WB 709 642 Yes 2.57788
FROM US 50 TO L495 2426 4729 No 38.5003
FROM 1-495 TO MD 450 EB 808 884 Yes 2.61293
FROM 1-495 TO MD 430 WB 325 319 Yes 0.34837
FROM MD 450 TO L495 788 708 ‘No 2.93448
FROM 1-495 TO MD 295 NB/MD 193 EB 1187 1058 (No 3.84264
FROM MD 295 SB TO 1-495 1364 1307 Yes 1.37357
FROM 1-495 TO MD 295 SB 30 38 No 1.88982
FROM MD 295 SB TO 1-495 636 596 Yes 1.62188
FROM I-495 TO MD 201 991 734 No 6.93954
FROM MD 201 NB TO 1-495 935 871 Yes 2.14672
FROM MD 201 SB TO 1-495 179 21 ‘No 2.98659
FROM GREENBELT METRO STATION TO 1-495 167 378 No 12.782
FROM 1-495 TOUS 1 789 707 ‘No 2.99822
FROM US 1 NB TO 1-495 282 855 ‘No 24.0398
FROM US 1 SBTO 1495 595. $72 Yes 0.9417
FROM 1-495 TO 1-95 NB/PARK AND RIDE LOT 4050 3966 Yes 1.32683
FROM PARK AND RIDE LOT TO 1-495 67 38 ? 3.96316
FROM I-95 SB TO [-495 2959 3060 Yes 1.84109
FROM 1-495 TO MD 650 NB 713 689 Yes 0.90647
FROM MD 650 NB TO 1-495 300 495 Yes 0.22417
FROM 1-495 TO MD 630 SB 870 802 Yes 2.36948
FROM MD 650 SB TO 1-495 352 625 No 2.98921
FROM 1-495 TO MD 193 WB 679 834 No 5.61818
FROM MD 193 WB TO 1495 309 540 Yes 1.3536
FROM US 29 NB TO 1-495 185 230 Wo | 3.14036
FROM 1-495 TOUS 29 SB 414 409 Yes 0.25885
FROM US 29 SB FROM TO 1-495 879 875 Yes 0.14352
FROM [-495 TO MD 97 889 “1086 ‘No 6.26899
FROM MD 97 NB TO 1-495 923 890 Yes 1.10443
FROM MD 97 SB TO 1-495 471 407 No _| 3.05455
FROM 1-495 TO MD 185 877 1091 No 6.82207
FROM MD 185 NB TO 1-495 843 742 No 3.58775
FROM MD 185 SB TO 1-495 429 384 No 2.33194
FROM 1-495 TO MD 355 NB 336 963 ‘No 4.22647
FROM 1-495 TO L270 NB 2984 3218 Yes 4.20209
MD 355 NB TO 1-495 486 372 ‘No 34911
FROM 1-495 TO MD 187 342 479 No 6.76183 | __
FROM MD 187 TO 1-495 315 679 ‘No 6.7216
FROM I-270 SPUR SB TO 1-495 4003 3272 ‘No 12.1291
FROM MD 190 WB TO 1495 626 614 Yes 047184
FROM 1-495 TO MD 190 810 747 Yes 2.26708
FROM MD 190 EB TO 1-495 289 972 ‘No 27.1933 |
FROM 1-495 TO CABIN JOHN PARKWAY 246 524 No 14.1682
FROM 1-495 TO CLARA BARTON PARKWAY WB 38 49 (No 1.26611
FROM CLARA BARTON PARKWAY TO 1495 1092 1194 Yes 3.01701

Figure A.117: |-495 Outer Loop Ramp 3-4 PM Volumes

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Figure A.118: |-495 Inner Loop Ramp 4-5 Volumes

1.495 Inner Loop
FROM 1-495 TO CLARA BARTON PARKWAY

FROM CLARA BARTON PARKWAY EB TO 1-495 7

FROM 1-495 TO MD 190 449

FROM CABIN JOHN PARKWAY TO 1-495 1195

FROM MD WH 190 TO 1-495 1115

FROM 1-495 TO 1-270 SPUR NB 4296

FROM 1-495 TO MD 187 376

FROM MD 187 TO 1-495 287

FROM 1-495 TO MD 355 SB 273

FROM 1-270 SB TO 1-495 2873

FROM MD 355 SB TO 1-495 752

FROM MD 355 NB TO 1-495 336

FROM 1-495 TO MD 185 179

FROM MD 185 SB TO 1-495 303.

FROM MD 185 NB TO 1-495 1588

FROM 1-495 TO MD 97.SB 505

FROM MD 97 SB TO 1-495 677

FROM 1-495 TO MD 97 NB 266

FROM MD 97 NB TO 1-495 662

FROM 1-495 TO US 29 SB 112 No
FROM 1-495 TO US 29 NB 929 2.55424 | Yes
FROM US 29 NB TO 1-495 1058 950 3.42466 | Yes
FROM 1-495 TO MD 193 EB 587 597 0.40076 | Yes
FROM MD 193 EB TO 1-495 349 422 3.73014 | Yes
FROM MD 193 WB TO 1-495 318 457 7.07277 |__No-
FROM 1-495 TO MD 650 SB 634 430 (No | 8.83265 | “No
FROM MD 650 SB TO 1.495 678 585 Yes
FROM 1-495 TO MD 650 NB 298 327 1.61285 | Yes
FROM MD 650 NB TO 1-495 418 840 16.8096 | No-
1-495 TO 1-95 NB/PARK AND RIDE LOT 3304 3068 4.17658 | __Yes
1-95 SB (TOUS 1) TO 1-495 372 330 2.24179 | Yes
|PARK AND RIDE LOT TO [-495 98 66 3.53381 | Yes
1-95 SB TO 1-495 1253 3299 42.8864 | No_
1-495 TO US 1 SB 796 1999 32.1698 | No
US 1 SB TO 1-495 347 0.55945 | Yes
1-495 TO US 1 NB 458 0.20976 | Yes
US 1 NB TO 1-495 472 0.8248 | Yes
FROM 1-495 TO GREENBELT METRO 100 1.14193 | Yes
FROM 1-495 TO MD 201 908 14.6145 | No
FROM MD 201 SB TO 1-495 648 0.16668 | Yes
FROM MD 201 NB TO 1-495 766 4.04747 | Yes
FROM 1-495 TO MD 295 SB 1380 1219 4.4805 | Yes
FROM MD.295 SB SB TO 1-495 1302 1243 1.66104 | Yes
FROM I-495 TO MD 295 NB 241 427 10.1775 | __No
FROM M 295 NB TO 1-495 28 27 0.19069 | Yes
FROM 1-495 TO MD 450 $44 527 0.72374 | Yes
FROM MD 450 TO 1-495 1203 141 181104 | Yes
FROM 1-495 TOUS 50 EB 2020 3.53997 [Yes
FROMI-495 TOUS 50 WB 259 9.76317 | __No-
FROM US 50 TO 1-495, 2398 0.70707 | __Yes
FROM 1-495 TO MD 202 WB. 299 1.87165 | ‘Yes
FROM MD 1-495 TO MD 202 EB 877 2.92468 | __Yes
FROM MD 202 TO 1-495 609 7.80702 | Ne]
FROM I-495 TO ARENA DRIVE 720 6.37708 | No
FROM ARENA DRIVE TO 1-495 287 7.52873 | Nov
FROM 1-495 TO MD 214 WB 604 1.60263 | Yes
FROM 1-495 TO MD 214 EB 488 4.32229 | Yes
FROM MD 214 TO 1-495 984 0.15124 [Yes
FROM 1-495 TO RITCHIE MARLBORO ROAD 1113 12.627 | Na"
FROM RITCHIE MARLBORO ROAD TO L495 654 16,8372 |__No_
FROM I-495 TO MD 4 WB 744 0.50179 | Yes
FROM MD 4 WB TO 1-495 512 104.645 | No-
FROM 1-495 TO MD 4 866 4.91593 | Yes
FROM MD 4 EB TO 1-495 593 2.54051 | Yes
FROM 1-495 TO FORESTVILLE ROAD 486 1.35893 | Yes
FROM SUITLAND ROAD TO 1-495 674 5.15062 | Mo
FROMI-495 TO MD 5 SB/MD 535 2423 1.20642 | Yes
FROM MD 5 NB/MD 535 TO 1-495 1080 3.06803 [Yes
FROM MD 5 SB TO.L495 202 | 5.9283 | Ne
FROM 1-495 TO MD 414 300 2.99946 | Yes
FROM MD 414 NB TO 1-495 284 2.52909 | __Yes
FROM 1-495 TO MD 414 SB 692 1.51734 | Yes
FROM MD 414 SB TO 1-495 455. 0.56632 | __Yes
FROM 1-495 TO MD 210 549 10.8891 | Ne
FROM MD 210 NB (LOOP RAMP) TO 1-495 655 0.20355| Yes
FROM MD 210 SB TO 1-495 282 5.58957 | __ No
FROM MD 210 NB (FLYOVER RAMP) TO 1-495 372 4.11519 | Yes
FROM 1-495 TO 1-295 NB 330 2.35811 [Yes
FROM NATIONAL HARBOR BOULEVARD WB TO 1-495 1004 8.31306 | No
FROM 1-495 TO NATIONAL HARBOR BOULEVARD EB 310 0.3813 | Yes
FROM 1-295 SB TO 1-495 1998 1949 1.10301 | Yes

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L495 Outer

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FROM 1-495 TO 1-295 NB/NATIONAL HARBOR BLVD SB 1797 1575 No 34.0964
FROM I-495 TO MD 210 SB/HARBORVIEW AVENUE 732 877 No [12.7613
1-295 SB/NATIONAL HARBOR BOULEVARD NB TO [-495 1738 1354 No 8.5817
FROM I-495 TO MD 414 (OXON HILL ROAD) 923 1078 No 12.9888
FROM MD 414 (OXON HILL ROAD) TO 1-495 845 832 ‘No 5.49125 |
FROM -495 TO MD 414 (ST. BARNABAS ROAD) 373 667 ‘No 10.0093
FROM MD 414 (ST. BARNABAS ROAD) SB TO L495 185 193 ‘No 3.60669
FROM I-495 TO MD 414 (ST. BARNABAS ROAD) NB 688 589 Yes 1.99585
FROM MD 414 (ST. BARNABAS ROAD) TO 1-495 661 342 Yes | 0.68911
FROMI-495 TO MD 5 EB 1561 1340 2 | 6.25283 |
FROM MD 5 EB TO [-495 497 553 Yes | 1.52302
FROM -495 TO MD 5 WB 302 297 Ne 251986
FROM MD 5 WB TO 1-495 1056 1047 Yes | 2.24682
FROM [-495 TO MD 337 387 376 Yes 1.9325
FROM MD 337 TO L495 1107 SIL No 4.39738
FROM I-495 TO MD 4 EB 796 72 Yes [2.13245
FROM MD 4 EB TO [-495 B15 799 Yes | 0.37847
FROM -495 TO MD 4 WB 546 144 No 10.4976 |
FROM MD 4 WB TO L495 798 940 ‘No 6.6016
FROM I-495 TO RITCHIE MARLBORO ROAD 793 313 ‘No 2.23412
FROM RITCHIE MARLBORO ROAD TO 1-495 599 750 No 7.29858 |
FROM L495 TO MD 214 1313 1454 ‘No 14.5944 |
FROM MD 214 EB TO L495 760 758 Yes | 0.08168
FROM MD 214 WB TO 1495 273 362 No 4.98175
FROM I-495 TO ARENA DRIVE 661 304 ‘No 16.266
FROM ARENA DRIVE TO 1-495 241 409 No 9.31896
FROM I-495 TO MD 202 1101 570 No 4.07095
FROM MD 202 EB TO 1-495 195. 0 No 19.7484
FROM MD 202 TO 1-495 1288 993 8.73523 |
FROM 1-495 TO US 50 EB 1884 1699 Yes | 4.37688
FROM 1-495 TOUS 50 WB 668 673 Yes | 0.19309
FROM Us 30 TO 1-495 2307 4763 ‘No 413114
FROM I-495 TO MD 450 EB 929 590 Yes 1.28481
FROM 1-495 TO MD 450 WB 330 331 Yes | 0.06875
FROM MD 450 TO L495 812 708 ‘No 3.7631
FROMI-495 TO MD 293 NB/MD 193 EB 118i 1148 Yes | 0.97442
FROM MD 295 SB TO 1-495 1 1247 Yes | 0.90043
FROM [-495 TO MD 295 SB 42 44 Yes | 0.26726
FROM MD 295 SB TO 1-495 739 569 No 6.66835
FROM [-495 TO MD 201 991 77 No 73762 |
FROM MD 201 NB TO 1-495 1061 537 No 7.26275 |
FROM MD 201 SB TO 1-495 207 21 ‘No 158889
FROM GREENBELT METRO STATION TO 1-495 321 373, ‘No 2.77859
FROMI-495 TOUS | 845 7 No | 4.31348
FROM US I NB TO 1-495 302 344 ‘No 22.6503
FROMUS I SBTO 1-495 595 610 Yes | 0.62122
FROM[-495 TO I-95 NB/PARK AND RIDE LOT 4391 4001 Yes | 6.01675 |
FROM PARK AND RIDE LOT TO 1-495 50 40 ‘No 1.36961
FROM I-95 SB TO 1-495 3093 3120 Yes | 0.47547
FROM [-495 TO MD 650 NB 773 705 Yes | 2.50142
FROM MD 650 NB TO 1-495 476 302 Yes 1.15344
FROM 1-495 TO MD 650 SB 916 823 No 3.17131
FROM MD 650 SB TO 1-495 629 633 Yes 0.1493
FROM -495 TO MD 193 WB 764 853 No 3.11294
FROM MD 193 WB TO L495 478 332 : 2.40297
FROM US 29 NB TO 1-495 212 27 1.02903
FROM 1-495 TO US 29 SB 379 408 143718
FROM Us 29 SB FROM TO 1-495 794 910 3.97409
FROM I-495 TO MD 97 1145 10st 1.93597
FROM MD 97 NB TO 1-495 896 896 0.00835
FROM MD 97 SB TO 1-495 390 386 0.2158
FROMI-495 TO MD 185 1013 1080 2.00834
FROM MD 185 NB TO 1-495 Ti 809 1.35198
FROM MD 185 SB TO 1-495 384 378 0.32025
FROM -495 TO MD 335 NB 990 934 L82187
FROM I-495 TO 1-270 NB 3280 3200 1.40546
MD 355 NB TO 1-495 324 367 [2.28729
FROM -495 TO MD 187 490 460 1.37649
FROM MD 187 TO L495 588 700 ‘No 4.40399
FROM I-270 SPUR SB TO 1-495 2833 3295 No 8.34637
FROM MD 190 WB TO 495 597 620 Yes [0.91231
FROM -495 TO MD 190 679 715 Yes 13449
FROM MD 190 EB TO 1495 251 977 No | 29.3061 | _
FROM J-495 TO CABIN JOHN PARKWAY 152 473 No 18.1375 |
FROM 1-495 TO CLARA BARTON PARKWAY WB 34 48 ‘No 2.1148
FROM CLARA BARTON PARKWAY TO L495 1401 1181 No | 6.13744

Figure A.119: |-495 Outer Loop Ramp 4-5 PM Volumes

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ES

1-495 Inner Loop = ~__ Calibration

FROM 1-495 TO CLARA BARTON PARKWAY 1463 1050. ___No 11.6512 |
FROM CLARA BARTON PARKWAY EB TO 1-495 45 192 A 13.4722

FROM 1-495 TO MD 190 655 716 Yes 2.31116

FROM CABIN JOHN PARKWAY TO 1-495 1037 1289 ___No 7.38249

FROM MD WB 190 TO L495 1056 1094 Yes 1.14387

FROM 1-495 TO 1-270 SPUR NB 4009 4752 3 11.2224

FROM 1-495 TO MD 187 438 416 ¥es 0.8444

FROM MD 187 TO 1-495 338 315 Yes 1.30105

FROM 1-495 TO MD 355 SB 275 320 No 2.62291

FROM [1-270 SB TO 1-495 3299 2874 Na 7.6499

FROM MD 355 SB TO 1-495 538 734 No | 4.39506

FROM MD 355 NB TO 1-495 299 312 Yes 0.72961

FROM 1-495 TO MD 185 921 866 Yes 1.85698

FROM MD 185 SB TO 1-495 270. 270 Yes 9

FROM MD 185 NB TO 1-495 1613 1480 Yes 3.37553

FROM [-495 TO MD 97 SB. 627 S74 Yes 2.17324

FROM MD 97 SB TO 1-495, 636 603 Yes 1.34621

FROM 1-495 TO MD 97 NB 329 296 __ No 1.86676

FROM MD 97 NB TO 1-495 629 566 No 2.58784

FROM 1-495 TO US 29 SB 122 193 h | 5.65742

FROM 1-495 TO US 29 NB 931 985 Yes 1.07687
FROM US 29 NB TO 1-495 1045 943 Yes 3.25151

FROM 1-495 TO MD 193 EB 614 374 Yes 1.63079

FROM MD 193 EB TO 1-495 310 418 No 5.6486

FROM MD 193 WB TO 1-495. 318 464 No 17.3606 |
FROM 1-495 TO MD 650 SB 570 432 : ‘No 6.17733 |
FROM MD 650 SB TO 1-495 S84 STT Yes 6.30094

FROM [-495 TO MD 650 NB 300 327 Yes 1.52491

FROM MD 650 NB TO 1-495 296 859 No 23.42

1-495 TO 1-95 NB/PARK AND RIDE LOT 3484 3035 No 7.87355

1-95 SB (TOUS 1) TO 1-495 382 344 No 2.00795

|PARK AND RIDE LOT TO [-495 72 7 Yes 0.14796

1-95 5B TO 1-495 1526 3212 No 34.644

1-495 TO US 1 SB 784 2012 No 32.8431

US 1 SB TO 1-495 323 332 Yes 0.49732

1-495 TOUS 1 NB 467 467 Yes 0.01157

US 1 NB TO 1-495 480 a51 Yes 1.35389

FROM I-495 TO GREENBELT METRO 109 107 Yes 0.19245

FROM 1-495 TO MD 201 992 1365 No 10.8721

FROM MD 201 SB TO 1-495 676 612 Yes 2.53205

FROM MD 201 NB TO 1-495 640 683 Yes 1.67187

FROM 1-495 TO MD 295 SB 1441 1199 No 6.66083 |
FROM MD 295 SB SB TO 1-495 1147 1254 Yes 3.07407

FROM 1-495 TO MD 295 NB 242 439 ‘No 10.6528
FROM M 295 NB TO 1-495 24 25 Yes 0.10153

FROM L495 TO MD 450 532 S17 Yes 0.66596
FROM MD 450 TO 1-495 1192 1156. Yes 1.04332

FROM 1-495 TOUS 50 EB 2007 1869 Yes 3.13474

FROM 1-495 TOUS 50 WB. 242 464 No 11.8271
FROM US 50 TO 1-495. 2662 2363 No 3.96311

FROM 1-495 TO MD 202 WB 288 263 Yes 1.50619

FROM MD 1-495 TO MD 202 EB 993 798 No 6.53393

FROM MD 202 TO 1-495 579 500 ‘No 8.40762

FROM [-495 TO ARENA DRIVE 875 385 No 10.7334

FROM ARENA DRIVE TO 1-495 313 429 No 6.02242

FROM 1-495 TO MD 214 WE 571 313 Yes 0.09407

FROM 1-495 TO MD 214 EB 642 S87 ¥es 2.20841

FROM MD 214 TO L495 941 1021 Yes 2.56202

FROM 1-495 TO RITCHIE MARLBORO ROAD 1076 1552 No 13.1251

FROM RITCHIE MARLBORO ROAD TO 1-495 600 1130 No 18.0205

FROM 1-495 TO MD 4 WB 778 765 Yes 0.47707

FROM MD 4 WB TO 1-495 457 6907 No _| 106.294

FROM 1-495 TO MD 4 805 741 ¥es 2.30192
FROM MD 4 EB TO 1-495 6l4 630 Yes 0.6315

FROM 1-495 TO FORESTVILLE ROAD 521 458 No 2.87084

FROM SUITLAND ROAD TO 1495 381 352 Yes 1.20779

FROM 1-495 TO MD_3 SB/MD 335 2510 2516 Yes 0.10972
FROM MD 5 NB/MD 535 TO 1-495 1030 975 Yes 1.72908
FROM MD 5 8B TO 1-495 46 300 No | 3.28261 | Yes
FROM 1-495 TO MD 414 348 351 Yes 0.17381 | Yes
FROM MD 414 NB TO [1-495 313 310 Yes 0.16998 | Yes
FROM L495 TO MD 414 SB 705 725 Yes 0.74796 | Yes
FROM MD 414 5B TO 1-495 498. 429 No 3.21702 | “Yes
FROM 1-495 TO MD 210 602 $45, No 9.03414 | No
FROM MD 210 NB (LOOP RAMP) TO 1-495 655 655 Yes 6.00977 | Yes
FROM MD 210 5B TO 1-495 309 354 No [247156 | Yes
FROM MD 210 NB (FLYOVER RAMP) TO L495 352 291 No ‘| 3.38744 | Yes
FROM 1-495 TO 1-295 NB 318 387 No 3.68776 | Yes
FROM NATIONAL HARBOR BOULEVARD WB TO 1-495 992 1281 No 8.56567 | Na)”
FROM 1-495 TO NATIONAL HARBOR BOULEVARD EB 276 300 Yes 1.42863 | Yes
FROM 1-295 SB TO 1-495 1708 1958. No 5.84491 | No

Figure A, 120: |-495 Inner Loop Ramp 5-6 PM Volumes

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